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                                      No. 25-1281


                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT


                          U.S. Department of Education, et al.,

                                                 Defendants-Appellants,

                                           v.

             American Association of Colleges for Teacher Education, et al.,

                                                 Plaintiffs-Appellees.


                    On Appeal from the United States District Court
                             for the District of Maryland


                            JOINT APPENDIX VOLUME 1


         JOSHUA W.B. RICHARDS                   BRETT A. SHUMATE
         CAROLYN M. TOLL                         Assistant Attorney General
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          Philadelphia, PA 19102                   General
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         DANIEL M. MOORE                        DANIEL TENNY
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                                 Mcmahon Et Al
                                                     US District Court Docket
                                               United States District Court, Maryland
                                                              (Baltimore)
                                           This case was retrieved on 06/08/2025

    Header


     Case Number: 1:25cv702                                                                               Class Code: Open
     Date Filed: 03/03/2025                                                                                   Statute: 05:551
     Assigned To: Judge Julie Rebecca Rubin                                                              Jury Demand: None
     Nature of Suit: Other Civil Rights (440)                                                           Demand Amount: $0
     Cause: Administrative Procedures Act                                                  NOS Description: Other Civil Rights
     Lead Docket: None
     Other Docket: 1:25cv00333, Fourth Circuit Court of Appeals,
     25-01281
     Jurisdiction: U.S. Government Defendant




    Participants

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     Plaintiff                                                      PRO HAC VICE;ATTORNEY TO BE NOTICED
                                                                    Saul Ewing LLP


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                                                                                                                   JA 2
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    Proceedings

     #         Date                 Proceeding Text                                                    Source
     1         03/03/2025           COMPLAINT against Denise Carter, Donald J. Trump, U.S.
                                    Department of Education ( Filing fee $ 405 receipt number
                                    AMDDC-11817361.), filed by American Association of Colleges for
                                    Teacher Education, The Maryland Association of Colleges for
                                    Teacher Education, National Center for Teacher Residencies.
                                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                                    Exhibit D, # 5 Civil Cover Sheet, # 6 Summons, # 7 Summons, # 8
                                    Summons, # 9 Summons, # 10 Summons)(Moore, Daniel)
                                    (Additional attachment(s) added on 3/4/2025: # 11 Flattened
                                    Exhibit B) (bg3s). (Entered: 03/03/2025)
     2         03/03/2025           Local Rule 103.3 Disclosure Statement by American Association
                                    of Colleges for Teacher Education (Moore, Daniel) (Entered:
                                    03/03/2025)
     3         03/03/2025           Local Rule 103.3 Disclosure Statement by National Center for
                                    Teacher Residencies (Moore, Daniel) (Entered: 03/03/2025)
     4         03/03/2025           Local Rule 103.3 Disclosure Statement by The Maryland


                                                                                                                    JA 3
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     #     Date            Proceeding Text                                                        Source
                           Association of Colleges for Teacher Education (Moore, Daniel)
                           (Entered: 03/03/2025)
     5     03/03/2025      MOTION for Temporary Restraining Order /Preliminary Injunction
                           by American Association of Colleges for Teacher Education,
                           National Center for Teacher Residencies, The Maryland
                           Association of Colleges for Teacher Education (Attachments: # 1
                           Memorandum in Support, # 2 Declaration of Joshua W. B.
                           Richards, Esq., # 3 Declaration of Cheryl Holcomb-McCoy, Ph.D.,
                           # 4 Declaration of Kathlene Campbell, Ph.D., # 5 Declaration of
                           Laurie Mullen, Ph.D., # 6 Declaration of Carolyn Parker, Ph.D., # 7
                           Declaration of Amy Smith, Ph.D., # 8 Declaration of Heather
                           Kirkpatrick, Ph.D., # 9 Declaration of Dr. Sarah Johnson, # 10
                           Text of Proposed Order)(Moore, Daniel) (Entered: 03/03/2025)
     6     03/03/2025      MOTION to Appear Pro Hac Vice for Joshua W. B. Richards
                           (Filing fee $100, receipt number AMDDC-11817544.) by American
                           Association of Colleges for Teacher Education, National Center
                           for Teacher Residencies, The Maryland Association of Colleges
                           for Teacher Education(Moore, Daniel) (Entered: 03/03/2025)
     7     03/03/2025      MOTION to Appear Pro Hac Vice for Carolyn M. Toll (Filing fee
                           $100, receipt number AMDDC-11817547.) by American
                           Association of Colleges for Teacher Education, National Center
                           for Teacher Residencies, The Maryland Association of Colleges
                           for Teacher Education(Moore, Daniel) (Entered: 03/03/2025)
     8     03/04/2025      QC NOTICE: 1 Complaint, filed by National Center for Teacher
                           Residencies, The Maryland Association of Colleges for Teacher
                           Education, American Association of Colleges for Teacher
                           Education was filed incorrectly. **Not all pdf documents were
                           flattened prior to filing. All pdfs uploaded to CM/ECF MUST BE
                           FLATTENED for all future filings. Failure to comply may result in
                           rejected filings and delays in case processing. **This filing has
                           been corrected by court staff and no further corrective action is
                           required. (bg3s, Deputy Clerk) (Entered: 03/04/2025)
     9     03/04/2025      Summons Issued 60 days as to Denise Carter, Donald J. Trump,
                           U.S. Department of Education, U.S. Attorney and U.S. Attorney
                           General(bg3s, Deputy Clerk) (Entered: 03/04/2025)
     10    03/04/2025      PAPERLESS ORDER granting 6 Motion to Appear Pro Hac Vice
                           on behalf of Joshua W Richards. Directing attorney Joshua W
                           Richards to register for pro hac vice filing in the District of
                           Maryland through PACER at https://pacer.uscourts.gov/ if attorney
                           has not already done so. The Pro Hac Vice option must be
                           selected when registering. Signed by Clerk on 3/4/2025. (mh4s,
                           Deputy Clerk) (Entered: 03/04/2025)
     11    03/04/2025      PAPERLESS ORDER granting 7 Motion to Appear Pro Hac Vice
                           on behalf of Carolyn Toll. Directing attorney Carolyn Toll to
                           register for pro hac vice filing in the District of Maryland through
                           PACER at https://pacer.uscourts.gov/ if attorney has not already
                           done so. The Pro Hac Vice option must be selected when
                           registering. Signed by Clerk on 3/4/2025. (mh4s, Deputy Clerk)
                           (Entered: 03/04/2025)
     12    03/04/2025      ORDER directing that Plaintiffs shall promptly file returns of
                           service upon effectuating service of process upon Defendants;
                           directing that if Plaintiffs' counsel have been in communications
                           with defense counsel to provide notice of this action, Plaintiffs'
                           counsel shall promptly so advise chambers. Signed by Judge Julie
                           Rebecca Rubin on 3/4/2025. (bg3s, Deputy Clerk) (Entered:
                           03/04/2025)
     13    03/05/2025      PAPERLESS ORDER: With the consent of counsel, the court will
                           convene a status conference at 12:00 p.m. today, March 5, 2025.
                           A public access line will be provided and published on the court's


                                                                                                           JA 4
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     #     Date            Proceeding Text                                                     Source
                           website. Signed by Judge Julie Rebecca Rubin on 3/5/2025. (jf3s,
                           Deputy Clerk) (Entered: 03/05/2025)
     14    03/05/2025      SUMMONS Returned Executed by American Association of
                           Colleges for Teacher Education, The Maryland Association of
                           Colleges for Teacher Education, National Center for Teacher
                           Residencies. Denise Carter served on 3/5/2025, answer due
                           3/26/2025.(Moore, Daniel) (Entered: 03/05/2025)
     15    03/05/2025      SUMMONS Returned Executed by American Association of
                           Colleges for Teacher Education, The Maryland Association of
                           Colleges for Teacher Education, National Center for Teacher
                           Residencies. U.S. Department of Education served on 3/4/2025,
                           answer due 3/25/2025.(Moore, Daniel) (Entered: 03/05/2025)
     16    03/05/2025      NOTICE of Appearance by Molissa Heather Farber on behalf of
                           All Defendants (Farber, Molissa) (Entered: 03/05/2025)
           03/05/2025      Set Deadlines: Denise Carter answer due 3/25/2025. (bg3s,
                           Deputy Clerk) (Entered: 03/05/2025)
     17    03/05/2025      Hybrid Status Conference held via Telephone on 3/5/2025 before
                           Judge Julie Rebecca Rubin.(Court Reporter: Patricia Klepp) (td4s,
                           Deputy Clerk) (Entered: 03/05/2025)
     18    03/05/2025      ORDER Setting Hearing 5 MOTION for Preliminary Injunction :
                           Motion Hearing set for 3/13/2025 10:00 AM in Courtroom 3A, 101
                           West Lombard Street, Baltimore, Maryland 21201, before Judge
                           Julie Rebecca Rubin. Signed by Judge Julie Rebecca Rubin on
                           3/5/2025. (bg3s, Deputy Clerk) (Entered: 03/05/2025)
     19    03/06/2025      ORDER re: Security Protocol. Signed by Judge Julie Rebecca
                           Rubin on 3/6/2025. (bg3s, Deputy Clerk) (Entered: 03/06/2025)
     20    03/06/2025      ORDER directing the Clerk to substitute Defendant Linda
                           McMahon, Secretary of Education, for Denise Carter. Signed by
                           Judge Julie Rebecca Rubin on 3/6/2025. (bg3s, Deputy Clerk)
                           (Entered: 03/06/2025)
     21    03/06/2025      NOTICE by American Association of Colleges for Teacher
                           Education, National Center for Teacher Residencies, The
                           Maryland Association of Colleges for Teacher Education re 5
                           MOTION for Temporary Restraining Order /Preliminary Injunction
                           with Supplemental Declarations and Exhibits (Richards, Joshua)
                           (Entered: 03/06/2025)
     22    03/11/2025      MOTION for Extension of Time to File Response/Reply as to 18
                           Order Setting Hearing on Motion,, Set Scheduling Order
                           Deadlines, by Linda McMahon, Donald J. Trump, U.S.
                           Department of Education (Attachments: # 1 Text of Proposed
                           Order)(Farber, Molissa) (Entered: 03/11/2025)
     23    03/11/2025      PAPERLESS ORDER: Although Defendants cite no cause or
                           basis for their motion and the deadline for Defendants' brief was
                           proposed by Defendants (and agreed upon by Plaintiffs), the court
                           exercises its discretion to grant the motion at ECF No. 22 ;
                           Defendants shall have until 3:00PM today to file their brief in
                           opposition to the motion at ECF No. 5 . Chambers courtesy copies
                           (per the court's previous order) shall be delivered without delay
                           upon filing of the Government Defendants' papers. Signed by
                           Judge Julie Rebecca Rubin on 3/11/2025. (bg3s, Deputy Clerk)
                           (Entered: 03/11/2025)
     24    03/11/2025      RESPONSE in Opposition re 5 MOTION for Temporary
                           Restraining Order /Preliminary Injunction filed by Linda McMahon,
                           Donald J. Trump, U.S. Department of Education. (Attachments: #
                           1 Text of Proposed Order, # 2 Exhibit, # 3 Exhibit, # 4
                           Exhibit)(Farber, Molissa) (Entered: 03/11/2025)
     25    03/12/2025      REPLY to Response to Motion re 5 MOTION for Temporary
                           Restraining Order /Preliminary Injunction filed by American
                           Association of Colleges for Teacher Education, National Center

                                                                                                        JA 5
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     #     Date            Proceeding Text                                                           Source
                           for Teacher Residencies, The Maryland Association of Colleges
                           for Teacher Education. (Attachments: # 1 Supplemental
                           Declaration of Laurie Mullen, PH.D., # 2 Declaration of Joshua W.
                           B. Richards, Esq., # 3 Supplemental Declaration of Kathlene
                           Campbell, PH.D.)(Moore, Daniel) (Entered: 03/12/2025)
     26    03/12/2025      NOTICE of Appearance by Megan Lynn Micco on behalf of Linda
                           McMahon, Donald J. Trump, U.S. Department of Education
                           (Micco, Megan) (Entered: 03/12/2025)
     27    03/13/2025      Preliminary Injunction Hearing held on 3/13/2025 before Judge
                           Julie Rebecca Rubin.(Court Reporter: Amanda Longmore) (jh2s,
                           Deputy Clerk) (Entered: 03/13/2025)
     28    03/13/2025      EXHIBIT LIST by McMahon, et al. (jh2s, Deputy Clerk) (Entered:
                           03/13/2025)
     29    03/13/2025      Correspondence re: Awarded Grants for Maryland Programs and
                           Status of Same (Moore, Daniel) (Entered: 03/13/2025)
     30    03/14/2025      NOTICE by Linda McMahon, Donald J. Trump, U.S. Department
                           of Education re 24 Response in Opposition to Motion, request for
                           bond (Attachments: # 1 Exhibit Mar. 11, 2025 Executive
                           Order)(Farber, Molissa) (Entered: 03/14/2025)
     31    03/14/2025      PAPERLESS ORDER: The court is in receipt of the Notice at ECF
                           No. 30 regarding Rule 65(c). Plaintiffs may respond no later than
                           3:00PM today, March 14, 2025; absent a response, the court will
                           rely on Plaintiffs' previous submissions addressing the issue of
                           bond. Signed by Judge Julie Rebecca Rubin on 3/14/2025. (bg3s,
                           Deputy Clerk) (Entered: 03/14/2025)
     32    03/17/2025      MEMORANDUM OPINION. Signed by Judge Julie Rebecca
                           Rubin on 3/17/2025. (bg3s, Deputy Clerk) (Entered: 03/17/2025)
     33    03/17/2025      ORDER granting in part and denying in part 5 Plaintiffs' Motion for
                           Preliminary Injunction; directing that the parties shall file a joint
                           status report within 7 business days of entry of this order,
                           apprising the court of the status of the parties' compliance with this
                           order; directing that Plaintiffs collectively shall post a bond of $100
                           with the Clerk of Court within 3 business days of entry of this
                           order. Signed by Judge Julie Rebecca Rubin on 3/17/2025. (bg3s,
                           Deputy Clerk) (Entered: 03/17/2025)
     34    03/18/2025      STATUS REPORT by American Association of Colleges for
                           Teacher Education, National Center for Teacher Residencies, The
                           Maryland Association of Colleges for Teacher Education(Moore,
                           Daniel) (Entered: 03/18/2025)
     35    03/18/2025      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                           (Preliminary Injunction) held on 03/15/2025, before Judge Julie R.
                           Rubin. Court Reporter Amanda Longmore, Telephone number
                           4109624474; amanda_longmore@mdd.uscourts.gov. Total
                           number of pages filed: 103. Transcript may be viewed at the court
                           public terminal or purchased through the Court Reporter before
                           the deadline for Release of Transcript Restriction. After that date it
                           may be obtained from the Court Reporter or through PACER.
                           Redaction Request due 4/8/2025. Redacted Transcript Deadline
                           set for 4/18/2025. Release of Transcript Restriction set for
                           6/16/2025.(al6, Court Reporter) (Entered: 03/18/2025)
     36    03/18/2025      Emergency MOTION for Reconsideration re 32 Memorandum
                           Opinion, 33 Order on Motion for TRO, by Linda McMahon,
                           Donald J. Trump, U.S. Department of Education (Attachments: # 1
                           Memorandum in Support, # 2 Text of Proposed Order, # 3 Exhibit
                           U.S. Conf. of Catholic Bishops v. U.S. Dept. of State)(Farber,
                           Molissa) (Entered: 03/18/2025)
     37    03/18/2025      PAPERLESS ORDER - The court is in receipt of the Emergency
                           Motion for Reconsideration filed at 7:53PM this evening (March
                           18, 2025) at ECF No. 36 . Plaintiffs shall file a response by

                                                                                                              JA 6
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     #     Date            Proceeding Text                                                       Source
                           12:00PM tomorrow, March 19, 2025. Signed by Judge Julie
                           Rebecca Rubin on 3/18/2025. (kns, Deputy Clerk) (Entered:
                           03/18/2025)
     38    03/19/2025      RESPONSE in Opposition re 36 Emergency MOTION for
                           Reconsideration re 32 Memorandum Opinion, 33 Order on Motion
                           for TRO, filed by American Association of Colleges for Teacher
                           Education, National Center for Teacher Residencies, The
                           Maryland Association of Colleges for Teacher Education.
                           (Attachments: # 1 Declaration of Joshua W.B. Richards,
                           Esq.)(Moore, Daniel) (Entered: 03/19/2025)
     39    03/19/2025      QC NOTICE: 38 Response in Opposition to Motion, filed by
                           National Center for Teacher Residencies, The Maryland
                           Association of Colleges for Teacher Education, American
                           Association of Colleges for Teacher Education was filed
                           incompletely. **The following attachments or exhibits are missing -
                           Proposed Order. To correct this problem, file Proposed Order
                           using the event Notice (Other) and link Proposed Order to 38 .
                           (bg3s, Deputy Clerk) (Entered: 03/19/2025)
     40    03/19/2025      REPLY to Response to Motion re 36 Emergency MOTION for
                           Reconsideration re 32 Memorandum Opinion, 33 Order on Motion
                           for TRO, filed by Linda McMahon, Donald J. Trump, U.S.
                           Department of Education.(Farber, Molissa) (Entered: 03/19/2025)
     41    03/19/2025      NOTICE by American Association of Colleges for Teacher
                           Education, National Center for Teacher Residencies, The
                           Maryland Association of Colleges for Teacher Education re 38
                           Response in Opposition to Motion, Proposed Order (Moore,
                           Daniel) (Entered: 03/19/2025)
     42    03/19/2025      MEMORANDUM OPINION AND ORDER denying 36 Emergency
                           Motion for Reconsideration. Signed by Judge Julie Rebecca Rubin
                           on 3/19/2025. (kns, Deputy Clerk) (Entered: 03/19/2025)
     43    03/20/2025      Registry Deposit Received on 3/19/2025 from Saul Ewing LLP.
                           Check Number: 242433. Amount: $100. (bg3s, Deputy Clerk)
                           (Entered: 03/20/2025)
     44    03/20/2025      MOTION to Stay re 33 Order on Motion for TRO, by Linda
                           McMahon, Donald J. Trump, U.S. Department of Education
                           (Attachments: # 1 Text of Proposed Order, # 2 Exhibit Redacted
                           list of grantees)(Farber, Molissa) (Entered: 03/20/2025)
     45    03/21/2025      MEMORANDUM OPINION AND ORDER denying 44 Defendants'
                           Motion to Stay and Suspend Injunction Pending Appeal. Signed
                           by Judge Julie Rebecca Rubin on 3/21/2025. (bg3s, Deputy Clerk)
                           (Entered: 03/21/2025)
     46    03/21/2025      NOTICE OF APPEAL as to 33 Order on Motion for TRO, by Linda
                           McMahon, Donald J. Trump, U.S. Department of Education.
                           (Farber, Molissa) (Entered: 03/21/2025)
     47    03/24/2025      Transmission of Notice of Appeal and Docket Sheet to US Court
                           of Appeals re 46 Notice of Appeal. IMPORTANT NOTICE: To
                           access forms which you are required to file with the United States
                           Court of Appeals for the Fourth Circuit please go to
                           http://www.ca4.uscourts.gov and click on Forms & Notices.(slss,
                           Deputy Clerk) (Entered: 03/24/2025)
     48    03/24/2025      USCA Case Number 25-1281 for 46 Notice of Appeal filed by U.S.
                           Department of Education, Linda McMahon, Donald J. Trump.
                           Case Manager - Jeffrey Neal. (slss, Deputy Clerk) (Entered:
                           03/24/2025)
     49    03/26/2025      STATUS REPORT by American Association of Colleges for
                           Teacher Education, National Center for Teacher Residencies, The
                           Maryland Association of Colleges for Teacher Education(Moore,
                           Daniel) (Entered: 03/26/2025)



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                1:25cv702, American Association Of Colleges For Teacher Education Et Al V. Mcmahon Et Al

     #         Date                Proceeding Text                                                     Source
     50        04/10/2025          ORDER of USCA Granting the governments motion to stay the
                                   preliminary injunction as to 46 Notice of Appeal filed by U.S.
                                   Department of Education, Linda McMahon, Donald J. Trump.
                                   (slss, Deputy Clerk) (Entered: 04/11/2025)
     51        04/22/2025          Request for Conference (Moore, Daniel) (Entered: 04/22/2025)
     52        04/27/2025          MOTION for Other Relief Pursuant to Rule 60(b) and Request for
                                   Indicative Ruling Pursuant to Rule 62.1 by American Association
                                   of Colleges for Teacher Education, National Center for Teacher
                                   Residencies, The Maryland Association of Colleges for Teacher
                                   Education (Attachments: # 1 Memorandum in Support, # 2 Text of
                                   Proposed Order)(Moore, Daniel) (Entered: 04/27/2025)
     53        04/27/2025          MOTION to Shorten Time to Respond to Plaintiffs' Rule 60(b)
                                   Motion and Request for Indicative Ruling Pursuant to Rule 62.1 by
                                   American Association of Colleges for Teacher Education, National
                                   Center for Teacher Residencies, The Maryland Association of
                                   Colleges for Teacher Education (Attachments: # 1 Text of
                                   Proposed Order)(Moore, Daniel) (Entered: 04/27/2025)
     54        04/28/2025          ORDER denying 53 Plaintiffs' Expedited Motion to Shorten Time.
                                   Signed by Judge Julie Rebecca Rubin on 4/28/2025. (bg3s,
                                   Deputy Clerk) (Entered: 04/28/2025)
     55        05/02/2025          NOTICE by American Association of Colleges for Teacher
                                   Education, National Center for Teacher Residencies, The
                                   Maryland Association of Colleges for Teacher Education (Moore,
                                   Daniel) (Entered: 05/02/2025)
     56        05/02/2025          PAPERLESS ORDER: With the consent of counsel, the court will
                                   convene a status conference at 2:00 p.m. on May 5, 2025. Signed
                                   by Judge Julie Rebecca Rubin on 5/2/2025. (bg3s, Deputy Clerk)
                                   (Entered: 05/02/2025)
     57        05/05/2025          Telephone Status Conference held via Webex on 5/5/2025 before
                                   Judge Julie Rebecca Rubin.(Court Reporter: Ronda Thomas,
                                   Courtroom 3A) (cb5s, Deputy Clerk) (Entered: 05/05/2025)
     58        05/06/2025          ORDER denying 52 Plaintiffs' Rule 60(b) Motion to Dissolve
                                   Preliminary Injunction and Request for Indicative Ruling Under
                                   Rule 62.1. Signed by Judge Julie Rebecca Rubin on 5/6/2025.
                                   (bg3s, Deputy Clerk) (Entered: 05/06/2025)

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                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND
                                            BALTIMORE DIVISION
         ___________________________________
         AMERICAN ASSOCIATION OF                     :
         COLLEGES FOR TEACHER                        :
         EDUCATION,                                  :
         1307 New York Ave NW #300,                  : Case No.
         Washington, DC 20005,                       :
                                                     :
         NATIONAL CENTER FOR TEACHER                 :
         RESIDENCIES,                                :
         1332 N. Halsted Street, Suite 304           :
         Chicago, IL 60642.                          :
                                                     :
         and,                                        :
                                                     :
         THE MARYLAND ASSOCIATION OF                 :
         COLLEGES FOR TEACHER                        :
         EDUCATION,                                  :
         304 Hawkins Hall                            :
         Towson University,                          :
         Towson, MD. 21252                           :
                                Plaintiffs,          :
                v.                                   :
                                                     :
         DENISE CARTER, in her official capacity     :
         as Acting Secretary of Education            :
         400 Maryland Avenue, SW Washington,         :
         DC 20202,                                   :
                                                     :
         U.S. DEPARTMENT OF EDUCATION,               :
         400 Maryland Avenue, SW Washington,         :
         DC 20202,                                   :
                                                     :
         and,                                        :
         DONALD J. TRUMP, in his official            :
         capacity as President of the United States, :
         c/o Attorney General of the United States   :
         U.S. Department of Justice                  :
         950 Pennsylvania Avenue, NW                 :
         Washington, DC 20530-0001                   :
                                                     :
                                Defendants.          :
         ___________________________________




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                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

               Plaintiffs the American Association of Colleges for Teacher Education (“AACTE”), the

        National Center for Teacher Residencies (“NCTR”), and the Maryland Association of Colleges

        for Teacher Education (“MACTE”) (collectively, “Plaintiffs”) file this action against Defendants

        Denise Carter, in her official capacity as Acting Secretary of Education, the United States

        Department of Education (the “Department”), and Donald Trump, in his official capacity as

        President of the United States (collectively, “Defendants”), for declaratory and injunctive relief.

               AACTE’s, NCTR’s, and MACTE’s members together comprise hundreds of teacher

        preparation programs throughout the United States. Many of Plaintiffs’ members received grants

        from the Department through the Teacher Quality Partnership Program (“TQP”), the Supporting

        Effective Educator Development Program (“SEED”), and the Teacher and School Leader

        Incentive Program (“TSL”), which were used to fund programs to prepare and develop educators.

        Without prior warning, and in reliance on the President’s recent Executive Order regarding DEI

        initiatives, the Department of Education recently summarily terminated many of Plaintiffs’

        members’ TQP, SEED, and TSL grants. Not only were those terminations unlawful in reliance on

        Executive Order 14151, the Department also failed to follow statute and Federal regulations in

        terminating the grants, making the terminations unlawful under the Administrative Procedures Act

        too.

               In the years that the Department of Education held competitions to award TQP, SEED, and

        TSL grants, the Department selected Priorities for applicants from a set of allowable agency

        Priorities enacted through a rulemaking process required by statute. These Priorities were used in

        the competitions to award TQP, SEED, and TSL grants to AACTE’s and MACTE’s member

        organizations and to NCTR and its member organizations. Pursuant to statute and Department



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        regulation, Priorities for any competitive grant program must generally be set by Congress or

        through notice and comment rulemaking by the Department.1 Only then can the final published

        agency Priorities apply to the competitive grant programs for selection of grantees in a particular

        fiscal year.

                  In compliance with statute and its regulation, the Department followed the notice and

        comment rulemaking process and established several Priorities that were allowable at the time the

        TQP, SEED, and TSL grants’ Notices for Inviting Applications at issue in this case were published

        in the Federal Register in 2020, 2022, 2023, and 2024. The Department then awarded AACTE’s

        and MACTE’s member organizations and NCTR and its member organizations up to five-year

        TQP grants, up to three-year SEED grants, and/or up to three-year TSL grants that remained active

        through early to mid-February 2025.

                  But in February 2025, the Department summarily terminated grants awarded under TQP,

        SEED, and TSL. The purported basis provided by the Department for termination was that the

        grants are “inconsistent with, and no longer effectuate[], Department priorities.” In form letters

        sent along with the official termination notifications, the Department explained that:

                           It is a priority of the Department of Education to eliminate
                           discrimination in all forms of education throughout the United
                           States. The Acting Secretary of Education has determined that, per
                           the Department’s obligations to the constitutional and statutory law
                           of the United States, this priority includes ensuring that the
                           Department’s grants do not support programs or organizations that
                           promote or take part in diversity, equity, and inclusion (“DEI”)
                           initiatives or any other initiatives that unlawfully discriminate on the
                           basis of race, color, religion, sex, national origin, or another
                           protected characteristic. Illegal DEI policies and practices can
                           violate both the letter and purpose of Federal civil rights law and
                           conflict with the Department’s policy of prioritizing merit, fairness,
                           and excellence in education….the grant specified above provides
                           funding for programs that promote or take part in DEI initiatives or
                           other initiatives that unlawfully discriminate on the basis of race,
        1
            While there are limited exceptions to this general rule, none of those exceptions are applicable here.

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                       color, religion, sex, national origin, or another protected
                       characteristic; that violate either the letter or purpose of Federal civil
                       rights law; that conflict with the Department’s policy of prioritizing
                       merit, fairness, and excellence in education; that are not free from
                       fraud, abuse, or duplication; or that otherwise fail to serve the best
                       interests of the United States. The grant is therefore inconsistent
                       with, and no longer effectuates, Department priorities.

               After terminating AACTE’s and MATCE’s member organizations’ and NCTR’s and its

        member organizations’ TQP and SEED grants, the Department issued a press release titled “U.S.

        Department of Education Cuts $600 Million in Grants Used to Train Teachers and Education

        Agencies on Divisive Ideologies.” See https://www.ed.gov/about/news/press-release/us-

        department-of-education-cuts-over-600-million-divisive-teacher-training-grants.

               Neither the Department’s “official” reason for terminating the grants, as articulated in the

        Grant Award Notifications regarding Department Priorities, nor its actual, publicly-articulated

        reason for termination regarding DEI initiatives, were lawful. The “official” justification is

        unlawful because the federal government has published a regulation governing the termination of

        grants that the Department did not follow here. The Department’s publicly articulated reason for

        terminating the grants was unlawful because it was predicated on portions of an Executive Order

        that has been enjoined by this Court.

               The Department’s stated reason relied, erroneously, on an implied change in “Department

        priorities.” Department Priorities,” however, is a term of art; they are not subject to whim or fiat

        and, by statute, must instead be established through notice and comment rulemaking. The

        Department Priorities applicable to Plaintiffs’ members’ TQP, SEED, and TSL grants are the same

        today as they were when the grants were awarded because (a) no subsequent rulemaking has taken

        place; and (b) the statutes that established Priorities allowable for TQP, SEED, and TSL have not

        been repealed or amended. Given that the Department Priorities have not changed, and the grants



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        were determined to meet the still-current Priorities during the competition process, it would be

        arbitrary per se for the Department to conclude that these grants are not consistent with or do not

        effectuate those same “Department Priorities” now.

               As a result of the Department’s improper early terminations, the Grant Recipients have

        been and will continue to be deprived of essential funding required to continue their teacher

        preparation programs and the continuation of the Department’s unlawful terminations will

        irreparably harm Plaintiffs and their members. As such, Plaintiffs respectfully request that this

        Court award relief to address the irreparable harm that continues to result from Defendants’

        unlawful actions.

               In support of their claims, Plaintiffs further aver as follows:

               1.      The Supporting Effective Educator Development Program, authorized by Congress

        under section 2242 of the Elementary and Secondary Education Act of 1965, as amended (20

        U.S.C. § 6672), provides funding to increase the number of highly effective educators in the United

        States by supporting the implementation of evidence-based practices that prepare, develop, or

        enhance the skills of educators. SEED was authorized in statute to support educators’ development

        across the continuum of their careers and requires the Secretary of the Department of Education to

        award grants to eligible entities for the purpose of:

               (1) providing teachers, principals, or other school leaders from nontraditional
               preparation and certification routes or pathways to serve in traditionally
               underserved local educational agencies;

               (2) providing evidence-based professional development activities that address
               literacy, numeracy, remedial, or other needs of local educational agencies and the
               students the agencies serve;

               (3) providing teachers, principals, or other school leaders with professional
               development activities that enhance or enable the provision of postsecondary
               coursework through dual or concurrent enrollment programs and early college high
               school settings across a local educational agency;

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               (4) making freely available services and learning opportunities to local educational
               agencies, through partnerships and cooperative agreements or by making the
               services or opportunities publicly accessible through electronic means; or

               (5) providing teachers, principals, or other school leaders with evidence-based
               professional enhancement activities, which may include activities that lead to an
               advanced credential.

        20 U.S.C. § 6672(a).

               2.      The Teacher Quality Partnership Grant Program, authorized by section 202 of the

        Higher Education Act of 1965, as amended (20 U.S.C. § 1022), provides funding to eligible

        partnerships to improve student achievement; improve the quality of prospective and new teachers

        by improving the preparation of prospective teachers and enhancing professional development

        activities for new teachers; hold teacher preparation programs at institutions of higher education

        accountable for preparing teachers who meet applicable State certification and licensure

        requirements; and recruit highly qualified individuals, including individuals of color and

        individuals from other occupations, into the teaching force. TQP funds teacher preparation

        programs at the pre-baccalaureate or “fifth-year” level, and teaching residency programs for

        individuals new to teaching, or mid-career professionals from outside the field of education, with

        strong academic and professional backgrounds.

               3.      The Teacher and School Leader Incentive Program, authorized by section 2212 of

        the Elementary and Secondary Education Act of 1965, as amended (20 U.S.C. § 6632), serves

        educators in high-need schools who raise student academic achievement and close the achievement

        gap between high- and low-performing students. TSL helps develop, implement, improve, or

        expand comprehensive performance-based compensation systems or human capital management

        systems for teachers, principals, or other school leaders.




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                4.      Plaintiff AACTE’s and MACTE’s member organizations and Plaintiff NCTR and

        its member organizations (the “Grant Recipients”) receive TQP, SEED, and/or TSL funding

        through grants awarded by the Department of Education. Specifically, the Grant Recipients were

        awarded up to five-year TQP grants through the FY 2020 TQP competition, FY 2022 TQP

        competition, and FY 2024 TQP competition, up to three-year SEED grants through the FY 2022

        SEED competition, and up to three-year TSL grants though the FY 2023 TSL competition.

                5.      In February 2025, the majority of the Grant Recipients received updated Grant

        Award Notifications and form letters from the Department (“Termination Letters”) terminating

        their TQP, SEED, and TSL grants.2 True and correct representative copies of the Grant Award

        Notifications are attached as Exhibit A. True and correct representative copies of the Termination

        Letters are attached as Exhibit B.

                6.      All of the Grant Recipients are similarly situated because the substance of each

        Termination Letter and added terms and conditions in the Grant Award Notifications from the

        Department are identical, indicating the same reasons with the same terminology for the grant

        terminations. See Exhibits A, B.

                7.      In terminating the Grant Recipients’ TQP, SEED, and TSL grants in their entirety,

        effective the same day as the termination letters were sent/dated, the updated Grant Award

        Notifications provided the following reason for termination: “The grant is deemed to be

        inconsistent with, and no longer effectuates, Department priorities.” (Exhibit A at pages 4, 10, 16,

        22, 28, 34, 40). The Termination Letter articulated the same reason along with additional language

        regarding DEI initiatives:

                        The grant specified above provides funding for programs that promote or
                        take part in DEI initiatives or other initiatives that unlawfully discriminate
        2
         While the Department terminated the majority of the Grant Recipients’ grants, some of Plaintiffs’ member
        organizations did not have their TQP grants terminated yet.

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                       on the basis of race, color, religion, sex, national origin, or another protected
                       characteristic; that violate either the letter or purpose of Federal civil rights
                       law; that conflict with the Department’s policy of prioritizing merit,
                       fairness, and excellence in education; that are not free from fraud, abuse, or
                       duplication; or that otherwise fail to serve the best interests of the United
                       States. The grant is therefore inconsistent with, and no longer
                       effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also
                       34 C.F.R. § 75.253. Therefore, pursuant to, among other authorities, 2
                       C.F.R. § 200.339-43, 34 C.F.R. § 75.253, and the termination provisions in
                       your grant award, the Department hereby terminates grant No. [] in its
                       entirety effective 2/[]/25.

        Exhibit B at pages 1, 3, 5, 7, 9, 11, 13 (emphasis added).

               8.      The Department’s articulated basis for terminating the grants and denying access

        to the funds is contrary to statute and regulations, and the immediate termination constitutes final

        agency action that is arbitrary, capricious, and not in accordance with law under the Administrative

        Procedure Act (“APA”).

               9.      The Grant Recipients offer programs to provide supports to improve the quality of

        teaching and school leadership. The unlawful termination of the TQP, SEED, and TSL grants will

        force the immediate closure of many of these programs and irreparably harm the Grant Recipients

        and the educators, students, and communities they serve. Plaintiffs thus bring this action to enjoin

        Defendants from terminating the TQP, SEED, and TSL grants.

                                             JURISDICTION AND VENUE

               10.     This Court has subject matter jurisdiction over this action because the claims arise

        under the Constitution and laws of the United States, see 28 U.S.C. § 1331, and because

        Defendants are United States officials, see 28 U.S.C. § 1346(a)(2). This Court may issue a

        declaratory judgment and further relief pursuant to 28 U.S.C. §§ 2201-2202.

               11.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), (e)(1), because

        Defendants are agencies of the United States and officers of the United States acting in their official



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        capacity, and a substantial part of the events or omissions giving rise to the claims occurred in this

        District, and Plaintiff MACTE resides in this district.

                                                          PARTIES

                  12.    Plaintiff American Association of Colleges for Teacher Education is a nonprofit

        association of educator preparation programs, comprised of hundreds of public and private

        colleges and universities and nonprofit organizations.3 AACTE’s member organizations prepare

        professional educators across the United States and its territories, encompassing teachers,

        counselors, PK-12 administrators, and college faculty. AACTE’s mission is to elevate education

        and educator preparation through research, professional practice, advocacy, and collaboration. The

        termination of the TQP, SEED, and TSL grants directly threatens this mission. These grants fund

        initiatives that benefit PK-12 students and schools nationwide by supporting innovative

        approaches to educator preparation and professional development. Through their work, grantees

        produce evidence-based practices that lead to the preparation of highly qualified teachers,

        principals, and school-based educators. As the nation’s largest organization dedicated to educator

        preparation, AACTE prioritizes ensuring that every child has access to credentialed, well-prepared

        educators. These grants are vital to that goal. AACTE plays a crucial role in amplifying their

        impact by sharing grantees’ research, policy insights, and best practices with the broader education

        community through publications, convenings, annual meetings, and other resources. Preserving

        these funding sources is essential to sustaining and advancing the quality of educator preparation

        and, ultimately, student success. AACTE’s principal place of business is 1602 L St., NW, Suite

        601, Washington, DC 20036.




        3
            AACTE’s member organizations can be found at https://aacte.org/membership/our-members/.

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                  13.     Plaintiff The National Center for Teacher Residencies supports the design of new

        teacher residency programs and provides consulting to strengthen existing programs across the

        United States. NCTR is comprised of dozens of network members, including colleges, universities,

        and nonprofit teaching organizations.4 NCTR’s mission is to transform educator preparation by

        advancing the teacher residency movement to prepare, support, and retain more effective educators

        who represent and value the communities they serve. The termination of the TQP, SEED, and TSL

        grants implicates NCTR’s core mission because it removes the financial supports needed to reduce

        tuition costs for aspiring teachers called teacher residents, pay host K-12 teachers for the work

        they are doing to support the aspiring teachers, offset the cost for licensure examinations and test

        prep workshops, and provide a stipend or pay for work the teacher residents are completing through

        their internships. Without these necessary supports, teacher residencies will be unable to continue

        to lower the financial barrier to becoming a teacher and ensure the necessary comprehensive

        preparation is provided to prepare future teachers. NCTR’s principal place of business is 1332 N.

        Halsted Street, Suite 304 Chicago, IL 60642.

                  14.     Plaintiff the Maryland Association of Colleges for Teacher Education is a

        membership organization with a mission to serve as a distinct statewide voice on matters of

        importance to educator preparation programs at Maryland’s colleges and universities. AACTE and

        MACTE collaborate to strengthen their advocacy efforts, share experience and expertise, and

        expand their members’ professional development opportunities. MACTE’s members include

        regionally accredited colleges and universities engaged in the preparation of professional school

        personnel with state program approval. In addition to hosting regular professional learning

        activities, MACTE serves on the Council of Educational, Administrative and Supervisory



        4
            NCTR’s member organizations can be found at https://nctresidencies.org/nctr-network/members/.

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        Organizations of Maryland Leadership Team, nominates three representatives to serve on the

        Professional Standards and Teacher Education Board, and represents Maryland preparation

        programs at AACTE. The termination of the TQP and SEED grants implicates MACTE’s core

        mission. MACTE serves the institutions of higher education in Maryland for both the recruitment

        and retention of future teachers as well as the support and advancement of current classroom

        teachers. Both the TQP and SEED grants were focused on recruitment, retention of future teachers

        as well as the support of practicing teachers in Maryland. MACTE’s principal place of business is

        304 Hawkins Hall, Townson University, Townson, MD 21252.

                  15.   Defendant Denise Carter is the Acting Secretary of Education and is sued in her

        official capacity.

                  16.   Defendant the United States Department of Education is an agency of the United

        States.

                  17.   Defendant Donald J. Trump is the President of the United States and is sued in his

        official capacity.

                                      FACTUAL AND LEGAL BACKGROUND

          I.      Overview of Agency Priorities.

                  18.   In 2008, Congress authorized TQP to support high-quality teacher preparation and

        professional development for prospective teachers and school leaders. In 2015, Congress

        authorized SEED to increase the number of highly effective educators by supporting the

        implementation of evidence-based practices that prepare, develop, or enhance the skills of

        teachers, principals, or other school leaders. Also in 2015, Congress authorized TSL to assist local

        educational agencies and nonprofit organizations to develop, implement, improve, or expand

        comprehensive performance-based compensation systems or human capital management systems



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        for teachers, principals, or other school leaders, especially for teachers, principals, or other school

        leaders in high-need schools who raise student growth and academic achievement and close the

        achievement gap between high- and low-performing students.

               19.     Congress directed the Secretary of the Department of Education to award grants,

        on a competitive basis, to eligible entities to provide funding consistent with the goals of TQP (20

        U.S.C. § 1022a(a)), SEED (20 U.S.C. § 6672(a)), and TSL (20 U.S.C. § 6632(a)).

               20.     Federal regulations govern the procedures and the basis by which a Federal agency,

        such as the Department of Education, may terminate a Federal award. See 85 F.R. 49506-49582.

        A Federal award may be terminated by the Federal agency or pass-through entity if an award no

        longer effectuates the program goals or agency priorities. See 2 C.F.R. § 200.340(a)(2) (2020); see

        also 2 C.F.R. § 200.340(a)(4) (2024).

               21.     The Secretary of Education (the “Secretary”) is required to publish agency

        Priorities in the Federal Register, which must be used to select the Priorities for a competition and

        must have gone through public comment, unless one of the following exceptions apply:

               (i) The final annual priorities will be implemented only by inviting applications that
               meet the priorities;

               (ii) The final annual priorities are chosen from a list of priorities already established
               in the program’s regulations;

               (iii) Publishing proposed annual priorities would seriously interfere with an orderly,
               responsible grant award process or would otherwise be impracticable, unnecessary,
               or contrary to the public interest;

               (iv) The program statute requires or authorizes the Secretary to establish specified
               priorities; or

               (v) The annual priorities are chosen from allowable activities specified in the
               program statute.

        34 C.F.R. § 75.105(b)(2); 20 USC § 1232(d).



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                  22.   The Secretary is likewise required to establish the specific Priorities that are

        included in the application for each competitive federal grant program, such as TQP, SEED, and

        TSL, by publishing the Priorities in the Notice Inviting Applications for the grant in the Federal

        Register. (34 C.F.R. § 75.105(b)(1)).

                  23.   As a federal agency, the Department is unique in the statutory requirement it has to

        follow for setting agency Priorities for discretionary grants. While the APA (5 U.S.C. § 553)

        exempts grants from the rulemaking process, the General Education Provisions Act (20 U.S.C.

        § 1232(d)) (“GEPA”) states that, for the Department of Education, the grants exemption for

        rulemaking only applies to regulations (1) that govern the first grant competition under a new or

        substantially revised program authority as determined by the Secretary; or (2) where the Secretary

        determines rulemaking will cause extreme hardship to the intended beneficiaries of the program.

                  24.   In other words, the Priorities for grant programs administered by the Department

        must go through the notice and comment rulemaking process, unless one of the above exceptions

        apply.

            II.   Department of Education Priorities Applicable to the Now-Terminated TQP, SEED,
                  and TSL Grants.

                  25.   After going through the proper notice and comment rulemaking process, the

        Department published a Notice of Final Priority for discretionary grant programs in the Federal

        Register on November 27, 2019. (84 F.R. 65300-65303).5 Also after following the required notice

        and comment rulemaking process, the Department published a Notice of Final Priorities for all

        discretionary grant programs in the Federal Register on March 9, 2020.6 (85 F.R. 13640-13644).


        5
         The Department of Education published a Notice of Proposed Priorities for public comment on July 29,
        2019. (84 F.R. 36504-36507).
        6
         The Department of Education published a Notice of Proposed Priorities for public comment on November
        29, 2019. (84 F.R. 65734-65739).

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               26.      Then, after going through the proper notice and comment rulemaking process, the

        Department published its Notice of Final Priorities for TQP, SEED, and TSL grant competitions

        in the Federal Register on July 9, 2021.7 The final Priorities consisted of: Priority 1—Supporting

        Educators and Their Professional Growth; and Priority 2—Increasing Educator Diversity. (86 F.R.

        36217-36220).

               27.      On July 9, 2021, after going through the proper notice and comment rulemaking

        process, the Department published a Notice of Final Priority for TSL.8 The Priority was for “High-

        Need Schools.” (86 F.R. 36220-36222).

               28.      After following the required notice and comment rulemaking process, the

        Department of Education published a Notice of Final Priorities for the Secretary’s Supplemental

        Priorities for all discretionary grant programs in the Federal Register on December 10, 2021.9 The

        final supplemental Priorities consisted of the following: Priority 1—Addressing the Impact of

        COVID-19 on Students, Educators, and Faculty; Priority 2—Promoting Equity in Student Access

        to Educational Resources and Opportunities; Priority 3—Supporting a Diverse Educator

        Workforce and Professional Growth To Strengthen Student Learning; Priority 4—Meeting Student

        Social, Emotional, and Academic Needs; Priority 5—Increasing Postsecondary Education Access,

        Affordability, Completion, and Post-Enrollment Success; and Priority 6—Strengthening Cross-

        Agency Coordination and Community Engagement To Advance Systemic Change. (86 F.R.

        70612-70641).


        7
         The Department of Education published a Notice of Proposed Priorities for public comment on April 20,
        2021. (86 F.R. 20471-20475).
        8
         The Department of Education published a Notice of Proposed Priority for public comment on April 9,
        2021. (86 F.R. 18519-18523).
        9
         The Department of Education published a Notice of Proposed Priorities for public comment on June 30,
        2021. (86 F.R. 34664-34674).

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        III.   Notice Inviting Applications for FY 2020, FY 2022, and FY 2024 TQP Grants.

               29.     On May 18, 2020, the Department published a Notice Inviting Applications for the

        FY 2020 TQP competition inviting applicants to apply for the grant funds. (85 F.R. 29691-29704).

        In addition, on February 25, 2022, the Department published a Notice Inviting Applications for

        the FY 2022 TQP competition inviting applicants to apply for the grant funds. (87 F.R. 10906-

        10923). The Department similarly published a Notice Inviting Applications for the FY 2024 TQP

        competition on April 4, 2024. (89 F.R. 23573-23592).

               30.     The project period for the FY 2020, FY 2022, and FY 2024 TQP competitions (the

        maximum amount of time for which the grants can be awarded) was up to five years. (85 F.R.

        29699, 87 F.R. 10918, 89 F.R. 23587).

               31.     All three TQP grant competitions included Priorities that were established through

        the required notice and comment rulemaking process or chosen from allowable activities specified

        in TQP’s authorizing statute (20 U.S.C. § 1022).

               32.     Grant Recipients were selected to receive funding from the FY 2020 TQP

        competition for up to a five-year period.

               33.     Grant Recipients were selected to receive funding from the FY 2022 TQP

        competition for up to a five-year period.

               34.     Grant Recipients were selected to receive funding from the FY 2024 TQP

        competition for up to a five-year period.

        IV.    Notice Inviting Applications for FY 2022 SEED Grants.

               35.     On April 4, 2022, the Department published a Notice Inviting Applications for the

        FY 2022 SEED competition, inviting applicants to apply for the grant funds. (87 F.R. 19487-

        19496).



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               36.       The project period for the FY 2022 SEED competition was up to three years. (87

        F.R. 19492).

               37.       The SEED grant competition included Priorities that were established through the

        required notice and comment rulemaking process or chosen from allowable activities specified in

        SEED’s authorizing statute (20 U.S.C. § 6672).

               38.       Grant Recipients were selected to receive funding from the FY 2022 SEED

        competition for up to a three-year period.

         V.    Notice Inviting Applications for FY 2023 TSL Grants.

               39.       On May 24, 2023, the Department published a Notice Inviting Applications for the

        FY 2023 TSL competition, inviting applicants to apply for the grant funds. (88 F.R. 33592-33601).

               40.       The project period for the FY 2023 TSL competition was up to three years. (88 F.R.

        33598).

               41.       The TSL grant competition included Priorities that were established through the

        required notice and comment rulemaking process or chosen from allowable activities specified in

        TSL’s authorizing statute (20 U.S.C. § 6632).

               42.       Grant Recipients were selected to receive funding from the FY 2023 TSL

        competition for up to a three-year period.

        VI.    The Department’s Decision to Terminate the TQP, SEED, and TSL Grants.

               43.       In February 2025, the Department sent Termination Letters and updated Grant

        Award Notifications to Grant Recipients, informing them that their TQP, SEED, and TSL grants

        were terminated. The termination of the grants was effective “in [their] entirety” immediately. See

        Exhibits A, B.

               44.       The only stated reason for the termination of the grants was that they are

        “inconsistent with, and no longer effectuate[], the Department priorities.” See id.

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       VII.    The Preliminary Injunction Granted in NADOHE et al. v. Trump et al. Prohibits the
               Department from Enforcing the Termination of the Grants.

               45.     On February 21, 2025, this Court granted a preliminary injunction blocking the

        President’s administration from enforcing certain provisions of Executive Order 14151, Ending

        Radical and Wasteful Government DEI Programs and Preferencing, Executive Order of January

        20, 2025, 90 Fed. Reg. 8339 (Jan. 29, 2025) (the “J20 Order”), and Executive Order 14173, Ending

        Illegal Discrimination and Restoring Merit-Based Opportunity, Executive Order of January 21,

        2025, 90 Fed. Reg. 8633 (Jan. 31, 2025) (“J21 Order”). National Association of Diversity Officers

        in Higher Education, et al. v. Donald J. Trump, et al., No. 1:25-CV-00333-ABA, 2025 WL 573764

        (D. Md. Feb. 21, 2025) (the “NADOHE Order”). A true and correct copy of the NADOHE Order

        is attached as Exhibit C.

               46.     In relevant part, the NADOHE Order enjoins the President’s administration from

        enforcing a provision in Executive Order 14151 requiring “[e]ach agency, department, . . . [to]

        take the following actions within sixty days of this order: (i) terminate, to the maximum extent

        allowed by law, . . . all . . . ‘equity-related’ grants or contracts” (the “Termination Provision”).

               47.     In granting the preliminary injunction, the Court held that the plaintiffs showed a

        likelihood of success on their claim that the Termination Provision is void for vagueness under the

        Fifth Amendment.

               48.     While the Grant Award Notification and Termination Letters did not reference

        Executive Order 14151 as the reason for terminating the grants, the Department released a press

        release on February 17, 2025 that makes clear that the grant terminations at issue in this lawsuit

        were pursuant to the Termination Provision in Executive Order 14151 requiring the Department

        to terminate “equity-related” grants or contracts. A true and correct copy of the press release is




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        attached as Exhibit D.10 The press release explains that the grants were terminated because they

        were using taxpayer funds to train teachers and education agencies on divisive ideologies, such as

        “Diversity, Equity, and Inclusion” and “equity training”– the same directive of the Termination

        Provision. See id.

                49.     The Termination Letters likewise reference the Department’s position to “ensure[]

        that the Department’s grants do not support programs or organizations that promote or take part in

        diversity, equity, and inclusion (‘DEI’) initiatives[.]” (Exhibit B at pages 1, 3, 5, 7, 9, 11, 13).

                50.     While the Grant Award Notifications and Termination Letters state that the grants

        were terminated because they were “inconsistent with, and no longer effectuate[], Department

        priorities,” it is clear from the Government’s conduct that the grants were terminated pursuant to

        the now-enjoined Termination Provision.

                51.     The NADOHE Order benefits not just the named plaintiffs in that action, but all

        contractors and grantees who were subjected to the Termination Provision. NADOHE v. Trump,

        No. 1:25-CV-00333-ABA, 2025 WL 573764 at *28-29.

                52.     As such, this Court’s NADOHE Order covers, and forbids, the continued

        enforcement of the termination of the grants at issue in this lawsuit. Plaintiffs seek relief directing

        the Department to return the Grant Awardees to the status quo ante with respect to Executive Order

        14151 and rescind the termination of their TQP, SEED, and TSL grants.




        10
           See https://www.ed.gov/about/news/press-release/us-department-of-education-cuts-over-600-million-
        divisive-teacher-training-grants.

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       VIII.   The Department’s Termination of the Grants also Violates the Administrative
               Procedures Act (“APA”).

               53.     Even if the Department’s termination of the grants at issue in this lawsuit were not

        governed by the NADOHE Order, the terminations were unlawful because they constituted an

        unlawful, arbitrary, and capricious action that violates the APA.

               54.     Statute and regulation require the Secretary to publish Department Priorities for

        program grants in the Federal Register, subject to a notice and comment period. (20 U.S.C.

        § 1232(d), 34 C.F.R. § 75.105(b)(2)). The Secretary then selects allowable Priorities to include in

        the applications which are published in the Federal Register. (34 C.F.R. § 75.105(c)).

               55.     The proffered reason by the Department for the termination of the grants because

        they “are inconsistent with, and no longer effectuates, Department priorities,” is contrary to statute

        and regulation and arbitrary and capricious.

               56.     The Department cannot, by law, determine that with a change in administration,

        specific Department Priorities for grant programs are no longer allowable unless and until the

        Department engages in rulemaking to propose and issue new Final Priorities. The present

        administration has not done that, so the current Priorities remain Department Priorities.

               57.     The Department Priorities for the grants that were awarded from the respective

        competitions were lawfully selected for, and articulated in, the published Notices Inviting

        Applications in 2020, 2022, 2023 and 2024 pursuant to program statutes or after the proper notice

        and comment rulemaking process.

               58.     As a result, and contrary to the Department’s official reasons, the grants at issue are

        consistent with the current Department Priorities. If the Department wishes to establish new

        Department Priorities, it may do so only through the means established by statute and regulation,

        not through whim or fiat.

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        IX.    Effect of Termination on Plaintiffs and Their Member Organizations.

               59.       As of the date of the Termination Letters, all funding from the grants has been

        halted and the Grant Recipients are no longer receiving any funds from the Department under the

        grants they were awarded under TQP, SEED, and TSL.

               60.       Without the TQP, SEED, and TSL grants, Grant Recipients are unable to continue

        funding their work.

               61.       The loss of funding is an economic harm so great that it threatens the very existence

        of Plaintiffs’ members’ teacher preparation programs.

               62.       The TQP, SEED, and TSL grants together fund hundreds of teacher preparation

        programs in the United States, and the termination en masse of these grants threatens the system

        that prepares our nation’s teaching workforce.

               63.       The harm to Plaintiffs and their member organizations from the terminations has

        been severe, and a continuation of the harm is certain and irreparable.

               64.       The following represent just a few of many examples of the harm to Plaintiffs and

        their member organizations caused by the Department’s termination of the Grant Recipients’ TQP,

        SEED, and TSL grants:

                            A. Plaintiff NCTR

               65.       Plaintiff NCTR has been and will continue to be substantially and irreparably

        harmed by the Department’s grant terminations. Plaintiff NCTR was awarded a three-year SEED

        grant in 2022.

               66.       NCTR’s SEED grant funded thirteen teacher residency programs spanning five

        states. The teacher residency programs consist of partnerships between higher education




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        institutions and K-12 school districts in traditional public and charter schools located in rural,

        suburban, and urban areas.

               67.     The teacher residency programs provide financial support to their participants in

        the following ways: tuition support, living expense stipends, tutoring in licensing examinations,

        and emergency funds. The programs also provide mentorship, intensive training and professional

        development, and summer institutes for mentor teachers.

               68.     Plaintiff NCTR’s SEED grant is also used to fund a cross-organizational (twelve

        residency programs) collaborative effort to create and field-test a coherent and aligned vision of

        mentoring excellence and collective responsibility. One of the goals of the grant funds was to

        complete a study of attainable metrics to evaluate mentor teacher impacts on resident learning.

               69.     Plaintiff NCTR’s SEED grant was terminated in its third year.

               70.     The termination of the SEED grant will result in a $1,188,070 overall loss,

        including a $332,000 direct loss to the grant winning organization, as well as a loss of $360,000

        in expenses to contractors and a $495,000 loss in subgrants to the thirteen teacher residency

        programs.

               71.     This $495,000 loss in subgrants will have an adverse impact on the thirteen teacher

        residency programs, and will directly lead to staff cuts at a number of those institutions. In addition,

        the grant termination directly affects the 128 teacher residents currently enrolled in the thirteen

        programs as part of the 2024-25 school year and will also impact the ability of those thirteen

        programs to enroll the projected 190 teacher residents who plan to begin their residency year this

        summer 2025. With the termination of the grant, some of the thirteen teacher residency programs

        will be forced to close.




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                72.     Programs intended to use subgrant funds to provide tuition relief and stipends for

        both groups of teacher residents, which would total over 300 teacher residents. This will no longer

        be possible with the termination of the grant.

                73.     The termination of the grant will also directly affect at least 7,500 K-12 students

        across the five states.

                74.     In addition, with the grant’s termination, the study of the mentor teacher impact and

        teacher resident learning will not be completed, depriving Plaintiff NCTR of its capacity to engage

        in core mission-driven activities, such as publishing about the most promising practices for

        developing skilled, experienced teachers into impactful mentors of new teacher residents.

                75.     Furthermore, without its ability to continue these thirteen teacher residency

        programs due to the loss of grant funding, Plaintiff NCTR is deprived of its ability to serve the K-

        12 school districts where there is high turnover and shortages of teachers and prepare educators

        for careers to help mitigate these teacher shortages.

                76.     These harms prevent NCTR from engaging in the core activities compelled by its

        mission and reason for existence.

                            B. AACTE Member Organization - American University

                77.     American University (“AU”) is a member organization of Plaintiff AACTE that

        has been and will continue to be substantially and irreparably harmed by the Department’s grant

        terminations. AU is in the second year of a five-year TQP grant.

                78.     AU’s TQP grant funds a teacher preparation program for special education

        (learning disabilities) and early childhood education, the Residency for Excellence in Teaching

        and Learning (“RETL”).




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                79.     RETL is a partnership between AU’s School of Education and its charter network,

        Washington D.C. Friendship Public Charter Schools, consisting of five charter campuses. The

        purpose of the partnership is to provide a pathway for educator development to address critical

        areas of need, including early childhood education and special education,11 and recruit highly

        motivated preservice teacher candidates who are committed to teaching in diverse early childhood

        and special education settings (pre-K through grade five).

                80.     The partnership enables participants to complete a residency-based master’s degree

        with an initial teaching license in Early Childhood Education or Special Education - Learning

        Disabilities. In addition to earning their Masters of Arts in Teaching degree, program participants

        receive comprehensive coaching, professional development, and ongoing support during the

        entirety of the three-year program -the residency year (the first year) and the induction years (the

        second and third year).

                81.     RETL supports pathways in high-need teaching areas of early childhood education

        and special education, specifically targeting urban and underserved geographic areas with their

        partner charter network. RETL services five Friendship Public Charter campuses.

                82.     RETL provides a living stipend to participants and reduced tuition (by roughly 35%

        of the AU graduate tuition rate) to one of two AU’s School of Education’s Master of Arts in

        Teaching degrees, Special Education in Learning Disabilities and Early Childhood Education.

                83.     AU was in its second year of RETL when the Department terminated the grant,

        with eight students who are expected to graduate from AU in December 2025. With the funding

        from the TQP grant, AU planned to recruit an additional forty participants. As a result of the loss



        11
           Washington D.C. is in need of educators for special education to serve students with disabilities. See
        https://specialedcoop.org/news-articles/the-state-of-special-education-in-the-district-of-columbia/,
        https://www.washingtonpost.com/opinions/2022/10/27/dc-students-disabilities-urgent-reform/.

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        of funding from the terminated TQP grant, AU will no longer be able to recruit future cohorts. As

        a result, forty-eight future RETL participants who would have had the opportunity to earn a Master

        of Arts in Teaching degree and deepen their expertise and longevity as teachers in Washington

        D.C. will no longer have that opportunity.

                84.    The termination of the TQP grant will halt AU’s efforts to remedy dramatic teacher

        shortages and improve outcomes for early childhood and special education students in Washington

        D.C. Up to 1,500 Washington D.C. students will be impacted by the termination of the grant, in

        addition to the educators at the charter school partners.

                85.    In addition, AU planned to expand to at least two additional charter schools in the

        remaining years of the TQP grant. As a result of the Department’s termination of AU’s grant, there

        is no opportunity for additional students and educators to be served.

                86.    The termination of the TQP grant will also result in AU terminating the

        employment of its full-time coach/program director.

                87.    If funding through the TQP grant is not reinstated, the RETL program will be forced

        to close.

                88.    These harms prevent AU/RETL from engaging in the core activities compelled by

        their missions and reason for existence.

                           C. AACTE Member Organization – University of St. Thomas

                89.    The University of St. Thomas (“UST”) is a member organization of Plaintiff

        AACTE that has been and will continue to be substantially and irreparably harmed by the

        Department’s grant terminations. UST is in the second year of a three-year SEED grant and the

        fifth year of a five-year TQP grant.




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               90.     The UST SEED grant funds three pathway models to a career in education: (1) a

        residency program for graduate students in partnership with St. Paul Public Schools, Minneapolis

        Public Schools, and a consortium of charter schools; (2) a “work and learn” program for graduate

        students in partnership with schools throughout the state of Minnesota where paraprofessionals

        and teachers are employed while completing their teacher preparation program; and (3) an

        undergraduate program which prepares undergraduate students for educational careers in their

        junior and senior years at UST.

               91.     The SEED grant provides funds of up to $20,000 per year for graduate students and

        up to $40,000 per year to undergraduate students who are pursuing teacher licensure in special

        education and elementary education.

               92.     UST is currently in year two of the three year SEED grant. In year two, the grant

        was set to fund over 300 scholarships to future educators over the three year grant period, most of

        whom were preparing to be special education teachers, for approximately $2,000,000.

        Scholarships for fall and spring semester were disbursed to students prior to the grant termination.

        However, without access to the SEED grant funds, UST can no longer provide summer funding to

        the majority of these future educators. As a result, many of the future educators may not be able

        to afford the schooling required to continue their path to becoming teachers.

               93.     Year three of the SEED grant was set to fund scholarships in the amount of

        $2,200,000; termination of the grants will result in a loss of all of these scholarships. In addition,

        termination of the SEED grants will result in a loss of funding for mentor teachers for professional

        development.

               94.     To date, nearly 80 communities across the state of Minnesota have been taught by

        teachers who received SEED scholarship funds, including schools in rural, urban, suburban, and



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        exurban communities. Without continued SEED funding, the teacher pipeline program at UST will

        graduate fewer students capable of serving in high-needs areas such as special education, which

        will have widespread negative impacts on the many communities, teachers and students these

        teacher pipeline programs benefit.

               95.     UST’s TQP grant removes financial barriers to careers in education by providing

        funding for UST to partner with charter schools to provide living wage stipends to student teaching

        residents preparing to become licensed educators. UST is in year five of this TQP grant, and at

        present, 21 student teaching residents are in the middle of their second semester of student

        teaching. Collectively, the student teaching residents were set to receive $819,000 for stipends (the

        first half of which has already been paid), however, the termination of the TQP grant will put the

        living-expense stipends for these students at risk.

               96.     These harms interfere with UST’s ability to serve its students, and through them, to

        serve the community and fulfill its mission to advance the common good.

                           D. NCTR and AACTE Member Organization – Alder Graduate School of
                              Education

               97.     Alder Graduate School of Education (“Alder GSE”) is a member organization of

        Plaintiff NCTR and Plaintiff AACTE that has been and will continue to be substantially and

        irreparably harmed by the Department’s grant terminations. Alder GSE was awarded a five-year

        TQP grant in 2020, as well as a five-year TQP grant in 2022.

               98.     Both of Alder GSE’s TQP grants fund teacher residency programs.

               99.     The teacher residency programs consist of partnerships between Alder GSE and

        partner K-12 school systems, including public school districts and a Special Education Planning

        Area, to operate community-based workforce development pathways for aspiring teachers.




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               100.     Alder GSE and its partner K-12 school systems recruit and prepare community

        members through a one-year teacher residency program, where candidates co-teach with a highly

        qualified mentor teacher while earning their Master’s degree and teaching credential. They are

        often hired immediately upon completion of the program, most often by the school systems where

        they trained.

               101.     The 2020 TQP grant’s goals are: (i) launch and scale a new and sustainable

        residency program with three partner local education agency that meets local human capital needs;

        (ii) train, support and retain effective new teachers in schools with high concentrations of high

        need students; and (iii) demonstrate the capacity of partners to scale, sustain, and replicate teacher

        residency and development model. The 2022 TQP grant’s goals are: (i) build a pipeline of high-

        quality and diverse teachers in partnership with high-need local education agencies that effectively

        meets their human capital needs and certification shortage areas; (ii) promote equity, strengthen

        student learning, and meet the social, emotional, and academic needs of students by modeling for

        and by building the capacity of mentors and residents to use evidence based practices and to create

        positive and inclusive learning environments; and (iii) increase impact by building capacity,

        sustainability and scale of the partnership and high-leverage strategies.

               102.     The termination of the grants has had and will continue to have immense impacts

        on the aspiring teacher candidates, mentor teachers, the partner K-12 school systems, and Alder

        GSE.

               103.     For the 2024-2025 academic year, the teacher residency programs have 83 aspiring

        teacher candidates who were receiving a living stipend supplemented by the funds from the TQP

        grants. The teaching candidates depend on these stipends to live, eat, and support their families –

        for most they are their only source of income. The teaching candidates signed Letters of



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        Commitment before June 2024, with the expectation of a level of stipend for the entirety of the

        school year. The teacher residency programs also presently have 83 mentor teachers who receive

        a stipend funded by grant funds for their work in support of their efforts to train and develop new

        teachers. With the termination of the grants, the 83 aspiring teacher candidates and 83 mentor

        teachers will no longer receive the level of stipends they were promised.

               104.    Alder GSE has already recruited 40 new teacher candidates for the 2025-2026

        academic year and K-12 school systems had planned to provide the living stipends – the majority

        of which were planned to be supplemented with TQP grant funds. Alder GSE recruited the majority

        of these residents with the expectation of a level of funding for their living stipend that was

        supplemented by the grant funding. The majority of these residents are enrolled, have signed letters

        of commitment, or are in final rounds of interviews/admissions. The financial impact of the grants’

        termination will affect many of their decisions to become teachers. Similarly, the grants’

        termination affects the stipend funding levels for mentors, which will have an impact on their

        decision to continue with the role.

               105.    Alder GSE similarly planned to recruit 40 new teacher candidates and 40 new

        mentors for the 2026-2027 academic year, however, with the loss in grant funds, it will be more

        difficult for Alder GSE to recruit and prepare these future prospective candidates.

               106.    The termination of the 2020 and 2022 TQP grants has caused and will continue to

        cause harm to the partner K-12 school systems as well. They are at risk of losing the teacher

        candidates who taught in their schools, which will have a negative impact on the school and its

        community. Alder GSE expects about $2.1 million of lost funding for their partner K-12 school

        systems.




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               107.    There were also a number of programmatic roles at Alder GSE that were partially

        supported by these TQP grants. These roles were supporting operation of these partnerships and

        these residency programs - including recruitment, admissions, enrollment, student services,

        financial support, data and impact, academic programs, and clinical programs. Alder GSE expects

        about $2.2 million of lost funding supporting Alder GSE costs to support these partnerships and

        residency programs.

               108.    Additionally, the terminations will cause Alder GSE to lose approximately

        $600,000 in funding for evaluation contracts. Alder GSE’s evaluation partner was providing an

        important source of formative feedback and evidence of program effectiveness. The evaluation

        from TQP 2020 has a retention study in progress that is six months to completion, but will likely

        not be completed as a result of the termination of the grant. The evaluation for TQP 2022 still had

        2.5 more years of data collection that has been terminated mid-cycle.

               109.    In addition to the dollars lost, the time and resource demands to meet this sudden

        news has been extraordinary. There have been countless hours of work to communicate clearly to

        all affected parties and to work with Alder GSE’s Board and team on determining ways to mitigate

        these significant and completely unexpected losses.

               110.    These harms prevent Alder GSE from engaging in the core activities compelled by

        its mission and reason for existence.

                           E. AACTE Member Organization – Teaching Lab

               111.    Teaching Lab is a member organization of Plaintiff AACTE that has been and will

        continue to be substantially and irreparably harmed by the Department’s grant terminations. In

        2023, Teaching Lab was awarded a three-year TSL grant.




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               112.    Teaching Lab’s TSL grant funds Project Refine, Innovate, Share, and Elevate

        (“Project RISE”). Project RISE involves the following: (i) implementation of Teaching Lab’s

        teacher leadership and coaching model for public K-12 school systems located in Milwaukee,

        Wisconsin, Kemper, Mississippi, El Paso, Texas, and Osceola, Arkansas (the “Public School

        Beneficiaries”); (ii) development of human capital management systems in the foregoing districts;

        and (iii) a rigorous, randomized controlled trial on Teaching Lab’s teacher development and

        coaching model, to be conducted in partnership with the American Institutes for Research, focused

        on the work in Milwaukee.

               113.    Across all of the Public School Beneficiaries, Teaching Lab’s programs through

        the TSL grant impact more than 40 schools and more than 150 teachers, whose instruction in turn

        reaches well over 6,000 K-12 students.

               114.    Teaching Lab’s TSL grant was terminated by the Department, resulting in great

        uncertainty regarding the future of Project Rise. Absent the grant funding, Teaching Lab will no

        longer be able to provide the curriculum-based professional learning and coaching services

        through Project RISE to the Public School Beneficiaries. At this time, Teaching Lab does not have

        an alternate source of funding. The Public School Beneficiaries do not have room in their budget

        to unexpectedly pay for the services.

               115.    Teaching Lab has hired more than two dozen employees and contractors to support

        Project RISE. If the TSL grant funding is suspended for any amount of time, Teaching Lab will

        likely have to furlough or layoff many or all of these workers.

               116.    The termination of the grant also puts the American Institutes for Research study

        evaluating how school districts can best spend their limited funds and limited teacher development

        time and resources at risk. Teaching Lab is not able to fund the study without the TSL grant funds.



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                117.    In addition to the loss of the study, the Public School Beneficiaries and the public

        will be significantly harmed by the termination of the grant, as one or more of the Public School

        Beneficiaries is likely to lose the benefit of Teaching Lab’s services. Specifically, the Public

        School Beneficiaries stand to lose value of up to roughly $7 million in services if the termination

        moves forward.

                118.    These harms prevent Project RISE from engaging in the core activities compelled

        by its mission and reason for existence.

                            F. AACTE Member Organization – University A12

                119.    University A is a member organization of Plaintiff AACTE that has been and will

        continue to be substantially and irreparably harmed by the Department’s grant terminations. In

        2022, University A was awarded a five-year TQP grant.

                120.    University A’s TQP grant funds Program A, a program that supports talented rural

        individuals to receive an undergraduate degree and license without leaving their hometown.

        Candidates can receive a Bachelor of Arts degree and a teaching license in early childhood

        education, elementary education, special education, middle school math education, and secondary

        science education. University A partners with rural community colleges employing many rural

        educators.

                121.    Program A was created to address the extreme teacher shortage in rural State A.

        Pre-K through year 12 students can go years without a qualified teacher, forcing rural districts to

        hire people without degrees or experience and negatively impacting rural students’ learning.



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          University A is an AACTE member organization that is fearful of retaliation, and therefore, did not wish
        to disclose its name in this Complaint or provide a Declaration that identified it by name. However, it
        wanted to share the severe and devastating impact the Department’s termination of its TQP grant has caused
        and will continue to cause, absent Court intervention. This Complaint refers to the member organization as
        “University A” in State A, and its teacher preparation program as “Program A.”

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               122.    Program A’s TQP grant has an immensely positive economic impact on rural

        communities in State A. Specifically, the program funded by the grant serves 57 rural State A

        school districts in partnership with four rural community colleges. These districts stretch across

        State A representing some of the most financially impoverished communities in State A, and have

        some of the highest teacher shortage areas in the state. Program A was able to provide teachers for

        more than 2,500 students in pre-K through year 12 each year.

               123.    Program A graduated 49 teachers who are presently teaching in State A rural

        schools. Currently, there are 77 students supported through the grant, as well as eight recent

        graduates supported within required induction supports.

               124.    The termination of the grant forced University A to terminate the employment of

        the instructors who teach the courses, and eliminated the infrastructure and human resources that

        support Program A. University A anticipated preparing 146 teachers by the end of the five-year

        grant in 2027 and anticipated supporting these new teachers in their beginning years of teaching.

        The termination of the grant will result in a loss of 69 new teachers for these hard-hit rural areas.

               125.    Furthermore, there was a total of 11 full-time equivalent positions in both rural

        communities and in State A’s major city funded through the grant, however with the grant’s

        termination, the money supporting rural grant employee salaries was lost immediately; State A’s

        community college partners are uncertain about the ability to utilize emergency institutional funds

        to continue them, even short term. University A is using emergency funding to support State A

        grant employees until the end of the Spring 2025 semester, however, after the end of the semester,

        all of the rural grant employees will be forced to be let go.




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               126.    With the grant’s termination, Program A will no longer be able to continue, which

        will have significant consequences on University A and its community as well as the rural

        communities it serves.

               127.    These harms prevent Program A from engaging in the core activities compelled by

        its mission and reason for existence.

         X.    Defendants’ Actions Will Cause Plaintiffs and Their Member Organizations
               Immediate and Irreparable Harm.

               128.    Defendants’ actions have harmed Plaintiffs and their member organizations by

        unlawfully depriving them of funding, which without Court intervention, will continue to cause

        immediate and irreparable harm.

               129.    The funding was also used towards tuition support for enrollment at many of the

        colleges and universities. Without this ability of the Grant Recipients to address significant

        financial barriers for students, many will no longer be able to afford to continue to pursue a career

        in teaching and the programs’ attendance will plummet.

               130.    Due to the lack of funding for these programs, the Grant Recipients presently have,

        and will continue to have, a more difficult time recruiting new students. The tuition and other

        financial supports provided by the grants was used as a recruitment tool by the Grant Recipients.

        Without these tools to make it more affordable for cohorts of future teachers to pursue education

        careers, enrollment will decline, and significant structural changes will have to be made to address

        that decline, including changes that it may take years to repair, such as loss of staff and

        infrastructure that cannot be easily re-scaled.

               131.    The termination of grants will jeopardize the pipeline of high-quality educators

        entering into schools nationwide. The forced closure of the teacher preparation programs as a result




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        of the lack of funding results in losing talented candidates who are ready and eager to serve

        students, particularly in high-need areas like special education.

                132.   The loss of funding will not only significantly reduce the Grant Recipients’ ability

        to address the ongoing teacher shortage, but also exacerbate the teacher shortages, especially in

        rural and urban communities, across the country.

                133.   Without the grant funding, the Grant Recipients will no longer be able to provide

        targeted resources and training, peer support networks, professional development, and mentorship

        that are critical to teachers’ success in the classroom.

                134.   The termination of the grants is also resulting in, and will continue to result in, loss

        of employment for the dedicated staff members and grant managers who worked to make the

        teacher preparation programs run.

                135.   The harm suffered by Plaintiffs is actual, not theoretical, as the funding was

        terminated in February 2025, immediately resulting in the Grant Recipients’ inability to continue

        their programs, particularly given that the terminations occurred in the middle of the academic

        year.

                136.   The loss of the funding will frustrate the Grant Recipients’ abilities to fulfil their

        mission of providing programs to offer supports to improve the quality of teaching and school

        leadership.

                137.   The Termination Letters provide that the Grant Recipients may challenge the

        termination decision by submitting information documenting their position in writing to the

        Department within thirty days of the termination. See Exhibit B at pages 2, 4, 6, 8, 10, 12, 14.




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               138.    However, any appeal to the Department does not alter the fact that the termination

        of funding was effective on the date of notification in February 2025. There is no funding provided

        starting the date of termination pending any appeals.

               139.    There is no timeframe by which the Department is obliged to make a determination

        regarding an appeal. Therefore, even if the Grant Recipients appeal the termination decision, the

        timeframe in which a determination would be made is unknown. While any appeals are pending,

        the Grant Recipients will continue to be deprived of funding.

               140.    Absent Court intervention, regardless of whether the Grant Recipients submit an

        appeal to the Department, many Grant Recipients will be forced to shut down their programs as a

        result of Defendants’ unlawful actions, resulting in great harm.

        XI.    Plaintiffs were Further Harmed by Defendants’ Unlawfully Imposed Grant
               Conditions.

               141.    Generally, unless a grantee poses a specific risk, they can draw down funds from

        their grant award based on the allowable, allocable and reasonable costs approved in their grant

        budget without prior approval.

               142.    In addition to the unlawful actions concerning terminating the grants discussed

        above, the Department also added a special condition to impacted grants after they were terminated

        requiring prior approval for them to draw down funds. This special condition is referred to as

        “route pay.”

               143.    The grantees are eligible for costs that were properly incurred before their

        termination date and costs that would not have occurred if the grant was not terminated. They have

        120 days to draw down the funds after the termination date. (2 C.F.R. §§ 200.343, 200.472,

        200.344(b)).




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                  144.   The regulations that govern federal grants set the reasons that the Department can

        put conditions on grants and the requirements for notice prior to doing so. Imposing a special

        condition, such as establishing additional prior approvals, on a grant can only be done if the grantee

        is determined to pose a risk. Factors that may be considered are financial stability, quality of

        management systems and standards, history of performance, audit reports and filings, ability to

        effectively implement requirements, history of compliance with conditions of a federal award, or

        a responsibility determination. (2 C.F.R. § 200.208).

                  145.   The rule also states that before conditions are put in place, the agency has to notify

        the grantee as to: (1) The nature of the additional requirements; (2) The reason why the additional

        requirements are being imposed; (3) The nature of the action needed to remove the additional

        requirement, if applicable; (4) The time allowed for completing the actions if applicable; and

        (5) The method for requesting reconsideration of the additional requirements imposed. (Id.).

                  146.   Without notice or any finding of individual grantee risk, the Department put a

        blanket condition on the terminated grants to require prior approval for all drawdowns.

                  147.   This new, unlawfully-imposed condition will cause delays in the Grant Recipients

        receiving their grant funds and add potential subjectivity to already approved costs.

                  148.   Therefore, placing the grants on route pay was unlawful.

                                               FIRST CAUSE OF ACTION

                                       (Fifth Amendment Due Process (Vagueness))

                  149.   All preceding paragraphs of this Complaint are incorporated as if fully set forth

        herein.

                  150.   Under the Fifth Amendment to the United States Constitution, a governmental

        enactment, like an executive order, is unconstitutionally vague if it “fails to provide a person of



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        ordinary intelligence fair notice of what is prohibited, or is so standardless that it authorizes or

        encourages seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304

        (2008).

                  151.   The Termination Provision of Executive Order 14151 “fails to provide a person of

        ordinary intelligence fair notice of what is prohibited” and “is so standardless that it authorizes or

        encourages seriously discriminatory enforcement.” Id.

                  152.   Executive Order 14151 does not define key terms, including “DEI,” “DEIA,”

        “equity” or “equity-related” and fails to satisfy the constitutional minimum.

                  153.   This Court previously granted a preliminary injunction enjoining the President’s

        administration from terminating any awards on the basis of the Termination Provision in the

        NADOHE Order.

                  154.   The NADOHE Order applies to not just the named plaintiffs in that action, but to

        all contractors and grantees who were subjected to the Termination Provision.

                  155.   Plaintiffs and their member organizations were subjected to the Termination

        Provision when the Department terminated the grants at issue in this lawsuit under the instructions

        provided in Executive Order 14151.

                  156.   It follows, therefore, that Plaintiffs should also be returned to the status quo ante –

        their status prior to the Department subjecting them to the unlawful Termination Provision when

        it terminated their grants – just as the NADOHE Order intended.

                                              SECOND CAUSE OF ACTION

                             (Violation of APA – Arbitrary and Capricious Decision)

                  157.   All preceding paragraphs of this Complaint are incorporated as if fully set forth

        herein.



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                158.     The APA authorizes this Court to hold unlawful and set aside final agency action

        that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law . . . [or

        are made] without observance of procedure required by law[.]” (5 U.S.C. § 706(2)).

                159.     Defendants’ termination of the Grant Recipients’ grants constitutes final agency

        action under the APA. The Termination Letters provide that the “Department hereby terminates

        grant No. [] in its entirety effective 2/[]/25,” marking it the consummation of the Department’s

        decision-making process and demanding immediate compliance with the announced position. As

        of the date of the Termination Letters, the Department stopped providing all funding approved by

        the grants, thereby having a direct and immediate effect on Plaintiffs and their member

        organizations.

                160.     Defendants’ decision to terminate the grants is unlawful, arbitrary, and capricious

        for the reasons set forth above.

                WHEREFORE, Plaintiffs pray that this Court:

                (A)      Declare Defendants’ termination of the TQP, SEED, and TSL grants unlawful;

                (B)      Declare Defendants’ actions placing TQP, SEED, and TSL grants on route pay

        unlawful;

                (C)      Enter a preliminary injunction or temporary restraining order (a) enjoining

        Defendants’ enforcement of the termination of the TQP, SEED, and TSL grants; (b) ordering such

        grant funding reinstated forthwith; (c) ordering Defendants to provide the Grant Recipients

        reimbursement for all otherwise allowable expenditures incurred between the date of termination

        and the Court’s order; (d) enjoining Defendants’ termination of any additional TQP, SEED, and

        TSL grants if such termination would be inconsistent with the Court’s order; and (e) removing the

        route pay grant conditions from TQP, SEED, and TSL grants;



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              (D)    Issue a permanent injunction providing the same relief;

              (E)    Award Plaintiffs their costs and reasonable attorneys’ fees; and

              (F)    Grant such other relief as this Court may deem just and proper.

         Dated: March 3, 2025                           Respectfully Submitted,

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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND
                                         BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                             Plaintiffs,
                  v.                                           Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                             Defendants.

           PLAINTIFFS AMERICAN ASSOCIATION OF COLLEGES FOR TEACHER
          EDUCATION, NATIONAL CENTER FOR TEACHER RESIDENCIES, AND THE
          MARYLAND ASSOCIATION OF COLLEGES FOR TEACHER EDUCATION’S
        MOTION FOR TEMPORARY RESTRAINING ORDER/PRELIMINARY INJUNCTION

                  Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs the American

        Association of Colleges for Teacher Education, the National Center for Teacher Residencies, and

        the Maryland Association of Colleges for Teacher Education (collectively, “Plaintiffs”), by and

        through their undersigned counsel, respectfully applies to the Court for issuance of a temporary

        restraining order and/or preliminary injunction against Defendants Denise Carter, in her official

        capacity as Acting Secretary of Education, the United States Department of Education, and Donald

        Trump, in his official capacity as President of the United States, (collectively, “Defendants”) as

        follows:

                  (a) Enjoining Defendants’ enforcement of the termination of the TQP, SEED, and TSL

        grants;

                  (b) Ordering such grant funding reinstated forthwith;

                  (c) Ordering Defendants to provide the Grant Recipients reimbursement for all otherwise

        allowable expenditures incurred between the date of termination and the Court’s order;




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               (d) Enjoining Defendants’ termination of any additional TQP, SEED, and TSL grants if

        such termination would be inconsistent with the Court’s order; and

               (e) Removing the route pay grant conditions from TQP, SEED, and TSL grants.

               This Motion is supported by a Memorandum of Law, Declarations, and the exhibits thereto,

        which are incorporated herein by reference.

               WHEREFORE, Plaintiffs respectfully request that this Court grant their Motion for

        Temporary Restraining Order and/or Preliminary Injunction and issue an Order enjoining

        Defendants.



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         Dated: March 3, 2025                  Respectfully Submitted,

                                               /s/ Daniel M. Moore
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                                         CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on this 3rd day of March, 2025, a copy of the foregoing

        (1) Plaintiffs’   Motion   for   Temporary     Restraining    Order/Preliminary   Injunction,

        (2) Memorandum of Law in Support of Plaintiffs’ Motion for Temporary Restraining

        Order/Preliminary Injunction and Supporting Documents; and (3) Proposed Order will be

        served on the following via Private Process Server and email contemporaneously with service of

        the Complaint:

               DENISE CARTER, in her official capacity as Acting Secretary of Education
               400 Maryland Avenue, SW
               Washington, DC 20202,

               U.S. DEPARTMENT OF EDUCATION,
               400 Maryland Avenue, SW
               Washington, DC 20202,
               DONALD J. TRUMP, in his official capacity as President of the United
               States, c/o Attorney General of the United States
               U.S. Department of Justice
               950 Pennsylvania Avenue, NW
               Washington, DC 20530-0001

               PAMELA BONDI, United States Attorney General
               950 Pennsylvania Avenue
               Washington, DC 20530-0001

               KELLY O. HAYES, Acting United States Attorney
               United States Attorney’s Office for the District of Maryland
               36 S. Charles Street, 4th Floor
               Baltimore, Maryland 21201




                                                           /s/ Daniel M. Moore
                                                           Daniel M. Moore




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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                       Plaintiffs,
              v.                                Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                       Defendants.

            PLAINTIFFS AMERICAN ASSOCIATION OF COLLEGES FOR TEACHER
            EDUCATION, NATIONAL CENTER FOR TEACHER RESIDENCIES, AND
           MARYLAND ASSOCIATION OF COLLEGES FOR TEACHER EDUCATION’S
               MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
             TEMPORARY RESTRAINING ORDER / PRELIMINARY INJUNCTION




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        I.     INTRODUCTION

               Plaintiffs the American Association of Colleges for Teacher Education (“AACTE”), the

        National Center for Teacher Residencies (“NCTR”), and the Maryland Association of Colleges

        for Teacher Education (“MACTE”) (collectively, “Plaintiffs”) seek immediate injunctive relief

        against Defendants Denise Carter, in her official capacity as Acting Secretary of Education, the

        United States Department of Education (the “Department”), and Donald Trump, in his official

        capacity as President of the United States, (collectively, “Defendants”) to remedy the unlawful

        termination of Plaintiffs’ members’ grants.

               AACTE’s, NCTR’s, and MACTE’s members together comprise hundreds of teacher

        preparation programs throughout the United States. Many of Plaintiffs’ members (the “Grant

        Recipients”) received grants from the Department through the Teacher Quality Partnership

        Program (“TQP”), the Supporting Effective Educator Development Program (“SEED”), and the

        Teacher and School Leader Incentive Program (“TSL”), which were used to fund programs to

        prepare and develop educators. Without prior warning, and in reliance on the President’s recent

        Executive Order regarding DEI initiatives, the Department of Education recently summarily

        terminated many of Plaintiffs’ members’ TQP, SEED, and TSL grants. Not only were those

        terminations unlawful in reliance on Executive Order 14151, the Department also failed to follow

        statute and Federal regulations in terminating the grants, making the terminations unlawful under

        the Administrative Procedures Act too.

               In the years that the Department of Education held competitions to award TQP, SEED, and

        TSL grants, the Department selected Priorities for applicants from a set of allowable agency

        Priorities enacted through a rulemaking process required by statute. These Priorities were used in

        the competitions to award TQP, SEED, and TSL grants to AACTE’s and MACTE’s member

        organizations and to NCTR and its member organizations. Pursuant to statute and Department


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        regulation, Priorities for any competitive grant program must generally be set by Congress or

        through notice and comment rulemaking by the Department. Only then can the final published

        agency Priorities apply to the competitive grant programs for selection of grantees in a particular

        fiscal year.

                In compliance with statute and its regulation, the Department followed the notice and

        comment rulemaking process and established several Priorities that were allowable at the time the

        TQP, SEED, and TSL grant Notices for Inviting Applications at issue in this case were published

        in the Federal Register in 2020, 2022, 2023, and 2024. The Department then awarded AACTE’s

        and MACTE’s member organizations and NCTR and its member organizations up to five-year

        TQP grants, up to three-year SEED grants, and/or up to three-year TSL grants that remained active

        through early to mid-February 2025.

                But in February 2025, the Department summarily terminated grants awarded under TQP,

        SEED, and TSL. The purported basis provided by the Department for termination was that the

        grants are “inconsistent with, and no longer effectuate[], Department priorities.” In form letters

        sent along with the official termination notifications, the Department explained that:

                       It is a priority of the Department of Education to eliminate
                       discrimination in all forms of education throughout the United
                       States. The Acting Secretary of Education has determined that, per
                       the Department’s obligations to the constitutional and statutory law
                       of the United States, this priority includes ensuring that the
                       Department’s grants do not support programs or organizations that
                       promote or take part in diversity, equity, and inclusion (“DEI”)
                       initiatives or any other initiatives that unlawfully discriminate on the
                       basis of race, color, religion, sex, national origin, or another
                       protected characteristic.

                After terminating AACTE’s and MACTE’s member organizations’ and NCTR’s and its

        member organization’s TQP and SEED grants, the Department issued a press release titled “U.S.

        Department of Education Cuts $600 Million in Grants Used to Train Teachers and Education



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        Agencies   on    Divisive   Ideologies.”   See   https://www.ed.gov/about/news/press-release/us-

        department-of-education-cuts-over-600-million-divisive-teacher-training-grants.

               Neither the Department’s “official” reason for terminating the grants, as articulated in the

        Grant Award Notifications regarding Department Priorities, nor its actual, publicly-articulated

        reason for termination regarding DEI initiatives, were lawful. The “official” justification is

        unlawful because the federal government has published a regulation governing the termination of

        grants that the Department did not follow here. The Department’s publicly articulated reason for

        terminating the grants was unlawful because it was predicated on portions of an Executive Order

        that has been enjoined by this Court.

               The Department’s stated reason relied, erroneously, on an implied change in “Department

        priorities.” But Department Priorities are not subject to whim or fiat and, by statute, must instead

        be established through notice and comment rulemaking. The Department Priorities applicable to

        Plaintiffs’ members’ TQP, SEED, and TSL grants are the same today as they were when the grants

        were awarded because (a) no subsequent rulemaking has taken place; and (b) the statutes that

        established Priorities allowable for TQP, SEED, and TSL have not been repealed or amended.

        Given that the Department Priorities have not changed, and the grants were determined to meet

        the still-current Priorities during the competition process, it would be arbitrary per se for the

        Department to conclude that these grants are not consistent with or do not effectuate those same

        “Department Priorities” now.

               As a result of the Department’s improper early terminations, the Grant Recipients have

        been and will continue to be deprived of essential funding required to continue their teacher

        preparation programs and the continuation of the Department’s unlawful terminations will

        irreparably harm Plaintiffs and their members. As such, Plaintiffs respectfully request that this




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        Court award relief to address the irreparable harm that continues to result from Defendants’

        unlawful actions.

        II.    BACKGROUND

               A.      Overview of TQP, SEED, and TSL Grants and Department Priorities.

                       1.      Congress Created and Funded the TQP, SEED, and TSL Grants.

               Congress authorized three programs to prepare and develop educators in the United States:

        TQP, SEED, and TSL. The Teacher Quality Partnership Grant Program provides funding to

        eligible partnerships to improve student achievement and the quality of prospective and new

        teachers by improving the preparation of prospective teachers and enhancing professional

        development activities for new teachers. See 20 U.S.C. § 1022. The Supporting Effective Educator

        Development Program provides funding to increase the number of highly effective educators in

        the United States by supporting the implementation of evidence-based practices that prepare,

        develop, or enhance the skills of educators. See 20 U.S.C. § 6672. The Teacher and School Leader

        Incentive Program provides funding to serve educators in high-need schools who raise student

        academic achievement and close the achievement gap between high- and low-performing students.

        TSL helps develop, implement, improve, or expand comprehensive performance-based

        compensation systems or human capital management systems for teachers, principals, or other

        school leaders. See 20 U.S.C. § 6632.

               Congress directed the Secretary of the Department of Education (the “Secretary”) to award

        grants, on a competitive basis, to eligible entities to provide funding consistent with the goals of

        TQP (20 U.S.C. § 1022a(a)), SEED (20 U.S.C. § 6672(a)), and TSL (20 U.S.C. § 6632(a)).

                       2.      Regulations Governing Grant Terminations.

               Federal regulation permits the Department of Education to terminate grants if the grants no

        longer effectuate Department of Education Priorities. See 2 C.F.R. § 200.340(a)(2) (2020);


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        2 C.F.R. § 200.340(a)(4) (2024)). “Department Priorities,” however, is a term of art; in order to

        establish its Priorities, the Department must, by statute and regulation, go through a notice and

        comment rulemaking process. See 20 USC § 1232(d); 34 C.F.R. § 75.105(b)(2).

                         3.      Statute and Department Regulation Requirements for Setting
                                 Priorities.

                To set Department Priorities, the Secretary is required to publish agency Priorities in the

        Federal Register, which must be used to select the Priorities for a competition, and must have gone

        through public comment (there are five exceptions to this rule, but none are implicated here). The

        Secretary is likewise required to establish the specific Priorities that are included in the application

        for each competitive federal grant program, such as TQP, SEED, and TSL, by publishing the

        Priorities in the Notice Inviting Application for the grant in the Federal Register. (34 C.F.R. §

        75.105(b)(1)).

                As a federal agency, the Department is unique in the statutory requirement it has to follow

        for setting agency Priorities for discretionary grants. While the Administrative Procedures Act

        (5 U.S.C. § 553) generally exempts federal agency grants from the rulemaking process, the

        General Education Provisions Act (20 U.S.C. § 1232(d)) alters that rule for the Department of

        Education; for the Department, the grants exemption for rulemaking only applies to regulations

        (1) that govern the first grant competition under a new or substantially revised program authority

        as determined by the Secretary; or (2) where the Secretary determines rulemaking will cause

        extreme hardship to the intended beneficiaries of the program. (20 U.S.C. § 1232(d)).

                In sum, the Priorities for grant programs administered by the Department must go through

        the notice and comment rulemaking process.1


        1
         While there are limited exceptions to this rule, none of the exceptions are applicable to the analysis here.
        (See 34 C.F.R. 75.105(b)(2)).



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               Germane here, the Department held competitions for TQP grants in 2020, 2022, and 2024.

        It also held competitions for SEED grants in 2022, and a competition for TSL grants in 2023. For

        each of these competitions, and in compliance with statute and Department regulation, the

        Priorities were set either by Congress in the program’s authorizing statute or through notice and

        comment rulemaking. (85 F.R. 29691-29704, 87 F.R. 10906-10923, 89 F.R. 23573-23592, 87 F.R.

        19487-19496, 88 F.R. 33592-33601).

                       4.      Department of Education Priorities Applicable to Now-Terminated
                               TQP, SEED, and TSL Grants.

               In 2019-2021, the Department established a set of allowable Department Priorities through

        the proper notice and comment rulemaking process. First, after going through the proper notice

        and comment rulemaking process, the Department published its Notice of Final Priority for

        discretionary grant programs in the Federal Register on November 27, 2019. (84 F.R. 65300-

        65303).2 Second, also after the notice and comment rulemaking process, the Department published

        a Notice of Final Priorities for all discretionary grant programs in the Federal Register on March

        9, 2020.3 (85 F.R. 13640-13644). Then the Department went through the proper notice and

        comment rulemaking process once again and published its Notice of Final Priorities for TQP,

        SEED, and TSL grant competitions in the Federal Register on July 9, 2021.4 (86 F.R. 36217-




        2
         The Department of Education published a Notice of Proposed Priorities for public comment on July 29,
        2019. (84 F.R. 36504-36507).
        3
         The Department of Education published a Notice of Proposed Priorities for public comment on November
        29, 2019. (84 F.R. 65734-65739).
        4
         The Department of Education published a Notice of Proposed Priorities for public comment on April 20,
        2021. (86 F.R. 20471-20475).



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        36220). That same day, again after the proper notice and comment rulemaking process, the

        Department published a Notice of Final Priority specific for TSL.5

               Finally, and most recently, the Department went through the required notice and comment

        rulemaking process and published a Notice of Final Priorities for the Secretary’s Supplemental

        Priorities for all discretionary grant programs in the Federal Register on December 10, 2021.6 (86

        F.R. 70612-70641).

               B.      AACTE’s and MACTE’s Member Organizations and NCTR and its Member
                       Organizations were Awarded TQP, SEED, and/or TSL Grants.

                       1.      Notice Inviting Applications for FY 2020, FY 2022, and FY 2024 TQP
                               Grants.

               There were three TQP competitions relevant to this civil action. First, on May 18, 2020,

        the Department published a Notice Inviting Applications for the FY 2020 TQP competition

        inviting applicants to apply for the grant funds. (85 F.R. 29691-29704). Second, on February 25,

        2022, the Department published a Notice Inviting Applications for the FY 2022 TQP competition

        inviting applicants to apply for the grant funds. (87 F.R. 10906-10923). Third, the Department

        published a Notice Inviting Applications for the FY 2024 TQP competition on April 4, 2024

        inviting applicants to apply for the grant funds. (89 F.R. 23573-23592).

               The project period for the FY 2020, FY 2022, and FY 2024 TQP competitions (the

        maximum amount of time for which the grants can be awarded) was up to five years. (85 F.R.

        29699, 87 F.R. 10918, 89 F.R. 23587). All three TQP grant competitions included Priorities that




        5
         The Department of Education published a Notice of Proposed Priority for public comment on April 9,
        2021. (86 F.R. 18519-18523).
        6
         The Department of Education published a Notice of Proposed Priorities for public comment on June 30,
        2021. (86 F.R. 34664-34674).



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        were established through the required notice and comment rulemaking process or chosen from

        allowable activities specified in TQP’s authorizing statute (20 U.S.C. § 1022).

               Grant Recipients were selected to receive funding from the FY 2020 TQP, FY 2022 TQP,

        and FY 2024 TQP competitions for up to a five-year period for each competition.

                       2.     Notice Inviting Applications for FY 2022 SEED Grants.

               On April 4, 2022, the Department published a Notice Inviting Applications for the FY 2022

        SEED competition, inviting applicants to apply for the grant funds. (87 F.R. 19487-19496). The

        project period for the FY 2022 SEED competition was up to three years. (87 F.R. 19492). Just like

        the TQP grant competitions, the SEED grant competition included Priorities that were established

        through the required notice and comment rulemaking process or chosen from allowable activities

        specified in SEED’s authorizing statute (20 U.S.C. § 6672). Grant Recipients were selected to

        receive funding from the FY 2022 SEED competition for up to a three-year period.

                       3.     Notice Inviting Applications for FY 2023 TSL Grants.

               Finally, there is one TSL grant competition relevant to this action. On May 24, 2023, the

        Department published a Notice Inviting Applications for the FY 2023 TSL competition, inviting

        applicants to apply for the grant funds. (88 F.R. 33592-33601). The project period for the FY 2023

        TSL competition was up to three years. (88 F.R. 33598). As with the TQP and SEED grant

        competitions, the TSL grant competition also included Priorities that were established through the

        required notice and comment rulemaking process or chosen from allowable activities specified in

        TSL’s authorizing statute (20 U.S.C. § 6632). Grant Recipients were selected to receive funding

        from the FY 2023 TSL competition for up to a three-year period.

               The five-year TQP grants, three-year SEED grants, and/or three-year TSL grants all

        remained active through early to mid-February 2025.




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                C.      The Department’s Termination of the TQP, SEED, and TSL Grants in
                        February 2025.

                With no notice, and without lawful reason, the Department sent Termination Letters and

        updated Grant Award Notifications to the majority of the Grant Recipients in February 2025,

        informing them that their TQP, SEED, and TSL grants were terminated, effective immediately on

        the date of the letter.7 The substance of every one of the Termination Letters sent to the Grant

        Recipients are identical, indicating the same reasons with the same terminology for the grant

        terminations. See Exhibit B to Complaint.

                While the Termination Letters provide that the Grant Recipients may challenge the

        termination decision by submitting information documenting their position in writing to the

        Department within thirty days of the termination, any appeal to the Department does not alter the

        fact that the termination of funding was effective on the date of notification in February 2025.

        There is no funding provided starting the date of termination pending any appeals.

                In both the Grant Award Notifications and the Termination Letters, the purported basis

        provided by the Department for termination was that the grants are “inconsistent with, and no

        longer effectuate[], Department priorities.” In the Termination Letters, the Department went on to

        explain that:

                        It is a priority of the Department of Education to eliminate discrimination
                        in all forms of education throughout the United States. The Acting Secretary
                        of Education has determined that, per the Department’s obligations to the
                        constitutional and statutory law of the United States, this priority includes
                        ensuring that the Department’s grants do not support programs or
                        organizations that promote or take part in diversity, equity, and inclusion
                        (“DEI”) initiatives or any other initiatives that unlawfully discriminate on
                        the basis of race, color, religion, sex, national origin, or another protected
                        characteristic. Illegal DEI policies and practices can violate both the letter
                        and purpose of Federal civil rights law and conflict with the Department’s

        7
         While the Department terminated the majority of the Grant Recipients’ grants, some of Plaintiffs’ member
        organizations did not have their TQP grants terminated yet.



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                        policy of prioritizing merit, fairness, and excellence in education….the
                        grant specified above provides funding for programs that promote or take
                        part in DEI initiatives or other initiatives that unlawfully discriminate on the
                        basis of race, color, religion, sex, national origin, or another protected
                        characteristic; that violate either the letter or purpose of Federal civil rights
                        law; that conflict with the Department’s policy of prioritizing merit,
                        fairness, and excellence in education; that are not free from fraud, abuse, or
                        duplication; or that otherwise fail to serve the best interests of the United
                        States. The grant is therefore inconsistent with, and no longer effectuates,
                        Department priorities.

                After terminating the Grant Recipients’ grants, the Department issued a press release titled

        “U.S. Department of Education Cuts $600 Million in Grants Used to Train Teachers and

        Education Agencies on Divisive Ideologies.” (Exhibit D to Complaint).8 The press release explains

        that the grants were terminated because they were using taxpayer funds to train teachers and

        education agencies on divisive ideologies, such as “Diversity, Equity, and Inclusion” and “equity

        training.” See id.

                D.      This Court’s Order Granting Preliminary Injunction in NADOHE et al. v.
                        Trump et al.

                On February 21, 2025, this Court granted a preliminary injunction blocking the President’s

        administration from enforcing certain provisions of Executive Order 14151, Ending Radical and

        Wasteful Government DEI Programs and Preferencing, Executive Order of January 20, 2025, 90

        Fed. Reg. 8339 (Jan. 29, 2025) (the “J20 Order”), and Executive Order 14173, Ending Illegal

        Discrimination and Restoring Merit-Based Opportunity, Executive Order of January 21, 2025, 90

        Fed. Reg. 8633 (Jan. 31, 2025) (“J21 Order”). National Association of Diversity Officers in Higher

        Education, et al. v. Donald J. Trump, et al., No. 1:25-CV-00333-ABA, 2025 WL 573764 (D. Md.

        Feb. 21, 2025) (the “NADOHE Order”).



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           See https://www.ed.gov/about/news/press-release/us-department-of-education-cuts-over-600-million-
        divisive-teacher-training-grants.



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                In relevant part, the NADOHE Order enjoins the President’s administration from enforcing

        a provision in Executive Order 14151 requiring “[e]ach agency, department, . . . [to] take the

        following actions within sixty days of this order: (i) terminate, to the maximum extent allowed by

        law, . . . all . . . ‘equity-related’ grants or contracts” (the “Termination Provision”). In granting the

        preliminary injunction, the Court held that the plaintiffs showed a likelihood of success on their

        claim that the Termination Provision is void for vagueness under the Fifth Amendment.

        Specifically, the Order provides:

                Defendants other than the President, and other persons who are in active concert or
                participation with Defendants (the “Enjoined Parties”), shall not:

                        a. pause, freeze, impede, block, cancel, or terminate any awards, contracts
                        or obligations (“Current Obligations”), or change the terms of any Current
                        Obligation, on the basis of the Termination Provision;

        Exhibit C to Complaint at page 3. The NADOHE Order benefits not just the named plaintiffs in

        that action, but all contractors and grantees who were subjected to the Termination Provision.

        NADOHE v. Trump, No. 1:25-CV-00333-ABA, 2025 WL 573764 at *28-29. As of the date this

        Court entered the NADOHE Order (February 21, 2025), Grant Recipients had already received

        the Termination Letters terminating their grants effective immediately.

                E.      The Effects of Termination on Plaintiffs and Their Member Organizations.

                        1.      Effect of Grant Termination on Ability to Maintain Programs.

                As of the date of the Termination Letters, funding from the terminated grants has been

        halted and the Grant Recipients are no longer receiving any funds from the Department under the

        grants they were awarded pursuant to TQP, SEED, and TSL. (Declaration of Kathlene Campbell

        on behalf of NCTR (“NCTR Declaration”) at ¶ 12, Declaration of Carolyn Parker on behalf of

        American University (“AU Declaration”) at ¶ 12, Declaration of Amy Smith on behalf of the

        University of St. Thomas (“UST Declaration”) at ¶ 12, Declaration of Heather Kirkpatrick on



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        behalf of Alder Graduate School of Education (“Alder GSE Declaration”) at ¶ 11, Declaration of

        Sarah Johnson on behalf of Teaching Lab (“Teaching Lab Declaration”) at ¶ 12). Without the TQP,

        SEED, and TSL grants, Grant Recipients are unable to continue funding their work, which in turn

        imperils Grant Recipients’ ability to maintain the programs funded by the grants. The harm to

        Plaintiffs and their member organizations has been severe, and a continuation of the harm is certain

        and irreparable in the absence of relief from this Court. (See e.g., NCTR Declaration at ¶¶ 13-18,

        AU Declaration at ¶¶ 13-16, UST Declaration at ¶¶ 13-14, Alder GSE Declaration at ¶¶ 12-20,

        Teaching Lab Declaration at ¶¶ 17-26).

               For example, the termination of Plaintiff NCTR’s SEED grant deprives it the ability to

        serve K-12 school districts where there is high turnover and shortages of teachers and prepare

        educators for careers to help mitigate these teacher shortages. (NCTR Declaration at ¶ 18). In

        addition, absent Court intervention to reinstate American University’s TQP grant, it will be forced

        to shut down its teacher preparation program for special education and early childhood education,

        impacting up to 1,5000 Washington D.C. children and 48 future educators. (AU Declaration at

        ¶¶ 13-14). Similarly, the University of St. Thomas is at risk of losing its student pipeline in areas

        of high-need, such as special education, as a result of the loss of funding for its teacher preparation

        program (UST Declaration at ¶ 13) and the termination of TQP grant funds for Alder Graduate

        School of Education has had and will continue to have immense impacts for more than 100 aspiring

        teacher candidates and mentor teachers, and hundreds of K-12 students at partner school systems.

        (Alder GSE Declaration at ¶¶ 13-16). In addition, the termination of TSL grant funds will result in

        a loss of curriculum-based professional learning and coaching services by a non-profit

        organization, Teaching Lab, impacting more than 40 public schools and more than 150 teachers,




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        whose instruction in turn reaches well over 6,000 K-12 students. (Teaching Lab Declaration at

        ¶¶ 8-9).

               Further, as a direct result of the termination of the grants, Plaintiffs’ member organizations

        will see a decline in enrollment, and it will exacerbate the on-going teacher shortages nationwide,

        and thwart their efforts to prepare future educators for success.

               Finally, the termination of the Grant Recipients’ grants imperils their ability to perform

        their primary missions as nonprofit membership organizations that depend on grants to fulfill their

        primary purposes for existence.

                       2.      Effect of Special Condition on Grants.

               In addition to the immediate and irreparable effects of terminating the grants, the

        Department added a special condition to impacted grants requiring prior approval for them to draw

        down funds, referred to as “route pay.” In violation of Federal regulations, the Department did not

        provide any notice or explanation for this blanket condition imposed on terminated grants. See 2

        C.F.R. § 200.208. This new, unlawfully-imposed condition will cause delays in the Grant

        Recipients receiving their grant funds and add subjectivity to already approved costs, which the

        Grant Recipients reasonably fear will provide further opportunities for the Department to

        unlawfully deprive them of funding.

        III.   LEGAL STANDARD

               A preliminary injunction is intended “to preserve the relative positions of the parties until

        a trial on the merits can be held.” United States v. South Carolina, 720 F.3d 518, 524 (4th Cir.

        2013); see also Stinnie v. Holcomb, 77 F.4th 200, 212 (4th Cir. 2023) (“The traditional office of a

        preliminary injunction . . . is to protect the status quo . . . .”). Such injunctive relief is warranted

        where a moving party has demonstrated that: “(1) the party is likely to succeed on the merits of

        the claim; (2) the party is likely to suffer irreparable harm in the absence of an injunction; (3) the


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        balance of hardships weighs in the party’s favor; and (4) the injunction serves the public interest.”

        HIAS, Inc. v. Trump, 985 F.3d 309, 318 (4th Cir. 2021); see also Frazier v. Prince George’s Cnty.,

        86 F.4th 537, 543 (4th Cir. 2023) (quoting Winter v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008)).

        The final two factors—the balance of equities and the public interest—“merge when the

        Government is the opposing party.” Miranda v. Garland, 34 F.4th 338, 365 (4th Cir. 2022)

        (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). The same standard applies to a temporary

        restraining order (“TRO”). ClearOne Advantage, LLC v. Kersen, 710 F. Supp. 3d 425 (D. Md.

        2024) (“The standards for granting a TRO and granting a preliminary injunction are the same.”)

        (citation omitted).

        IV.    ARGUMENT

               The harms from the prospective and continuing effects of the grant terminations on

        Plaintiffs and their member organizations are devastating and irreparable. Defendants’ actions

        violate both the Constitution and the Administrative Procedure Act. Neither principles of equity

        nor the public have any interest in violation of the law, much less where the violation compromises

        the public interest by terminating funding for programs designed to prepare, develop, and promote

        educators across the United States. A TRO and preliminary injunction should issue to prevent these

        further harms until the Court has the opportunity to further consider the merits of the case.

               A.      Plaintiffs are Likely to Succeed on the Merits.

               “To secure a preliminary injunction, a plaintiff must ‘make a clear showing that [it is] likely

        to succeed at trial, [but it] need not show a certainty of success.’” Ass’n of Am. Publishers, Inc. v.

        Frosh, 586 F. Supp. 3d 379, 388 (D. Md. 2022) (quoting Pashby v. Delia, 709 F.3d 307, 321 (4th

        Cir. 2013)) (alterations in original); see also Jensen v. Md. Cannabis Admin., 719 F. Supp. 466,

        473 (D. Md. 2024) (same).




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                Plaintiffs are likely to succeed on the merits of their claims because Defendants’ actions in

        terminating the grants were unlawful in two respects. First, the Department’s publicly-articulated

        reason for termination in reliance on the Executive Order 14151’s directive to terminate “equity-

        related” grants was unlawful because that portion of the Executive Order has been enjoined by this

        Court and found likely to violate the law. It follows that its use to terminate the grants was

        unlawful, and the justification for perpetuating those terminations likewise unlawful. Second, the

        Department’s “official” reason for terminating the grants – purported inconsistency with

        Department Priorities – is also unlawful, arbitrary, and capricious because the federal government

        has published a regulation governing the termination of grants that the Department did not follow.

                        1.      Plaintiffs are Likely To Succeed on their Fifth Amendment Due Process
                                (Vagueness) Claim.

                                a. The Termination Provision is Impermissibly Vague and Violates the
                                   Fifth Amendment’s Protection of Due Process (Count I).

                This Court has already determined that the Termination Provision is likely to be

        impermissibly vague in violation of the Fifth Amendment. Its use to terminate the Grant

        Recipients’ grants, and its potential future use to terminate more of Plaintiffs’ members’ grants, is

        likewise unlawful. As a result, Plaintiffs are likely to prevail on their claim that the Department’s

        continuing refusal to fund the grants is unlawful.

                The Fifth Amendment to the U.S. Constitution provides that “[n]o person shall

        be . . . deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V. A

        federal law is unconstitutionally vague if it “fails to provide a person of ordinary intelligence fair

        notice of what is prohibited, or is so standardless that it authorizes or encourages seriously

        discriminatory enforcement.”9 United States v. Williams, 553 U.S. 285, 304 (2008) (citing Hill v.


        9
          While many void for vagueness arguments are directed at statutes, the same principles apply when the
        subject of the challenge is an executive order. Humanitarian Law Project v. U.S. Treasury Dep’t, 578 F.3d


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        Colorado, 530 U.S. 703, 732 (2000)); see also Manning v. Caldwell for City of Roanoke, 930 F.3d

        264, 272 (4th Cir. 2019) (applying void for vagueness doctrine to “purely civil statutes”).

               “[I]f arbitrary and discriminatory enforcement is to be prevented, laws must provide

        explicit standards for those who apply them. A vague law impermissibly delegates basic policy

        matters to policemen, judges, and juries for resolution on an ad hoc and subjective basis, with the

        attendant dangers of arbitrary and discriminatory application.” Grayned, 408 U.S. at 108-09

        (footnotes omitted). If an executive order’s terms are not “susceptible of a clear meaning,” and the

        executive order does not “mitigate the vagueness of the term by supplying any definition,” then

        the provision “lends itself to subjective interpretation” and is unconstitutional. Humanitarian Law

        Project v. U.S. Dep’t of Treasury, 463 F. Supp. 2d 1049, 1070 (C.D. Cal. 2006).

               The Termination Provision of Executive Order 14151 is unconstitutionally vague because

        it invites arbitrary and discriminatory enforcement. It does not define key terms, including “DEI,”

        “DEIA,” “equity” or “equity- related” and, as a result, fails to satisfy the constitutional minimum.

        Instead, it leaves federal agencies discretion to enforce the provision in a “seriously

        discriminatory” manner. See Hill, 530 U.S. at 732. These are broad terms; their meanings are not

        readily limited. As a result, the Termination Provision leaves Department’s decisionmakers “the

        job of shaping a vague statute’s contours through their enforcement decisions.” Sessions, 584 U.S.

        at 182 (Gorsuch, J., concurring). Because the Department is impermissibly free to pick and choose

        in an arbitrary and discriminatory fashion, the Termination Provision in Executive Order 14151 is

        unconstitutionally vague.




        1133, 1146-47 (9th Cir. 2009) (applying statutory void for vagueness principles and caselaw to challenge
        concerning executive order).


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                               b. This Court’s NADOHE Order Applies to Plaintiffs in this Action and the
                                  Department should be Enjoined from Enforcing the Termination of the
                                  TQP, SEED, and TSL Grants.

               The nationwide injunction in the NADOHE Order is not explicit as to whether it requires

        the Department to refrain from enforcement of final action taken with respect to the subject matter

        covered by the Order but undertaken before the Order was published. While the Order’s spirit

        makes clear that the Government’s refusal to continue to fund grants canceled in adherence to the

        Termination Clause is prospectively unlawful, the Order does not explicitly vacate such orders or

        return parties to the status quo prior to agency action predicated on the Termination Clause. The

        Court should issue a new injunction in this case clarifying that issue as to the Grant Recipients and

        all similarly-situated grantees.

               The Grant Award Notifications and Termination Letters did not make an explicit reference

        to Executive Order 14151 as the reason for terminating the grants, but the Department published

        a press release on February 17, 2025 that explains that the grants were terminated because they

        were using taxpayer funds to train teachers and education agencies on divisive ideologies, such as

        “Diversity, Equity, and Inclusion” and “equity training” – the same directive of the Termination

        Provision. (Exhibit D to Complaint). This explicit (and plainly intentional) connection of the

        Termination Provision in Executive Order 14151 with the grant terminations by the Government

        is unambiguous.

               The Termination Letters also reference the Department’s position to “ensure[] that the

        Department’s grants do not support programs or organizations that promote or take part in

        diversity, equity, and inclusion (‘DEI’) initiatives[.]” (Exhibit B to Complaint at pages 1, 3, 5, 7,

        9, 11, 13). While the Grant Award Notifications and Termination Letters state that the grants were

        terminated because they were “inconsistent with, and no longer effectuate[], Department

        priorities,” it is clear from the Government’s conduct that the grants were terminated pursuant to


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        the now-enjoined Termination Provision (which, as discussed below, is not actually a Department

        Priority in any case).

               The NADOHE Order benefits all contractors and grantees who were subject to the

        Termination Provision. NADOHE v. Trump, No. 1:25-CV-00333-ABA, 2025 WL 573764 at *28-

        29. Even so, this Court’s NADOHE Order has left a gap of unlawful conduct where the Department

        continues to enforce what it would be enjoined from undertaking now. Plaintiffs seek relief

        directing the Department to return the Grant Recipients to the status quo ante with respect to

        Executive Order 14151 and vacate or order rescinded the terminations of their TQP, SEED, and

        TSL grants.

                       2.        The Department’s Termination of the TQP, SEED, and TSL Grants
                                 Violates the Administrative Procedures Act (Count II).

               The Department’s termination of the grants because they were allegedly “inconsistent with,

        and no longer effectuate[], Department priorities” is also unlawful because it is contrary to statute

        and regulation the Department is obliged to follow, and thus violates the APA. 5 U.S.C.

        § 706(2)(A) (courts must “hold unlawful and set aside agency action, findings, and conclusions”

        if they are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law”).

                                 a. Defendants’ Grant Terminations were Final Agency Actions.

               Under the APA, courts may review “final agency action.” 5 U.S.C. § 704. There are two

        hallmarks of final agency action: first, the action “mark[s] the ‘consummation’ of the agency’s

        decisionmaking process;” and second, it is an action by which “rights or obligations have been

        determined” or “from which “legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-

        78 (1997) (citations omitted); see also Am. Acad. of Pediatrics v. Food and Drug Admin., 379 F.

        Supp. 3d 461, 487 (D. Md. 2019). Put another way, “[t]he core question is whether the agency has




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        completed its decisionmaking process, and whether the result of that process is one that will

        directly affect the parties.” Franklin v. Massachusetts, 505 U.S. 788, 797 (1992).

               The Supreme Court has instructed that the finality requirement be applied in a “flexible”

        and “pragmatic” way. Abbott Labs. v. Gardner, 387 U.S. 136, 149-50 (1967). In determining

        whether agency action is final, the Supreme Court has instructed courts to consider whether the

        action “‘is sufficiently direct and immediate,’ and has a ‘direct effect on day-to-day business.’”

        Franklin, 505 U.S. at 796-97 (quoting Abbott Labs., 387 U.S. at 152). One indicator of finality is

        “whether the agency views its deliberative process as sufficiently final to demand compliance with

        its announced position.” Den-Mat Corp. v. U.S., Food & Drug Admin., Civ. No. MJG-92-444,

        1992 WL 208962, at *3 (D. Md. Aug. 17, 1992) (quoting Ciba-Geigy Corp. v. U.S.E.P.A., 801

        F.2d 430, 436 (D.C. Cir. 1986)).

               Federal district courts across the country have concluded that legal consequences flow from

        an agency’s decision to terminate future federal funding. Multnomah Cnty. v. Azar, 340 F. Supp.

        3d 1046, 1056 (D. Or. 2018) (“With respect to the second prong, legal consequences flow from an

        agency’s decision that prohibits future federal funding.”); Arizona State Bd. v. U.S. Dep’t of Educ.,

        391 F. Supp. 2d 800, 802 (D. Az. 2005) (explaining that there is “no dispute that the DOE’s

        Determination results in ‘legal consequences,’ namely the prohibition of future federal funding of

        for-profit charter schools”); XP Vehicles, Inc. v. Dep’t of Energy, 118 F. Supp. 3d 38, 60 (D.D.C.

        2015) (“It is clear beyond cavil that the rejection of a request for a government benefit . . . ‘fixes

        some legal relationship’ between a private party and the government.”).

               Here, Defendants’ termination of the Grant Recipients’ grants constitutes final agency

        action. The Termination Letters each provide that the “Department hereby terminates grant No. []

        in its entirety effective 2/[]/25.” This demand for immediate compliance with the Department’s




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        position marks the consummation of the Department’s decision-making process. As of the date of

        the Termination Letters, the Department stopped providing funding approved by the grants.

        (NCTR Declaration at ¶ 12, AU Declaration at ¶ 12, UST Declaration at ¶ 12, Alder GSE

        Declaration at ¶ 11, Teaching Lab Declaration at ¶ 12). The Department’s action unequivocally

        established that the rights of Grant Recipients to receive the funds was terminated. Instantly

        following the Department’s determination to halt funding, there was a direct and immediate effect

        on Plaintiffs and their member organizations – without the funding from the grants, Grant

        Recipients cannot continue to operate their teacher preparation programs.

                While the Termination Letters provide that the Grant Recipients may challenge the

        termination decision by submitting information documenting their position in writing to the

        Department within thirty days of the termination, the Department’s termination took effect

        immediately, and even if a Grant Recipient challenges the determination, the funding will not

        resume absent intervention from this Court. And while the Termination Letters invite Grant

        Recipients to submit an objection to the termination decision, they contain no promise that the

        Department will conduct a further review, nor any timeframe or process by which the Department

        intends review such a challenge, if at all.10 In any event,“[t]he mere possibility that an agency

        might reconsider” its decision “does not suffice to make an otherwise final agency action

        nonfinal.” Sackett v. EPA, 566 U.S. 120, 127 (2012). Accordingly, the Department’s termination

        of the grants constitutes final action under the APA. See id.


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          The Termination Letters are problematic for other reasons, too. Most notably, the form letters failed to
        provide basic notice by omitting any specificity about the reason that the Department found any individual
        grant “inconsistent with. . . Department priorities.” The letters instead merely list, disjunctively, five vague
        ways in which the specific grant at issue might be “inconsistent.” This does not put the Grant Recipients on
        notice for the reason for termination and of course thereby deprives them of any meaningful basis to
        challenge the termination.




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               The consequences of the termination of grant funds has already been felt by the Grant

        Recipients. As a result of the termination of their TQP, SEED, and TSL grants, Grant Recipients

        will be unable to continue their teacher preparation programs established and run by the grants’

        funding, which of course has a direct impact on their day-to-day business. See Franklin, 505 U.S.

        at 796-97 (quoting Abbott Labs., 387 U.S. at 152). For example, the termination of NCTR’s SEED

        grant will result in a $1,188,070 overall loss, including a $332,000 direct loss to NCTR, as well as

        a loss of $360,000 in expenses to contractors and a $495,000 loss in subgrants to the thirteen

        teacher residency programs funded by the grant. (NCTR Declaration at ¶ 13). Without their

        terminated grant funds, American University will no longer be able to maintain its teacher

        preparation program designed to remedy the dramatic teacher shortage and improve outcomes for

        early childhood and special education students in Washington D.C. (AU Declaration at ¶ 13).

        Likewise, due to the termination of its TQP grant, the University of St. Thomas is at risk of losing

        in student pipeline, such as special education, resulting in widespread negative impacts on the

        many communities, teachers and students these teacher pipeline programs benefit. (UST

        Declaration at ¶ 13). By way of yet another example, the Department’s termination of two TQP

        grants for Alder Graduate School of Education has immense impacts on its day-to-day business,

        affecting teacher preparation programs with 83 current teacher candidates and thwarted plans to

        recruit 80 additional teacher candidates in the remaining years of the grants. (Alder GSE

        Declaration at ¶¶ 13-15). Furthermore, as a direct result of the termination of a TSL grant, a non-

        profit organization which provides professional learning and coaching services to improve teacher

        practice and student learning will no longer be able to provide such services to over 40 schools.

        (Teaching Lab Declaration at ¶¶ 9, 17-18).




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               The termination of the Grant Recipients’ TQP, SEED, and TSL grants is also resulting in,

        and will continue to result in, loss of employment for the dedicated staff members and grant

        managers who worked to make the teacher preparation programs run, a harm that cannot be

        remedied at summary judgment when fundamental changes to the structure and business of

        Plaintiffs’ members have already been made by necessity. (See e.g., NCTR Declaration at ¶ 14,

        AU Declaration at ¶ 16, Alder GSE at ¶ 17). Termination of the grants will also lead to a decline

        in enrollment at many of Plaintiffs’ member organizations. (See e.g., AU Declaration at ¶ 13, Alder

        GSE Declaration at ¶¶ 14-15, NCTR Declaration at ¶ 14).

                               b. Defendants’ Action are Arbitrary and Capricious.

               The termination of the subject grants is unlawful, arbitrary, and capricious because it is not

        “reasonable and reasonably explained.” Fed. Commc’ns Comm’n v. Prometheus Radio Project,

        592 U.S. 414, 423 (2021). While a court may not “substitute its own policy judgment for that of

        the agency,” id., it must ensure that the agency has “examine[d] the relevant data and articulate[d]

        ‘a satisfactory explanation for its action[,] including a rational connection between the facts found

        and the choice made.” Motor Vehicle Mfrs. Assn. of United States, Inc. v. State Farm Mut. Auto.

        Ins. Co., 463 U.S. 9, 43 (1983). Agency action is “substantive[ly] unreasonable[]” when “the

        agency exercised its discretion unreasonably.” Multicultural Media, Telecom & Internet Council

        v. Fed. Commc’ns Comm’n, 873 F.3d 932, 936 (D.C. Cir. 2017) (Kavanaugh, J.). Where, as here,

        the Department exercises its discretion to act counter to statute and regulation, its action is per se

        unreasonable.

               The proffered reason by the Department for the termination of the grants – that they “are

        inconsistent with, and no longer effectuates, Department priorities” – is contrary to the law. Statute

        and regulation require the Secretary to publish Department Priorities for program grants in the

        Federal Register, subject to a notice and comment period. (20 U.S.C. § 1232(d), 34 C.F.R.


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        § 75.105(b)(2)). The Secretary then selects allowable Priorities to include in the applications for

        the grant competitions which are published in the Federal Register. (34 C.F.R. § 75.105(c)). The

        Department cannot, by law, determine that with a change in administration, specific Department

        Priorities for grant programs are no longer allowable unless and until the Department engages in

        rulemaking to propose and issue new Final Priorities.

               Simply put, the current administration has not gone through a notice and comment

        rulemaking process to issue new Final Priorities, so the current Final Priorities remain Department

        Priorities. As a result, and contrary to the Department’s official reasons, the grants at issue are

        consistent with the current Department Priorities. It would be arbitrary per se for the Department

        to conclude that these grants are not consistent with or do not effectuate those same “Department

        Priorities” merely because they say so. If the Department wishes to establish new Department

        Priorities, it may do so only through the means established by law, not through whim or fiat.

               B.      In the Absence of an Injunction, Plaintiffs are Certain to Suffer Irreparable
                       Harm.

               To obtain a preliminary injunction, a plaintiff must “demonstrate irreparable injury is likely

        in the absence of an injunction.” Winter, 555 U.S. at 22 (emphasis in original, collecting cases);

        Centro Tepeyac v. Montgomery Cnty., 722 F.3d 184, 188 (4th Cir. 2013). “To establish irreparable

        harm, the movant must make a ‘clear showing’ that it will suffer harm that is ‘neither remote nor

        speculative, but actual and imminent.’” Mountain Valley Pipeline, LLC v. 6.56 Acres of Land,

        Owned by Sandra Townes Powell, 915 F.3d 197, 216 (4th Cir. 2019) (quoting Direx Israel, Ltd. v.

        Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991)). Harm is irreparable if the injury

        “cannot be fully rectified by the final judgment after trial.” Ass’n of Am. Publishers, 586 F. Supp.

        3d at 388 (quoting Mountain Valley Pipeline, LLC, 915 F.3d at 216; Vitkus v. Blinken, 79 F.4th




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        352, 367 (4th Cir. 2023) (finding existence of irreparable harm where no adequate relief could be

        recovered at the conclusion of trial).

               A showing of irreparable harm occurs where a plaintiff demonstrates a likelihood of

        success on the merits of a constitutional claim. Leaders of a Beautiful Struggle v. Baltimore Police

        Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (“Because there is a likely constitutional violation, the

        irreparable harm factor is satisfied.”) (citation omitted); see also Mills v. District of Columbia, 571

        F.3d 1304, 1312 (D.C. Cir. 2009) (“It has long been established that the loss of constitutional

        freedoms, ‘for even minimal periods of time, unquestionably constitutes irreparable injury.’”)

        (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)).

               A mission-oriented organization also has a likelihood of irreparable injury where “the

        ‘actions taken by the defendant have perceptively impaired the organization’s program’” and

        “make it more difficult for [organizations] to accomplish [their] primary mission[s].” Open

        Communities All. v. Carson, 286 F. Supp. 3d 148, 177 (D.D.C. 2017); AIDS Vaccine Advoc. Coal.

        v. United States Dep’t of State, No. CV 25-00400 (AHA), 2025 WL 485324, at *4 (D.D.C. Feb.

        13, 2025), enforced, No. CV 25-00400 (AHA), 2025 WL 569381 (D.D.C. Feb. 20, 2025) (finding

        irreparable injury where loss of funding would make it more difficult to accomplish organization’s

        primary mission).

               In addition, economic harm may also prove irreparable if it is severe enough to threaten an

        organization’s existence. Packard Elevator v. I.C.C., 782 F. 2d 112, 115 (8th Cir. 1986)

        (“Recoverable monetary loss may constitute irreparable harm only where the loss threatens the

        very existence of the [plaintiff]’s business.”); see also National Ass’n of Diversity Officers in

        Higher Educ. v. Trump, Case No. 1:25-cv-00333-ABA, 2025 WL 53764, at *26 (D. Md. Feb. 21,

        2025) (same); Coalition for Common Sense in Gov’t Procurement v. United States, 576 F. Supp.




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        2d 162, 168 (2008) (“To successfully shoehorn potential economic loss into a showing of

        irreparable harm, a plaintiff must establish that the economic harm is so severe as to ‘cause extreme

        hardship to the business’ or threaten its very existence.”) (citations omitted); see also Texas

        Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 243-44 (D.D.C. 2014) (finding irreparable harm

        that is economic in nature where non-profit completely “shut out” of hospital funding program).

        “The critical consideration under this exception is the effect that the purported economic harm will

        have on a movant’s business or its very existence—not any monetary amount per se.” Sterling

        Commercial Credit—Michigan, LLC v. Phoenix Indus. I, LLC, 762 F. Supp. 2d 8, 15 (D.D.C.

        2011).

                        1.      Certain and Irreparable Harm to Plaintiffs and Their Member
                                Organizations.

                 First, there is a likelihood of success on the merits of a constitutional claim here, and thus

        the irreparable harm factor is per se satisfied. Leaders of a Beautiful Struggle v. Baltimore Police

        Dep’t, 2 F.4th 330, 346 (4th Cir. 2021).

                 Second, the Grant Recipients are being deprived of essential funding required to continue

        their teacher preparation programs. Without Court intervention, Defendants’ actions unlawfully

        depriving them of funding will:

            Force many Grant Recipients to shutter their programs, including teacher preparation

                 programs designed to support educators in critical areas of need, including special

                 education and early childhood education. (See e.g., AU Declaration at ¶ 13).

            Significantly reduce the Grant Recipients’ ability to address the on-going teacher shortage

                 and cause an exacerbation of the teacher shortage, especially in rural and urban

                 communities, across the country. (See e.g., NCTR Declaration at ¶ 18; Alder GSE

                 Declaration at ¶ 16).



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            Result in termination of employment for the dedicated staff members, coaches, and grant

              managers who work to make the teacher preparation programs run. (See e.g., NCTR

              Declaration at ¶ 14; AU Declaration at ¶ 16; Alder GSE Declaration at ¶ 17; Teaching Lab

              Declaration at ¶¶ 19-20).

            Result in a widespread cut and/or reduction of scholarships and living wage stipends for

              future educators to pursue degrees in education in underserved rural, urban, suburban, and

              exurban communities. (See e.g., UST Declaration at ¶¶ 7-8; Alder GSE Declaration at

              ¶¶ 13-15).

            Result in a widespread cut and/or reduction of mentor teacher stipends for teachers in K-

              12 schools who work to train and develop new teachers in areas of high-need. (See e.g.,

              Alder GSE Declaration at ¶¶ 13-15).

            Cut curriculum-based professional learning and coaching services designed to improve

              teacher practice and student learning at over 40 K-12 schools and result in a loss of a

              rigorous study to help school districts evaluate how best to spend their limited funds and

              limited teacher development time and resources. (Teaching Lab Declaration at ¶¶ 9, 17-18,

              21-22).

            Lead to a decline in enrollment at many of Plaintiffs’ member organizations. This includes

              a decline in current enrollment for students participating in teacher preparation programs

              who will no longer be able to afford to attend Plaintiffs’ member organizations due to the

              termination of funding supplied for stipends, support for licensure examinations and

              tutoring, and tuition assistance. The termination of grants also impairs the ability of

              Plaintiffs’ member organizations to recruit future students. (See e.g., AU Declaration at

              ¶ 13, Alder GSE Declaration at ¶¶ 14-15, NCTR Declaration at ¶ 14).



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                For the Grant Recipients, the harm is actual, not theoretical, as the funding was terminated

        in February 2025, immediately resulting in many of the Grant Recipients’ inability to continue

        their programs. The harm to the participants was even more impactful given that the terminations

        occurred in the middle of the school year. Similarly, for any Grant Recipients whose grants have

        not yet been terminated, but whose termination is forthcoming, and similarly situated to the grants

        at issue here, the imminence of their injuries is evident from the Department’s publicly-articulated

        desire to cut these grants used to train teachers and education agencies and the plain language of

        the directive from the Executive Order to take immediate action with at most 60 days from the

        date of the January 20, 2025 order. It is clear that the Department is moving swiftly to eliminate

        funding for all teacher preparation grants, and the termination of the grants that have not been

        terminated is imminent. The harm that this loss of funding will cause nationally is likewise

        immense, strangling the viability of the teacher preparation programs that schools and

        communities desperately need.

                The termination of the grants also completely eviscerates’ Plaintiffs’ missions to “elevate

        education and educator preparation through research, professional practice, advocacy, and

        collaboration,” to “transform educator preparation by advancing the teacher residency movement

        to prepare, support, and retain more effective educators who represent and value the communities

        they serve” and to “serve as a distinct statewide voice on matters of importance to educator

        preparation programs at [] colleges and universities.” 11 Without the TQP, SEED, and TSL grants

        to fund the teacher preparation programs, Plaintiffs and their member organizations will no longer

        be able to prepare/support and retain educators, which not only thwarts their missions, but also has



        11
          See https://aacte.org/about/, https://nctresidencies.org/about-nctr/,
        https://mactemaryland.wixsite.com/maryland-association.



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        a devastating impact on the communities they serve. With the loss of funding and slashed

        programs, Plaintiffs’ member organizations will no longer be able to support and train teaching

        candidates to work in partner K-12 schools. Many pre-K through year 12 schools rely on the

        teacher preparation programs funded by the TQP, SEED, and TSL grants to support their students.

        For example, without their TQP grant funding, American University will no longer be able to fund

        additional cohorts of its teacher residency program. As a result, the Washington D.C. Friendship

        Public Charter Schools will lose the support of the teacher candidates working in their early

        childhood and special education classrooms. (AU Declaration at ¶ 13). The University of St.

        Thomas will no longer be able to fund a majority of scholarships for undergraduate and graduate

        students who are pursuing teacher licensure and degrees in special education and elementary

        education. (UST Declaration at ¶¶ 6, 7). The stipends for Alder Graduate School of Education’s

        aspiring teachers and mentor teachers at its partner K-12 school systems will lose the majority of

        their funding, resulting in expected harm of over $2 million for the partner K-12 school systems.

        (Alder GSE Declaration at ¶¶ 13-16). Teaching Lab will no longer be able to provide professional

        learning and coaching services to over 40 K-12 schools. (Teaching Lab Declaration at ¶¶ 9, 17-

        18). NCTR’s thirteen teacher residency programs that were funded by a terminated grant are all in

        jeopardy, depriving Plaintiff NCTR of its ability to serve K-12 school districts where there is a

        high turnover and shortages of teachers and prepare educators for careers to help mitigate these

        teacher shortages. (NCTR Declaration at ¶ 18).

                       2.     Harm Resulting from Defendants’ Unlawfully Imposed Grant
                              Conditions.

               The Grant Recipients are also being harmed by the Department’s special condition put on

        the grants during their period for drawing down the funds. Generally, unless a grantee poses a

        specific risk, they can draw down funds from their grant award based on the allowable, allocable



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        and reasonable costs approved in their grant budget without prior approval. Here, the Department

        added a special condition to impacted grants after they were terminated requiring prior approval

        for them to draw down funds. This special condition is referred to as “route pay.” The grantees

        are eligible for costs that were properly incurred before their termination date and costs that would

        not have occurred if the grant was not terminated. They have 120 days to draw down the funds

        after the termination date. (2 C.F.R. §§ 200.472, 200.343, 200.344(b)).

               The regulations that govern federal grants set the reasons that the Department can put

        conditions on grants and the requirements for notice prior to doing so. Imposing a special

        condition, such as establishing additional prior approvals, on a grant can only be done if the grantee

        is determined to pose a risk. Factors that may be considered are financial stability, quality of

        management systems and standards, history of performance, audit reports and filings, ability to

        effectively implement requirements, history of compliance with conditions of a federal award, or

        a responsibility determination. (2 C.F.R. § 200.208).

               Before conditions are placed on a grant, the agency must notify the grantee as to: (1) the

        nature of the additional requirements; (2) the reason why the additional requirements are being

        imposed; (3) the nature of the action needed to remove the additional requirement, if applicable;

        (4) the time allowed for completing the actions if applicable; and (5) the method for requesting

        reconsideration of the additional requirements imposed. (Id.).

               Without notice or any finding of individual grantee risk, the Department put a blanket

        condition on the terminated grants to require prior approval for all remaining drawdowns. This

        new, unlawfully-imposed condition will cause delays in the Grant Recipients receiving their grant

        funds and potential subjectivity added to disturbing already approved costs.




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               C.      The Balance of Equities and Public Interest Favor Injunctive Relief.

               With regard to the final two factors, which merge for purposes of this analysis, courts “must

        balance the competing claims of injury and must consider the effect on each party of the granting

        or withholding of the requested relief.” Ass’n of Am. Publishers, 586 F. Supp. 3d at 388 (quoting

        Winter, 555 U.S. at 23; see also ICENY USA, LLC v. M & M’s, LLC, 421 F. Supp. 3d 204, 222-23

        (D. Md. 2019).

               Here, the balance of the equities favors preliminary relief because Fourth Circuit caselaw

        “counsels that ‘[the government] is in no way harmed by issuance of a preliminary injunction

        which prevents [it] from enforcing restrictions likely to be found unconstitutional. If anything, the

        system is improved by such an injunction.” Centro Tepeyac, 722 F.3d at 191 (quoting Giovani

        Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)). Similarly, it is axiomatic that the

        public interest favors protecting constitutional rights. See id. (“It also teaches that ‘upholding

        constitutional rights surely serves the public interest.’”) (quoting Giovani Carandola, 303 F.3d at

        521); see also Newsom ex. rel. Newsom v. Albemarle Cnty. Sch. Bd., 354 F.3d 249, 261 (4th Cir.

        2003) (recognizing that a governmental entity “is in no way harmed by issuance of a preliminary

        injunction” that prevents enforcement of a policy likely to be found unconstitutional).

               The equities also tip in Plaintiffs’ favor. On one hand, requiring the Department to continue

        the Grant Recipients’ grants would continue the status quo that would have resulted had the

        Department not unlawfully terminated the grants. The government would suffer no harm if the

        preliminary injunction is granted, just as they suffered no harm from the status quo before the

        grants were terminated. The Department would simply be directed to continue its regular

        obligation of Congressionally-approved funding that it had already committed to spend to fund the

        TQP, SEED, and TSL grants. On the other hand, the Grant Recipients’ teaching preparation

        programs provide an essential service furthering important public interest in education that will be


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        destroyed absent Court intervention. Accordingly, the balance of equities and public interest favor

        injunctive relief.

                D.      No Bond Is Necessary.

                Fed. R. Civ. P. 65(c) contemplates “security” the Court can order to “pay the costs and

        damages sustained by any party found to have been wrongfully enjoined or restrained.” A district

        court may waive the bond requirement. See Md. Dept. of Hum. Resources v. U.S. Dept. of Agric.,

        976 F.2d 1462, 1483 n.23 (4th Cir. 1992) (recognizing “a district court’s discretion to set a bond

        amount of zero where the enjoined or restrained party faces no likelihood of material harm”) (citing

        cases); see also Metro. Reg’l Info. Sys. v. Am. Home Realty Network, Inc., 904 F. Supp. 2d 530,

        536 (D. Md. 2012) (“Where the district court determines that the risk of harm is remote, or that

        the circumstances otherwise warrant, the court may fix the amount of bond accordingly. In some

        circumstances, a nominal bond may suffice.”) (quoting Candle Factory, Inc. v. Trade Assocs. Grp.,

        Ltd., 23 Fed. App’x. 134, 139 (4th Cir. 2001)); Pashby v. Delia, 709 F.3d 307, 332 (4th Cir. 2013)

        (“[T]he district court retains the discretion to set the bond amount as it sees fit or waive the security

        requirement.”). Indeed, in NADOHE, this Court effectively waived the bond requirement and “set

        a nominal bond of zero dollars.” No. 1:25-CV-00333-ABA, 2025 WL 573764 at *30. Accordingly,

        Plaintiffs request that no bond or security be ordered. In the alternative, Plaintiffs request a nominal

        bond of $100.

        V.      CONCLUSION

                For these reasons, and the reasons set forth herein, Plaintiffs respectfully request that the

        Court enter a temporary restraining order or preliminary injunction. A proposed order accompanies

        the instant Motion.




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         Dated: March 3, 2025                    Respectfully Submitted,

                                                 /s/ Daniel M. Moore
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                                              Counsel for Plaintiffs




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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                    BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                        Plaintiffs,
              v.                                           Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                        Defendants.

                       DECLARATION OF JOSHUA W. B. RICHARDS, ESQ.

              I, JOSHUA W. B. RICHARDS, declare as follows:

              1.    I have sought or intend to imminently seek pro hac vice admission in this Court in

                    connection with the above captioned matter.

              2.    I am a partner at the law firm Saul Ewing LLP, counsel for Plaintiffs the American

                    Association of Colleges for Teacher Education, the National Center for Teacher

                    Residencies, and the Maryland Association of Colleges for Teacher Education

                    (collectively, “Plaintiffs”).

              3.    I submit this declaration in support of Plaintiffs’ Motion for Temporary Restraining

                    Order/Preliminary Injunction and Memorandum of Law in Support thereof.

              4.    In support of Plaintiffs’ Motion for Temporary Restraining Order/Preliminary

                    Injunction, I attach true and correct copies of the following exhibits:

                        a. Exhibit A: Examples of Grant Award Notifications sent to grant recipients

                            in February 2025;

                        b. Exhibit B: Examples of Termination Letters sent to grant recipients in

                            February 2025;




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                         c. Exhibit C: This Court’s Order entered in National Association of Diversity

                              Officers in Higher Education, et al. v. Donald J. Trump, et al., No. 1:25-

                              CV-00333-ABA, 2025 WL 573764 (D. Md. Feb. 21, 2025); and

                         d. Exhibit D: The Department of Education’s February 17, 2025 Press

                              Release.

              I declare that the foregoing is true and correct.

                                                     Respectfully submitted,

        Date: March 3, 2025                          ___________________________
                                                     Joshua W. B. Richards
                                                     SAUL EWING LLP
                                                     1500 Market Street, 38th Floor
                                                     Philadelphia, Pennsylvania 19102
                                                     (215) 972-7737
                                                     joshua.richards@saul.com

                                                     Attorney for Plaintiffs




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                                  Exhibit A




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                       S423A220008 - 24
                       Bill Kennedy
                       National Center for Teacher Residencies
                       1332 N. Halsted Street
                       #304
                       Chicago, IL 60642




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                   #304
                   CHICAGO, IL 60642




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                                            US Department of Education
                                                                                                                    S423A220008 - 24

                                              Washington, D.C. 20202

                                      GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                             2 AWARD INFORMATION
      National Center for Teacher Residencies                             PR/AWARD NUMBER          S423A220008 - 24
      1332 N. Halsted Street                                                ACTION NUMBER          9
      #304                                                                     ACTION TYPE         Administrative
      CHICAGO, IL 60642                                                        AWARD TYPE          Discretionary

 3 PROJECT STAFF                                              4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                      84.423A
         Bill Kennedy                (312) 330-8311                   Centering Equity: Building & Scaling Teacher Residencies
         bkennedy@nctresidencies.org
      EDUCATION PROGRAM CONTACT
         Melissa Harper-Butler       (202) 453-5631
         Mel.Harper-
         Butler@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
 5   KEY PERSONNEL

      NAME                           TITLE                                     LEVEL OF EFFORT
      Bill Kennedy                   Project Director                                      62 %

 6 AWARD PERIODS
                   BUDGET PERIOD                10/01/2024 - 02/10/2025
              PERFORMANCE PERIOD                10/01/2022 - 02/10/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                                THIS ACTION                          N/A
                              BUDGET PERIOD                 $1,614,988.00
                         PERFORMANCE PERIOD                 $6,262,866.00

 8 ADMINISTRATIVE INFORMATION
                   UEI           DMKFJA9LJ9J5
           REGULATIONS           CFR PART XXX
                                 EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
           ATTACHMENTS           N/A

 9   LEGISLATIVE AND FISCAL DATA

       AUTHORITY:                           PL P.L. 114–95 II DEPARTMENT OF DEFENSE AND FULL YEAR
                                            CONTINUING APPROPRIATIONS ACT
       PROGRAM TITLE:                       SUPPORTING EFFECTIVE EDUCATOR DEVELOPMENT
       CFDA/SUBPROGRAM NO:                  84.423A



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                                                US Department of Education
                                                                                                                             S423A220008 - 24

                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S423A220008 - 24
         RECIPIENT NAME:                           National Center for Teacher Residencies
         GRANTEE NAME:                             NATIONAL CENTER FOR TEACHER RESIDENCIES, INC
                                                   1332 N HALSTED ST STE 304,
                                                   CHICAGO, IL 60642 - 2694
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                               LAVANNA WEEMS Digitally     signed by LAVANNA WEEMS
                                                   Date: 2025.02.10 20:38:26 -05'00'


                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                         JA 95
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                      JA 96
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




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                      S336S230042 - 24
                      Carolyn Parker
                      American University
                      American University
                      4400 Massachusetts Ave. NW
                      Washington, DC 20016




                                                                                 JA 98
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                   S336S230042 - 24

                   Diana Burley
                   American University
                   American University
                   4400 Massachusetts Avenue, NW
                   Washington, DC 20016




                                                                                   JA 99
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                                         US Department of Education
                                           Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                          2 AWARD INFORMATION
      American University                                             PR/AWARD NUMBER          S336S230042 - 24
      American University                                               ACTION NUMBER          4
      4400 Massachusetts Avenue, NW                                        ACTION TYPE         Administrative
      Washington, DC 20016                                                 AWARD TYPE          Discretionary

 3 PROJECT STAFF                                           4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                  84.336S
         Carolyn Parker              (202) 885-6259               Residency for Excellence in Teaching and Learning (RETL)
         caparker@american.edu
      EDUCATION PROGRAM CONTACT
         Louis Edwards               (202) 453-6778
         LOUIS.EDWARDS@ED.GOV
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                         TITLE                                   LEVEL OF EFFORT
      Carolyn Parker               Project Director                                    0%

 6 AWARD PERIODS
                   BUDGET PERIOD            10/01/2024 - 02/12/2025
              PERFORMANCE PERIOD            10/01/2023 - 02/12/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                        N/A
                             BUDGET PERIOD                 $299,619.00
                        PERFORMANCE PERIOD                 $514,788.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          H4VNDUN2VWU5
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                        PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                    TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                         PARTNERSHIPS
       CFDA/SUBPROGRAM NO:               84.336S




                                                                                                          JA 100
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                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S336S230042 - 24
         RECIPIENT NAME:                           American University
                                                   American University
         GRANTEE NAME:                             AMERICAN UNIVERSITY
                                                   4400 MASSACHUSETTS AVE NW,
                                                   WASHINGTON, DC 20016 - 8003
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 101
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 102
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 103
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                      S336S200016 - 23
                      Shelley Neilsen Gatti
                      University of St. Thomas
                      School of Education
                      2115 Summit Avenue
                      Saint Paul, MN 55105




                                                                                   JA 104
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                   S336S200016 - 23

                   Michael Warnock
                   University of St. Thomas
                   School of Education
                   2115 Summit Ave W
                   St. Paul, MN 55105




                                                                                    JA 105
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                                         US Department of Education
                                           Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                         2 AWARD INFORMATION
      University of St. Thomas                                        PR/AWARD NUMBER           S336S200016 - 23
      School of Education                                               ACTION NUMBER           9
      2115 Summit Ave W                                                    ACTION TYPE          Administrative
      St. Paul, MN 55105                                                   AWARD TYPE           Discretionary

 3 PROJECT STAFF                                          4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                  84.336S
         Shelley Neilsen Gatti       (651) 962-4396               PREPARE Highly Effective Diverse and Culturally Relevant
         slneilsengat@stthomas.edu                                Educators through Residency Pathways
      EDUCATION PROGRAM CONTACT
         Diana Schneider             (202) 401-1456
         diana.schneider@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                         TITLE                                   LEVEL OF EFFORT
      Shelley Neilsen Gatti        Project Director                                    25 %
      Michael Warnock              Authorized Representative                            1%

 6 AWARD PERIODS
                   BUDGET PERIOD            10/01/2023 - 09/30/2024
              PERFORMANCE PERIOD            10/01/2020 - 02/12/2025

     FUTURE BUDGET PERIODS

          BUDGET PERIOD                         DATE                               AMOUNT
                   5                    10/01/2024 - 02/12/2025                   $691,352.00

 7 AUTHORIZED FUNDING
                                THIS ACTION                       N/A
                              BUDGET PERIOD                $689,988.00
                         PERFORMANCE PERIOD              $2,804,102.00

 8 ADMINISTRATIVE INFORMATION
                   UEI           LVV9V64A8449
           REGULATIONS           EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
          ATTACHMENTS            N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                        PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                    TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                         PARTNERSHIPS
       CFDA/SUBPROGRAM NO:               84.336S



                                                                                                          JA 106
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                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S336S200016 - 23
         RECIPIENT NAME:                           University of St. Thomas
                                                   School of Education
         GRANTEE NAME:                             UNIVERSITY OF ST. THOMAS
                                                   2115 SUMMIT AVE,
                                                   SAINT PAUL, MN 55105 - 1048
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               2%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 107
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 108
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 109
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                      S423A230033 - 24
                      Laroye L Stansberry Brusnahan
                      University of St. Thomas
                      School of Education
                      2115 Summit Avenue
                      St. Paul, MN 55105




                                                                                 JA 110
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                   S423A230033 - 24

                   Michael J Warnock
                   University of St. Thomas
                   School of Education
                   2115 Summit Avenue
                   2115 Summit Ave W
                   St. Paul, MN 55105




                                                                                    JA 111
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                                           US Department of Education
                                             Washington, D.C. 20202

                                     GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                             2 AWARD INFORMATION
      University of St. Thomas                                          PR/AWARD NUMBER               S423A230033 - 24
      School of Education                                                 ACTION NUMBER               5
      2115 Summit Avenue                                                     ACTION TYPE              Administrative
      2115 Summit Ave W                                                      AWARD TYPE               Discretionary
      St. Paul, MN 55105
     PROJECT STAFF
 3                                                            4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                       84.423A
         Laroye L Stansberry         (414) 759-8917                    Learn, Work, and Earn: “Grow Your Own” Practice-Based
         Brusnahan                                                     Residency Pathways to Prepare Effective Educators
         llstansberry@stthomas.edu
      EDUCATION PROGRAM CONTACT
         Melissa Harper-Butler       (202) 453-5631
         Mel.Harper-
         Butler@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                       LEVEL OF EFFORT
      Laroye L Stansberry           Project Director                                        11 %
      Brusnahan

 6 AWARD PERIODS
                   BUDGET PERIOD              10/01/2024 - 02/07/2025
              PERFORMANCE PERIOD              10/01/2023 - 02/07/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                                THIS ACTION                          N/A
                              BUDGET PERIOD                 $3,219,601.00
                         PERFORMANCE PERIOD                 $5,296,329.00

 8 ADMINISTRATIVE INFORMATION
                    UEI          MEQUD34ZB1Y6
            REGULATIONS          CFR PART XXX
                                 EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
           ATTACHMENTS           2 , 3 , 6 , 8 , 9 , 11 , 12 , 13 , 14 , GE1 , GE2 , GE3 , GE4 , GE5 , TERMUST

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                          PL P.L. 114–95 II DEPARTMENT OF DEFENSE AND FULL YEAR
                                           CONTINUING APPROPRIATIONS ACT
       PROGRAM TITLE:                      SUPPORTING EFFECTIVE EDUCATOR DEVELOPMENT
       CFDA/SUBPROGRAM NO:                 84.423A

                                                                                                                 JA 112
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                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S423A230033 - 24
         RECIPIENT NAME:                           University of St. Thomas
                                                   School of Education
         GRANTEE NAME:                             UNIVERSITY OF ST THOMAS
                                                   2115 SUMMIT AVE,
                                                   SAINT PAUL, MN 55105 - 1048
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 113
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 114
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 115
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                      S336S200017 - 24
                      David Roth
                      Alder Graduate School of Education
                      2946 Broadway
                      Suite B
                      Redwood City, CA 94062




                                                                                  JA 116
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                   S336S200017 - 24

                   Heather Kirkpatrick
                   Alder Graduate School of Education
                   2946 Broadway
                   Suite B
                   Redwood City, CA 94062




                                                                                     JA 117
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                                           US Department of Education
                                             Washington, D.C. 20202

                                     GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                           2 AWARD INFORMATION
      Alder Graduate School of Education                               PR/AWARD NUMBER            S336S200017 - 24
      2946 Broadway                                                      ACTION NUMBER            14
      Suite B                                                               ACTION TYPE           Administrative
      Redwood City, CA 94062                                                AWARD TYPE            Discretionary

 3 PROJECT STAFF                                            4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                    84.336S
         David Roth                  (805) 234-4944                 Empowering Districts to Build Sustainable Pipelines of
         droth@aldergse.edu                                         Effective Teachers for High-Need Schools
      EDUCATION PROGRAM CONTACT
         Louis Edwards               (202) 453-6778
         LOUIS.EDWARDS@ED.GOV
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                    LEVEL OF EFFORT
      David Roth                    Project Director                                     25 %

 6 AWARD PERIODS
                   BUDGET PERIOD             10/01/2024 - 02/13/2025
              PERFORMANCE PERIOD             10/01/2020 - 02/13/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                          N/A
                             BUDGET PERIOD                   $365,262.00
                        PERFORMANCE PERIOD                 $6,513,745.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          Q5UNGJK7K1M4
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                          PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                      TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                           PARTNERSHIPS
       CFDA/SUBPROGRAM NO:                 84.336S




                                                                                                              JA 118
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                                                 US Department of Education
                                                   Washington, D.C. 20202

                                           GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                           S336S200017 - 24
         RECIPIENT NAME:                            Alder Graduate School of Education
         GRANTEE NAME:                              ALDER GRADUATE SCHOOL OF EDUCATION
                                                    2946 BROADWAY,
                                                    REDWOOD CITY, CA 94062 - 1510
         PROGRAM INDIRECT COST TYPE:                Restricted
         PROJECT INDIRECT COST RATE:                8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   On Wednesday, February 12, 2025, you received an administrative action notice through the G5 system, alerting
                  you through an updated grant award notice (GAN) that one of your grants had been deemed to be inconsistent with,
                  and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)(4); see also 34 C.F.R. 75.253. An email
                  notification terminating the grant should have preceded the administrative action, but in fact, there was a subset
                  of them that were not dispatched until today, Thursday, February 13, 2025. What this means for your grant and
                  program is that the effective date will be extended, and the effective date of the termination action will be as of today,
                  February 13, 2025 instead, and not yesterday, February 12, 2025. We apologize for this timing error, and we regret
                  any confusion or inconvenience the sequence of these actions may have caused. This GAN reflects the new effective
                  date for the termination, replacing yesterday s date. Thank you for your understanding.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                           AUTHORIZING OFFICIAL                                                  DATE

Ver. 1




                                                                                                                           JA 119
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 120
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 121
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                      S336S220029 - 24
                      David Roth
                      Alder Graduate School of Education
                      2946 Broadway
                      Suite B
                      Redwood City, CA 94062




                                                                                  JA 122
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                   S336S220029 - 24

                   Heather Kirkpatrick
                   Alder Graduate School of Education
                   2946 Broadway
                   Suite B
                   Redwood City, CA 94062




                                                                                     JA 123
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                                           US Department of Education
                                             Washington, D.C. 20202

                                     GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                           2 AWARD INFORMATION
      Alder Graduate School of Education                               PR/AWARD NUMBER            S336S220029 - 24
      2946 Broadway                                                      ACTION NUMBER            9
      Suite B                                                               ACTION TYPE           Administrative
      Redwood City, CA 94062                                                AWARD TYPE            Discretionary

 3 PROJECT STAFF                                            4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                    84.336S
         David Roth                                                 Promoting Equity by Building Sustainable Pipelines of
         droth@aldergse.edu                                         Diverse, Effective Educators
      EDUCATION PROGRAM CONTACT
         Louis Edwards               (202) 453-6778
         LOUIS.EDWARDS@ED.GOV
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                   LEVEL OF EFFORT
      David Roth                    Project Director                                    30 %

 6 AWARD PERIODS
                   BUDGET PERIOD             10/01/2024 - 02/13/2025
              PERFORMANCE PERIOD             10/01/2022 - 02/13/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                          N/A
                             BUDGET PERIOD                 $1,484,225.00
                        PERFORMANCE PERIOD                 $3,797,124.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          Q5UNGJK7K1M4
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                          PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                      TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                           PARTNERSHIPS
       CFDA/SUBPROGRAM NO:                 84.336S




                                                                                                             JA 124
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                                                 US Department of Education
                                                   Washington, D.C. 20202

                                           GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                           S336S220029 - 24
         RECIPIENT NAME:                            Alder Graduate School of Education
         GRANTEE NAME:                              ALDER GRADUATE SCHOOL OF EDUCATION
                                                    2946 BROADWAY,
                                                    REDWOOD CITY, CA 94062 - 1510
         PROGRAM INDIRECT COST TYPE:                Restricted
         PROJECT INDIRECT COST RATE:                8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   On Wednesday, February 12, 2025, you received an administrative action notice through the G5 system, alerting
                  you through an updated grant award notice (GAN) that one of your grants had been deemed to be inconsistent with,
                  and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)(4); see also 34 C.F.R. 75.253. An email
                  notification terminating the grant should have preceded the administrative action, but in fact, there was a subset
                  of them that were not dispatched until today, Thursday, February 13, 2025. What this means for your grant and
                  program is that the effective date will be extended, and the effective date of the termination action will be as of today,
                  February 13, 2025 instead, and not yesterday, February 12, 2025. We apologize for this timing error, and we regret
                  any confusion or inconvenience the sequence of these actions may have caused. This GAN reflects the new effective
                  date for the termination, replacing yesterday s date. Thank you for your understanding.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                           AUTHORIZING OFFICIAL                                                  DATE

Ver. 1




                                                                                                                           JA 125
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 126
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 127
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                      S374A230040 - 24
                      Cynite Ola
                      Teaching Lab
                      1802 Vernon St NW
                      Pmb 533
                      Washington, DC 20009




                                                                                   JA 128
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                   S374A230040 - 24

                   Sarah Johnson
                   Teaching Lab
                   1802 Vernon St. NW
                   PMB 533
                   Washington, DC 20009




                                                                                JA 129
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                                         US Department of Education
                                           Washington, D.C. 20202

                                   GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                          2 AWARD INFORMATION
      Teaching Lab                                                    PR/AWARD NUMBER            S374A230040 - 24
      1802 Vernon St. NW                                                ACTION NUMBER            5
      PMB 533                                                              ACTION TYPE           Administrative
      Washington, DC 20009                                                 AWARD TYPE            Discretionary

 3 PROJECT STAFF                                           4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                   84.374A
         Cynite Ola                  512.293.5854                  Teaching Lab's Project RISE: Refine, Innovate, Share, and
         cynite.ola@teachinglab.org                                Elevate
      EDUCATION PROGRAM CONTACT
         Bryan Hale
         bryan.hale@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                         TITLE                                    LEVEL OF EFFORT
      Cynite Ola                   Project Director                                    100 %

 6 AWARD PERIODS
                   BUDGET PERIOD            10/01/2024 - 02/18/2025
              PERFORMANCE PERIOD            10/01/2023 - 02/18/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                         N/A
                            BUDGET PERIOD                 $4,578,311.00
                      PERFORMANCE PERIOD                 $11,099,378.00
                     RECIPIENT COST-SHARE                        0.00%
           RECIPIENT NON-FEDERAL AMOUNT                           $0.00

 8 ADMINISTRATIVE INFORMATION
                   UEI         S79QLA3H92D7
           REGULATIONS         CFR PART D
                               EDGAR AS APPLICABLE
                               2 CFR AS APPLICABLE
           ATTACHMENTS         N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                        PL 109-149 V ELEMENTARY AND SECONDARY EDUCATION ACT, AS
                                         AMENDED
       PROGRAM TITLE:                    TEACHER INCENTIVE FUND
       CFDA/SUBPROGRAM NO:               84.374A


                                                                                                             JA 130
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                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S374A230040 - 24
         RECIPIENT NAME:                           Teaching Lab
         GRANTEE NAME:                             TEACHING LAB
                                                   1802 VERNON ST NW,
                                                   WASHINGTON, DC -
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               10%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 131
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 132
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 133
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                                     Exhibit B




                                                                            JA 134
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/10/25

       William Kennedy
       Project Director
       National Center for Teacher Residencies, Inc.
       1332 N Halsted Street, Suite 304
       Chicago, IL 60642




                                                         RE: Grant Award Termination

        Dear Mr.
             _______________:
                 Kennedy

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S423A220008            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S423A220008                in its entirety effective _______________.
                                                                         2/10/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 135
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Thank you,




        Deputy Assistant Secretary
        for Management and Planning
        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 136
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            Case 1:25-cv-00702-JRR                       Document 5-2 Filed 03/03/25 Page 49 of 70

                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/12/25

       Carolyn Parker
       Project Director
       AMERICAN UNIVERSITY
       4400 Massachusetts Ave. NW
       Washington, DC 20016




                                                         RE: Grant Award Termination

        Dear _______________:
             Carolyn Parker

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S230042            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S230042                in its entirety effective _______________.
                                                                         2/12/25

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                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 137
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 138
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/13/25

       Shelley Neilsen Gatti
       Project Director
       UNIVERSITY OF ST. THOMAS
       2115 Summit Avenue
       Saint Paul, MN 55105




                                                         RE: Grant Award Termination

        Dear _______________:
             Shelley Neilsen Gatti

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S200016            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S200016                in its entirety effective _______________.
                                                                         2/13/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 139
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            Case 1:25-cv-00702-JRR                       Document 5-2 Filed 03/03/25 Page 52 of 70

        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 140
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                                                                           JA 141
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                                                                           JA 142
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/13/25

       David Roth
       Project Director
       ALDER GRADUATE SCHOOL OF EDUCATION
       2946 Broadway
       Suite B
       Redwood City, CA 94062



                                                         RE: Grant Award Termination

        Dear _______________:
             David Roth

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S200017            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S200017                in its entirety effective _______________.
                                                                         2/13/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 143
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            Case 1:25-cv-00702-JRR                       Document 5-2 Filed 03/03/25 Page 56 of 70

        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 144
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION




                                                         RE: Grant Award Termination

        Dear _______________:

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________. See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________ in its entirety effective _______________.

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               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 145
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            Case 1:25-cv-00702-JRR                       Document 5-2 Filed 03/03/25 Page 58 of 70

        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 146
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/18/2025

       Cynite Ola
       Project Director
       TEACHING LAB
       1802 Vernon St NW
       Pmb 533
       Washington, DC 20009



                                                         RE: Grant Award Termination

        Dear _______________:
             Cynite Ola

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S374A230040            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S374A230040                in its entirety effective _______________.
                                                                          2/18/2025

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                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 147
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            Case 1:25-cv-00702-JRR                       Document 5-2 Filed 03/03/25 Page 60 of 70

        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Mark Washington
        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 148
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                                     Exhibit C




                                                                            JA 149
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            Case
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                    1:25-cv-00333-ABA Document
                                       Document5-245 Filed
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

        NATIONAL ASSOCIATION OF
        DIVERSITY OFFICERS IN HIGHER
        EDUCATION, et al.,
                 Plaintiffs,
                                                            Case No. 1:25-cv-00333-ABA
            v.

        DONALD J. TRUMP, et al.,
                 Defendants



                                     PRELIMINARY INJUNCTION

                 Pursuant to Federal Rule of Civil Procedure 65, and upon consideration of the

        Motion for a Temporary Restraining Order and/or Preliminary Injunction filed by

        Plaintiffs National Association of Diversity Officers in Higher Education, the American

        Association of University Professors, Restaurant Opportunities Centers United, and the

        Mayor and City Council of Baltimore, Maryland (ECF No. 27) (the “Motion”),

        Defendants’ memorandum in opposition to the Motion (ECF No. 35), Plaintiffs’ reply

        brief (ECF No. 39), and the exhibits to those submissions, and having held a hearing on

        the Motion on February 19, 2025, and for the reasons set forth in the accompanying

        Memorandum Opinion, it is hereby ORDERED as follows:

                 1.     The Motion is GRANTED IN PART and DENIED IN PART.

                 2.     This Order addresses the following provisions in Exec. Order 14151,

        Ending Radical and Wasteful Government DEI Programs and Preferencing, Executive

        Order of January 20, 2025, 90 Fed. Reg. 8339 (Jan. 29, 2025) (the “J20 Order”), and

        Exec. Order 14173, Ending Illegal Discrimination and Restoring Merit-Based



                                                     1

                                                                                          JA 150
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        Opportunity, Executive Order of January 21, 2025, 90 Fed. Reg. 8633 (Jan. 31, 2025)

        (“J21 Order”):

               J20 Order § 2(b)(i) (in part) (the “Termination Provision”):

                     Each agency, department, or commission head, in
                     consultation with the Attorney General, the Director of OMB,
                     and the Director of OPM, as appropriate, shall take the
                     following actions within sixty days of this order:

                         (i) terminate, to the maximum extent allowed by law, . . .
                         all . . . “equity-related” grants or contracts[.]

               J21 Order § 3(b)(iv) (the “Certification Provision”):

                     The head of each agency shall include in every contract or
                     grant award:

                         (A) A term requiring the contractual counterparty or grant
                         recipient to agree that its compliance in all respects with
                         all applicable Federal anti-discrimination laws is material
                         to the government’s payment decisions for purposes of
                         section 3729(b)(4) of title 31, United States Code; and

                         (B) A term requiring such counterparty or recipient to
                         certify that it does not operate any programs promoting
                         DEI that violate any applicable Federal anti-
                         discrimination laws.

               J21 Order § 4(b)(iii) (the “Enforcement Threat Provision”):

                     To further inform and advise me so that my Administration
                     may formulate appropriate and effective civil-rights policy,
                     the Attorney General, within 120 days of this order, in
                     consultation with the heads of relevant agencies and in
                     coordination with the Director of OMB, shall submit a report
                     to the Assistant to the President for Domestic Policy
                     containing recommendations for enforcing Federal civil-
                     rights laws and taking other appropriate measures to
                     encourage the private sector to end illegal discrimination and



                                                    2

                                                                                       JA 151
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                     preferences, including DEI. The report shall contain a
                     proposed strategic enforcement plan identifying

                          . . . (iii) A plan of specific steps or measures to deter DEI
                          programs or principles (whether specifically denominated
                          ‘DEI’ or otherwise) that constitute illegal discrimination or
                          preferences. As a part of this plan, each agency shall
                          identify up to nine potential civil compliance
                          investigations of publicly traded corporations, large non-
                          profit corporations or associations, foundations with
                          assets of 500 million dollars or more, State and local bar
                          and medical associations, and institutions of higher
                          education with endowments over 1 billion dollars.

               3.    Defendants other than the President, and other persons who are in active

        concert or participation with Defendants (the “Enjoined Parties”), shall not:

                     a.      pause, freeze, impede, block, cancel, or terminate any awards,

                             contracts or obligations (“Current Obligations”), or change the

                             terms of any Current Obligation, on the basis of the Termination

                             Provision;

                     b.      require any grantee or contractor to make any “certification” or

                             other representation pursuant to the Certification Provision; or

                     c.      bring any False Claims Act enforcement action, or other

                             enforcement action, pursuant to the Enforcement Threat Provision,

                             including but not limited to any False Claims Act enforcement

                             action premised on any certification made pursuant to the

                             Certification Provision.


        Date: February 21, 2025                                 /s/
                                                          Adam B. Abelson
                                                          United States District Judge


                                                      3

                                                                                          JA 152
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                                     Exhibit D




                                                                            JA 153
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   PRESS RELEASE


   U.S. Department of Education Cuts Over $600 Million in
   Divisive Teacher Training Grants
   U.S. Department of Education Cuts $600 Million in Grants Used to Train
   Teachers and Education Agencies on Divisive Ideologies


   FEBRUARY 17, 2025




      The U.S. Department of Education today announced it has terminated over $600
      million in grants to institutions and nonprofits that were using taxpayer funds to
      train teachers and education agencies on divisive ideologies. Training materials
      included inappropriate and unnecessary topics such as Critical Race Theory;
      Diversity, Equity, and Inclusion (DEI); social justice activism; “anti-racism”; and
      instruction on white privilege and white supremacy. Additionally, many of these
      grants included teacher and staff recruiting strategies implicitly and explicitly
      based on race.

      The grants are awarded to teacher preparation programs that train future
      classroom teachers. Examples from the grant applications included:

           Requiring practitioners to take personal and institutional responsibility for
           systemic inequities (e.g., racism) and critically reassess their own practices;
           Receiving professional development workshops and equity training on topics
           such as “Building Cultural Competence,” “Dismantling Racial Bias” and
           “Centering Equity in the Classroom”;
           Acknowledging and responding to systemic forms of oppression and inequity,
           including racism, ableism, “gender-based” discrimination, homophobia, and
                                                                                   JA 154
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           ageism;
           Building historical and sociopolitical understandings of race and racism to
           interrupt racial marginalization and oppression of students in planning
           instruction relationship building discipline and assessment;
           Providing “targeted practices in culturally relevant and responsive teaching
           abolitionist pedagogies and issues of diversity in classroom management”;
           and
           Providing spaces for critical reflection to help educators confront biases and
           have transformative conversations about equity.




       CONTACT

       Press Office | press@ed.gov | (202) 401-1576 | Office of Communications and Outreach (OCO)




   Office of Communications and Outreach (OCO)
   Page Last Reviewed: February 18, 2025




   Related Content
   Office for Civil Rights Launches Title IX Violation Investigations into Maine
   Department of Education and Maine School District
   The Office for Civil Rights announced that it is initiating a directed investigation of the Maine Department of
   Education amid allegations that it continues to allow male athletes to compete in girls’ interscholastic
   athletics.
   FEBRUARY 21, 2025




   U.S. Department of Education’s Statement on Title IX Compliance
   The U.S. Department of Education's Office for Civil Rights today commended state athletic associations in
   Wisconsin and New Hampshire for changing their athletic policies to conform to President Trump’s Executive
   Order and antidiscrimination laws.
   FEBRUARY 20, 2025



                                                                                                   JA 155
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   U.S. Department of Education Reduces Federal Overreach in Charter Schools
   Program
   The U.S. Department of Education announced that it has reigned in the federal government’s influence over
   state Charter School Program (CSP) grant awards.
   FEBRUARY 20, 2025




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    1098 Tax Forms


   Educational Resources

    504 Plans

    FERPA

    IEPs (Individualized Education Program)


   Teaching Resources

    Become a Teacher

    Professional Resources

    School Safety and Security

    Teaching Abroad


   File a Report

    Report Fraud, Waste, or Abuse

    Report a Civil Rights Violation

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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
                                      BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                          Plaintiffs,
               v.                                            Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                          Defendants.

            DECLARATION OF CHERYL HOLCOMB-MCCOY, PH.D., IN SUPPORT OF
            APPLICATION FOR TEMPORARY RESTRAINING ORDER / PRELIMINARY
                                   INJUNCTION


        I, Cheryl Holcomb-McCoy, Ph.D., declare and state under penalty of perjury the following:

               1.     I am the Chief Executive Officer/President of American Association of Colleges

        for Teacher Education (“AACTE”), one of the plaintiffs in this case. I am also a Distinguished

        Professor of Education at American University.

               2.      I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Declaration is for use in connection with the above-captioned civil

        action, and I make this Declaration based upon my own personal knowledge and my review of the

        AACTE’s business records.

               3.     AACTE is a nonprofit association of educator preparation programs, composed of

        hundreds of public and private colleges and universities and nonprofit teaching organizations.

        AACTE’s member organizations prepare professional educators across the United States and its

        territories, encompassing teachers, counselors, PK-12 administrators, and college faculty.

        AACTE’s principal place of business is 1602 L St., NW, Suite 601, Washington, DC 20036.




                                                                                                  JA 159
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               4.      AACTE’s mission is to elevate education and educator preparation through

        research, professional practice, advocacy, and collaboration. The termination of the Teacher

        Quality Partnership Program (“TQP”) grants, the Supporting Effective Educator Development

        Program (“SEED”) grants, and the Teacher and School Leader Incentive Program (“TSL”) grants

        directly threatens this mission. These grants fund initiatives that benefit PK-12 students and

        schools nationwide by supporting innovative approaches to educator preparation and professional

        development. Through their work, grantees produce evidence-based practices that lead to the

        preparation of highly qualified teachers, principals, and school-based educators. As the nation’s

        largest organization dedicated to educator preparation, AACTE prioritizes ensuring that every

        child has access to credentialed, well-prepared educators. These grants are vital to that goal.

        AACTE plays a crucial role in amplifying their impact by sharing grantees’ research, policy

        insights, and best practices with the broader education community through publications,

        convenings, annual meetings, and other resources. Preserving these funding sources is essential to

        sustaining and advancing the quality of educator preparation and, ultimately, student success.

               5.      AACTE has 54 member organizations nationwide which were awarded TQP,

        SEED, and TSL grants and have been and will continue to be substantially and irreparably harmed

        by the termination of these grants in February 2025.

               6.      AACTE has five member organizations which were awarded TQP, SEED, and TSL

        grants for programs in Maryland, which has resulted in a substantial loss of funds for teacher

        preparation programs in Maryland.


               Pursuant to 28 U. S. C. § 1746, I declare under penalty of perjury that the foregoing is

        true and correct.




                                                                                                 JA 160
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        Executed on the 3 day of March, 2025


                                                  By:
                                                        Cheryl Holcomb-McCoy, PhD




                                                                                    JA 161
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                       BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                             Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                           Defendants.

              DECLARATION OF KATHLENE CAMPBELL, PH.D., IN SUPPORT OF
            APPLICATION FOR TEMPORARY RESTRAINING ORDER / PRELIMINARY
                                   INJUNCTION


        I, Kathlene Campbell, Ph.D., declare and state under penalty of perjury the following:

               1.      I am the Chief Executive Officer of the National Center for Teacher Residencies

        (“NCTR”), one of the plaintiffs in this case.

               2.       I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Declaration is for use in connection with the above-captioned civil

        action, and I make this Declaration based upon my own personal knowledge and my review of the

        NCTR’s business records.

               3.      NCTR supports the design of new teacher residency programs and provides

        consulting to strengthen existing programs across the United States. NCTR is comprised of dozens

        of network members, including colleges, universities, and nonprofit teaching organizations.

        NCTR’s principal place of business is 1332 N. Halsted Street, Suite 304 Chicago, IL 60642.

               4.      NCTR’s mission is to transform educator preparation by advancing the teacher

        residency movement to prepare, support, and retain more effective educators who represent and

        value the communities they serve. The termination of the TQP, SEED, and TSL grants implicates



                                                                                                   JA 162
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        NCTR’s core mission because it removes the financial supports needed to reduce tuition costs for

        aspiring teachers called teacher residents, pay host K-12 teachers for the work they are doing to

        support the aspiring teachers, offset the cost for licensure examinations and test prep

        workshops, and provide a stipend or pay for work the teacher residents are completing

        through their internships. Without these necessary supports, teacher residencies will be unable

        to continue to lower the financial barrier to becoming a teacher and ensure the necessary

        comprehensive preparation is provided to prepare future teachers.

               5.      NCTR has twenty-five member organizations nationwide which were awarded

        SEED, TQP, and TSL grants and have been and will continue to be substantially and irreparably

        harmed by the termination of these grants in February 2025.

               6.      In 2022, NCTR was awarded a three-year grant under the Supporting Effective

        Educator Development grant program (“SEED”).

               7.      NCTR’s SEED grant funded thirteen teacher residency programs spanning five

        states. The teacher residency programs consist of partnerships between higher education

        institutions and K-12 school districts in traditional public and charter schools located in rural,

        suburban, and urban areas.

               8.      The teacher residency programs provide financial support to their participants in

        the following ways: tuition support, living expense stipends, tutoring in licensing examinations,

        and emergency funds. The programs also provide mentorship, intensive training and professional

        development, and summer institutes for mentor teachers.

               9.      NCTR’s SEED grant is also used to fund a cross-organizational (twelve residency

        programs) collaborative effort to create and field-test a coherent and aligned vision of mentoring




                                                                                                JA 163
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        excellence and collective responsibility. One of the goals of the grant funds was to complete a

        study of attainable metrics to evaluate mentor teacher impacts on resident learning.

               10.      On February 10, 2025, NCTR received an updated Grant Award Notification from

        the Department of Education that stated that the grant was terminated because it is “inconsistent

        with, and no longer effectuates, Department priorities.” A true and correct copy of the Grant Award

        Notification is attached as Exhibit A.

               11.      Also on February 10, 2025, NCTR received a letter from the Department of

        Education that stated as follows:

                        It is a priority of the Department of Education to eliminate
                        discrimination in all forms of education throughout the United
                        States. The Acting Secretary of Education has determined that, per
                        the Department’s obligations to the constitutional and statutory law
                        of the United States, this priority includes ensuring that the
                        Department’s grants do not support programs or organizations that
                        promote or take part in diversity, equity, and inclusion (“DEI”)
                        initiatives or any other initiatives that unlawfully discriminate on the
                        basis of race, color, religion, sex, national origin, or another
                        protected characteristic. Illegal DEI policies and practices can
                        violate both the letter and purpose of Federal civil rights law and
                        conflict with the Department’s policy of prioritizing merit, fairness,
                        and excellence in education….the grant specified above provides
                        funding for programs that promote or take part in DEI initiatives or
                        other initiatives that unlawfully discriminate on the basis of race,
                        color, religion, sex, national origin, or another protected
                        characteristic; that violate either the letter or purpose of Federal civil
                        rights law; that conflict with the Department’s policy of prioritizing
                        merit, fairness, and excellence in education; that are not free from
                        fraud, abuse, or duplication; or that otherwise fail to serve the best
                        interests of the United States. The grant is therefore inconsistent
                        with, and no longer effectuates, Department priorities.

        A true and correct copy of the above-referenced letter is attached as Exhibit B.

               12.      As of February 10, 2025, the Department stopped providing all funding approved

        by the grant.




                                                                                                     JA 164
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                13.     The termination of the SEED grant will result in a $1,188,070 overall loss,

        including a $332,000 direct loss to the grant winning organization, as well as a loss of $360,000

        in expenses to contractors and a $495,000 loss in subgrants to the thirteen teacher residency

        programs.

                14.     This $495,000 loss in subgrants will have an adverse impact on the thirteen teacher

        residency programs, and will directly lead to staff cuts at a number of those institutions. In addition,

        the grant termination directly affects the 128 teacher residents currently enrolled in the thirteen

        programs as part of the 2024-25 school year and will also impact the ability of those thirteen

        programs to enroll the projected 190 teacher residents who plan to begin their residency year this

        summer 2025. With the termination of the grant, some of the thirteen teacher residency programs

        will be forced to close.

                15.     Programs intended to use subgrant funds to provide tuition relief and stipends for

        both groups of teacher residents, which would total over 300 teacher residents. This will no longer

        be possible with the termination of the grant.

                16.     The termination of the grant will also directly affect at least 7,500 K-12 students

        across the five states.

                17.     In addition, with the grant’s termination, the study of the mentor teacher impact and

        teacher resident learning will not be completed, depriving Plaintiff NCTR of its capacity to engage

        in core mission-driven activities, such as publishing about the most promising practices for

        developing skilled, experienced teachers into impactful mentors of new teacher residents.

                18.     Furthermore, without its ability to continue these thirteen teacher residency

        programs due to the loss of the grant funding, Plaintiff NCTR is deprived of its ability to serve the




                                                                                                      JA 165
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        K-12 school districts where there is high turnover and shortages of teachers and prepare educators

        for careers to help mitigate these teacher shortages.

               19.     These harms prevent NCTR from engaging in the core activities compelled by its

        mission and reason for existence.


               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

        and correct.

        Executed on the 2 day of March, 2025


                                                            By:
                                                                  Kathlene Campbell, Ph.D.




                                                                                                 JA 166
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                                  Exhibit A




                                                                            JA 167
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                       S423A220008 - 24
                       Bill Kennedy
                       National Center for Teacher Residencies
                       1332 N. Halsted Street
                       #304
                       Chicago, IL 60642




                                                                                    JA 168
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                   S423A220008 - 24

                   Bill Kennedy
                   National Center for Teacher Residencies
                   1332 N. Halsted Street
                   #304
                   CHICAGO, IL 60642




                                                                                      JA 169
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                                            US Department of Education
                                                                                                                    S423A220008 - 24

                                              Washington, D.C. 20202

                                      GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                             2 AWARD INFORMATION
      National Center for Teacher Residencies                             PR/AWARD NUMBER          S423A220008 - 24
      1332 N. Halsted Street                                                ACTION NUMBER          9
      #304                                                                     ACTION TYPE         Administrative
      CHICAGO, IL 60642                                                        AWARD TYPE          Discretionary

 3 PROJECT STAFF                                              4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                      84.423A
         Bill Kennedy                (312) 330-8311                   Centering Equity: Building & Scaling Teacher Residencies
         bkennedy@nctresidencies.org
      EDUCATION PROGRAM CONTACT
         Melissa Harper-Butler       (202) 453-5631
         Mel.Harper-
         Butler@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
 5   KEY PERSONNEL

      NAME                           TITLE                                     LEVEL OF EFFORT
      Bill Kennedy                   Project Director                                      62 %

 6 AWARD PERIODS
                   BUDGET PERIOD                10/01/2024 - 02/10/2025
              PERFORMANCE PERIOD                10/01/2022 - 02/10/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                                THIS ACTION                          N/A
                              BUDGET PERIOD                 $1,614,988.00
                         PERFORMANCE PERIOD                 $6,262,866.00

 8 ADMINISTRATIVE INFORMATION
                   UEI           DMKFJA9LJ9J5
           REGULATIONS           CFR PART XXX
                                 EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
           ATTACHMENTS           N/A

 9   LEGISLATIVE AND FISCAL DATA

       AUTHORITY:                           PL P.L. 114–95 II DEPARTMENT OF DEFENSE AND FULL YEAR
                                            CONTINUING APPROPRIATIONS ACT
       PROGRAM TITLE:                       SUPPORTING EFFECTIVE EDUCATOR DEVELOPMENT
       CFDA/SUBPROGRAM NO:                  84.423A



                                                                                                               JA 170
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                                                US Department of Education
                                                                                                                             S423A220008 - 24

                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S423A220008 - 24
         RECIPIENT NAME:                           National Center for Teacher Residencies
         GRANTEE NAME:                             NATIONAL CENTER FOR TEACHER RESIDENCIES, INC
                                                   1332 N HALSTED ST STE 304,
                                                   CHICAGO, IL 60642 - 2694
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                               LAVANNA WEEMS Digitally     signed by LAVANNA WEEMS
                                                   Date: 2025.02.10 20:38:26 -05'00'


                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 171
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 172
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 173
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                                     Exhibit B




                                                                            JA 174
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/10/25

       William Kennedy
       Project Director
       National Center for Teacher Residencies, Inc.
       1332 N Halsted Street, Suite 304
       Chicago, IL 60642




                                                         RE: Grant Award Termination

        Dear Mr.
             _______________:
                 Kennedy

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S423A220008            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S423A220008                in its entirety effective _______________.
                                                                         2/10/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 175
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Thank you,




        Deputy Assistant Secretary
        for Management and Planning
        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 176
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                       BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                            Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                           Defendants.

        DECLARATION OF LAURIE MULLEN, PH.D., IN SUPPORT OF APPLICATION FOR
             TEMPORARY RESTRAINING ORDER / PRELIMINARY INJUNCTION


        I, Laurie Mullen, Ph.D., declare and state under penalty of perjury the following:

               1.      I am the President of Maryland Association of Colleges for Teacher Education

        (“MACTE”), one of the plaintiffs in this case. I am also the Dean of the College of Education at

        Towson University.

               2.      I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Declaration is for use in connection with the above-captioned civil

        action, and I make this Declaration based upon my own personal knowledge and my review of the

        MACTE’s business records.

               3.      MACTE is a member organization that serves as a distinct statewide voice on

        matters of importance to educator preparation programs at Maryland’s colleges and universities.

        AACTE and MACTE collaborate to strengthen their advocacy efforts, share experience and

        expertise, and expand their members’ professional development opportunities. MACTE’s

        members include regionally accredited colleges and universities engaged in the preparation of

        professional school personnel with state program approval. In addition to hosting regular




                                                                                                  JA 177
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        professional learning activities, MACTE serves on the Council of Educational, Administrative and

        Supervisory Organizations of Maryland (CEASOM) Leadership Team, nominates three

        representatives to serve on the Professional Standards and Teacher Education Board, and

        represents Maryland preparation programs at AACTE.

               4.      MACTE’s principal place of business is 304 Hawkins Hall, Towson University,

        Towson, MD 21252.

               5.      MACTE’s mission is to serve as a distinct statewide voice on matters of importance

        to educator preparation programs at Maryland’s colleges and universities. The termination of the

        Teacher Quality Partnership Program (“TQP”) grants and the Supporting Effective Educator

        Development Program (“SEED”) grants implicates MACTE’s core mission. MACTE serves the

        institutions of higher education in Maryland for both the recruitment and retention of future

        teachers as well as the support and advancement of current classroom teachers. Both the TQP and

        SEED grants were focused on recruitment, retention of future teachers as well as the support of

        practicing teachers in Maryland.

               6.      MACTE has ten member organizations, all of which are residents of Maryland.

               7.      MACTE has three member organizations which were awarded SEED and TQP

        grants and impacted by the termination of the grants in February 2025, resulting in a substantial

        loss of funds for teacher preparation programs in Maryland.


               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

        and correct.

        Executed on the 3   day of March, 2025


                                                          By:
                                                                Laurie Mullen, Ph.D.




                                                                                                 JA 178
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                       BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                            Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                           Defendants.

         DECLARATION OF CAROLYN PARKER, PH.D., IN SUPPORT OF APPLICATION
           FOR TEMPORARY RESTRAINING ORDER / PRELIMINARY INJUNCTION


        I, Carolyn Parker, Ph.D., declare and state under penalty of perjury the following:

               1.      I am the Associate Dean for Research, Programs, and Partnerships Director of

        Graduate Teacher Education and Academic Programs School of Education at American

        University.

               2.      I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Declaration is for use in connection with the above-captioned civil

        action, and I make this Declaration based upon my own personal knowledge and my review of the

        American University’s business records.

               3.      American University (“AU”) is a member organization of the American

        Association of Colleges for Teacher Education, which is a plaintiff in this action.

               4.      In 2023, AU was awarded a five-year grant under the Teacher Quality Partnership

        grant program (“TQP”).




                                                                                                  JA 179
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               5.      AU’s TQP grant funds a teacher preparation program for special education

        (learning disabilities) and early childhood education, the Residency for Excellence in Teaching

        and Learning (“RETL”).

               6.      RETL is a partnership between AU’s School of Education and its charter network,

        Washington D.C. Friendship Public Charter Schools, consisting of five charter campuses. The

        purpose of the partnership is to provide a pathway for educator development to address critical

        areas of need, including early childhood education and special education, 1 and recruit highly

        motivated preservice teacher candidates who are committed to teaching in diverse early childhood

        and special education settings (pre-K through grade five).

               7.      The partnership enables participants to complete a residency-based master’s degree

        with an initial teaching license in Early Childhood Education or Special Education - Learning

        Disabilities. In addition to earning their Masters of Arts in Teaching degree, program participants

        receive comprehensive coaching, professional development, and ongoing support during the

        entirety of the three-year program -the residency year (the first year) and the induction years (the

        second and third year)

               8.      RETL supports pathways in high-need teaching areas of early childhood education

        and special education, specifically targeting urban and underserved geographic areas with their

        partner charter network. RETL services five Friendship Public Charter campuses.

               9.      RETL provides a living stipend to participants and reduced tuition (by roughly 35%

        of the AU graduate tuition rate) to one of two AU’s School of Education’s Master of Arts in

        Teaching degrees, Special Education in Learning Disabilities and Early Childhood Education.


        1
          Washington D.C. is in need of educators for special education to serve students with disabilities. See
        https://specialedcoop.org/news-articles/the-state-of-special-education-in-the-district-of-columbia/,
        https://www.washingtonpost.com/opinions/2022/10/27/dc-students-disabilities-urgent-reform/.




                                                                                                      JA 180
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               10.      On February 12, 2025, AU received an updated Grant Award Notification from the

        Department of Education that stated that the grant was terminated because it is “inconsistent with,

        and no longer effectuates, Department priorities.” A true and correct copy of the Grant Award

        Notification is attached as Exhibit A.

               11.      Also on February 12, 2025, AU received a letter from the Department of Education

        that stated as follows:

                        It is a priority of the Department of Education to eliminate
                        discrimination in all forms of education throughout the United
                        States. The Acting Secretary of Education has determined that, per
                        the Department’s obligations to the constitutional and statutory law
                        of the United States, this priority includes ensuring that the
                        Department’s grants do not support programs or organizations that
                        promote or take part in diversity, equity, and inclusion (“DEI”)
                        initiatives or any other initiatives that unlawfully discriminate on the
                        basis of race, color, religion, sex, national origin, or another
                        protected characteristic. Illegal DEI policies and practices can
                        violate both the letter and purpose of Federal civil rights law and
                        conflict with the Department’s policy of prioritizing merit, fairness,
                        and excellence in education….the grant specified above provides
                        funding for programs that promote or take part in DEI initiatives or
                        other initiatives that unlawfully discriminate on the basis of race,
                        color, religion, sex, national origin, or another protected
                        characteristic; that violate either the letter or purpose of Federal civil
                        rights law; that conflict with the Department’s policy of prioritizing
                        merit, fairness, and excellence in education; that are not free from
                        fraud, abuse, or duplication; or that otherwise fail to serve the best
                        interests of the United States. The grant is therefore inconsistent
                        with, and no longer effectuates, Department priorities.

        A true and correct copy of the above-referenced letter is attached as Exhibit B.

               12.      As of February 12, 2025, the Department stopped providing all funding approved

        by the grant.

               13.      AU was in the second year of RETL when the Department terminated the grant,

        with eight students who are expected to graduate from AU in December 2025. With the funding

        from the TQP grant, AU planned to recruit an additional forty participants. As a result of the loss




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        of funding from the terminated TQP grant, AU will no longer be able to recruit future cohorts. As

        a result, forty-eight future RETL participants who would have had the opportunity to earn a Master

        of Arts in Teaching degree and deepen their expertise and longevity as teachers in Washington

        D.C. will no longer have that opportunity. If funding through the TQP grant is not reinstated, the

        RETL program will be shut down for lack of funding.

               14.     The termination of the TQP grant will halt AU’s efforts to remedy dramatic teacher

        shortages and improve outcomes for early childhood and special education students in Washington

        D.C. Up to 1,500 Washington D.C. students will be impacted by the termination of the grant, in

        addition to the educators at the charter school partners.

               15.     In addition, AU planned to expand to at least two additional charter schools in the

        remaining years of the TQP grant. As a result of the Department’s termination of AU’s grant, there

        is no opportunity for additional students and educators to be served.

               16.     The termination of the TQP grant will also result in AU terminating the

        employment of its full-time coach/program director.

               17.     These harms prevent AU/RETL from engaging in the core activities compelled by

        their missions and reason for existence.


               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

        and correct.

        Executed on the 2 day of March, 2025

                                                                                           Ph.D
                                                            By:
                                                                  Carolyn Parker, Ph.D.




                                                                                                  JA 182
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                                  Exhibit A




                                                                            JA 183
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                       S336S230042 - 24
                       Carolyn Parker
                       American University
                       American University
                       4400 Massachusetts Ave. NW
                       Washington, DC 20016




                                                                                  JA 184
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                   S336S230042 - 24

                   Diana Burley
                   American University
                   American University
                   4400 Massachusetts Avenue, NW
                   Washington, DC 20016




                                                                                   JA 185
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                                                                                                                S336S230042 - 24
                                         US Department of Education
                                           Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                         2 AWARD INFORMATION
      American University                                             PR/AWARD NUMBER          S336S230042 - 24
      American University                                               ACTION NUMBER          4
      4400 Massachusetts Avenue, NW                                        ACTION TYPE         Administrative
      Washington, DC 20016                                                 AWARD TYPE          Discretionary

 3 PROJECT STAFF                                          4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                  84.336S
         Carolyn Parker              (202) 885-6259               Residency for Excellence in Teaching and Learning (RETL)
         caparker@american.edu
      EDUCATION PROGRAM CONTACT
         Louis Edwards               (202) 453-6778
         LOUIS.EDWARDS@ED.GOV
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                         TITLE                                   LEVEL OF EFFORT
      Carolyn Parker               Project Director                                    0%

 6 AWARD PERIODS
                   BUDGET PERIOD            10/01/2024 - 02/12/2025
              PERFORMANCE PERIOD            10/01/2023 - 02/12/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                        N/A
                             BUDGET PERIOD                 $299,619.00
                        PERFORMANCE PERIOD                 $514,788.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          H4VNDUN2VWU5
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                        PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                    TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                         PARTNERSHIPS
       CFDA/SUBPROGRAM NO:               84.336S




                                                                                                          JA 186
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                                                                                                                             S336S230042 - 24
                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S336S230042 - 24
         RECIPIENT NAME:                           American University
                                                   American University
         GRANTEE NAME:                             AMERICAN UNIVERSITY
                                                   4400 MASSACHUSETTS AVE NW,
                                                   WASHINGTON, DC 20016 - 8003
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 187
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 188
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 189
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                                     Exhibit B




                                                                            JA 190
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/12/25

       Carolyn Parker
       Project Director
       AMERICAN UNIVERSITY
       4400 Massachusetts Ave. NW
       Washington, DC 20016




                                                         RE: Grant Award Termination

        Dear _______________:
             Carolyn Parker

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S230042            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S230042                in its entirety effective _______________.
                                                                         2/12/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 191
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 192
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                       BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                            Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                           Defendants.

           DECLARATION OF AMY SMITH, PH.D., IN SUPPORT OF APPLICATION FOR
              TEMPORARY RESTRAINING ORDER / PRELIMINARY INJUNCTION


        I, Amy Smith, Ph.D., declare and state under penalty of perjury the following:

               1.      I am the Dean of the School of Education at the University of St. Thomas.

               2.      I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Declaration is for use in connection with the above-captioned civil

        action, and I make this Declaration based upon my own personal knowledge and my review of the

        University of St. Thomas’ business records.

               3.      The University of St. Thomas (“UST”) is a member organization of the American

        Association of Colleges for Teacher Education, which is a plaintiff in this action.

               4.      UST was awarded both a five-year grant under the Teacher Quality Partnership

        grant program (“TQP”) and a three-year grant under the Supporting Effective Educator

        Development grant program (“SEED”). UST is in the second year of the SEED grant and in the

        fifth year of the TQP grant.

               5.      The UST SEED grant funds three pathway models to a career in education: (1) a

        residency program for graduate students in partnership with St. Paul Public Schools, Minneapolis




                                                                                                  JA 193
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        Public Schools, and a consortium of charter schools; (2) a “work and learn” program for graduate

        students in partnership with schools throughout the state of Minnesota where paraprofessionals

        and teachers are employed while completing their teacher preparation program; and (3) an

        undergraduate program which prepares undergraduate students for educational careers in their

        junior and senior years at UST.

               6.      The SEED grant provides funds of up to $20,000 per year for graduate students and

        up to $40,000 per year to undergraduate students who are pursuing teacher licensure in special

        education and elementary education.

               7.      UST is currently in year two of the three year SEED grant. The grant was set to

        fund over 300 scholarships to future educators over the three year grant period, most of whom

        were preparing to be special education teachers. The year two budget is approximately $2,000,000.

        Scholarships for fall and spring semester were disbursed to students prior to the grant termination.

        However, without access to the SEED grant funds, UST can no longer provide summer funding to

        the majority of these future educators. As a result, many of the future educators may not be

        able to afford the schooling required to continue their path to becoming teachers.

               8.      Year three of the SEED grant was set to fund scholarships in the amount of

        $2,200,000; termination of the grants will result in a loss of all of these scholarships. In addition,

        termination of the SEED grants will result in a loss of funding for mentor teachers for

        professional development.

               9.      To date, nearly 80 communities across the state of Minnesota have been taught by

        teachers who received SEED scholarship funds, including schools in rural, urban, suburban, and

        exurban communities.




                                                                                                   JA 194
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               10.     On February 7, 2025, UST received an updated Grant Award Notification from the

        Department of Education concerning its SEED grant. On February 12, 2025, UST received an

        updated Grant Award Notification from the Department of Education concerning its TQP grant.

        Both Grant Award Notification stated that the grants were terminated because they are

        “inconsistent with, and no longer effectuates, Department priorities.” True and correct copies of

        the Grant Award Notifications are attached as Exhibit A.

               11.     Also on February 7, 2025 (concerning the SEED grant) and on February 13, 2025

        (concerning the TQP grant), UST received letters from the Department of Education that stated as

        follows:

                       It is a priority of the Department of Education to eliminate
                       discrimination in all forms of education throughout the United
                       States. The Acting Secretary of Education has determined that, per
                       the Department’s obligations to the constitutional and statutory law
                       of the United States, this priority includes ensuring that the
                       Department’s grants do not support programs or organizations that
                       promote or take part in diversity, equity, and inclusion (“DEI”)
                       initiatives or any other initiatives that unlawfully discriminate on the
                       basis of race, color, religion, sex, national origin, or another
                       protected characteristic. Illegal DEI policies and practices can
                       violate both the letter and purpose of Federal civil rights law and
                       conflict with the Department’s policy of prioritizing merit, fairness,
                       and excellence in education….the grant specified above provides
                       funding for programs that promote or take part in DEI initiatives or
                       other initiatives that unlawfully discriminate on the basis of race,
                       color, religion, sex, national origin, or another protected
                       characteristic; that violate either the letter or purpose of Federal civil
                       rights law; that conflict with the Department’s policy of prioritizing
                       merit, fairness, and excellence in education; that are not free from
                       fraud, abuse, or duplication; or that otherwise fail to serve the best
                       interests of the United States. The grant is therefore inconsistent
                       with, and no longer effectuates, Department priorities.

        True and correct copies of the above-referenced letters are attached as Exhibit B.




                                                                                                    JA 195
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               12.     As of February 7, 2025, the Department stopped providing funding approved by

        the SEED grant, and as of February 13, 202, the Department stopped providing funding approved

        by the TQP grant.

               13.     Without continued SEED funding, the teacher pipeline program at UST will

        graduate fewer students capable of serving in high-needs areas such as special education, which I

        believe will have widespread negative impacts on the many communities, teachers and students

        these teacher pipeline programs benefit.

               14.     UST’s TQP grant removes financial barriers to careers in education by providing

        funding for UST to partner with charter schools to provide living wage stipends to student teaching

        residents preparing to become licensed educators. UST is in year five of this TQP grant, and at

        present, 21 student teaching residents are in the middle of their second semester of student

        teaching. Collectively, the student teaching residents were set to receive $819,000 for stipends

        this academic year (the first half of which has already been paid), however, the termination of

        the TQP grant will put at risk living-expense stipends for these students after the grant

        termination date.

               15.     These harms interfere with UST’s ability to serve its students, and through them, to

        serve the community and fulfill its mission to advance the common good.


               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

        and correct.

        Executed on the 3rd day of March, 2025
                                                           By:
                                                                 Amy Smith, Ph.D.




                                                                                                 JA 196
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                                  Exhibit A




                                                                            JA 197
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                       S336S200016 - 23
                       Shelley Neilsen Gatti
                       University of St. Thomas
                       School of Education
                       2115 Summit Avenue
                       Saint Paul, MN 55105




                                                                                        JA 198
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                   S336S200016 - 23

                   Michael Warnock
                   University of St. Thomas
                   School of Education
                   2115 Summit Ave W
                   St. Paul, MN 55105




                                                                                    JA 199
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                                                                                                               S336S200016 - 23
                                         US Department of Education
                                           Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                         2 AWARD INFORMATION
      University of St. Thomas                                        PR/AWARD NUMBER           S336S200016 - 23
      School of Education                                               ACTION NUMBER           9
      2115 Summit Ave W                                                    ACTION TYPE          Administrative
      St. Paul, MN 55105                                                   AWARD TYPE           Discretionary

 3 PROJECT STAFF                                          4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                  84.336S
         Shelley Neilsen Gatti       (651) 962-4396               PREPARE Highly Effective Diverse and Culturally Relevant
         slneilsengat@stthomas.edu                                Educators through Residency Pathways
      EDUCATION PROGRAM CONTACT
         Diana Schneider             (202) 401-1456
         diana.schneider@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                         TITLE                                   LEVEL OF EFFORT
      Shelley Neilsen Gatti        Project Director                                    25 %
      Michael Warnock              Authorized Representative                            1%

 6 AWARD PERIODS
                   BUDGET PERIOD            10/01/2023 - 09/30/2024
              PERFORMANCE PERIOD            10/01/2020 - 02/12/2025

     FUTURE BUDGET PERIODS

          BUDGET PERIOD                         DATE                               AMOUNT
                   5                    10/01/2024 - 02/12/2025                   $691,352.00

 7 AUTHORIZED FUNDING
                                THIS ACTION                       N/A
                              BUDGET PERIOD                $689,988.00
                         PERFORMANCE PERIOD              $2,804,102.00

 8 ADMINISTRATIVE INFORMATION
                   UEI           LVV9V64A8449
           REGULATIONS           EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
          ATTACHMENTS            N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                        PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                    TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                         PARTNERSHIPS
       CFDA/SUBPROGRAM NO:               84.336S



                                                                                                          JA 200
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                                                                                                                             S336S200016 - 23
                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S336S200016 - 23
         RECIPIENT NAME:                           University of St. Thomas
                                                   School of Education
         GRANTEE NAME:                             UNIVERSITY OF ST. THOMAS
                                                   2115 SUMMIT AVE,
                                                   SAINT PAUL, MN 55105 - 1048
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               2%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 201
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

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                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
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      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
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                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 202
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 203
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                      S423A230033 - 24
                      Laroye L Stansberry Brusnahan
                      University of St. Thomas
                      School of Education
                      2115 Summit Avenue
                      St. Paul, MN 55105




                                                                                 JA 204
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                   S423A230033 - 24

                   Michael J Warnock
                   University of St. Thomas
                   School of Education
                   2115 Summit Avenue
                   2115 Summit Ave W
                   St. Paul, MN 55105




                                                                                    JA 205
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                                                                                                                     S423A230033 - 24
                                           US Department of Education
                                             Washington, D.C. 20202

                                     GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                             2 AWARD INFORMATION
      University of St. Thomas                                          PR/AWARD NUMBER               S423A230033 - 24
      School of Education                                                 ACTION NUMBER               5
      2115 Summit Avenue                                                     ACTION TYPE              Administrative
      2115 Summit Ave W                                                      AWARD TYPE               Discretionary
      St. Paul, MN 55105
     PROJECT STAFF
 3                                                            4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                       84.423A
         Laroye L Stansberry         (414) 759-8917                    Learn, Work, and Earn: “Grow Your Own” Practice-Based
         Brusnahan                                                     Residency Pathways to Prepare Effective Educators
         llstansberry@stthomas.edu
      EDUCATION PROGRAM CONTACT
         Melissa Harper-Butler       (202) 453-5631
         Mel.Harper-
         Butler@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                       LEVEL OF EFFORT
      Laroye L Stansberry           Project Director                                        11 %
      Brusnahan

 6 AWARD PERIODS
                   BUDGET PERIOD              10/01/2024 - 02/07/2025
              PERFORMANCE PERIOD              10/01/2023 - 02/07/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                                THIS ACTION                          N/A
                              BUDGET PERIOD                 $3,219,601.00
                         PERFORMANCE PERIOD                 $5,296,329.00

 8 ADMINISTRATIVE INFORMATION
                    UEI          MEQUD34ZB1Y6
            REGULATIONS          CFR PART XXX
                                 EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
           ATTACHMENTS           2 , 3 , 6 , 8 , 9 , 11 , 12 , 13 , 14 , GE1 , GE2 , GE3 , GE4 , GE5 , TERMUST

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                          PL P.L. 114–95 II DEPARTMENT OF DEFENSE AND FULL YEAR
                                           CONTINUING APPROPRIATIONS ACT
       PROGRAM TITLE:                      SUPPORTING EFFECTIVE EDUCATOR DEVELOPMENT
       CFDA/SUBPROGRAM NO:                 84.423A

                                                                                                                 JA 206
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                                                                                                                             S423A230033 - 24
                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S423A230033 - 24
         RECIPIENT NAME:                           University of St. Thomas
                                                   School of Education
         GRANTEE NAME:                             UNIVERSITY OF ST THOMAS
                                                   2115 SUMMIT AVE,
                                                   SAINT PAUL, MN 55105 - 1048
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 207
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 208
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 209
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                                     Exhibit B




                                                                            JA 210
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/13/25

       Shelley Neilsen Gatti
       Project Director
       UNIVERSITY OF ST. THOMAS
       2115 Summit Avenue
       Saint Paul, MN 55105




                                                         RE: Grant Award Termination

        Dear _______________:
             Shelley Neilsen Gatti

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S200016            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S200016                in its entirety effective _______________.
                                                                         2/13/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 211
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 212
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                                                                           JA 214
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                       BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                            Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                           Defendants.

              DECLARATION OF HEATHER KIRKPATRICK, PH.D., IN SUPPORT OF
            APPLICATION FOR TEMPORARY RESTRAINING ORDER / PRELIMINARY
                                   INJUNCTION


        I, Heather Kirkpatrick, Ph.D., declare and state under penalty of perjury the following:

               1.      I am the President and Chief Executive Officer at Alder Graduate School of

        Education.

               2.      I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Declaration is for use in connection with the above-captioned civil

        action, and I make this Declaration based upon my own personal knowledge and my review of

        Alder Graduate School of Education’s business records.

               3.      Alder Graduate School of Education (“Alder GSE”) is a member organization of

        the National Center for Teacher Residencies (“NCTR”) and American Association of Colleges for

        Teacher Education (“AACTE”), which are plaintiffs in this action.

               4.      Alder GSE was awarded a five-year grant under the Teacher Quality Partnership

        grant program (“TQP”) in 2020, as well as a five-year TQP grant in 2022.

               5.      Both of Alder GSE’s TQP grants fund teacher residency programs.




                                                                                                   JA 215
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               6.       The teacher residency programs consist of partnerships between Alder GSE and

        partner K-12 school systems, including public school districts and a Special Education Planning

        Area, to operate community-based workforce development pathways for aspiring teachers.

               7.       Alder GSE and its partner K-12 school systems recruit and prepare community

        members through a one-year teacher residency program, where candidates co-teach with a highly

        qualified mentor teacher while earning their Master’s degree and teaching credential. They are

        often hired immediately upon completion of the program, most often by the school systems where

        they trained.

               8.       Both of Alder GSE’s TQP grants are five-year grants. The 2020 TQP grant’s goals

        are (i) launch and scale a new and sustainable residency program with three partner local education

        agency that meets local human capital needs; (ii) train, support and retain effective new teachers

        in schools with high concentrations of high need students; and (iii) demonstrate the capacity of

        partners to scale, sustain, and replicate teacher residency and development model. The 2022 TQP

        grant’s goals are: (i) build a pipeline of high-quality and diverse teachers in partnership with high-

        need local education agencies that effectively meets their human capital needs and certification

        shortage areas; (ii) promote equity, strengthen student learning, and meet the social, emotional,

        and academic needs of students by modeling for and by building the capacity of mentors and

        residents to use evidence based practices and to create positive and inclusive learning

        environments; and (iii) increase impact by building capacity, sustainability and scale of the

        partnership and high-leverage strategies.

               9.       On February 13, 2025, Alder GSE received updated Grant Award Notifications

        from the Department of Education that stated that the grants were terminated because they are




                                                                                                    JA 216
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        “inconsistent with, and no longer effectuates, Department priorities.” True and correct copies of

        the Grant Award Notifications are attached as Exhibit A.

               10.       Also on February 13, 2025, Alder GSE received letters from the Department of

        Education that stated as follows:

                         It is a priority of the Department of Education to eliminate
                         discrimination in all forms of education throughout the United
                         States. The Acting Secretary of Education has determined that, per
                         the Department’s obligations to the constitutional and statutory law
                         of the United States, this priority includes ensuring that the
                         Department’s grants do not support programs or organizations that
                         promote or take part in diversity, equity, and inclusion (“DEI”)
                         initiatives or any other initiatives that unlawfully discriminate on the
                         basis of race, color, religion, sex, national origin, or another
                         protected characteristic. Illegal DEI policies and practices can
                         violate both the letter and purpose of Federal civil rights law and
                         conflict with the Department’s policy of prioritizing merit, fairness,
                         and excellence in education….the grant specified above provides
                         funding for programs that promote or take part in DEI initiatives or
                         other initiatives that unlawfully discriminate on the basis of race,
                         color, religion, sex, national origin, or another protected
                         characteristic; that violate either the letter or purpose of Federal civil
                         rights law; that conflict with the Department’s policy of prioritizing
                         merit, fairness, and excellence in education; that are not free from
                         fraud, abuse, or duplication; or that otherwise fail to serve the best
                         interests of the United States. The grant is therefore inconsistent
                         with, and no longer effectuates, Department priorities.

        True and correct copies of the above-referenced letters are attached as Exhibit B.

               11.       As of February 13, 2025, the Department stopped providing all funding approved

        by the grants.

               12.       The termination of the grants has had and will continue to have immense impacts

        on the aspiring teacher candidates, mentor teachers, the partner K-12 school systems, and Alder

        GSE.

               13.       For the 2024-2025 academic year, the teacher residency programs have 83 aspiring

        teacher candidates who were receiving a living stipend supplemented by the funds from the TQP




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        grants. The teaching candidates depend on these stipends to live, eat, and support their families–

        for most they are their only source of income. The teaching candidates signed Letters of

        Commitment before June 2024, with the expectation of a level of stipend for the entirety of the

        school year. The teacher residency programs also presently have 83 mentor teachers who receive

        a stipend funded by grant funds for their work in support of their efforts to train and develop new

        teachers. With the termination of the grants, the 83 aspiring teacher candidates and 83 mentor

        teachers will no longer receive the level of stipends they were promised.

               14.     Alder GSE has already recruited 40 new teacher candidates for the 2025-2026

        academic year and K-12 school systems had planned to provide the living stipends – the majority

        of which were planned to be supplemented with TQP grant funds. Alder GSE recruited the majority

        of these residents with the expectation of a level of funding for their living stipend that was

        supplemented by the grant funding. The majority of these residents are enrolled, have signed letters

        of commitment, or are in final rounds of interviews/admissions. The financial impact of the grants’

        termination will affect many of their decisions to become teachers. Similarly, the grants’

        termination affects the stipend funding levels for mentors, which will have an impact on their

        decision to continue with the role.

               15.     Alder GSE similarly planned to recruit 40 new teacher candidates and 40 new

        mentors for the 2026-2027 academic year, however, with the loss in grant funds, it will be more

        difficult for Alder GSE to recruit and prepare these future prospective candidates.

               16.     The termination of the TQP grants has caused and will continue to cause harm to

        the partner K-12 school systems as well. They are at risk of losing the teacher candidates who

        taught in their schools, which will have a negative impact on the school and its community. Alder

        GSE expects about $2.1 million of lost funding for their partner K-12 school systems.




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               17.     There were also a number of programmatic roles at Alder GSE that were partially

        supported by these TQP grants. These roles were supporting operation of these partnerships and

        these residency programs - including recruitment, admissions, enrollment, student services,

        financial support, data and impact, academic programs, and clinical programs. Alder GSE expects

        about $2.2 million of lost funding supporting Alder GSE costs to support these partnerships and

        residency programs.

               18.     Additionally, the terminations will cause Alder GSE to lose approximately

        $600,000 in funding for evaluation contracts. Alder GSE’s evaluation partner was providing an

        important source of formative feedback and evidence of program effectiveness. The evaluation

        from TQP 2020 has a retention study in progress that is six months to completion, but will likely

        not be completed as a result of the termination of the grant. The evaluation for TQP 2022 still had

        2.5 more years of data collection that has been terminated mid-cycle.

               19.     In addition to the dollars lost, the time and resource demands to meet this sudden

        news has been extraordinary. There have been countless hours of work to communicate clearly to

        all affected parties and to work with Alder GSE’s Board and team on determining ways to mitigate

        these significant and completely unexpected losses.

               20.     These harms prevent Alder GSE from engaging in the core activities compelled by

        its mission and reason for existence.


               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

        and correct.




                                                                                                 JA 219
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        Executed on the 3rd day of March, 2025


                                                     By:
                                                           Heather Kirkpatrick, Ph.D.




                                                                                        JA 220
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                                  Exhibit A




                                                                            JA 221
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                       S336S200017 - 24
                       David Roth
                       Alder Graduate School of Education
                       2946 Broadway
                       Suite B
                       Redwood City, CA 94062




                                                                                    JA 222
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                   S336S200017 - 24

                   Heather Kirkpatrick
                   Alder Graduate School of Education
                   2946 Broadway
                   Suite B
                   Redwood City, CA 94062




                                                                                      JA 223
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                                                                                                                    S336S200017 - 24
                                           US Department of Education
                                             Washington, D.C. 20202

                                     GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                           2 AWARD INFORMATION
      Alder Graduate School of Education                               PR/AWARD NUMBER            S336S200017 - 24
      2946 Broadway                                                      ACTION NUMBER            14
      Suite B                                                               ACTION TYPE           Administrative
      Redwood City, CA 94062                                                AWARD TYPE            Discretionary

 3 PROJECT STAFF                                            4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                    84.336S
         David Roth                  (805) 234-4944                 Empowering Districts to Build Sustainable Pipelines of
         droth@aldergse.edu                                         Effective Teachers for High-Need Schools
      EDUCATION PROGRAM CONTACT
         Louis Edwards               (202) 453-6778
         LOUIS.EDWARDS@ED.GOV
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                    LEVEL OF EFFORT
      David Roth                    Project Director                                     25 %

 6 AWARD PERIODS
                   BUDGET PERIOD             10/01/2024 - 02/13/2025
              PERFORMANCE PERIOD             10/01/2020 - 02/13/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                          N/A
                             BUDGET PERIOD                   $365,262.00
                        PERFORMANCE PERIOD                 $6,513,745.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          Q5UNGJK7K1M4
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                          PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                      TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                           PARTNERSHIPS
       CFDA/SUBPROGRAM NO:                 84.336S




                                                                                                              JA 224
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                                                 US Department of Education
                                                   Washington, D.C. 20202

                                           GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                           S336S200017 - 24
         RECIPIENT NAME:                            Alder Graduate School of Education
         GRANTEE NAME:                              ALDER GRADUATE SCHOOL OF EDUCATION
                                                    2946 BROADWAY,
                                                    REDWOOD CITY, CA 94062 - 1510
         PROGRAM INDIRECT COST TYPE:                Restricted
         PROJECT INDIRECT COST RATE:                8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   On Wednesday, February 12, 2025, you received an administrative action notice through the G5 system, alerting
                  you through an updated grant award notice (GAN) that one of your grants had been deemed to be inconsistent with,
                  and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)(4); see also 34 C.F.R. 75.253. An email
                  notification terminating the grant should have preceded the administrative action, but in fact, there was a subset
                  of them that were not dispatched until today, Thursday, February 13, 2025. What this means for your grant and
                  program is that the effective date will be extended, and the effective date of the termination action will be as of today,
                  February 13, 2025 instead, and not yesterday, February 12, 2025. We apologize for this timing error, and we regret
                  any confusion or inconvenience the sequence of these actions may have caused. This GAN reflects the new effective
                  date for the termination, replacing yesterday s date. Thank you for your understanding.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                           AUTHORIZING OFFICIAL                                                  DATE

Ver. 1




                                                                                                                           JA 225
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 226
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 227
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                      S336S220029 - 24
                      David Roth
                      Alder Graduate School of Education
                      2946 Broadway
                      Suite B
                      Redwood City, CA 94062




                                                                                  JA 228
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                   S336S220029 - 24

                   Heather Kirkpatrick
                   Alder Graduate School of Education
                   2946 Broadway
                   Suite B
                   Redwood City, CA 94062




                                                                                     JA 229
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                                           US Department of Education
                                             Washington, D.C. 20202

                                     GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                           2 AWARD INFORMATION
      Alder Graduate School of Education                               PR/AWARD NUMBER            S336S220029 - 24
      2946 Broadway                                                      ACTION NUMBER            9
      Suite B                                                               ACTION TYPE           Administrative
      Redwood City, CA 94062                                                AWARD TYPE            Discretionary

 3 PROJECT STAFF                                            4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                    84.336S
         David Roth                                                 Promoting Equity by Building Sustainable Pipelines of
         droth@aldergse.edu                                         Diverse, Effective Educators
      EDUCATION PROGRAM CONTACT
         Louis Edwards               (202) 453-6778
         LOUIS.EDWARDS@ED.GOV
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                   LEVEL OF EFFORT
      David Roth                    Project Director                                    30 %

 6 AWARD PERIODS
                   BUDGET PERIOD             10/01/2024 - 02/13/2025
              PERFORMANCE PERIOD             10/01/2022 - 02/13/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                          N/A
                             BUDGET PERIOD                 $1,484,225.00
                        PERFORMANCE PERIOD                 $3,797,124.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          Q5UNGJK7K1M4
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                          PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
       PROGRAM TITLE:                      TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                           PARTNERSHIPS
       CFDA/SUBPROGRAM NO:                 84.336S




                                                                                                             JA 230
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                                                 US Department of Education
                                                   Washington, D.C. 20202

                                           GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                           S336S220029 - 24
         RECIPIENT NAME:                            Alder Graduate School of Education
         GRANTEE NAME:                              ALDER GRADUATE SCHOOL OF EDUCATION
                                                    2946 BROADWAY,
                                                    REDWOOD CITY, CA 94062 - 1510
         PROGRAM INDIRECT COST TYPE:                Restricted
         PROJECT INDIRECT COST RATE:                8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   On Wednesday, February 12, 2025, you received an administrative action notice through the G5 system, alerting
                  you through an updated grant award notice (GAN) that one of your grants had been deemed to be inconsistent with,
                  and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)(4); see also 34 C.F.R. 75.253. An email
                  notification terminating the grant should have preceded the administrative action, but in fact, there was a subset
                  of them that were not dispatched until today, Thursday, February 13, 2025. What this means for your grant and
                  program is that the effective date will be extended, and the effective date of the termination action will be as of today,
                  February 13, 2025 instead, and not yesterday, February 12, 2025. We apologize for this timing error, and we regret
                  any confusion or inconvenience the sequence of these actions may have caused. This GAN reflects the new effective
                  date for the termination, replacing yesterday s date. Thank you for your understanding.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                           AUTHORIZING OFFICIAL                                                  DATE

Ver. 1




                                                                                                                           JA 231
USCA4 Appeal: 25-1281   Doc: 37-1   Filed: 06/16/2025 Pg: 234 of 638
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 232
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 233
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                                     Exhibit B




                                                                            JA 234
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/13/25

       David Roth
       Project Director
       ALDER GRADUATE SCHOOL OF EDUCATION
       2946 Broadway
       Suite B
       Redwood City, CA 94062



                                                         RE: Grant Award Termination

        Dear _______________:
             David Roth

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S200017            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S200017                in its entirety effective _______________.
                                                                         2/13/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 235
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 236
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION




                                                         RE: Grant Award Termination

        Dear _______________:

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________. See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________ in its entirety effective _______________.

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 237
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 238
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Docusign   Appeal:
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                                    IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND
                                            BALTIMORE DIVISION

            AMERICAN ASSOCIATION OF
            COLLEGES FOR TEACHER
            EDUCATION, et al.,

                                Plaintiffs,
                    v.                                              Civil Action No. 25-cv-00702

            DENISE CARTER, et al.,

                                Defendants.

              DECLARATION OF DR. SARAH JOHNSON IN SUPPORT OF APPLICATION FOR
                  TEMPORARY RESTRAINING ORDER / PRELIMINARY INJUNCTION


            I, Dr. Sarah Johnson, declare and state under penalty of perjury the following:

                    1.      I am the Chief Executive Officer of Teaching Lab, and have served in this role since

            2018. Teaching Lab is a national not-for-profit corporation with a mission to improve teacher

            practice and student learning through curriculum-based professional learning and coaching.

                    2.       I am over the age of 18, and I am competent in all respects to testify to the matters

            below. I understand that this Declaration is for use in connection with the above-captioned civil

            action, and I make this Declaration based upon my own personal knowledge and my review of the

            Teaching Lab’s business records.

                    3.      Teaching Lab is a member organization of the American Association of Colleges

            for Teacher Education, which is a plaintiff in this action.

                    4.      I received my doctorate in Education Leadership from the Harvard Graduate School

            of Education. I also hold an undergraduate degree in neuroscience at Emory University, where I

            graduated summa cum laude, and received my Master’s degree in teaching from American

            University.




                                                                                                        JA 239
 USCA4
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                    5.      I have dedicated my life to public service, with the goal of improving instructional

            quality and educational outcomes for students of all backgrounds.

                    6.      To prepare this declaration, I relied upon information known to me personally and

            which I directed my staff to collect and verify based on my organization’s records.

                    7.      In October of 2023, Teaching Lab was awarded a Teacher and School Leader

            Incentive Program (“TSL”) grant of $16,996,398 to be disbursed over three years (the “Grant”).

            The total award was subsequently reduced to $14,147,653 due to Congressional appropriations

            activity.

                    8.      The Grant covers what has been codenamed Teaching Lab Project RISE (Refine,

            Innovate, Share, and Elevate). For this Grant, Project RISE involved: (i) implementation of

            Teaching Lab’s teacher leadership and coaching model for public K-12 school systems located in

            Milwaukee, Wisconsin, Kemper, Mississippi, El Paso, Texas, and Osceola, Arkansas (the “Public

            School Beneficiaries”); (ii) development of human capital management systems in the foregoing

            districts; and (iii) a rigorous, randomized controlled trial on Teaching Lab’s teacher development

            and coaching model, to be conducted in partnership with American Institutes for Research

            (“AIR”), focused on the work in Milwaukee.

                    9.      Across all of the Public School Beneficiaries, Teaching Lab’s programs through

            the Grant impact more than 40 schools and more than 150 teachers, whose instruction in turn

            reaches well over 6,000 K-12 students.

                    10.     On February 18, 2025, Teaching Lab received an updated Grant Award Notification

            from the Department of Education that stated that the grant was terminated because it is

            “inconsistent with, and no longer effectuates, Department priorities.” A true and correct copy of

            the Grant Award Notification is attached as Exhibit A.




                                                                                                      JA 240
 USCA4
Docusign   Appeal:
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                    11.     Also on February 18, 2025, Teaching Lab received a letter from the Department of

            Education that stated as follows:

                            It is a priority of the Department of Education to eliminate
                            discrimination in all forms of education throughout the United
                            States. The Acting Secretary of Education has determined that, per
                            the Department’s obligations to the constitutional and statutory law
                            of the United States, this priority includes ensuring that the
                            Department’s grants do not support programs or organizations that
                            promote or take part in diversity, equity, and inclusion (“DEI”)
                            initiatives or any other initiatives that unlawfully discriminate on the
                            basis of race, color, religion, sex, national origin, or another
                            protected characteristic. Illegal DEI policies and practices can
                            violate both the letter and purpose of Federal civil rights law and
                            conflict with the Department’s policy of prioritizing merit, fairness,
                            and excellence in education….the grant specified above provides
                            funding for programs that promote or take part in DEI initiatives or
                            other initiatives that unlawfully discriminate on the basis of race,
                            color, religion, sex, national origin, or another protected
                            characteristic; that violate either the letter or purpose of Federal civil
                            rights law; that conflict with the Department’s policy of prioritizing
                            merit, fairness, and excellence in education; that are not free from
                            fraud, abuse, or duplication; or that otherwise fail to serve the best
                            interests of the United States. The grant is therefore inconsistent
                            with, and no longer effectuates, Department priorities.

            A true and correct copy of the above-referenced letter is attached as Exhibit B.

                    12.     After February 18, 2025, Teaching Lab has not received additional funding from

            the Department in connection with the Grant.

                    13.     The Grant purported to give Teaching Lab 30 days to serve an appeal. The

            Department did not commit to any timeline to review the appeal, nor any procedures or standards

            upon which the appeal would be evaluated.1




            1
              Teaching Lab is evaluating the content of the notice and does not acknowledge or admit that any part of
            the termination notice or process contemplated therein is lawful or enforceable. This Declaration should
            not be read as an exhaustive account of all potential bases to challenge the termination of the Grant.
            Teaching Lab is reserving all rights and remedies under applicable law.




                                                                                                           JA 241
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                     14.      Through meetings with other educational leaders I have been made aware that other

            TSL grant recipients have received similar letters terminating their grants. Though I am not

            familiar with the particulars of all of these programs, my understanding is that the termination of

            these other TSL programs follow a similar playbook, with similar contents and asserted

            justifications.

                     15.      As of the date of this Declaration, Teaching Lab has drawn $6,606,954 from the

            Grant.

                     16.      As of the date of this Declaration, undisbursed funds under the Grant equal

            $7,540,698. This figure collectively represents the value of our services to the Public School

            Beneficiaries, pass through costs for necessary functions such as software licensing, and the

            aforementioned research services provided by AIR.

                     17.      The Termination Letter, the Department’s failure to withdraw the Termination

            Letter, and the resulting uncertainty regarding the future of the Grant and its programming are

            causing and will continue to cause serious, irreparable harm to Teaching Lab, the Public School

            Beneficiaries, and the public.

                     18.      Teaching Lab operates under a fee for service model. Its resources will not enable

            it to provide the Grant services to the Public School Beneficiaries for free. At this time, Teaching

            Lab does not have an alternate source of funding. The Public School Beneficiaries have not

            indicated to me that they have room in their budget to unexpectedly pay for the services, nor have

            they indicated that additional budget could be immediately procured.

                     19.      Teaching Lab has hired more than two dozen employees and contractors to support

            the Grant. If the Grant is suspended for any amount of time, Teaching Lab will likely have to

            furlough or layoff many or all of these workers. As for part time and contracted workers, their




                                                                                                      JA 242
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            desire to work with Teaching Lab is driven by our ability to provide them hours. They may move

            on to other opportunities or refuse to work with Teaching Lab again if it cannot provide stable

            hours as it expected to be able to do through the Grant.

                    20.     Even if the Grant is ultimately restored several months from now, Teaching Lab

            may not (and probably will not) be able to rehire all of these professionals, depriving us forever of

            the training it has invested, as well as the learnings and specialized knowledge Teaching Lab

            gained working closely on Project RISE and with the Public School Beneficiaries and the teachers

            that work in their communities.

                    21.     Teaching Lab is also extremely concerned about the loss of the rigorous, AIR study

            which will result from the termination of the Grant. In my experience, it is very difficult to organize

            such a study using only private resources.

                    22.     The AIR study afforded by the Grant is a material benefit not only to Teaching Lab,

            but also to other school districts who are evaluating how to spend their limited funds and limited

            teacher development time and resources to programs with the biggest bang for the buck. An

            independent study funded impartially by the federal government, and which must be published

            regardless of the outcome of the study, has immeasurable benefits to the credibility and impact of

            the study and the public’s ability to trust the results.

                    23.     I am also very concerned that if the professionals and the teachers they serve are

            forced to operate under fear that the Grant programs will be cut, this may irreparably impact the

            effectiveness of the professionals’ work and the buy-in from teachers. So even if Teaching Lab

            could fund the AIR study itself and achieve the same impact (which it cannot), interrupting the

            work even for a few months may also impair or infect the results of the study, to the detriment of

            Teaching Lab and the public.




                                                                                                         JA 243
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                    24.     In addition to the loss of the study noted above, the Public School Beneficiaries and

            the public will be significantly harmed if the Department is permitted to move forward with the

            termination, as one or more of the Public School Beneficiaries is likely to lose the benefit of

            Teaching Lab’s services.

                    25.     As noted above, Teaching Lab is unable to absorb providing the services

            contemplated by the Grant for free. Accordingly, the Public School Beneficiaries stand to lose

            value of up to roughly $7 million in services if the termination moves forward.

                    26.     I also expect that the resource-constrained Public School Beneficiaries, their

            teachers, and their students, will be permanently deprived of the opportunity to benefit from

            improved instructional methods and professional development during the first semester of 2025, a

            harm that could permanently impair outcomes for students who attend schools in the Public School

            Beneficiaries’ districts, if not rectified.

                    27.     Attached hereto as Exhibit C is true and accurate copy of a summary showing the

            positive impact of Teaching Lab’s prior work upon student outcomes in a recent project for a

            public school district in New York City.

                    28.     Though Teaching Lab is only in the first year of its work for the Public School

            Beneficiaries, its work is currently tracking the significant positive outcomes experienced in New

            York City.

                    29.     For instance, Teaching Lab’s data shows that in Milwaukee, the percentage of 3rd

            – 5th graders who have demonstrated proficiency on grade level tasks has increased by 26%

            compared to baseline data before Teaching Lab began its work there. In Osceola, the percentage

            of student work that was on grade level increased from 68.31% to 100% from the beginning of the

            year to mid-year, reflecting the impact of our modules enabling teachers to internalize and better




                                                                                                       JA 244
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            deliver state-selected curricula. Teaching Lab has also experienced substantial improvements in

            instructional practices and student work quality in El Paso and Kemper, among other benefits

            already apparent from our early data analysis.

                    30.     These harms prevent Project RISE from engaging in the core activities compelled

            by its mission and reason for existence.


                    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

            and correct.

            Executed on the 3rd day of March, 2025


                                                                  By:
                                                                        Sarah J. Johnson




                                                                                                     JA 245
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                                  Exhibit A




                                                                            JA 246
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             Case 1:25-cv-00702-JRR           Document 5-9 Filed 03/03/25 Page 9 of 19




                       S374A230040 - 24
                       Cynite Ola
                       Teaching Lab
                       1802 Vernon St NW
                       Pmb 533
                       Washington, DC 20009




                                                                                    JA 247
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                   S374A230040 - 24

                   Sarah Johnson
                   Teaching Lab
                   1802 Vernon St. NW
                   PMB 533
                   Washington, DC 20009




                                                                                JA 248
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                                                                                                                   S374A230040 - 24
                                         US Department of Education
                                           Washington, D.C. 20202

                                   GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                          2 AWARD INFORMATION
      Teaching Lab                                                    PR/AWARD NUMBER            S374A230040 - 24
      1802 Vernon St. NW                                                ACTION NUMBER            5
      PMB 533                                                              ACTION TYPE           Administrative
      Washington, DC 20009                                                 AWARD TYPE            Discretionary

 3 PROJECT STAFF                                           4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                   84.374A
         Cynite Ola                  512.293.5854                  Teaching Lab's Project RISE: Refine, Innovate, Share, and
         cynite.ola@teachinglab.org                                Elevate
      EDUCATION PROGRAM CONTACT
         Bryan Hale
         bryan.hale@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                         TITLE                                    LEVEL OF EFFORT
      Cynite Ola                   Project Director                                    100 %

 6 AWARD PERIODS
                   BUDGET PERIOD            10/01/2024 - 02/18/2025
              PERFORMANCE PERIOD            10/01/2023 - 02/18/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                         N/A
                            BUDGET PERIOD                 $4,578,311.00
                      PERFORMANCE PERIOD                 $11,099,378.00
                     RECIPIENT COST-SHARE                        0.00%
           RECIPIENT NON-FEDERAL AMOUNT                           $0.00

 8 ADMINISTRATIVE INFORMATION
                   UEI         S79QLA3H92D7
           REGULATIONS         CFR PART D
                               EDGAR AS APPLICABLE
                               2 CFR AS APPLICABLE
           ATTACHMENTS         N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                        PL 109-149 V ELEMENTARY AND SECONDARY EDUCATION ACT, AS
                                         AMENDED
       PROGRAM TITLE:                    TEACHER INCENTIVE FUND
       CFDA/SUBPROGRAM NO:               84.374A


                                                                                                             JA 249
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                                                                                                                             S374A230040 - 24
                                                US Department of Education
                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S374A230040 - 24
         RECIPIENT NAME:                           Teaching Lab
         GRANTEE NAME:                             TEACHING LAB
                                                   1802 VERNON ST NW,
                                                   WASHINGTON, DC -
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               10%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               {{digsig1_es_:signer1:digitalsignature}}
                                                         AUTHORIZING OFFICIAL                                                DATE

Ver. 1




                                                                                                                       JA 250
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                                   JA 251
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                    affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 252
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                                     Exhibit B




                                                                            JA 253
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/18/2025

       Cynite Ola
       Project Director
       TEACHING LAB
       1802 Vernon St NW
       Pmb 533
       Washington, DC 20009



                                                         RE: Grant Award Termination

        Dear _______________:
             Cynite Ola

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S374A230040            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S374A230040                in its entirety effective _______________.
                                                                          2/18/2025

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 254
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Respectfully,




        Mark Washington
        Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 255
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                                     Exhibit C




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        NYC District 9 Literacy Outcomes
        In our SY22-23 partnership with NY District 9 schools, Teaching Lab supported 61 K-2 teachers. We
        compared classrooms of teachers supported by Teaching Lab to classrooms that were not supported
        by Teaching Lab and saw the following impacts on student performance on Acadience testing.

        The main finding is that a higher percentage of classrooms supported by Teaching Lab
        outperform their school and district averages compared to classrooms not supported by Teaching
        Lab on measures of % of students at/above benchmark in the spring and typical/better progress
        from fall to spring.


        Teaching Lab supported classrooms outperformed non
        Teaching Lab classrooms within respective schools.
        72% of Teaching Lab classrooms were at or above their
        respective school’s average of % students At/Above
        Benchmark for Spring 2023, while this was only 43% of
        classrooms not supported by Teaching Lab. Similarly, 64% of
        Teaching Lab classrooms were at or above their respective
        school’s average of % students with Typical or Better Progress
        from Fall 2022 to Spring 2023, while this was only 44% of
        classrooms not supported by Teaching Lab.


        Teaching Lab supported classrooms outperformed non
        Teaching Lab classrooms and district averages within
        D9.
        Compared to the district averages, 55% of Teaching Lab
        classrooms were at or above the NY D9 Average of % students
        At/Above Benchmark for Spring 2023, while this was only 32%
        of classrooms not supported by Teaching Lab.

        Additionally, the average % of students At or Above Benchmark
        for Spring 2023 for Teaching Lab supported classrooms was
        higher than the D9 District Average at 40%, while the average
        for classrooms not supported by Teaching Lab was below the D9 District Average at 31%. In
        Teaching Lab supported classrooms, each grade level outperformed the NY D9 District Average for
        % of Students At/Above Benchmark for Spring 2023.




                                                                                                JA 257
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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                        BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                             Civil Action No. 25-cv-00702

        DENISE CARTER, et al.,

                           Defendants.

           [PROPOSED] ORDER GRANTING PLAINTIFFS AMERICAN ASSOCIATION OF
          COLLEGES FOR TEACHER EDUCATION, NATIONAL CENTER FOR TEACHER
             RESIDENCIES, AND THE MARYLAND ASSOCIATION OF COLLEGES FOR
          TEACHER EDUCATION’S MOTION FOR TEMPORARY RESTRAINING ORDER/
                               PRELIMINARY INJUNCTION

               This matter comes before the Court on the American Association of Colleges for Teacher

        Education, the National Center for Teacher Residencies, and the Maryland Association of Colleges

        for Teacher Education’s (collectively, “Plaintiffs”) Motion for a Temporary Restraining Order

        and/or Preliminary Injunction. Having reviewed the papers filed in support of and in opposition to

        this motion and, in accordance with Federal Rule of Civil Procedure 65, the Court finds that

        Plaintiffs have satisfied the requirements for issuance of a temporary restraining order and/or

        preliminary injunction. Plaintiffs have shown a substantial likelihood of success on the merits.

        Plaintiffs suffer a substantial threat of irreparable injury if an injunction does not issue. The

        threatened injury outweighs any harm that will result if the injunction is granted. And, the grant of

        an injunction will serve the public interest.

               It is therefore ORDERED that:

                    1. Defendants are ENJOINED from enforcing the terminations of the TQP, SEED,

                       and TSL grants on a nationwide basis;




                                                                                                   JA 258
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                   2. Defendants are ORDERED to reinstate such grant funding immediately;

                   3. Defendants are further ORDERED to provide the Grant Recipients reimbursement

                       for all otherwise allowable expenditures incurred between the date of termination

                       and the Court’s order;

                   4. Defendants are further ENJOINED from terminating any additional TQP, SEED,

                       and TSL grants if such termination would be inconsistent with the Court’s rulings;

                       and

                   5. Defendants are further ORDERED to remove the route pay grant conditions from

                       TQP, SEED, and TSL grants.

               This preliminary injunction shall take effect immediately and shall remain in effect pending

        further order of the Court.

               Plaintiffs are not required to post a bond. The Court finds that security is not required under

        the circumstances of this case.

               SO ORDERED.

        DATED this _______ day of ____________________, 2025, at _____ a.m./p.m.




                                                                      ______________________________
                                                                      United States District Judge




                                                                                                    JA 259
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                                        IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF MARYLAND

        AACTE, et. al.,                  *
                                         *
             PLAINTIFFS,                 *
                                         *
        v.                               *       No. 25-cv-702 (JRR)
                                         *
        McMAHON, et al.,                 *
                                         *
             DEFENDANTS.                 *
                                      ******
           RESPONSE IN OPPOSITION TO MOTION FOR TEMPORARY RESTRAINING
                         ORDER OR PRELIMINARY INJUNCTION


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                            in Diversity, Equity, and Inclusion (“DEI”) programming..................................... 8

                  B.        On February 21, 2025, Judge Adam Abelson in the District of Maryland enjoined
                            the government from enforcing three provisions in the J20 and J21 orders. ........ 10

                  C.        The evening of March 10, 2025, the United States District Court for the District of
                            Massachusetts entered a temporary restraining order in an APA challenge to DOE
                            grant termination that provides relief to at least some of the Plaintiffs in this action.
                            ............................................................................................................................... 11

        III.      LEGAL STANDARD ....................................................................................................... 12

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                  A.        Venue is not proper in the State of Maryland because no substantial part of the
                            events or omissions giving rise to the claim occurred here. ................................. 13


                                                                                      1


                                                                                                                                               JA 260
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              B.        The complaint lacks sufficient facts to establish Plaintiff MACTE’s organizational
                        standing. ................................................................................................................ 16

              C.        Plaintiffs cannot piggyback on NADOHE’s analysis because NADOHE is not
                        binding and they are differently situated. ............................................................. 17

                         1.        NADOHE’s holding hinged on First Amendment violations but these
                                    Plaintiffs have no First Amendment claim. ............................................. 18

                         2.        NADOHE held that the likelihood of establishing vagueness stemmed from
                                    uncertainty regarding grant termination, but the instant Plaintiffs have
                                    already had their grants terminated. ........................................................ 19

                         3.        NADOHE challenged the potential enforcement of the J20 termination
                                    provision, while the instant case challenges an actual agency decision not
                                    definitively tied to the J20 termination provision. .................................. 20

              D.        Plaintiffs are unlikely to succeed on the merits of their vagueness claim. ........... 21

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                        administration’s priorities, consistent with federal law, is not arbitrary or
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              F.        Two of the final three preliminary injunction factors – balance of equities and
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              H.        If the Court grants a preliminary injunction, its scope should be limited only to the
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        TABLE OF ACRONYMS

         Acronym                Full Name

         AACTE                  American Association of Colleges for Teacher Education

         APA                    Administrative Procedure Act

         AU                     American University

         CFR                    Code of Federal Regulations

         DEI                    Diversity, Equity, and Inclusion

         DOE                    Department of Education

         EO                     Executive Order

         FR                     Federal Register

         GSE                    Graduate School of Education

         J20                    Exec. Order No. 14,151, Ending Radical and Wasteful
                                Government DEI Programs and Preferencing, Executive Order of
                                January 20, 2025, 90 Fed. Reg. 8339, 8339 (Jan. 29, 2025)

         J21                    Exec. Order No. 14173, Ending Illegal Discrimination and
                                Restoring Merit-Based Opportunity, Executive Order of January
                                21, 2025, 90 Fed. Reg. 8633, 8634-35 (Jan. 31, 2025)

         MACTE                  Maryland Association of Colleges for Teacher Education

         NADOHE                 National Diversity Officers in Higher Education

         NCTR                   National Center for Teacher Residencies

         PI                     Preliminary Injunction

         RETL                   Residency for Excellence in Teaching and Learning

         RISE                   Refine, Innovate, Share, and Elevate

         SEED                   Supporting Effective Educator Development Program

         SFFA                   Students for Fair Admissions, Inc. v. Fellows of Harvard Coll.,
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            TQP                         Teacher Quality Partnership Program

            TRO                         Temporary Restraining Order

            TSL                         Teacher and School Leader Incentive Program

            UST                         University of St. Thomas


        I.        INTRODUCTION

                  This Court should reject Plaintiffs’ attempt to glom onto Judge Abelson’s decision in

        National Association of Diversity Officers in Higher Education (“NADOHE”) v. Trump. 1 Despite

        advancing no First Amendment claims, Plaintiffs argue that the more stringent Fifth Amendment

        vagueness standard applicable to free speech challenges applied in NADOHE should apply to

        them. And despite receiving concrete grant terminations specifying the reasons for their grant

        terminations, Plaintiffs argue that NADOHE’s analysis about potentially vague grant terminations

        in the abstract should also apply to them. These arguments lack merit. Not only is venue improper

        in Maryland and not only does the only Maryland plaintiff lack standing, but Plaintiffs are also

        unlikely to succeed on the merits of their Due Process or Administrative Procedure Act (“APA”)

        claims. Because the balance of equities and public interest also weigh in favor of the government,

        the Court must deny Plaintiffs’ motion for a Preliminary Injunction (“PI”) or Temporary

        Restraining Order (“TRO”).




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                  ECF 1 No. 1:25-CV-00333-ABA. Hereafter, “NADOHE.”

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        II.    BACKGROUND FACTS

               A.      Department of Education (“DOE”) terminated grants that participated in
                       Diversity, Equity, and Inclusion (“DEI”) programming.

               On January 20, 2025, President Trump issued Executive Order 14,151, 90 FR 8339,

        entitled Ending Radical and Wasteful Government DEI Program and Preferencing [hereafter J20].

        J20 sought to eliminate “illegal and immoral discrimination programs, going by the name

        ‘diversity, equity, and inclusion’ (DEI),” in the Government. J20 § 1. As is relevant here, J20

        includes a Termination Provision, which directs that within 60 days of its issuance, “[e]ach agency,

        department, or commission head, in consultation with the Attorney General, the Director of OMB,

        and the Director of OPM … terminate . . . ‘equity-related’ grants or contracts.” Id. § 2(b)(i). This

        has been referred to as the “Termination Provision.” The President also issued a second executive

        order related to DEI on January 21, 2025 [hereafter J21], but Plaintiffs do not challenge that order.

               On February 5, 2025, DOE’s Office of Planning, Evaluation, and Policy Development

        issued a “Directive on Department Grant Priorities.” ECF 24-2 (Directive on Development Grant

        Priorities, U.S. Dept. of Educ. (Feb. 5, 2025)) [hereafter, “DOE Directive”]. Available online at

        Prem Thakker, X.com, https://x.com/prem_thakker/status/1887261853350318163?s=46 (last

        accessed Mar. 11, 2025). The internal directive reaffirms the Department’s priority “to eliminate

        discrimination in all forms of education.” ECF 24-2 (DOE Directive) (citing to Brown v. Board

        of Education, 347 U.S. 483 (1954) and Students for Fair Admissions, Inc. v. Fellows of Harvard

        Coll., 600 U.S. 181 (2023) [hereafter “SFFA”]). It notes that Diversity, Equity, and Inclusion

        (“DEI”) initiatives “unlawfully discriminate on the basis of race, color, religion, sex, national

        origin, or other protected characteristic” and “conflict with the Department’s policy of prioritizing

        merit, fairness, and excellence in education.” Id. The directive instructs DOE personnel to conduct

        a review of issued grants to ensure they “do not fund discriminatory practices – including in the
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        form of DEI – that are either contrary to law or to the Department’s policy objectives.” Id. The

        directive further requires DOE to “comply with all notice and procedural requirements in each

        affected award, agreement, or other instrument.” Id. Finally, it notes that “[g]rants deemed

        inconsistent with these priorities shall, where permitted by applicable law, be terminated in

        compliance with all notice and procedural requirements.” Id. The directive does not reference

        any executive order related to DEI but rather relies on DOE’s own policies and priorities. Id.

               Plaintiffs are member organizations comprised of some members who received grant

        money from three DOE programs: The Teacher Quality Partnership Program (“TQP”); the

        Supporting Effective Educator Development Program (“SEED”); and the Teacher and School

        Leader Incentive Program (“TSL”). The grants were multi-year grants meant to support teacher

        professional development and training programs. ECF 1 at ¶¶ 65–127. Plaintiffs’ programs

        included diversity, equity, and inclusion components. See, e.g., ECF 1 at ¶¶ 79, 81, 101.

               The complaint alleges that between approximately February 7 and 18, 2025, DOE

        terminated eight of its member association grants. ECF 1 at ¶¶ 119–27 (describing anonymous

        grant recipient); ECF 1-2 (identifying named grant recipients). The termination letters specified

        that the grants were terminated for “promot[ing] or tak[ing] part in diversity, equity, and inclusion

        (“DEI”) initiatives or any other initiatives that unlawfully discriminate on the basis of race, color,

        religion, sex, national origin, or another protected characteristic.” See, e.g., ECF 1-2 at 4. The

        letter noted that the grants “no longer effectuate[] Department priorities” pursuant to 2 C.F.R. §

        200.340(a)(4). Each letter included statutory authority for the action, advised recipients of their

        appeal rights, and advised regarding closeout responsibilities. See, e.g., ECF 1-2 at 4–5. No letter

        referenced any Presidential Executive Order as a source of authority.



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               B.      On February 21, 2025, Judge Adam Abelson in the District of Maryland
                       enjoined the government from enforcing three provisions in the J20 and J21
                       orders.

               The District of Maryland was one of the first courts in the country to hear a challenge to

        the J20 and J21 orders. In NADOHE, Judge Abelson considered a challenge to three provisions in

        the orders, including a provision in the J20 order that called for government agencies to “terminate.

        . . equity-related’ grants or contracts.” 2 See generally, NADOHE, ECF 1, No. 1:25-CV-00333-

        ABA. The NADOHE Plaintiffs were federal grant recipients whose grants remained active, but

        who feared termination pursuant to the J20 order. See, e.g., NADOHE, ECF 1 at ¶¶ 5–6. They

        claimed that the fear of losing their funding chilled their freedom of speech, as they were afraid

        that engaging with DEI values would cause them to lose their funding. Id. at ¶ 12. They also

        claimed the J20 order was vague because it “failed to define any material terms, including ‘DEI,’

        ‘illegal DEI,’ ‘DEI programs or principles,’ or ‘illegal discrimination or preferences.’” Id. at ¶ 4.

        Plaintiffs filed a motion for a TRO or PI about ten days after filing the complaint. NADOHE, ECF

        27. Because no plaintiff grants had been terminated, the challenge was a “facial” challenge to the

        entire order without reference to how the order might be applied in any individual case. NADOHE,

        __ F. Supp. 3d. __, 2025 WL 573764, at *16 (D. Md. Feb. 21, 2025).

               Judge Abelson held a hearing and ultimately granted the plaintiffs’ motion for a

        preliminary injunction on February 21, 2025. In so doing, Judge Abelson considered the plaintiffs’

        Fifth Amendment challenge to the J20 order’s termination provision through the lens of a free

        speech challenge, applying “a more stringent vagueness test.” NADOHE, 2025 WL 573764, at




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                NADOHE also challenged the J21 Executive Order, but since that Order is not the subject
        of the instant lawsuit it is not discussed here.
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        *26. Applying this more rigorous test, Judge Abelson determined that plaintiffs were likely to

        show that the termination provision did not provide sufficient notice of prohibited activity and

        carried the potential for arbitrary enforcement. Id. at *19–21. Because no NADOHE plaintiff had

        experienced a grant termination, Judge Abelson’s ruling considered the general landscape and

        hypothetical scenarios. See id. at *20. His preliminary injunction order prevented “Defendants

        other than the President, and other persons who are in active concert or participation with

        Defendants,” from, in relevant part, “paus[ing], freez[ing], imped[ing], block[ing], cancel[ing], or

        terminat[ing] any awards, contracts, or obligations (“Current Obligations”) or change the terms of

        any Current Obligation, on the basis of the Termination Provision.” ECF 1-3 at 3 (NADOHE

        Preliminary Injunction Order).

               On March 10, 2025, following supplemental motions practice, Judge Abelson clarified that

        “persons who are in active concert or participation with Defendants” meant “all other federal

        executive branch agencies, departments, and commissions, and their heads, officers, agents, and

        subdivisions directed pursuant to the J20 and J21 Orders.” NADOHE, ECF 67 at 3. Neither the

        initial order nor the clarified order applied retroactively to any grants cancelled before entry of the

        order on February 21, 2025. The clarified order reiterated that NADOHE’s holding regarding

        vagueness of the J20 termination provision utilized “the more stringent vagueness test that applies

        when a law interferes with the right of free speech or of association.” NADOHE, ECF 66 at 5.

               C.      The evening of March 10, 2025, the United States District Court for the District
                       of Massachusetts entered a temporary restraining order in an APA challenge
                       to DOE grant termination that provides relief to at least some of the Plaintiffs
                       in this action.

               On March 6, 2025, the States of California, Colorado, Illinois, Maryland, Massachusetts,

        New Jersey, New York, and Wisconsin filed a motion for temporary restraining order challenging

        the allegedly arbitrary and capricious termination of TQP and SEED grants. See generally, Mot.
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        for Temp. Restr’g O., California v. U.S. Dep’t of Educ., 1:25-cv-10548-MJJ, ECF No. 2 (D. Mass.

        Mar. 6, 2025). Judge Joun held a hearing on March 10, 2025, seemingly without the benefit of

        written briefing from the government. See generally, ECF 24-3 (Docket, 1:25-cv-10548-MJJ

        (reflecting no motion response from the government)). After the hearing, the Judge Joun granted

        Plaintiffs’ motion for a temporary restraining order and required DOE to “immediately restore . .

        . all previously awarded TQP or SEED grants for recipients in Plaintiff states.” ECF 24-4 (Order,

        California v. U.S. Dep’t of Educ., 1:25-cv-10548-MJJ, ECF No. 41, at 9 (D. Mass. Mar. 6, 2025)).

        III.   LEGAL STANDARD

               A preliminary injunction is “extraordinary” relief that may “only be awarded upon a clear

        showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, 555 U.S. 7,

        22, 24 (2008).    Plaintiffs must satisfy four elements to show entitlement to a preliminary

        injunction: first, they must show that they are likely to succeed on the merits; second, that they

        will likely experience irreparable harm unless the court grants relief; third, that the balance of

        equities weighs in their favor; and fourth that an injunction is in the public interest. Frazier v.

        Prince George’s Cnty., 86 F.4th 537, 543 (4th Cir. 2023); NADOHE, 2025 WL 573764, at *7.

        The last two factors – balance of equities and the public interest – “merge when the Government

        is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

        IV.    ARGUMENT

               Plaintiffs cannot establish entitlement to a preliminary injunction. Their case fails at the

        threshold due to improper venue and lack of standing. The Court should decline to extend the

        NADOHE holding to these Plaintiffs due to the dissimilarity of their claims. On the merits,

        Plaintiffs’ case fails because their actual grant terminations were not vague as applied to them.

        Nor did DOE act arbitrarily and capriciously when it terminated Plaintiffs’ grants consistently with

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        its departmental priorities. For the purposes of this motion, Defendants do not dispute that

        Plaintiffs can establish irreparable harm, but the government does contend that the balance of

        equities and public interest weighs in the government’s favor. Should the Court consider granting

        relief, Defendants respectfully request that the Court instead remand to DOE to provide a more

        detailed explanation for each grant termination. Finally, if the Court does issue a PI, Defendants

        ask that the injunction be limited only to the named grants in Plaintiffs’ complaint and motion.

               A.      Venue is not proper in the State of Maryland because no substantial part of
                       the events or omissions giving rise to the claim occurred here.

               This Court should decline to hear this case because it does not belong in the State of

        Maryland. In cases based on federal question jurisdiction, venue is only proper in a district where

        either a defendant resides or where “a substantial part of the events or omissions giving rise to the

        claim occurred.” 28 U.S.C. § 1391(b) (providing additional venue grounds not relevant here).

        Because no defendant resides in Maryland and because the grant terminations at issue occurred in

        eight states but not in Maryland, venue is not proper here.

               Although cases involving the federal government are often appropriately brought in the

        District of Columbia, this may not be appropriate where it would lead to a crush of litigation. In

        cases involving national organizations “challeng[ing] agency action of nationwide scope,” the

        District of Columbia is nearly always the most convenient venue. Indus. Union Dep’t, AFL-CIO

        v. Bingham, 570 F.2d 965, 971 (D.C. Cir. 1977). However, this may not be true where a given

        district has “limited manpower to process a large number of claims.” Chakrabarti v. U.S.

        Citizenship and Immigration Servs., No 21-1945 PJM, 2021 WL 4458899, at *5 (D. Md. Sept. 29,

        2021). Just a few years ago, this District declined to become the default district for hundreds of

        lawsuits alleging delays in adjudication of immigration applications, merely because the offices of

        United States Citizenship and Immigration Services moved to the state. Id. at *5. Rather, the court
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        noted that hearing adjudication delay cases in each plaintiff’s home district would decrease the

        burden on the District of Maryland and prevent “derogat[ion] from the other important matters the

        Court must attend to.” Id. at *6.

               Moreover, simply naming one organizational Plaintiff headquartered in a state who

        experienced little or no actual harm is not sufficient to establish that “a substantial part of the

        events” occurred in that given state. Cf. Wolf v. Menh, No. 1:18-cv-1180, 2019 WL 13292992, at

        *3 (E.D. Va. Feb. 5, 2019) (finding receipt of defamatory statements by Virginia individuals and

        involvement of “a Virginia organization” did not amount to “a substantial part of the events or

        omissions giving rise to the claim”). Similarly, the fact that some portion of events are experienced

        in Maryland is not sufficient to establish “a substantial part” where most events occur outside the

        state. Chakrabarti, 2021 WL 4458899, at *3, 7.

               Judge Gallagher recently signaled her concern about the District of Maryland becoming a

        default district for litigation stemming from President Trump’s policies. In Am. Fed. of Teachers,

        et al. v. Dept. of Ed., which involves similar allegations as those in the instant case, Judge

        Gallagher observed that the complaint contained only “generalized facts describing the impact of

        certain executive actions on members of two nationwide professional organizations,” and

        “specific, detailed facts” relating to impacts in another state. Letter Order, Am. Fed. of Teachers,

        et al. v. Dept. of Ed., No. 25-cv-628-SAG, ECF 16 at 1 (Mar. 5, 2025). The only connection to

        Maryland was not any “harm occurring in the State of Maryland,” but rather “the naming of

        [American Federation of Teacher’s] AFT’s Maryland chapter as a separate Plaintiff without

        identifying any particularized injury to the Maryland chapter distinct from the national chapter.”

        Id. (“It thus appears to this Court that the Maryland chapter was named separately solely to



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        manufacture venue in this District.”). Judge Gallagher ordered briefing about venue but has not

        yet ruled on the issue. Id.

               Her concerns are not misplaced. According to the “Trump Litigation Tracker” compiled

        by JustSecurity.org, approximately twelve challenges to the administration’s actions have been

        filed in Maryland so far, second only to the District of Columbia, which has more than sixty. See

        Litigation    Tracker:          Legal   Challenges        to   Trump     Administration      Actions,

        https://www.justsecurity.org/107087/tracker-litigation-legal-challenges-trump-administration/

        (Last visited Mar. 10, 2025).

               Like AFT and Chakrabarti, venue in this case is not proper in Maryland. Plaintiffs are two

        national professional organizations and one Maryland chapter. See e.g., ECF 1 at ¶ 14. The

        complaint’s utter lack of connection to Maryland is so striking that not only is the sole Maryland

        plaintiff the third of three named Plaintiffs, but that plaintiff’s principal place of business in

        Towson, Maryland is misspelled “Townson” – twice. Id. The complaint contains no allegations

        of any grant terminations in Maryland, and the declaration of Plaintiff Maryland Association of

        Colleges for Teacher Education’s (“MACTE”) President does not specify whether actual grants

        were terminated in the State of Maryland, only that three of ten member organizations were

        “impacted by the termination” of SEED and TQP grants. The complaint does not specifically

        mention any Maryland grant terminations, but only avers that the termination of others’ grants

        “implicates MACTE’s core mission.” ECF 1 at ¶ 14. In contrast, the complaint and associated

        documents allege specific allegations of injury occurring in Illinois, Minnesota, California, District




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        of Columbia, Wisconsin, Mississippi, Texas, and Arkansas. See ECF 1-2 at 2, 6, 8, 10, 12, 14;

        ECF 1 at ¶ 112. Given these facts, venue is unlikely to be proper in Maryland. 3

               The Court should decline to hear this preliminary injunction challenge and instead allow

        the parties to brief the issue of venue transfer pursuant to 28 U.S.C. § 1404.

               B.      The complaint lacks sufficient facts to establish Plaintiff MACTE’s
                       organizational standing.

               The only Plaintiff with any Maryland connection, MACTE, lacks organizational standing.

        “[A] plaintiff must establish that he has standing to challenge each provision . . . by showing that

        he was injured by application of those provisions.” Covenant Media of SC, LLC v. N. Charleston,

        493 F.3d 421, 430 (4th Cir. 2007). To establish standing, a plaintiff must show: (1) an “injury in

        fact,” that is, a violation of a legally protected interest that is “concrete and particularized” and

        “actual or imminent, not conjectural or hypothetical”; (2) a causal connection between the injury

        and the defendant’s conduct such that the injury is “fairly . . . traceable to the challenged action”;

        and (3) that it is “likely, as opposed to merely speculative that the injury will be redressed by a

        favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

               An organizational plaintiff cannot establish standing merely by showing an “intens[e]. . .

        interest” in the case or “strong opposition to the government’s conduct.” Valley Forge Christian

        Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464, 486 (1982). The

        Supreme Court has emphasized that “threatened injury must be certainly impending to constitute




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               As in Chakrabarti, the government currently intends to move to transfer venue to the
        individual states in which Plaintiffs’ grants were cancelled given the current crush of litigation in
        the District of Columbia.
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        injury in fact, and that allegations of possible future injury are not sufficient.” Clapper v. Amnesty

        Int’l USA, 568 U.S. 398, 409 (2013) (citations omitted).

               The complaint and motion for preliminary injunction lack specific allegations regarding

        actual injury to MACTE. Rather, the complaint alleges only an “implicat[ion of] MACTE’s core

        mission.” ECF 1 at ¶ 14. The declaration drafted by MACTE’s President does not specifically

        identify any Maryland grants that were cancelled, but only alleges that three of its ten member

        organizations were “impacted by the termination of the grants . . . resulting in a substantial loss of

        funds for teacher preparation programs in Maryland.” ECF 5-5 at 2. Unlike the other allegations

        in the complaint and preliminary injunction motion, there is no indication of which member grants

        were cancelled if any, or how much money was lost. See generally, e.g., ECF 1-2 (identifying

        cancelled grants in Illinois, Minnesota, California, and District of Columbia, but none in

        Maryland).

               Moreover, to the extent Maryland grants were terminated, Maryland has already received

        relief in a different case. See Order, California v. U.S. Dep’t of Educ., 1:25-cv-10548-MJJ, ECF

        No. 41 (D. Mass. Mar. 6, 2025) (requiring DOE to “immediately restore” terminated TQP and

        SEED grants for recipients in Maryland, California, Colorado, Illinois, Massachusetts, New Jersey,

        New York, and Wisconsin).

               Thus, Plaintiff MACTE is unlikely to establish standing.

               C.      Plaintiffs cannot piggyback on NADOHE’s analysis because NADOHE is not
                       binding and they are differently situated.

               Even though all of Plaintiffs’ grant terminations occurred before Judge Abelson issued his

        order in NADOHE, Plaintiffs seek to have that order apply to them retroactively. Although Judge

        Abelson’s decision is due “substantial deference,” it is not retroactive nor is it binding on this

        court. Nat’l Union Fire Ins. Co. v. Allfirst Bank, 282 F. Supp. 2d 339, 351 (D. Md. 2003) (“Of
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        course, no decision of a district court judge is technically binding on another district court judge,

        even within the same district.”). The material differences between the instant Plaintiffs and those

        in NADOHE underscores the importance of analyzing the instant case out of the shadow of

        NADOHE.       First, Plaintiffs here allege no First Amendment violations. Second, rather than

        fearing the threat of grant terminations for unknown reasons, the instant Plaintiffs have received

        definitive notices of grant termination with stated reasons. Third, DOE’s decisions in this case

        were based on the agency’s own determinations apart from the J20 order. To the extent NADOHE

        could apply to this case, the Court should decline to extend it.

                       1.      NADOHE’s holding hinged on First Amendment violations but these
                               Plaintiffs have no First Amendment claim.

               A First Amendment violation rested at the core of the NADOHE decision. The specter of

        this free speech infringement permeated every aspect of the Court’s decision in NADOHE,

        including its holding that the J20 and J21 EOs were likely void for vagueness under the Fifth

        Amendment. Plaintiffs allege no such free speech violation here, so the Court should decline to

        follow NADOHE.

               Although Judge Abelson found the J20 termination provision void for vagueness, he did

        so while holding the government to a “more stringent vagueness test” due to the plaintiffs’ alleged

        free speech infringement. NADOHE, 2025 WL 573764, at *16 (quoting Vill. of Hoffman Estates

        v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982)). As Judge Abelson acknowledged,

        “[t]he vagueness doctrine analysis is not uniform across all case types.” NADOHE, 2025 WL

        573764, at *18. On the contrary, he observed that courts would have “some tolerance for

        vagueness” in cases involving “government awards [of] ‘selective subsidies’” if it were not for the

        alleged impingement on free speech. Id. This chilling of free speech was also important in the

        court’s weighing of irreparable injury and public interest supporting an injunction. Id. at *27–28.
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                The instant Plaintiffs allege no chilling of their right to free speech. Thus, the government

        should receive the benefit of a vagueness analysis that has “some tolerance for vagueness.” Id. at

        *18. This important distinction cautions against applying NADOHE’s holding to this case.

                        2.      NADOHE held that the likelihood of establishing vagueness stemmed
                                from uncertainty regarding grant termination, but the instant
                                Plaintiffs have already had their grants terminated.

                NADOHE made two vagueness holdings using the “more stringent vagueness test” required

        in cases involving a First Amendment violation. Id. at *16. First, Judge Abelson found that the

        termination provision was likely void because “the vagueness of the term ‘equity-related’ grants

        or contracts” invites arbitrary and discriminatory enforcement.” Id. at *19. Second, the Court held

        that the same term “offers insufficient notice to current grantees about whether and how they can

        adapt their conduct to avoid termination of their grants or contracts.” Id. at *20. The fact that no

        NADOHE plaintiff had yet been notified of a grant termination was central to both holdings. See,

        e.g., id. at *3 (acknowledging “Plaintiffs . . . are left to guess . . . whether their federal grants or

        contracts will be terminated” (internal quotations omitted). Neither of these vagueness holdings

        should apply to the current Plaintiffs because DOE did terminate their grants.

                As to the differences in Judge Abelson’s analysis regarding arbitrary and discriminatory

        enforcement, 4 NADOHE focused on the fears of plaintiffs facing uncertain enforcement. See, e.g.,

        id. at *3, *20. In contrast, the instant case presents a more concrete question because Plaintiffs

        challenge the termination of several discrete grants. See generally, ECF 1. Judge Abelson

        acknowledged that the termination provision of the J20 order could be vague as to some while




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               This filing addresses the concern about the merits of Plaintiffs’ arbitrary and discriminatory
        enforcement more fully in Section IV.E, below.
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        giving other grantees “notice that their grants are subject to termination.” NADOHE, 2025 WL

        573764, at *21. Indeed, the District Court for the District of Columbia found that an agency action

        terminating grants for particularized reasons was distinct from a blanket termination in response

        to an executive order. AIDS Vaccine Advocacy Coal. v. U.S. Dep’t of State, __ F. Supp. 3d __,

        2025 WL 752378 (D.D.C. Mar. 10, 2025).

               So too here, the Court’s analysis must focus on whether DOE’s termination of Plaintiffs’

        grants was vague or arbitrary as applied to them. See Educ. Media Co. v. Insley, 731 F.3d 291,

        298 n.5 (4th Cir. 2013) (noting that as-applied challenges are “based on a developed factual record

        and the application of a statute to a specific person”). Defendants argue it was not. See Section

        IV.E, below. Given the actual grant terminations here, NADOHE’s holding should not apply.

                       3.      NADOHE challenged the potential enforcement of the J20 termination
                               provision, while the instant case challenges an actual agency decision
                               not definitively tied to the J20 termination provision.

               Although Plaintiffs assume DOE terminated their grants because of the J20 Executive

        Order that NADOHE enjoined, DOE does not concede this and the documentary record indicates

        independent agency review. Judge Abelson held plaintiffs were likely to establish a direct

        connection between their injuries and the J20 and J21 EOs because the plaintiffs received letters

        explicitly tying potential grant termination to the EOs. NADOHE, 2025 WL 573764, at *11. Thus,

        Judge Abelson’s analysis of the constitutionality of the EOs more directly applied to the plaintiffs’

        challenge.

               But no such direct communication link here. Plaintiffs attached DOE’s communications

        terminating their grants, and each communication cited to applicable provisions of the Code of

        Federal Regulations (“CFR”) and more general changes in overarching “Department priorities.”

        See, e.g., ECF 5-8 at 23–24. The letters cite to a determination by the “Acting Secretary of

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        Education” based on “constitutional and statutory law.” Id. (going on to identify the constitutional

        and statutory authority). Because NADOHE focuses on a facial challenge to the J20 and J21 EOs,

        and the instant case focuses on a series of discrete grant terminations stemming from an agency

        action, the Court should decline to extend NADOHE’s reasoning.

               In sum, although Judge Abelson’s opinion in NADOHE deserves deference from this

        Court, the decision is not binding and material differences between NADOHE and this case caution

        against extending it.

               D.      Plaintiffs are unlikely to succeed on the merits of their vagueness claim.

               Plaintiffs’ Fifth Amendment vagueness claim fails because their grant terminations were

        not vague. “A statute is unconstitutionally vague if it (1) fails to provide people of ordinary

        intelligence a reasonable opportunity to understand what conduct it prohibits or (2) authorizes or

        even encourages arbitrary and discriminatory enforcement.” United States v. Saunders, 828 F.3d

        198, 206 (4th Cir. 2016) (citation omitted). To assess fair notice, courts ask whether “the ordinary

        person exercising ordinary common sense can sufficiently understand” the language. Id. (quoting

        United States v. Shrader, 675 F.3d 300, 310 (4th Cir. 2012)). Courts also consider whether unclear

        language may encourage arbitrary and discriminatory enforcement. United States v. Davis, 588

        U.S. 445, 451 (2019). Because the grant terminations specified the reasons for the termination,

        and because both the complaint and the preliminary injunction motion identified the grant features

        that fall under the “DEI” umbrella, the terminations were not vague.

               Where a Fifth Amendment challenge involves the impact of economic policies to

        organizations and does not implicate a free speech concern, courts apply a relaxed vagueness test.

        Hoffman Estates, 455 U.S. at 498 (holding that “economic regulation” is subject to “a less strict

        vagueness test” compared to criminal statutes, since “businesses, which face economic demands

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        to plan behavior carefully, can be expected to consult relevant legislation in advance of action”).

        Compare id. at 499 (noting that “the most important factor affecting the clarity that the Constitution

        demands of a law is whether it . . . interferes with the right of free speech”) with ECF 1 (failing to

        raise any free speech claim).       Generally, “[a] civil statute . . . that does not implicate

        constitutionally-protected conduct is not unconstitutional unless it is ‘impermissibly vague in all

        of its applications.’” Havtech, LLC v. AAON Inc., No. CV SAG-22-00453, 2023 WL 200117, at

        *4 (D. Md. Jan. 17, 2023) (quoting Hoffman Estates, 455 U.S. at 495).

               Courts are particularly generous when it comes to selective government subsidies, applying

        a relaxed vagueness analysis to imprecise government priorities. Nat’l Endowment for the Arts v.

        Finley, 524 U.S. 569, 589 (1998). See also Grayned v. City of Rockford, 408 U.S. 104 (1972)

        (“Condemned to the use of words, we can never expect mathematical certainty from our

        language.”). For example, where challenged language does not provide definitions but the words

        “can be interpreted by people of common intelligence,” no additional definition is required.

        Havtech, 2023 WL 200117, at *5 (internal quotation omitted). See also Finley, 524 U.S. at 589

        (noting that scholarships and grants awarded for “subjective criteria such as ‘excellence’” are

        selective subsidies not void for vagueness). Moreover, where challenged language may have

        differing definitions but there is no real dispute for the existing plaintiffs of the language’s

        application, the language is not vague. See Wilson v. PL Phase One Operations L.P., 422 F. Supp.

        3d 971, 983 (D. Md. 2019).

               Here, DOE provided grant termination letters that specified the reasons for each grant

        termination. The letters explain that DOE grants will no longer support “diversity, equity, and

        inclusion (“DEI”) initiatives.” See, e.g., ECF 1-2 at 8 (noting that DOE will not fund any other

        forms of unlawful discrimination, either). The letters also note that the terminated grant programs

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        “take part in DEI initiatives” or other forms of unlawful discrimination. Id. The letters also cite

        to the specific sections of the CFR that allow DOE to terminate grants due to changes in

        “Department priorities.” Id. (referencing 2 C.F.R. § 200.340(a)(4), 34 C.F.R. § 75.253, and 2

        C.F.R. § 200.339-43). Although Plaintiffs complain that they were not “put . . . on notice for the

        reason for the grant termination,” this is not genuine given the letters’ explanations. ECF 5-1 n.10.

               Moreover, any claim that the terms “diversity,” “equity,” and “inclusion” are vague is

        belied by the fact that not only did Plaintiffs use these very words in naming their grant projects

        and describing their programs, but these terms also appeared in the solicitation for grant

        applications DOE published in the Federal Register when Plaintiffs applied for their grant funding.

        See, e.g., ECF 1 at ¶¶ 79, 81, 101 (describing terminated grants as involving diversity, equity, and

        inclusion); 89 F.R. 23573 (TQP application notice, which includes the words diversity, equity, and

        inclusion); 87 F.R. 19487-01 (same for the SEED application notice); 88 F.R. 33592 (same for the

        TSL notice). Plaintiffs also identified these program components in their complaint, suggesting

        their awareness of the reasons for their grant termination. In other words, Plaintiffs knew what

        these terms meant when they applied for funding and when they filed the instant complaint, so it

        is a fair inference that they also knew what they meant when they read the termination letters.

        These terms are not vague, especially under the more relaxed standard applicable to selective

        funding decisions like government grants.

               E.      Plaintiffs are unlikely to succeed on their APA claim because enacting a new
                       administration’s priorities, consistent with federal law, is not arbitrary or
                       capricious.

               Plaintiffs’ APA claim is also unavailing. Plaintiffs’ singular point in support of their

        arbitrary and capricious argument is that DOE acted “contrary to the law” by failing to publish any

        change in “Department priorities” in the Federal Register with a “notice and comment” period.

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        ECF 5-1 at 27. They do not clearly allege any other procedural irregularities establishing arbitrary

        and capricious agency action. 56 This one argument cannot carry the day because there is no

        requirement that big-picture Department priorities follow the same public rulemaking and

        commenting process as priorities for grant awards.

               “Arbitrary and capricious” is a “narrow” standard of review in which DOE’s action is

        presumed valid. Marsh v. Oregon Nat. Res. Council, 490 U.S. 360, 378 (1989) (narrow standard);

        Nat. Res. Def. Council, Inc. v. Envtl. Prot. Agency, 16 F.3d 1395, 1400 (4th Cir. 1993) (presumed

        validity). The Court merely “consider[s] whether the agency considered the relevant factors and

        whether a clear error of judgment was made.” Hoffler v. Mattis, 677 Fed. Appx. 119, 120 (4th Cir.

        2017) (quoting Ohio Valley Envtl. Coal. v. Aracoma Coal Co., 556 F.3d 177, 192 (4th Cir. 2009)).

        In other words, courts ask if “the agency has acted within a zone of reasonableness and, in

        particular, has reasonably considered the relevant issues and reasonably explained the decision.”

        Fed. Commc’ns Comm’n v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). The APA is not

        a mechanism for judicial policy revision, because “courts lack authority ‘to impose upon [an]

        agency its own notion of which procedures are ‘best’ or most likely to further some vague,

        undefined public good.’” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 102 (2015) (cleaned up)




        5
              It is unclear whether Plaintiffs allege that placement on “route pay” constitutes arbitrary
        and capricious agency action. Although their filings reference the route pay condition, the
        argument is not fleshed out in their motion.
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               Of note, the plaintiffs in California v. U.S. Dep’t of Educ. appear to have advanced different
        APA arguments in support of their TRO motion not offered by Plaintiffs in the instant case. See
        Order, 1:25-cv-10548-MJJ, ECF No. 41 (D. Mass. Mar. 6, 2025) (referencing lack of
        “individualized analysis of any of the programs” in termination letters).
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        (quoting Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 549

        (1978)).

               Federal regulations explicitly allow agencies to terminate grants for no other reason besides

        “an award no longer effectuates . . . agency priorities.” 2 C.F.R. § 200.340. This language came

        from Office of Management and Budget (OMB) changes to Uniform Guidance in the year 2020.

        Guidance for Grants and Agreements, Published Doc. No. 2020-17468, 85 FR 49506 (Aug. 13,

        2020), available at https://www.federalregister.gov/documents/2020/08/13/2020-17468/guidance-

        for-grants-and-agreements (last visited Mar. 11, 2025). The comments to this change to the

        Uniform Guidance note that the language is meant to allow “awarding agencies [to] prioritize

        ongoing support to Federal awards that meet program goals” and “terminate the Federal award”

        where it does not. Id.

               Plaintiffs argue that “Department priorities” may only change if subjected to a notice and

        comment period pursuant to 20 U.S.C. § 1232(d) and 34 C.F.R. § 75.105(b)(2). ECF 5-1 at 22–

        23. These provisions do not support Plaintiffs’ argument. § 1232(d) governs regulations and §

        75.105(b)(2) governs annual priorities. Neither of these regulations relate to the big-picture

        departmental priorities that changed with the new Presidential administration, and neither

        undermines the ability of a federal agency to terminate an award for no longer aligning with agency

        priorities. Rather, the regulations distinguish between “annual absolute, competitive preference,

        and invitational priorities,” as identified and described in 34 C.F.R. § 75.105, and general Agency

        or Administrative priorities, as referred to in 2 C.F.R. § 200.340(a)(4). The fact that two different

        regulations from two different chapters of the CFR address the different types of priorities

        underscores the distinction between them.



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               “Annual absolute, competitive preference, and invitational priorities” are specific priorities

        established by the Secretary of Education which are utilized in Agency grant programs. See 34

        C.F.R. § 75.105. Per 34 C.F.R. § 75.105, such priorities are used for selection of applications for

        Agency programs. Annual absolute, competitive preference, and invitational priorities are subject

        to a notice and comment period and rulemaking, unless an exemption applies. Id. Unlike these

        specific annual absolute, competitive preference, and invitational priorities, Agency or

        Administration priorities are general and issued at the discretion of the Agency or Administration.

        Agency and Administration priorities stem from an Agency or Administration’s mission and

        agenda and can be changed at any time without a vote or notice and comment from the public.

        Plaintiff’s interpretation of federal regulation renders every federal agency powerless to shift its

        activities with new Presidential administrations absent a lengthy public rulemaking process. There

        is no authority for the proposition that agencies must go through this process any time they change

        their overarching policies or goals.

               It is true that an agency’s ability to terminate funding pursuant to 2 C.F.R. § 200.340 is

        relatively untested and there is a paucity of caselaw interpreting the provision. An Ohio State Law

        Journal article considered 2 C.F.R. § 200.340 and acknowledged that, before President Trump’s

        first administration, “[t]erminating multiyear grants simply because of a claimed change in priority

        was . . . unheard of” and “clearly illegal.” Eloise Pasachoff, Executive Branch Control of Federal

        Grants: Policy, Pork, and Punishment, 83 Ohio St. L.J. 1113, 1184 (2022). The current § 200.340

        language allowing unilateral termination of a federal grant award “if [it] no longer effectuates the

        program goals or agency priorities” only appeared in 2020 towards the end of President Trump’s

        first term and did not see much use during the Biden administration. Id. But the language makes

        such a funding termination consistent with federal regulations. While Ms. Pasachoff’s article

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        acknowledges the “troublesome” implications of this change, including “fuel[ing] autocracy,” she

        also acknowledges that the plain language of the regulation allows an agency, consistently with

        the law, to terminate grant funding “because the President or other senior political officials say

        so.” Id.

               Because Plaintiffs’ “arbitrary and capricious” argument is likely to fail, preliminary

        injunction is further unwarranted.

               F.      Two of the final three preliminary injunction factors – balance of equities and
                       public interest – weigh in favor of the Government.

               In addition to proving likelihood of success on the merits, Plaintiffs must also show

        irreparable harm and that the balance of equities and public interest weigh in their favor. For the

        purposes of this motion only, Defendants do not contest that Plaintiffs can establish irreparable

        harm. However, the final two factors weigh in the government’s favor and compel denial of

        Plaintiffs’ motion.

               The balance of the equities and the public interest “merge when the Government is the

        opposing party.” Miranda v. Garland, 34 F.4th 338, 365 (4th Cir. 2022) (quoting Nken, 556 U.S.

        at 435). To balance the equities, the Court considers “the relative harms to applicant and

        respondent, as well as the interests of the public at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med.

        & Surgical Ins. Plan, 501 U.S. 1301, 1305 (1991) (Scalia, J., in chambers) (quoting Rostker v.

        Goldberg, 448 U.S. 1306, 1308 (1980) (Brennan, J., in chambers)). Irreparable harm to Plaintiffs

        is not decisive. See Ass’n of Jewish Camp Operators v. Cuomo, 470 F. Supp. 3d 197, 228–29

        (N.D.N.Y. 2020) (finding irreparable harm to Plaintiffs from closure of overnight camps, but still

        finding important governmental interest weighed against preliminary injunction).

               While Plaintiffs’ Complaint and motion lay out the public interest in favor of an injunction,

        there are several compelling interests that weigh against an injunction. First, the government and
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        the public both have a compelling interest in ending discrimination. In 2023, the Supreme Court

        recognized that educational policies or programs favoring one race – even a historically

        disadvantaged race – were not equitable but instead were discriminatory. SFFA, 600 U.S. at 206.

        DOE must be allowed to act upon this binding interpretation of federal civil rights laws by ending

        its support for programs that show preferences based on protected class.

                   Second, although many Americans support diversity, equity, and inclusion programs, many

        others view DEI policies as a scourge, “creating new prejudices and allowing old ones to fester,”

        causing some to “resent members of what they perceive to be favored races, believing that the

        successes of those individuals are unearned.” SFFA, 600 U.S. at 275–76 (Thomas, J., concurring).

        The public interest in ending DEI must be weighed against the preference of those who wish to

        keep it.

                   Finally, the Court is charged with protecting all Americans, which requires the Court to

        weigh the interest of more than seventy-seven million people who voted for President Trump in

        the 2024 Presidential election. These Americans voted for a President who openly and fervently

        campaigned on the promise to end diversity, equity, and inclusion in all its forms. See, e.g., Alexis

        Agathocleous et al., Trump on DEI and Anti-Discrimination Law, ACLU.org, at 2 (Jul. 2, 2024),

        https://www.aclu.org/publications/trump-on-dei-and-anti-discrimination-law (“The 2024 Trump

        campaign . . . has promised . . . to eradicate both public and private diversity, equity, and inclusion

        (DEI) policies); id. (“Trump has promised to cut federal funding for schools with curricula that

        touch on these ‘disfavored’ subjects. . . .”); Jessica Guynn, RIP DEI? The war on ‘woke’ America

        has         a     new      commander-in-chief,       USAtoday.com          (Nov.       22,      2024),

        https://www.usatoday.com/story/money/2024/11/22/rip-dei-donald-trump-

        president/76116276007/ (“On the campaign trail, Donald Trump promoted the idea that white

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        Americans were targets of racism and made reversing Joe Biden’s ‘woke takeover’ of Washington

        a priority of his second term in office. . . . On the chopping block: diversity, equity, and inclusion

        programs.”). The President’s DEI agenda was no secret.

               While it may be an understatement to say that not everyone agrees with President Trump’s

        views on DEI, his voters have a significant public interest in ending DEI as quickly as possible.

        See, e.g., Eliza Collins & Elizabeth Findell, The Minority Voters Who Love Trump’s Dismantling

        of DEI, MSN.com (Feb. 9, 2025), https://www.msn.com/en-us/news/politics/the-minority-voters-

        who-love-trump-s-dismantling-of-dei/ar-AA1yGJ0B (originally published in the Wall Street

        Journal) (quoting Latino man as saying, “I’m very happy that DEI is hopefully going to disappear

        starting from the government and hopefully it’ll catch on”) [hereafter, “Minority Voters”]; Ingrid

        Jacques, Trump is waging war against DEI in schools. New incidents show why he’s right.,

        MSN.com (Mar. 5, 2025), https://www.msn.com/en-us/news/opinion/trump-is-waging-war-

        against-dei-in-schools-new-incidents-show-why-he-s-right-opinion/ar-AA1AcXrc               (originally

        published in USA Today) (“The innocuous sounding goals of this [DEI] ideology . . . have in

        practice had the opposite effect – promoting division and suspicion.”). A balance of equities and

        the public interest also must factor in the plurality of the country who have a substantial interest in

        ensuring that millions in federal grant money is not forever lost to these terminated grant programs.

               G.      To the extent the Court is inclined to grant a preliminary injunction, it should
                       instead remand to DOE for further development of the record.

               Due to the expedited preliminary injunction briefing schedule, there was not sufficient time

        to assemble a thorough evidentiary record to show that DOE’s grant terminations were not based

        on the J20 and J21 EOs, were consistent with federal civil rights law, and were based on

        particularized issues with each program.


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               To the extent the Court considers granting a preliminary injunction, Defendants

        respectfully request the Court instead remand the matter back to DOE to provide a more detailed

        explanation for each grant termination on an expedited schedule. 7 Armed with a more grant-

        specific explanation, Plaintiffs could then determine whether they still wish to pursue legal action

        and the Court could then reconsider the matter with a more fulsome record. Courts allowed for

        similar remands in Prometheus and AIDS. See, e.g., Prometheus, 592 U.S. at 422; AIDS, 2025

        WL 752378, at *13.

               Moreover, to the extent Plaintiffs argue that imposition of route pay was arbitrary and

        capricious – an argument referenced in the complaint but not fully fleshed out in their motion –

        DOE can also resolve any lack of specificity and notice on remand.

               H.      If the Court grants a preliminary injunction, its scope should be limited only
                       to the cancelled grants identified in Plaintiffs’ motion.

               To the extent the Court decides a preliminary injunction is appropriate, the Court should

        limit relief only to the cancelled grants specifically identified in the complaint and motion for

        preliminary injunction.   “Crafting a preliminary injunction is an exercise of discretion and

        judgment, often dependent as much on the equities of a given case as the substance of the legal

        issues it presents.” Trump v. Int’l Refugee Assistance Project, 582 U.S. 571, 579–80 (2017)

        (noting courts may “mold its decree to meet the exigencies of the particular case” (internal

        quotations omitted)). Due to the potential variation in grant entitlement, amount of harm, extent

        of funding, and degree of mismatch between a grant recipient and department priorities, issuing a




        7
               It does not appear that Judge Joun considered the possibility of remand in California v.
        Dept. of Educ., despite concerns that the termination letters failed to provide “a reasoned
        explanation” for termination. Order, 1:25-cv-10548-MJJ, ECF No. 41 at 5 (D. Mass. Mar. 6,
        2025). It is unclear whether either party raised the possibility of an agency remand.
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        nationwide order that applies to undisclosed terminated grants by both parties and nonparties

        would amount to overbroad relief.

        V.     CONCLUSION

               For the foregoing reasons, the Court should deny the motion for improper venue and lack

        of standing, or allow the parties to brief a venue transfer. If the Court reaches the merits, it should

        deny the motion. Alternatively, the Court should remand to DOE to provide a more specific

        explanation for the grant terminations. Finally, if the Court grants the PI, it should limit the scope

        of the PI to only the grants specifically identified in the Complaint and motion.


                                               Respectfully submitted,

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             Case 1:25-cv-00702-JRR            Document 24 Filed 03/11/25 Page 32 of 32



                                         CERTIFICATE OF SERVICE

               I hereby certify that I filed a copy of the foregoing response, along with accompanying

        exhibits, via the Court’s CM/ECF system, which automatically transmitted a copy to all

        registered parties. I further certify that my office will provide a courtesy copy of this filing and

        supporting materials to chambers pursuant to the Court’s Order at ECF 18.



                                                              /s/ Molissa H. Farber
                                                       Molissa H. Farber




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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

        AACTE, et. al.,                             *
                                                    *
               PLAINTIFFS,                          *
                                                    *
        v.                                          *            No. 25-cv-702 (JRR)
                                                    *
        McMAHON, et al.,                            *
                                                    *
               DEFENDANTS.                          *
                                                 ******
                                                 ORDER

               Upon consideration of Plaintiff’s motion for Preliminary Injunction or Temporary

        Restraining Order and the opposition thereto, it is this _______ day of March, 2025, hereby

        ORDERED that the motion is DENIED.



                                                  Julie R. Rubin
                                                  United States District Judge




                                                                                          JA 292
USCA4 Appeal: 25-1281    Doc: 37-1     Filed: 06/16/2025 Pg: 295 of 638
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                  Case 1:25-cv-00702-JRR Document 24-3 Filed 03/11/25 Page 1 of 9
                                      Query       Reports         Utilities    Help    Log Out


                                           United States District Court
                                        District of Massachusetts (Boston)
                                 CIVIL DOCKET FOR CASE #: 1:25-cv-10548-MJJ


  State of California et al v. U.S Department of Education et al                      Date Filed: 03/06/2025
  Assigned to: Judge Myong J. Joun                                                    Jury Demand: None
  Cause: 05:551 Administrative Procedure Act                                          Nature of Suit: 899 Other Statutes:
                                                                                      Administrative Procedures Act/Review or
                                                                                      Appeal of Agency Decision
                                                                                      Jurisdiction: Federal Question
  Plaintiff
  State of California                                                  represented by Chris Pappavaselio
                                                                                      Massachusetts Attorney General's Office
                                                                                      One Ashburton Place
                                                                                      Boston, MA 02108
                                                                                      213-219-0765
                                                                                      Email: chris.pappavaselio2@mass.gov
                                                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Commonwealth of Massachusetts                                        represented by Adelaide H. Pagano
                                                                                      Massachusetts Attorney General's Office
                                                                                      One Ashburton Place
                                                                                      Boston, MA 02108
                                                                                      617-963-2122
                                                                                      Email: adelaide.pagano@mass.gov
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Chris Pappavaselio
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Matthew G. Lindberg
                                                                                      Office of the Attorney General
                                                                                      10 Mechanic Street
                                                                                      #301
                                                                                      Boston, MA 01608
                                                                                      617-963-2169
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Megan E. Barriger
                                                                                      Massachusetts Office of the Attorney
                                                                                      General
                                                                                      One Ashburton Place
                                                                                      Boston, MA 02108
                                                                                      617-963-2038
                                                                                      Email: megan.barriger@mass.gov
                                                                                                                JA 294
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                            1/9
USCA4      Appeal: 25-1281
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                  Case 1:25-cv-00702-JRR Document 24-3 Filed 03/11/25 Page 2 of 9
                                                                       ATTORNEY TO BE NOTICED

                                                                                      Yael Shavit
                                                                                      Office of the Attorney General
                                                                                      One Ashburton Place
                                                                                      Boston, MA 02108
                                                                                      617-963-2197
                                                                                      Email: yael.shavit@mass.gov
                                                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  State of New Jersey                                                  represented by Amanda I. Morejon
                                                                                      New Jersey Attorney General's Office
                                                                                      124 Halsey St., 5th Fl.
                                                                                      Newark, NJ 07101
                                                                                      609-696-5279
                                                                                      Email: amanda.morejon@law.njoag.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elizabeth R. Walsh
                                                                                      New Jersey Office of the Attorney General
                                                                                      124 Halsey Street
                                                                                      PO Box 45029
                                                                                      Newark, NJ 07101
                                                                                      609-696-5289
                                                                                      Email: elizabeth.walsh@law.njoag.gov
                                                                                      LEAD ATTORNEY
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jessica L Palmer
                                                                                      NJ Office of the Attorney General
                                                                                      25 Market Street
                                                                                      Trenton, NJ 08861
                                                                                      609-696-4607
                                                                                      Email: jessica.palmer@law.njoag.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
  Plaintiff
  State of Colorado
  Plaintiff
  State of Illinois                                                    represented by Darren Bernens Kinkead
                                                                                      Illinois Attorney General's Office
                                                                                      115 South LaSalle Street
                                                                                      Chicago, IL 60603
                                                                                      773-590-6967
                                                                                      Email: darren.kinkead@ilag.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Chris Pappavaselio
                                                                                                                  JA 295
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                              2/9
USCA4      Appeal: 25-1281
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                  Case 1:25-cv-00702-JRR Document 24-3 Filed 03/11/25 Page 3 of 9
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED
  Plaintiff
  State of Maryland

  Plaintiff
  State of New York                                                    represented by Sandra S. Park
                                                                                      NYS Office of The Attorney General
                                                                                      28 Liberty Street
                                                                                      Ste 20th Floor
                                                                                      New York, NY 10005
                                                                                      212-416-8250
                                                                                      Email: sandra.park@ag.ny.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                     Alex Finkelstein
                                                                                     NYS Office of The Attorney General
                                                                                     The Capitol
                                                                                     Albany, NY 12224
                                                                                     212-416-6129
                                                                                     Email: alex.finkelstein@ag.ny.gov
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Chris Pappavaselio
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Kathryn Meyer
                                                                                     NYS Office of The Attorney General
                                                                                     28 Liberty Street
                                                                                     New York, NY 10005
                                                                                     212-416-8844
                                                                                     Fax: 212-416-6030
                                                                                     Email: kathryn.meyer@ag.ny.gov
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Monica Hanna
                                                                                     NYS Office of The Attorney General
                                                                                     28 Liberty Street
                                                                                     New York, NY 10005
                                                                                     212-416-8227
                                                                                     Fax: 212-416-6009
                                                                                     Email: monica.hanna@ag.ny.gov
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Rabia Muqaddam
                                                                                     NYS Office of The Attorney General
                                                                                     28 Liberty St.
                                                                                     New York, NY 10005
                                                                                     917-715-4172
                                                                                     Email: rabia.muqaddam@ag.ny.gov
                                                                                     ATTORNEY TO BE NOTICED
                                                                                                               JA 296
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                       3/9
USCA4      Appeal: 25-1281
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   Plaintiff
  State of Wisconsin                                                   represented by Aaron Bibb
                                                                                      Wisconsin Department of Justice
                                                                                      Special Litigation & Appeals
                                                                                      17 West Main St.
                                                                                      Madison, WI 53703
                                                                                      608-266-0810
                                                                                      Email: bibbaj@doj.state.wi.us
                                                                                      LEAD ATTORNEY
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                     Chris Pappavaselio
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED


  V.
  Defendant
  U.S Department of Education                                          represented by Michael Fitzgerald
                                                                                      United States Attorney's Office MA
                                                                                      1 Courthouse Way
                                                                                      Suite 9200
                                                                                      Boston, MA 02210
                                                                                      617-748-3266
                                                                                      Email: Michael.fitzgerald2@usdoj.gov
                                                                                      ATTORNEY TO BE NOTICED

  Defendant
  Denise Carter                                                        represented by Michael Fitzgerald
  in her official capacity as former Acting                                           (See above for address)
  Secretary of Education and current acting                                           ATTORNEY TO BE NOTICED
  Chief Operating Officer, Federal Student
  Aid
  Defendant
  Linda McMahon                                                        represented by Michael Fitzgerald
  in her official capacity as Secretary of                                            (See above for address)
  Education                                                                           ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/06/2025            1 COMPLAINT against All Defendants Filing fee: $ 405, receipt number AMADC-
                           10876076 (Fee Status: Filing Fee paid), filed by State of California, Commonwealth of
                           Massachusetts, State of New Jersey, State of Colorado, State of Illinois, State of Maryland,
                           State of New York, State of Wisconsin. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Civil Cover Sheet, # 4 Category Form)(Pagano, Adelaide) Modified on 3/6/2025 (NMC).
                           (Entered: 03/06/2025)
   03/06/2025            2 MOTION for Temporary Restraining Order by State of California, Commonwealth of
                           Massachusetts, State of New Jersey, State of Colorado, State of Illinois, State of Maryland,

                                                                                                               JA 297
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                         4/9
USCA4      Appeal: 25-1281
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                               Doc: 37-1 CM/ECFFiled:    06/16/2025           Pg: 300 of 638
                                                   - USDC Massachusetts - Version 1.8.2 as of 12/23/2024
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                        State of New York, State of Wisconsin. (Attachments: # 1 Text of Proposed Order)(Pagano,
                        Adelaide) Modified on 3/6/2025 (NMC). (Entered: 03/06/2025)
   03/06/2025            3 MOTION for Leave to File Excess Pages by State of California, Commonwealth of
                           Massachusetts, State of New Jersey, State of Colorado, State of Illinois, State of Maryland,
                           State of New York, State of Wisconsin.(Pagano, Adelaide) Modified on 3/6/2025 (NMC).
                           (Entered: 03/06/2025)
   03/06/2025            4 ELECTRONIC NOTICE of Case Assignment. Judge Myong J. Joun assigned to case. If
                           the trial Judge issues an Order of Reference of any matter in this case to a Magistrate
                           Judge, the matter will be transmitted to Magistrate Judge Donald L. Cabell. (CEH)
                           (Entered: 03/06/2025)
   03/06/2025            5 Summons Issued as to All Defendants. Counsel receiving this notice electronically
                           should download this summons, complete one for each defendant and serve it in
                           accordance with Fed.R.Civ.P. 4 and LR 4.1. Summons will be mailed to plaintiff(s)
                           not receiving notice electronically for completion of service. (NMC) (Entered:
                           03/06/2025)
   03/06/2025            6 Judge Myong J. Joun: ELECTRONIC ORDER entered granting 3 Plaintiffs' Motion for
                           Leave to File Excess Pages. (JL) (Entered: 03/06/2025)
   03/06/2025            7 MEMORANDUM in Support re 2 MOTION for Temporary Restraining Order filed by
                           State of California, Commonwealth of Massachusetts, State of New Jersey, State of
                           Colorado, State of Illinois, State of Maryland, State of New York, State of Wisconsin.
                           (Pagano, Adelaide) (Entered: 03/06/2025)
   03/06/2025            8 DECLARATION re 7 Memorandum in Support of Motion, 2 MOTION for Temporary
                           Restraining Order Declar by State of California, Commonwealth of Massachusetts, State
                           of New Jersey, State of Colorado, State of Illinois, State of Maryland, State of New York,
                           State of Wisconsin. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4,
                           # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                           11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                           Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit
                           21)(Pagano, Adelaide) (Entered: 03/06/2025)
   03/06/2025            9 NOTICE of Appearance by Chris Pappavaselio on behalf of Commonwealth of
                           Massachusetts (Pappavaselio, Chris) (Entered: 03/06/2025)
   03/06/2025           10 NOTICE of Appearance by Amanda I. Morejon on behalf of State of New Jersey
                           (Morejon, Amanda) (Entered: 03/06/2025)
   03/06/2025           11 MOTION for Leave to Appear Pro Hac Vice for admission of Aaron Bibb Filing fee: $
                           125, receipt number AMADC-10877340 by State of Wisconsin. (Attachments: # 1
                           Certificate of Aaron Bibb)(Pappavaselio, Chris) (Entered: 03/06/2025)
   03/06/2025           12 NOTICE of Appearance by Megan E. Barriger on behalf of Commonwealth of
                           Massachusetts (Barriger, Megan) (Entered: 03/06/2025)
   03/06/2025           13 MOTION for Leave to Appear Pro Hac Vice for admission of Alex Finkelstein, Kathryn
                           Claire Meyer, Monica Hanna, Rabia Muqaddam, Sandra Park, Wil Handley Filing fee: $
                           750, receipt number AMADC-10877343 by State of New York. (Attachments: # 1
                           Certificate of Alex Finkelstein, # 2 Certificate of Kathryn Claire Meyer, # 3 Certificate of
                           Monica Hanna, # 4 Certificate of Rabia Muqaddam, # 5 Certificate of Sandra Park, # 6
                           Certificate of Wil Handley)(Pappavaselio, Chris) (Entered: 03/06/2025)
   03/06/2025           14 MOTION for Leave to Appear Pro Hac Vice for admission of Alexis Piazza, Garrett
                           Lindsey, Heidi Joya, Laura Faer, Maureen Onyeagbako Filing fee: $ 625, receipt number
                           AMADC-10877345 by State of California. (Attachments: # 1 Certificate of Alexis Piazza,
                                                                                                        JA 298
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                       5/9
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                        # 2 Certificate of Garrett Lindsey, # 3 Certificate of Heidi Joya, # 4 Certificate of Laura
                        Faer, # 5 Certificate of Maureen Onyeagbako)(Pappavaselio, Chris) (Entered: 03/06/2025)
   03/06/2025           15 MOTION for Leave to Appear Pro Hac Vice for admission of Darren Kinkead Filing fee: $
                           125, receipt number AMADC-10877347 by State of Illinois. (Attachments: # 1 Certificate
                           of Darren Kinkead)(Pappavaselio, Chris) (Entered: 03/06/2025)
   03/07/2025           16 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 11 Motion for Leave
                           to Appear Pro Hac Vice Added Aaron J. Bibb.

                              Attorneys admitted Pro Hac Vice must have an individual upgraded PACER account,
                              not a shared firm account, to electronically file in the District of Massachusetts.
                              Counsel may need to link their CM/ECF account to their upgraded individual pacer
                              account. Instructions on how to link CM/ECF accounts to upgraded pacer account can be
                              found at https://www.mad.uscourts.gov/caseinfo/nextgen-current-pacer-accounts.htm#link-
                              account.

                              (SP) (Entered: 03/07/2025)
   03/07/2025           17 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 13 Motion for Leave
                           to Appear Pro Hac Vice Added Alex Finkelstein, Kathryn Claire Meyer, Monica Hanna,
                           Rabia Muqaddam, Sandra Park, Wil Handley.

                              Attorneys admitted Pro Hac Vice must have an individual PACER account, not a
                              shared firm account, to electronically file in the District of Massachusetts. To register
                              for a PACER account, go the Pacer website at https://pacer.uscourts.gov/register-
                              account. You must put the docket number under ADDITIONAL FILER
                              INFORMATION on your form when registering or it will be rejected.

                              Pro Hac Vice Admission Request Instructions
                              https://www.mad.uscourts.gov/caseinfo/nextgen-pro-hac-vice.htm.

                              A Notice of Appearance must be entered on the docket by the newly admitted attorney.

                              (SP) (Entered: 03/07/2025)
   03/07/2025           18 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 14 Motion for Leave
                           to Appear Pro Hac Vice Added Laura Faer, Heidi Joya, Maureen Onyeagbako, Alexis
                           Piazza, and Garrett Lindsey.

                              Attorneys admitted Pro Hac Vice must have an individual PACER account, not a
                              shared firm account, to electronically file in the District of Massachusetts. To register
                              for a PACER account, go the Pacer website at https://pacer.uscourts.gov/register-
                              account. You must put the docket number under ADDITIONAL FILER
                              INFORMATION on your form when registering or it will be rejected.

                              Pro Hac Vice Admission Request Instructions
                              https://www.mad.uscourts.gov/caseinfo/nextgen-pro-hac-vice.htm.

                              A Notice of Appearance must be entered on the docket by the newly admitted attorney.

                              (SP) (Entered: 03/07/2025)
   03/07/2025           19 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 15 Motion for Leave
                           to Appear Pro Hac Vice Added Darren Kinkead.


                                                                                                       JA 299
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                      6/9
USCA4      Appeal: 25-1281
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                                                  - USDC Massachusetts - Version 1.8.2 as of 12/23/2024
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                        Attorneys admitted Pro Hac Vice must have an individual PACER account, not a
                        shared firm account, to electronically file in the District of Massachusetts. To register
                        for a PACER account, go the Pacer website at https://pacer.uscourts.gov/register-
                        account. You must put the docket number under ADDITIONAL FILER
                        INFORMATION on your form when registering or it will be rejected.

                              Pro Hac Vice Admission Request Instructions
                              https://www.mad.uscourts.gov/caseinfo/nextgen-pro-hac-vice.htm.

                              A Notice of Appearance must be entered on the docket by the newly admitted attorney.

                              (SP) (Entered: 03/07/2025)
   03/07/2025           20 Judge Myong J. Joun: ORDER Setting Hearing on Motion

                              Motion Hearing Doc. 2 set for 3/10/2025 02:30 PM in Courtroom 20 (In person only)
                              before Judge Myong J. Joun.

                              It is further ORDERED that Plaintiffs shall serve a copy of this Order on Defendants
                              immediately upon receipt to ensure that Defendants' counsel will appear at the
                              hearing. (SP) (Entered: 03/07/2025)
   03/07/2025           21 NOTICE of Appearance by Yael Shavit on behalf of Commonwealth of Massachusetts
                           (Shavit, Yael) (Entered: 03/07/2025)
   03/07/2025           22 MOTION for Leave to Appear Pro Hac Vice for admission of Jessica L. Palmer by State of
                           New Jersey. (Attachments: # 1 Affidavit Certificate of Jessica L. Palmer)(Morejon,
                           Amanda) (Entered: 03/07/2025)
   03/07/2025           23 MOTION for Leave to Appear Pro Hac Vice for admission of Elizabeth R. Walsh by State
                           of New Jersey. (Attachments: # 1 Affidavit Certificate of Elizabeth R. Walsh)(Morejon,
                           Amanda) (Entered: 03/07/2025)
   03/07/2025           24 NOTICE of Appearance by Darren Bernens Kinkead on behalf of State of Illinois
                           (Kinkead, Darren) (Entered: 03/07/2025)
   03/07/2025           25 NOTICE of Appearance by Alex Finkelstein on behalf of State of New York (Finkelstein,
                           Alex) (Entered: 03/07/2025)
   03/07/2025           26 NOTICE of Appearance by Kathryn Meyer on behalf of State of New York (Meyer,
                           Kathryn) (Entered: 03/07/2025)
   03/07/2025           27 NOTICE of Appearance by Rabia Muqaddam on behalf of State of New York (Muqaddam,
                           Rabia) (Entered: 03/07/2025)
   03/07/2025           28 NOTICE of Appearance by Sandra S. Park on behalf of State of New York (Park, Sandra)
                           (Entered: 03/07/2025)
   03/07/2025           29 NOTICE of Appearance by Monica Hanna on behalf of State of New York (Hanna,
                           Monica) (Entered: 03/07/2025)
   03/07/2025           30 NOTICE of Appearance by Michael Fitzgerald on behalf of Denise Carter, Linda
                           McMahon, U.S Department of Education (Fitzgerald, Michael) (Entered: 03/07/2025)
   03/07/2025           31 NOTICE of Appearance by Adelaide H. Pagano on behalf of Commonwealth of
                           Massachusetts (Pagano, Adelaide) (Entered: 03/07/2025)
   03/10/2025           32 NOTICE OF ATTORNEY PAYMENT OF FEES as to 22 MOTION for Leave to Appear
                           Pro Hac Vice for admission of Jessica L. Palmer, 23 MOTION for Leave to Appear Pro
                           Hac Vice for admission of Elizabeth R. Walsh by Plaintiff State of New Jersey. Filing fee $
                                                                                                      JA 300
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                     7/9
USCA4      Appeal: 25-1281
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                                                 - USDC Massachusetts - Version 1.8.2 as of 12/23/2024
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                        250, receipt number AMADC-10880513. Payment Type : PRO HAC VICE. (Morejon,
                        Amanda) (Entered: 03/10/2025)
   03/10/2025           33 NOTICE of Appearance by Matthew G. Lindberg on behalf of Commonwealth of
                           Massachusetts (Lindberg, Matthew) (Entered: 03/10/2025)
   03/10/2025           34 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 22 Motion for Leave
                           to Appear Pro Hac Vice Added Jessica L. Palmer.

                              Attorneys admitted Pro Hac Vice must have an individual PACER account, not a
                              shared firm account, to electronically file in the District of Massachusetts. To register
                              for a PACER account, go the Pacer website at https://pacer.uscourts.gov/register-
                              account. You must put the docket number under ADDITIONAL FILER
                              INFORMATION on your form when registering or it will be rejected.

                              Pro Hac Vice Admission Request Instructions
                              https://www.mad.uscourts.gov/caseinfo/nextgen-pro-hac-vice.htm.

                              A Notice of Appearance must be entered on the docket by the newly admitted attorney.

                              (SP) (Entered: 03/10/2025)
   03/10/2025           35 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 23 Motion for Leave
                           to Appear Pro Hac Vice Added Elizabeth R. Walsh.

                              Attorneys admitted Pro Hac Vice must have an individual upgraded PACER account,
                              not a shared firm account, to electronically file in the District of Massachusetts.
                              Counsel may need to link their CM/ECF account to their upgraded individual pacer
                              account. Instructions on how to link CM/ECF accounts to upgraded pacer account can be
                              found at https://www.mad.uscourts.gov/caseinfo/nextgen-current-pacer-accounts.htm#link-
                              account.

                              (SP) (Entered: 03/10/2025)
   03/10/2025           36 NOTICE of Appearance by Elizabeth R. Walsh on behalf of State of New Jersey (Walsh,
                           Elizabeth) (Entered: 03/10/2025)
   03/10/2025           37 MOTION for Leave to Appear Pro Hac Vice for admission of Lauren E. Van Driesen
                           Filing fee: $ 125, receipt number AMADC-10882878 by State of New Jersey.
                           (Attachments: # 1 Affidavit Certificate of Lauren E. Van Driesen)(Morejon, Amanda)
                           (Entered: 03/10/2025)
   03/10/2025           38 Electronic Clerk's Notes for proceedings held before Judge Myong J. Joun: Hearing held
                           on 3/10/2025 re 2 MOTION for Temporary Restraining Order filed by State of Wisconsin,
                           State of California, State of New Jersey, State of Maryland, State of Illinois,
                           Commonwealth of Massachusetts, State of New York, State of Colorado. Caee no.
                           25cv702, out of Maryland noted; Court heard arguments and took said motion under
                           advisement. (Court Reporter: Jamie Halpin at jkhhalpin@gmail.com)(Attorneys present:
                           Barriger, Pagano, Faer, Palmer, and Shavit for the pltffs; Fitzgerald for the defts) (JL)
                           (Entered: 03/10/2025)
   03/10/2025           39 NOTICE of Appearance by Jessica L Palmer on behalf of State of New Jersey (Palmer,
                           Jessica) (Entered: 03/10/2025)
   03/10/2025           40 Judge Myong J. Joun: ELECTRONIC ORDER entered GRANTING 37 Motion for Leave
                           to Appear Pro Hac Vice Added Lauren E. Van Drisen.


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https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?1782478351652-L_1_0-1                                                      8/9
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                        Attorneys admitted Pro Hac Vice must have an individual PACER account, not a
                        shared firm account, to electronically file in the District of Massachusetts. To register
                        for a PACER account, go the Pacer website at https://pacer.uscourts.gov/register-
                        account. You must put the docket number under ADDITIONAL FILER
                        INFORMATION on your form when registering or it will be rejected.

                              Pro Hac Vice Admission Request Instructions
                              https://www.mad.uscourts.gov/caseinfo/nextgen-pro-hac-vice.htm.

                              A Notice of Appearance must be entered on the docket by the newly admitted attorney.

                              (SP) (Entered: 03/10/2025)
   03/10/2025           41 Judge Myong J. Joun: ORDER entered. MEMORANDUM AND ORDER GRANTING
                           Doc. 2 on Plaintiff States' Motion for Temporary Restraining Order(SP) (Entered:
                           03/10/2025)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                03/11/2025 11:03:21
                                    PACER Login: mhfarber              Client Code:
                                    Description:       Docket Report Search Criteria: 1:25-cv-10548-MJJ
                                    Billable Pages: 7                  Cost:          0.70




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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

        _______________________________________
                                                        )
        STATE OF CALIFORNIA;                            )
        COMMONWEALTH OF MASSACHUSETTS; )
        STATE OF NEW JERSEY; STATE OF                   )
        COLORADO; STATE OF ILLINOIS; STATE )
        OF MARYLAND; STATE OF NEW YORK; )
        and STATE OF WISCONSIN,                         )
                                                        )
                               Plaintiffs,              )
                                                        )
                               v.                       )        Civil Action No. 25-10548-MJJ
                                                        )
        U.S. DEPARTMENT OF EDUCATION;                   )
        DENISE CARTER, in her official capacity as )
        former Acting Secretary of Education and        )
        current acting Chief Operating Officer, Federal )
        Student Aid; LINDA MCMAHON, in her              )
        official capacity as Secretary of Education,    )
                                                        )
                               Defendants.              )
        _______________________________________)


                        MEMORANDUM AND ORDER ON PLAINTIFF STATES’
                         MOTION FOR TEMPORARY RESTRAINING ORDER

                                                 March 10, 2025

        JOUN, D.J.

               On March 6, 2025, the states of California, Massachusetts, New Jersey, Colorado,

        Illinois, Maryland, New York, and Wisconsin (collectively, “Plaintiff States”) filed suit against

        defendants Secretary of Education Linda McMahon and former Acting Secretary of Education

        Denise Carter, in their official capacities, and the United States Department of Education

        (“Department”; collectively, “Defendants”). Plaintiff States allege that, starting on February 7,

        2025, the Department arbitrarily terminated all grants previously awarded under the Teacher




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        Quality Partnership (“TQP”) Program and the Supporting Effective Educator Development

        (“SEED”) Grant Program in violation of the Administrative Procedures Act (“APA”). 1

                 Plaintiff States filed a Motion for Temporary Restraining Order, [Doc. No. 2], and a

        hearing was held this afternoon at 2:30 P.M. Upon consideration of Plaintiff States’ briefs and

        supporting evidence, the parties’ oral argument, and for the reasons explained below, I GRANT

        Plaintiff States’ Motion and enter a temporary restraining order (“TRO”) against Defendants

        pursuant to the terms outlined at the end of this Order.

            I.      DISTRICT COURT JURISDICTION

                 Defendants argue the waiver of sovereign immunity in the APA, 5 U.S.C § 702, does not

        extend to actions of contract which are within the exclusive jurisdiction of the Court of Federal

        Claims under the Tucker Act, 28 U.S.C. § 1491. Plaintiff States disagree, arguing waiver of

        sovereign immunity allows for suit in this Court.

                 Very recently, another session in this District examined this precise issue in a

        substantially similar case to this one. Massachusetts v. Nat’l Institutes of Health, No. 25-cv-

        10338, 2025 WL 702163 (D. Mass. Mar. 5, 2025). In that case, in a thoughtful analysis, Judge

        Angel Kelley determined that the “essence” of the action was not contractual in nature since the

        source of the plaintiffs’ rights was in federal statute and regulations and because the relief was

        injunctive in nature. See id. at *8. I agree with, and adopt, Judge Kelley’s reasoning and

        conclusion. Here, similarly, Plaintiff States seek equitable relief in the form of reinstatement of

        the TQP and SEED grants. Plaintiff States also seek to enjoin Defendants from implementing,

        giving effect to, maintaining, or reinstating under a different name the termination of any




        1
         The parties do not dispute that the termination of SEED and TQP grants constituted final
        agency action.
                                                              2

                                                                                                     JA 304
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        previously awarded TQP and SEED grants. In other words, Plaintiff States seek to preserve the

        previous status quo to alleviate corresponding harm; they are not alleging claims for past

        pecuniary harms. Plaintiff States have also sufficiently shown that the dispute does not hinge on

        the terms of a contract between the parties, but rather “federal statute and regulations put in place

        by Congress and the [Department].” See id. at *6. This Court retains jurisdiction. 2

            II.       TEMPORARY RESTRAINING ORDER

                  The standard for issuing a TRO—an “extraordinary and drastic remedy”—is “the same as

        for a preliminary injunction.” Orkin v. Albert, 557 F. Supp. 3d 252, 256 (D. Mass. 2021)

        (cleaned up). Plaintiff States must show that weighing the following four interests favors

        granting a TRO:

                  (i) the likelihood that the movant will succeed on the merits; (ii) the possibility that,
                  without an injunction, the movant will suffer irreparable harm; (iii) the balance of
                  relevant hardships as between the parties; and (iv) the effect of the court’s ruling
                  on the public interest.

        Coquico, Inc. v. Rodriguez-Miranda, 562 F.3d 62, 66 (1st Cir. 2009).

                      A. Likelihood of Success

                  I begin with the likelihood of success on the merits, which is considered the most

        important of the four elements and the “sine qua non” of the calculus. Ryan v. U.S. Immigr. &

        Customs Enf’t, 974 F.3d 9, 18 (1st Cir. 2020). Plaintiff States allege that Defendants committed

        substantive violations of the APA by taking an agency action that is (1) arbitrary and capricious

        and an abuse of discretion, and (2) not in accordance with law. Based on the evidence before me

        now, I find that Plaintiff States are likely to succeed on the merits of their claims.




        2
         For purposes of the TRO, Plaintiff States have established their recipient institutions of higher
        education and local educational agencies are public instrumentalities of Plaintiff States, which
        have standing to bring suit on their behalf.
                                                                 3

                                                                                                         JA 305
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               The APA requires that a court “hold unlawful and set aside agency action, findings, and

        conclusions found to be arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

        An agency action is arbitrary and capricious if the agency has “relied on factors which Congress

        has not intended it to consider, entirely failed to consider an important aspect of the problem,

        offered an explanation for its decision that runs counter to the evidence before the agency, or is

        so implausible that it could not be ascribed to a difference in view or the product of agency

        expertise.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

        U.S. 29, 43 (1983). “[T]he agency must examine the relevant data and articulate a satisfactory

        explanation for its action including a rational connection between the facts found and the choice

        made.” Id. (cleaned up); see also Amerijet Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir.

        2014) (“[A] fundamental requirement of administrative law is that an agency set forth its reasons

        for decision; an agency’s failure to do so constitutes arbitrary and capricious agency action.”

        (cleaned up)). That “reasoned explanation requirement . . . is meant to ensure that agencies offer

        genuine justifications for important decisions, reasons that can be scrutinized by courts and the

        interested public.” Dep’t of Commerce v. New York, 588 U.S. 752, 785 (2019).

               The record reflects that there was no individualized analysis of any of the programs;

        rather, it appears that all TQP and SEED grants were simply terminated. See Doc. 8-13 at 60.

        And all the programs received the same standardized form letter notifying them of the grant

        terminations (“Termination Letter”), which states as follows:

               It is a priority of the Department of Education to eliminate discrimination in all
               forms of education throughout the United States. The Acting Secretary of
               Education has determined that, per the Department’s obligations to the
               constitutional and statutory law of the United States, this priority includes ensuring
               that the Department’s grants do not support programs or organizations that promote
               or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other
               initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
               national origin, or another protected characteristic. . . . In addition to complying

                                                             4

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               with the civil rights laws, it is vital that the Department assess whether all grant
               payments are free from fraud, abuse, and duplication, as well as to assess whether
               current grants are in the best interests of the United States.

               The grant specified above provides funding for programs that promote or take part
               in DEI initiatives or other initiatives that unlawfully discriminate on the basis of
               race, color, religion, sex, national origin, or another protected characteristic; that
               violate either the letter or purpose of Federal civil rights law; that conflict with the
               Department’s policy of prioritizing merit, fairness, and excellence in education; that
               are not free from fraud, abuse, or duplication; or that otherwise fail to serve the best
               interests of the United States. The grant is therefore inconsistent with, and no longer
               effectuates, Department priorities.

        [Doc. No. 1-1 at 2].

               I see no reasoned explanation articulated for the Department’s action here. First, the

        Termination Letter lists several theoretical bases for the grant terminations—stating the grants

        fund programs that, for example, “promote or take part in DEI initiatives” or “are not free from

        fraud, abuse, or duplication” or “otherwise fail to serve the best interests of the United States”—

        but fails to identify which of these bases applies here. This does not reach the level of a reasoned

        explanation; indeed it amounts to no explanation at all. Second, even accepting any one of these

        bases as justification for the agency action, such as discrimination related to DEI initiatives, the

        Termination Letter is arbitrary and capricious because its statements are only conclusory.

        “[C]onclusory statements will not do; an agency's statement must be one of reasoning.”

        Amerijet, 753 F.3d at 1350 (cleaned up); see also Nat'l Institutes of Health, 2025 WL 702163, at

        *18 (“[The agency’s] proffered ‘reasons’ fail to grapple with the relevant factors or pertinent

        aspects of the problem and fails to demonstrate a rational connection between the facts and

        choice that was made.”). There is no indication that the Department “examine[d] the relevant

        data,” Motor Vehicle Mfrs., 463 U.S. at 29; to the contrary, the record reflects a lack of the

        individualized reasoning and analysis required. To the extent that Defendants claim that it is

        sufficient explanation for the Department to baldly assert that the grants “no longer effectuate[]


                                                              5

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        Department policies,” such an assertion cannot stand. In the absence of any reasoning, rationale,

        or justification for the termination of the grants, the Department’s action is arbitrary and

        capricious.

               The Department’s failure to provide a reasoned explanation is “even more egregious in

        light of the drastic change” from the existing policies under which the grant awards had been

        authorized. Nat'l Institutes of Health, 2025 WL 702163, at *18. “Although a change in policy

        does not result in a heightened standard of review, if an agency’s ‘new policy rests upon factual

        findings that contradict those which underlay its prior policy; or when its prior policy has

        engendered serious reliance interests’ an agency’s failure to consider such factors ‘would be

        arbitrary or capricious.’” Id. (quoting F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515

        (2009)). In such cases, “a reasoned explanation is needed for disregarding facts and

        circumstances that underlay or were engendered by the prior policy.” Encino Motorcars, LLC v.

        Navarro, 579 U.S. 211, 222 (2016). As described, the Termination Letter failed to provide any

        reasoned explanation, let alone one that considered the facts and circumstances underlying the

        prior policy.

               For these reasons, Plaintiff States are likely to succeed in their claims that the

        Department’s action in terminating the grants is arbitrary and capricious. 3

                      B. Irreparable Harm

               Plaintiff States have adequately shown that they would be irreparably harmed if

        temporary relief were not granted. An “irreparable injury” for the purposes of preliminary relief

        is “an injury that cannot adequately be compensated for either by a later-issued permanent



        3
         This suffices for purpose of the present TRO and I need not, at this time, reach the argument in
        Count II that there exists a separate ground for a substantive violation of the APA, i.e., an action
        not in accordance with the law.
                                                              6

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        injunction, after a full adjudication on the merits, or by a later-issued damages remedy.” Rio

        Grande Cmty. Health Ctr., Inc. v. Rullan, 397 F.3d 56, 76 (1st Cir. 2005). “The necessary

        concomitant of irreparable harm is the inadequacy of traditional legal remedies. The two are flip

        sides of the same coin: if money damages will fully alleviate harm, then the harm cannot be said

        to be irreparable.” K-Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 914 (1st Cir. 1989). Here,

        there is ample evidence that the Department’s termination of all previously awarded TQP and

        SEED grants has already harmed, and will continue to harm, the programs and employees of

        those programs that rely on these grants. See [Doc. No. 8; Doc. Nos. 8-1 to 8-21].

               The termination of funding for a program at the California State University with the

        objective of training and developing “highly qualified community-centered teachers who could

        staff and support high-need or high-poverty urban K-12 schools and students, particularly with

        regard in the areas of special education,” has resulted in the loss of mentoring, training, and vital

        support for 26 students, and the loss of financial stipends for about 50 incoming students who

        need these stipends to participate in classroom teaching. [Doc. No. 8-3 at ¶¶ 7, 16, 22]. In New

        Jersey, The College of New Jersey was forced to cancel the remainder of its urban teacher

        residency program due to the loss of its TQP grant. [Doc. No. 8-9 at ¶ 21]. Here in

        Massachusetts, where Boston Public Schools had relied on their TQP grant to support their

        teacher pipeline programming designed to address the need and shortage of multilingual

        educators, [Doc. No. 8-2 at ¶ 8], the abrupt termination of this grant has resulted in the loss of

        three-full time employees who were being funded by the grant. [Id. at ¶ 28]. Thus, it is apparent

        that the harms which have already resulted, and which will continue to result, from the grant

        terminations are irreparable.




                                                              7

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               Moreover, I agree with Plaintiff States that a later-issued permanent injunction or

        damages remedy cannot compensate for such loss of federal funding. [See Doc. No. 7 at 24].

        Plaintiff States have sufficiently established that the loss of this funding “threatens the very

        existence” of the teacher pipeline programs implemented by Plaintiff States, and there is no

        traditional remedy that can compensate Plaintiff States for the disruptions and discord resulting

        from the abrupt terminations of these grants. Packard Elevator v. I.C.C., 782 F.2d 112, 115 (8th

        Cir. 1986); see also Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 242 (D.D.C. 2014)

        (unrecoverable funds can constitute irreparable harm). The record shows how the terminations

        have “upended months, if not years” of work required to implement programs that rely on these

        grants, and how terminations have impacted “budgets for staff, coursework, partner

        organizations, school districts, and student populations” and existing projects or projects already

        in progress. [Doc. No. 7 at 25]; see, e.g., [Doc. No. 8-1 at ¶¶ 20-22 (loss of grant hindered a

        program at University of Massachusetts Amherst that was one and a half years into a five-year

        project with significant deliverables already scheduled); [Doc. No. 8-12 at ¶ 18 (grant

        termination interrupted recruitment and retention activities)].

               For these reasons, Plaintiff States have established irreparable harm. See K–Mart, 875

        F.2d at 915 (“District courts have broad discretion to evaluate the irreparability of alleged harm

        and to make determinations regarding the propriety of injunctive relief”) (cleaned up).

                   C. Balance of Hardships/Effect on Public Interest

               Finally, upon consideration of the last two factors, the balance of the equities weighs

        heavily in favor of granting Plaintiff States’ TRO, and a TRO would serve the public interest. 4




        4
         The last two factors “merge when the Government is the party opposing the [TRO].” Nken v.
        Holder, 556 U.S. 418, 435 (2009).
                                                              8

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        The record shows that if I were to deny the TRO, dozens of programs upon which public

        schools, public universities, students, teachers, and faculty rely will be gutted. On the other hand,

        if I were to grant the TRO, as another court has put it, Defendants “merely would have to

        disburse funds that Congress has appropriated to the States and others.” New York v. Trump, 25-

        cv-39, 2025 WL 357368, at *4 (D.R.I. Jan. 31, 2025) (cleaned up). I find that, “absent such an

        order, there is a substantial risk that the States and its citizens will face a significant disruption in

        health, education, and other public services that are integral to their daily lives due to this pause

        in federal funding.” Id. Further, “[t]he fact that [Plaintiff States] have shown a likelihood of

        success on the merits strongly suggests that a TRO would serve the public interest.” Id.

        Accordingly, the last two factors weigh in favor of granting Plaintiff States’ TRO.

            III.         CONCLUSION

                   For the reasons stated above, Plaintiff States’ Motion for Temporary Restraining Order,

        [Doc. No. 2], is GRANTED. It is therefore ORDERED that, until further order is issued by this

        Court:

                    1.     Defendants shall immediately restore Plaintiff States to the pre-existing status quo

        prior to the termination under all previously awarded TQP or SEED grants for recipients in

        Plaintiff States;

                   2.      Defendants are temporarily enjoined from implementing, giving effect to,

        maintaining, or reinstating under a different name the termination of any previously awarded TQP

        or SEED grants for recipients in Plaintiff States, including but not limited to through the

        Termination Letter, Termination GAN, and any other agency actions implementing such

        terminations, such as suspension or withholding of any funds approved and obligated for the

        grants;



                                                                 9

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                3.      Defendants are temporarily enjoined from terminating any individual TQP and

        SEED grant for recipients in Plaintiff States, except to the extent the final agency action is

        consistent with the Congressional authorization and appropriations, relevant federal statute,

        including the requirements of the APA, the requirements of the relevant implementing

        regulations, the grant terms and conditions, and this Court’s Order;

                4.      Within 24 hours of entry of this Order, Defendants shall provide notice of the TRO to

        their employees and anyone acting in concert with them, and to all TQP and SEED grantees in

        Plaintiff States;

                5.      Defendants shall file a status report with the Court, within 24 hours of entry of this

        Order, confirming their compliance with the Court’s TRO;

                6.      This TRO shall become effective immediately upon entry by this Court. The TRO

        shall remain in effect for 14 days; and

                7.      By March 11, 2025 at 5 P.M., the parties shall jointly propose a briefing schedule

        regarding Plaintiff States’ request for preliminary injunction.



        SO ORDERED.

                                                       /s/ Myong J. Joun
                                                       United States District Judge




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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                       Plaintiffs,
              v.                                 Civil Action No. 1:25-cv-00702-JRR

        LINDA MCMAHON,
        AS SECRETARY OF EDUCATION, et al.,

                       Defendants.

             PLAINTIFFS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION FOR A
               TEMPORARY RESTRAINING ORDER/PRELIMINARY INJUNCTION




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        I.     INTRODUCTION

               Plaintiffs have demonstrated that they are likely to succeed on the merits of their claims

        and that an injunction is both in the public interest and in the interest of the equities at play here.

        The Government does not dispute that in the absence of an injunction, Plaintiffs will suffer

        irreparable harm. ECF No. 24 (“Def. Br.”) at 13. The Government also does not dispute that the

        termination of the TQP, SEED, and TSL grants constituted final agency action, or that the

        terminations, if undertaken today, would violate the NADOHE order. See generally Def. Br.

               As a result, the remaining live issues are: (1) whether Plaintiffs are properly before this

        Court; (2) whether continued enforcement of terminations that would be unlawful if taken today

        is permissible because it preceded a court order; and (3) whether “agency Priorities” as used in

        Section 200.340(a)(4) provides for essentially limitless discretion in terminating grants, as the

        Government argues. As shown below, Plaintiffs have established both standing and venue in this

        action; the Department’s continued enforcement of the terminations violates the Fifth Amendment

        to the Constitution via the NADOHE order; and the Government’s interpretation of “agency

        priorities” is completely unsupported by the text and a common-sense read of the law at issue. The

        Court should enter a preliminary injunction ordering the Department to vacate the grant

        terminations for Plaintiffs and their members on both Fifth Amendment and APA grounds.

        II.    ARGUMENT

               A.      Venue is Proper in The State of Maryland.

               Plaintiffs have invoked venue pursuant to § 1391(b)(2) and (e)(1), ECF No. 1 at ¶ 11, and

        venue is proper in this District under both provisions. Section 1391(e) establishes venue in this

        district because Plaintiff MACTE resides in this District, a proposition the Government neither

        challenges nor addresses in its brief. This is really the end of the inquiry, but since the Government

        challenges venue under (b)(2) as well, Plaintiffs will address it as well.


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               Where, as here, a defendant is an officer or employee of the United States acting in her

        official capacity (Defendant McMahon), or an agency of the United States (Defendant Department

        of Education), the action may be brought in a judicial district where “the plaintiff resides if no real

        property is involved in the action.” 28 U.S.C. § 1391(e)(1)(C). Federal courts applying this venue

        provision have concluded that only a single plaintiff need reside in the district to establish venue.

        See A.J. Taft Coal Co. v. Barnhart, 291 F. Supp. 2d 1290, 1301 (N.D. Ala. 2003) (collecting cases

        and remarking that “[f]or over thirty years federal courts have conclusively and consistently held

        that the statutory language in 28 U.S.C. § 1391(e)(3)[1] regarding the residency of ‘the plaintiff’

        should be interpreted to mean any plaintiff rather than all plaintiffs.”) (emphasis in original); see

        also id. at 1302 (“This court concludes that under 28 U.S.C. § 1391(e)(3), a suit can be brought in

        any district in which a single plaintiff resides.”); Sidney Coal Co. v. Soc. Sec. Admin., 427 F.3d

        336, 345-46 (6th Cir. 2005) (“[T]he case law and legislative history compel this Court to hold that

        the residency requirement of 28 U.S.C. § 1391(e)(3) is satisfied if at least one plaintiff resides in

        the district in which the action has been brought.”). This action names as defendants an executive

        branch official sued in her official capacity and an agency of the United States. ECF No. 1 at ¶ 15-

        16. MACTE is a resident of Maryland with its principal place of business located at 304 Hawkins

        Hall, Towson University, Towson, Maryland 21252. ECF No. 1 at ¶ 14. Venue is, therefore, plainly

        proper pursuant to § 1391(e)(1)(C).

               And as noted, although Plaintiffs need not satisfy two different bases for venue, they do.

        Venue is also proper in this District because a substantial part of the events giving rise to the claim

        occurred in Maryland. As a threshold matter, MACTE is a member organization—not a “Maryland



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          28 U.S.C. § 1391(e) was restyled in 2011 to remove the numeric list—e.g., (1), (2), (3)—and insert the
        letters (A), (B), and (C).



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        chapter” of a national organization. ECF No. 1 at ¶ 14 (describing MACTE as “membership

        organization” that includes “regionally accredited colleges and universities engaged in the

        preparation of professional school personnel with state program approval”); ECF No. 24 at 15.

                More specifically, three of MACTE’s member organizations—Towson University, the

        University of Maryland, and Frostburg State University—suffered termination of SEED and/or

        TQP grants. Supplemental Declaration of Laurie Mullen (“Supp. Mullen Decl.”) at ¶ 4. Towson

        University’s TQP grant was terminated in February 2025 by the Department. The TQP grant was

        approved on September 4, 2024, for a period of one year (October 1, 2024 to September 30, 2025),

        in the amount of $849,659. Future budget periods were outlined as follows: budget period 2

        (10/1/2025-9/30/2026) - $811,249; budget period 3 (10/1/2026-9/30/2027) - $1,099,920; budget

        period 4 (10/1/2027-9/30/2028) - $1,240,123; budget period 5 (10/1/2028-9/30/2029) -

        $1,152,933. Supp. Mullen Decl. at ¶ 6. The University of Maryland’s SEED grant was terminated

        in February 2025 by the Department. The terminated SEED grant was approved to begin on

        October 1, 2022, for a period of three years, in the amount of $4,808,683. Supp. Mullen Decl. at

        ¶ 7. Frostburg State University’s TQP grant was also terminated in February 2025. Supp. Mullen

        Decl. at ¶ 8.

                The Government represents that the grant terminations described in the Complaint

        “occurred in eight states but not in Maryland,” ECF No. 24 at 13, a perplexing assertion not just

        because the Plaintiffs attached a declaration to their motion making clear that Maryland programs

        were impacted by the grant termination (ECF No. 5-5 (stating the grant terminations “result[ed] in

        a substantial loss of funds for teacher preparation programs in Maryland”)), but because the

        Government cites, and is thus presumably familiar with, litigation proceeding as California v. U.S.

        Dep’t of Educ., 1:25-cv-10548-MJJ, in the District of Massachusetts. ECF No. 24 at 11-12, 17




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        (recognizing that “Maryland grants were terminated”), in which multiple declarations and the

        Court’s opinion entering a TRO confirmed that Maryland-based grants were terminated.

        Specifically, the Department terminated MACTE member Towson University’s TQP grant

        funding, which effectively terminated Towson’s Preparing and Retaining Inclusive Maryland

        Educators (“PRIME”) project. A true and accurate copy of the Towson declaration filed in that

        case is attached as Exhibit A to the Declaration of Joshua W.B. Richards (“Richards Decl.”).

        Another declaration in that case detailed resultant harm of SEED grant termination in Maryland

        for another MACTE member, the University of Maryland. California v. U.S. Dep’t of Educ., 1:25-

        cv-10548-MJJ, ECF No. 8-15. A true and accurate copy of that declaration is attached as Exhibit

        B to the Richards Declaration. Not only that, but it is a matter of public record, of which this Court

        may take judicial notice, that Maryland grants were awarded, including those to Towson, Frostburg

        State, and the University of Maryland: https://www.ed.gov/grants-and-programs/teacher-

        prep/teacher-quality-partnership-program#awards,                     https://www.ed.gov/grants-and-

        programs/teacher-prep/supporting-effective-educator-development-grant-program#awards; It is

        also not in matter of reasonable dispute that the Government has terminated all teaching grants.

        See Richards Decl. Ex. C. Accordingly, a substantial portion of events took place in Maryland and

        venue in this District is proper pursuant to § 1391(b)(2) as well.

               B.      MACTE has Established Standing.

               To demonstrate standing, a plaintiff must show “(i) that she has suffered or likely will

        suffer an injury in fact, (ii) that the injury likely was caused or will be caused by the defendant,

        and (iii) that the injury likely would be redressed by the requested judicial relief.” FDA v. All. for

        Hippocratic Med., 602 U.S. 367, 380 (2024); Deal v. Mercer Cnty. Bd. of Educ., 911 F.3d 183,

        187 (4th Cir. 2018). “To establish injury in fact, a plaintiff must show that he or she suffered an

        invasion of a legally protected interest that is concrete and particularized and actual or imminent,


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        not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (cleaned up).

               An organization can establish standing in one of two ways: either “in its own right to seek

        judicial relief for injury to itself,” or “as a representative of its members who have been harmed.”

        People for Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W. Md., Inc., 843 F.

        App’x 493, 495 (4th Cir. 2021) (citation omitted). An organization must only “make specific

        allegations establishing that at least one identified member had suffered or would suffer harm.” S.

        Walk at Broadlands Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175,

        184 (4th Cir. 2013) (emphasis omitted) (quoting Summers v. Earth Island Inst., 555 U.S. 488, 498

        (2009)); see also Nat’l Assoc. of Diversity Officers in Higher Ed., et al. v. Donald J. Trump, et al.,

        No. 1:25-CV-00333-ABA, 2025 WL 573764, at *9 (D. Md. Feb. 21, 2025) (“When an

        organization is alleging harm, it may establish standing based on its own injury or based on its

        members’ injuries, the latter of which is called representational or associational standing.”) (citing

        Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 199

        (2023)).

               Moreover, “[a]n organization may have standing to sue on its own behalf for injuries it

        sustains as a result of a defendant’s actions.” Republican Nat’l Comm. v. North Carolina State

        Board of Elections, 120 F.4th 390, 395 (4th Cir. 2024) (citing Havens Realty Corp. v. Coleman,

        455 U.S. 363, 379 n.19 (1982)). “[T]he organization must make the necessary showing to

        demonstrate Article III standing—an injury-in-fact, caused by the defendant, that can be redressed

        by a favorable decision from the court.” Id. (quoting Hippocratic Medicine, 602 U.S. at 393–94);

        see also Lane v. Holder, 703 F.3d 668, 674 (4th Cir. 2012) (recognizing that an organization must

        show it has suffered an “injury in fact,” in that defendant’s “actions impede its efforts to carry out

        its mission.” (citation omitted); Havens Realty, 455 U.S. at 379 (observing that an organization




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        has standing to sue in its own right if the organization has suffered a “concrete and demonstrable

        injury to the organization’s activities—with [a] consequent drain on the organization’s resources—

        constitut[ing] . . . more than simply a setback to the organization’s abstract social interests”).

               MACTE has done more than show an “intense interest” or “strong opposition” to the

        challenged conduct. ECF No. 24 at 16. It has demonstrated that numerous of its members suffered

        actual harm. ECF No. 1 at ¶ 14. If there were any doubt, the Supplemental Mullen Declaration,

        attached hereto, makes the point abundantly clear. Defendants terminated grant funding for three

        Maryland educational institutions, each of which are MACTE members: Towson University,

        Supp. Mullen Decl. at ¶ 6; the University of Maryland, Supp. Mullen Decl. at ¶ 7; and Frostburg

        State University, Supp. Mullen Decl. at ¶ 8. Because MACTE’s member organizations suffered an

        injury in fact—i.e., termination of grant funding—MACTE has standing to pursue this action. See

        S. Walk, 713 F.3d at 184.

               To be sure, the termination of its member organizations’ SEED and/or TQP grants also

        significantly impairs MACTE’s core mission. ECF No. 1 at 14. This is a “concrete and

        demonstrable injury” to MACTE that drains its resources. Havens Realty, 455 U.S. at 379.

               Finally, Plaintiffs alleged that all of the grant recipients are similarly situated. ECF No. 1

        at ¶ 6 (“All of the Grant Recipients are similarly situated because the substance of each

        Termination Letter and added terms and conditions in the Grant Award Notifications from the

        Department are identical, indicating the same reasons with the same terminology for the grant

        terminations.”). MACTE has, therefore, established organization standing.




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                C.      Plaintiffs Are Likely To Succeed On The Merits.

                        1.      This Court’s NADOHE Order Applies to Plaintiffs in this Action and
                                the Department should be Enjoined from Enforcing the Termination
                                of the TQP, SEED, and TSL Grants.

                The heart of the Government’s argument with respect to the NADOHE order2 is that, yes,

        the Department terminated the grants at issue here because of DEI, which flowed from the J20

        order, see ECF No. 24 at 8 (citing Department directives, including one that “Diversity, Equity,

        and Inclusion initiatives unlawfully discriminate on the basis of race, color, religion, sex, national

        origin, or other protected characteristic”) (cleaned up), but, the Government argues, because the

        Department terminated the grants before the NADOHE order was issued, neither the order nor the

        reasoning supporting it apply. The Government is wrong.

                First, and as set forth in Plaintiff’s brief, the Government’s argument turns the principles

        underlying the NADOHE order on their head. The J20 order was unconstitutionally vague because

        it did not sufficiently define what kind of conduct was unlawful, and therefore deprived courts of

        the ability to test its lawfulness and deprived grant recipients (and others) of the opportunity to

        seek to conform their conduct to the law before being deprived of rights. See Nat’l Assoc. of

        Diversity Officers in Higher Ed., et al. v. Donald J. Trump, et al., No. 1:25-CV-00333-ABA, 2025

        WL 573764, at *19-20 (D. Md. Feb. 21, 2025).

                The fact that Plaintiffs here had no opportunity to even attempt to conform their conduct

        because the Government acted pursuant to an unlawful order before Plaintiffs sought relief does


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          The Court issued a Clarified Preliminary Injunction on March 10, 2025 in National Association of
        Diversity Officers in Higher Education, et al. v. Donald J. Trump, et al., No. 1:25-CV-00333-ABA. The
        Clarified Preliminary Injunction redefines “Enjoined Parties” to include: “Defendants other than the
        President, as well as all other federal executive branch agencies, departments, and commissions, and their
        heads, officers, agents, and subdivisions directed pursuant to the J20 and J21 Orders[.]” It does not modify
        the Court’s prior Order issued on February 21, 2025 in any substantive way relevant to this action.




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        not make the J20 order less unconstitutionally vague or, critically, the continued enforcement of

        deprivations that flowed from the order less unlawful. See Manning v. Caldwell for City of

        Roanoke, 930 F.3d 264, 274 (4th Cir. 2019) (observing that the purpose of the fair notice

        requirement is to provide an opportunity for individuals to “conform their conduct to the

        proscriptions of the law”) (citation omitted); see also id. at 278 (condemning unconstitutionally

        vague statutory language that invited arbitrary enforcement). To conclude otherwise would create

        incredible perverse incentives for government officials to shoot first and answer questions later,

        which is in fact what seems to have happened here. Plaintiffs’ deprivation was compounded by the

        lack of any real opportunity for a post-deprivation challenge to the termination decisions because

        the form termination letters failed to provide any specificity about the reason that the Department

        found any individual grant allegedly “inconsistent with. . . Department priorities.” The form

        termination letters instead merely list, disjunctively, five vague ways in which the specific grant

        at issue might be “inconsistent” with purported agency priorities.

               Second, the Government argues at page 20 of its brief that the “documentary record

        indicates agency review;” this is presumably meant to be contrasted with generalized and

        unreasoned terminations based on the vague and undefined concepts in the J20 Order. The

        Government provides no citation to support its assertion of “agency review,” which is, in fact,

        belied by the record before the Court. The termination letters and Grant Award Notifications

        (“GANs”) filed with the Court, which Plaintiffs have alleged are essentially identical across all

        their members’ terminations, see ECF 1 at ¶¶ 5-6, demonstrate that no independent agency review

        of individual grants, underscoring the fears that accompany a vague order like J20.

               No exemplar grant termination presented by the Government lists any actual reason that

        any individual grant violates any term or condition of the award, to say nothing of how it might




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        violate the J20 Order (even if that order were not unlawful). None of the termination letters

        presented by Plaintiffs do either. See ECF No. 1-1 at 4, 10, 16, 22, 28, 34, 40; ECF No. 1-2 at 1,

        3, 5, 7, 9, 11, 13; see also Richards Decl. Ex. A at 68, 72, Ex. B at 68. To the contrary, the

        Department undertook no individualized inquiry into specific grants, instead sending a form letter

        and a form basis in each GAN terminating the grants, and then issued a press release.

                The Government mounts no serious challenge to the proposition that its terminations of

        Plaintiffs’ members grants would be unlawful under the NADOHE order if undertaken today. Its

        argument that continued enforcement of those terminations is somehow insulated from scrutiny

        under the same standard lacks any justification and should be rejected by the Court.

                        2.       The Department’s Termination of the TQP, SEED, and TSL Grants
                                 Violates the Administrative Procedures Act.

                The Government does not dispute that the grant terminations at issue here constitute final

        agency action under the APA.

                In attempting to justify the terminations, the Government begins by conceding that Federal

        regulations allow agencies to terminate grants for “no other reason” apart from when “an award

        no longer effectuates . . . agency priorities.” ECF No. 24 at 25 (citing 2 C.F.R. § 200.340).3 As an

        initial matter, the Government points to no explanation as to how the individual terminated awards,

        or even the awards writ large, failed to effectuate those priorities, or what the priorities are, or by

        what process the priorities were “issued,” beyond arguing that there are “big picture” priorities

        that every administration may have and that the grants here were terminated for that reason. The

        closest the Government comes to articulating a reason is a hedged denial that it was because of



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         While it is true that the failure to effectuate agency priorities is the only ground for termination at issue
        here, there are actually four reasons a federal award could be terminated, all enumerated in Section
        200.340(a).



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        DEI. See Def. Br. at 20 (“Although Plaintiffs assume DOE terminated their grants because of the

        J20 Executive Order that NADOHE enjoined, DOE does not concede this and the documentary

        record indicates independent agency review.”) The Government’s arguments here are neither

        developed nor persuasive.

               First, the Government argues that the provision in the Uniform Guidance, 2 CFR Part 200

        – the federal government rules for grants – stating that the Federal agency can terminate an award

        if it no longer “effectuates the program goals or agency priorities,” 2 C.F.R. § 200.340, confusingly

        does not actually refer to agency grant Priorities at all. The Government acknowledges that if that

        were the case, the Priorities would need to be set through notice and comment rulemaking. See

        ECF No. 24 at 24. The Government’s reading, divorcing the term “agency priorities” from the

        context of grants in which it appears, requires a willful disregard for the provisions that surround

        the use of the term. Section 200.340 is about termination of grants and 2 C.F.R. Part 200, in which

        it appears, is devoted entirely to the administration of federal awards. Section 200.340(a)(1) states

        that the terms and conditions of the grant must be followed, and 200.340(a)(4) refers to the goals

        of the grant program or agency priorities. A plain reading of 200.340(a)(4) makes it clear that

        throughout the subclause, the regulation speaks to different aspects of grants – namely, grant

        program goals and grant Priorities, the very Priorities that were set when the grant was awarded

        and which can only be reset through rulemaking.

               As explained in Plaintiffs’ brief in support of their motion, the statute governing how the

        Education Department specifically must set Priorities for grants is GEPA, 20 U.S.C. § 1232(d).

        The Department of Education is unique in being obliged by a specific statute to use notice and

        comment rulemaking for grants. GEPA instructs clearly that the ordinary and general APA

        exemption for rulemaking for grants does not apply to the Education Department (except in limited




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        circumstances, not relevant here). 20 U.S.C. § 1232(d). This matters because the Government

        argues as a policy matter, and erroneously, that if the rule is interpreted to mean what it says, every

        federal agency would be powerless to shift its activities with new Presidential administrations

        absent a lengthy public rulemaking process. But in fact, only the Education Department is subject

        to GEPA, and Congress stated that decision unambiguously, so the Government’s argument in that

        regard holds no water.

                   The parties agree that agency Priorities do and must reflect each Administration’s specific

        missions and agenda. Even so, Congress specifically passed a law stating that for the Department

        of Education, agency Priorities for grants must go through rulemaking. This Department has not

        done so, it cannot utilize new, un-set “Priorities” to determine what has or has not been effectuated.

                   But even if the Department’s attenuated position that the words “agency priorities” for

        grants in the termination regulation did not refer to the same “priorities” explicitly required

        elsewhere in Department grant regulations, it would not change the fact that Defendants still did

        not follow the proper procedure in terminating the TQP, SEED, and TSL grants in February 2025.

        The Government’s deflection on agency priorities just opens the door to greater problems.

                   The Department’s articulated reason for the grant terminations in the GANs and

        termination letters, which Defendants repeat in their Opposition, is that the grants were terminated

        because they are “inconsistent with,4 and no longer effectuate[], Department priorities,” citing to

        2 C.F.R. § 200.340(a)(4). But Section 200.340(a)(4) actually provides that a federal award may be

        terminated “[b]y the Federal agency or pass-through entity pursuant to the terms and conditions

        of the Federal award, including, to the extent authorized by law, if an award no longer effectuates

        the program goals or agency priorities.” (emphasis added). The word “including,” in this instance,


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            The phrase “inconsistent with” does not appear in the termination regulation. See 2 C.F.R. § 200.340(a)(4).



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        must be read to bring everything that follows it within the scope of the phrase that immediately

        precedes it, to wit: “pursuant to the terms and conditions of the grant award.” Section 200.340(b)

        goes on to provide that “[t]he Federal agency or pass-through entity must clearly and

        unambiguously specify all termination provisions in the terms and conditions of the Federal

        award.”

               In other words, all reasons that the Federal agency may terminate the grant must be “clearly

        and unambiguously” specified in the terms and conditions of that particular grant, and only if the

        terms and conditions specify that the Federal agency may terminate for “no longer effectuat[ing]

        [] agency priorities” in a clear and unambiguous way is the Federal agency permitted to do so.

        This raises a number of obvious problems for the Government’s proposed alternative reading of

        (a)(4), because the terms and conditions of the Federal awards here contain just one line that states

        that “2 CFR PART 200.” See Supplemental Declaration of Kathlene Campbell on behalf of NCTR

        Ex. A at 4; Richards Decl. Ex. A at 15; Richards Decl. Ex. B at 14.

               The Government points to nowhere in the Federal awards at issue where the terms and

        conditions specifically state that a grant may be terminated for no longer effectuating actual agency

        priorities, let alone a tortured reading of “agency priorities” so far divorced from the rest of the

        statutory and regulatory scheme so as to provide for limitless flexibility. It goes without saying,

        then, that the terms and conditions do not state in a “clear and unambiguous” manner that the

        Department may terminate awards on the basis of a change in what the Government somewhat

        mushily calls “big-picture Department priorities,” which require no notice, no reasoned basis, and

        appear to be the definition of the arbitrariness the APA was intended to avoid.

               It bears emphasis that agency priorities are not subject to whim. In pointing out the error

        of the Government’s argument on this point, and the implications of their argument, Plaintiffs are




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        not inviting the Court to rule on matters beyond the scope of those necessary to resolve the claims

        at issue; this motion can and should be resolved by ruling that “agency priorities” do not change

        without rulemaking, and the Department has neither engaged in rulemaking nor explained how

        any of the terminated grants have ceased to effectuate priorities they met when they were awarded.

        But in the event the Court finds it necessary to test the Government’s contrary argument, the

        Government fails in its task because nothing approaching the level of discretion to unilaterally

        terminate appeared alongside “2 CFR PART 200” in Plaintiffs’ notices of award, so regardless of

        what “agency priorities” in the termination provision refers to, the Department failed to follow its

        regulations.

               D.      Government’s Argument with Respect to the Scope of Relief.

               The Government argues that if relief is granted, it should be limited in two ways. First, the

        Government argues that if granted, a preliminary injunction should be limited in scope to include

        only the terminated grants of those member organizations which were specifically identified by

        name in Plaintiffs’ Complaint. However, the Government fails to acknowledge that Plaintiffs

        alleged that all of the grant recipients are similarly situated. ECF No. 1 at ¶ 6 (“All of the Grant

        Recipients are similarly situated because the substance of each Termination Letter and added terms

        and conditions in the Grant Award Notifications from the Department are identical, indicating the

        same reasons with the same terminology for the grant terminations.”). Simply providing relief to

        the member organizations which submitted Declarations in conjunction with the Complaint would

        deprive all of the similarly situated member organizations the relief to which they are similarly

        entitled and subject them to harm that the Government has already conceded is irreparable. See

        also Richards Decl. Ex. C (email from the Department on February 21, 2025 confirming that “[a]ll

        the grants have been terminated[.]”). Accordingly, it would be inequitable for relief to be limited

        in the manner suggested by the Government.


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                Second, while it is unclear if the Government is asking for the Court to remand the matter

        to the Department to provide an explanation for each grant termination in the absence of a

        preliminary injunction, or to limit an injunction to such relief, in any event, such a remand would

        likewise perpetuate irreparable harm and is accordingly inequitable and not in the public interest

        as a remedy.

                E.      Plaintiffs’ Request for Removing the Route Pay Condition is Clear.

                While the Government attempts to sidestep responding to Plaintiffs’ allegations with

        respect to route pay by briefly arguing that Plaintiffs’ reference to route pay is unclear, that is

        simply not the case. Not only does Plaintiffs’ brief devote an entire section to detail how the

        imposition of the route pay condition is unlawful (ECF No. 5-1 at 33-34), but Plaintiffs’ Motion

        expressly requests relief in the form of ordering Defendants to “[r]emoving the route pay grant

        conditions from TQP, SEED, and TSL grants.” ECF No. 5 at 2. Plaintiffs’ request is clear, as is its

        right to relief, and so Plaintiffs continue to request that its right to preliminary relief sought in its

        motion not be impaired by the Department unlawfully placing further roadblocks in the way of

        their continued access to grant funding.

        III.    CONCLUSION

                For the foregoing reasons, and the reasons set forth in Plaintiffs’ Memorandum of Law in

        Support of Their Motion for Temporary Restraining Order/Preliminary Injunction, Plaintiffs

        respectfully request that the Court enter a preliminary injunction consistent with its request.




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         Dated: March 12, 2025                    Respectfully Submitted,

                                               /s/ Joshua W.B. Richards
                                               Joshua W.B. Richards (Admitted Pro Hac Vice)
                                              Carolyn M. Toll (Admitted Pro Hac Vice)
                                              SAUL EWING LLP
                                              1500 Market Street, 38th Floor
                                              Philadelphia, Pennsylvania 19102
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                                                  Daniel M. Moore (Bar No. 21834)
                                                  SAUL EWING LLP
                                                  1001 Fleet Street, Ninth Floor
                                                  Baltimore, Maryland 21202-4359
                                                  Telephone: (410) 332-8734
                                                  Facsimile: (410) 332-8862
                                                  daniel.moore@saul.com


                                              Counsel for Plaintiffs




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                                      CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 12th day of March, 2025, Plaintiffs’ Reply in Further

        Support of Their Motion for Temporary Restraining Order/Preliminary Injunction and

        Exhibits was filed with the Clerk of the Court by using the CM/ECF system. I certify that the

        following counsel of record are registered as ECF filers and that they will be served by the

        CM/ECF system:

                                        Molissa Heather Farber
                                    US Attorney’s Office District of MD
                                          36 S Charles St, 4th Fl
                                          Baltimore, MD 21201
                                              410-209-4862
                                        molissa.farber@usdoj.gov
                                          Attorney for Defendants

                                                          /s/ Joshua W.B. Richards
                                                          Joshua W.B. Richards




                                                                                            JA 331
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND
                                       BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                           Plaintiffs,
               v.                                             Civil Action No. 1:25-cv-00702-JRR

        LINDA MCMAHON,
        AS SECRETARY OF EDUCATION, et al.,

                           Defendants.

           SUPPLEMENTAL DECLARATION OF LAURIE MULLEN, PH.D., IN FURTHER
            SUPPORT OF APPLICATION FOR TEMPORARY RESTRAINING ORDER /
                             PRELIMINARY INJUNCTION


        I, Laurie Mullen, Ph.D., declare and state under penalty of perjury the following:

               1.      I am the President of Maryland Association of Colleges for Teacher Education

        (“MACTE”), one of the plaintiffs in this case. I am also the Dean of the College of Education at

        Towson University.

               2.       I am over the age of 18, and I am competent in all respects to testify to the matters

        below. I understand that this Supplemental Declaration is for use in connection with the above-

        captioned civil action, and I make this Supplemental Declaration based upon my own personal

        knowledge and my review of the MACTE’s business records.

               3.      MACTE has ten member organizations, all of which are residents of Maryland.

               4.      MACTE has three member organizations which were awarded SEED and/or TQP

        grants which were termination in February 2025, resulting in a substantial loss of funds for teacher

        preparation programs in Maryland.




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               5.      Specifically, Towson University, the University of Maryland, and Frostburg State

        University are all member organizations of MACTE.

               6.      Towson University’s TQP grant was terminated in February 2025 by the

        Department. The TQP grant was approved on September 4, 2024, for a period of one year (October

        1, 2024 September 30, 2025), in the amount of $849,659. Future budget periods were outlined as

        follows: budget period 2 (10/1/2025 9/30/2026) - $811,249; budget period 3 (10/1/2026 9/30/2027)

        - $1,099,920; budget period 4 (10/1/2027 9/30/2028) - $1,240,123; budget period 5 (10/1/2028

        9/30/2029) - $1,152,933.

               7.      The University of Maryland’s SEED grant was terminated in February 2025 by the

        Department. The terminated SEED grant was approved to begin on October 1, 2022, for a period

        of three years, in the amount of $4,808,683.

               8.      Frostburg State University’s TQP grant was terminated in February 2025 by the

        Department.

               9.      The loss of the funding of the TQP and SEED grants in Maryland for MACTE’s

        member organizations has caused, and will continue to cause, a substantial loss of funds for teacher

        preparation programs in Maryland.


               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

        and correct.

        Executed on the 12     day of March, 2025


                                                            By: Laurie Mullen
                                                               Laurie Mullen, Ph.D.




                                                                                                  JA 333
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                     BALTIMORE DIVISION

        AMERICAN ASSOCIATION OF
        COLLEGES FOR TEACHER
        EDUCATION, et al.,

                       Plaintiffs,
             v.                                          Civil Action No. 1:25-cv-00702-JRR

        LINDA MCMAHON,
        AS SECRETARY OF EDUCATION, et al.,

                       Defendants.


                      DECLARATION OF JOSHUA W. B. RICHARDS, ESQ.

             I, JOSHUA W. B. RICHARDS, declare as follows:

             1.    I am admitted pro hac vice in this Court in connection with the above captioned

                   matter.

             2.    I am a partner at the law firm Saul Ewing LLP, counsel for Plaintiffs the American

                   Association of Colleges for Teacher Education, the National Center for Teacher

                   Residencies, and the Maryland Association of Colleges for Teacher Education

                   (collectively, “Plaintiffs”).

             3.    I submit this declaration in support of Plaintiffs’ Reply in Further Support of Their

                   Motion for Temporary Restraining Order/Preliminary Injunction.

             4.    In support of Plaintiffs’ Reply in Further Support of Their Motion for Temporary

                   Restraining Order/Preliminary Injunction, I attach true and correct copies of the

                   following exhibits:




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                         a. Exhibit A: Declaration of Laurie Mullen on Behalf of Towson University

                               filed in State of California et al. v. U.S. Department of Education et al.,

                               District of Massachusetts Case No. 1:25-cv-10548-MJJ, Dkt. No. 8-14.

                         b. Exhibit B: Declaration of Segun Eubanks on Behalf of the University of

                               Maryland filed in State of California et al. v. U.S. Department of

                               Education et al., District of Massachusetts Case No. 1:25-cv-10548-MJJ,

                               Dkt. No. 8-15.

                         c. Exhibit C: Email exchange between the Department of Education and

                               Chicago Public Schools dated February 21, 2025 confirming termination of

                               all grants and filed in State of California et al. v. U.S. Department

                               of Education et al., District of Massachusetts Case No. 1:25-cv-10548-

                               MJJ, Dkt. No. 8-13.

              I declare that the foregoing is true and correct.

                                                     Respectfully submitted,

        Date: March 12, 2025
                                                     Joshua W. B. Richards
                                                     SAUL EWING LLP
                                                     1500 Market Street, 38th Floor
                                                     Philadelphia, Pennsylvania 19102
                                                     (215) 972-7737
                                                     joshua.richards@saul.com

                                                     Attorney for Plaintiffs




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                                                                                                    JA 335
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                                    Exhibit A




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                            EXHIBIT 14




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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS


         STATE OF CALIFORNIA;
         COMMONWEALTH OF
         MASSACHUSETTS; STATE OF NEW
         JERSEY; STATE OF COLORADO; STATE
         OF ILLINOIS; STATE OF MARYLAND;
         STATE OF NEW YORK; and STATE OF
         WISCONSIN,

                Plaintiffs,

                              v.                       Case No. 1:25-cv-10548

         U.S. DEPARTMENT OF EDUCATION;
         DENISE CARTER, in her official capacity
         as former Acting Secretary of Education and
         current acting Chief Operating Officer,
         Federal Student Aid; LINDA MCMAHON,
         in her official capacity as Secretary of
         Education,


                Defendants.




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                                    DECLARATION OF LAURIE MULLEN
                        I, Laurie Mullen, declare as follows:
                1.      I am a resident of the State of Maryland. I am over the age of 18 and have personal

        knowledge of all the facts stated herein, except as to those matters stated upon information and

        belief; as to those matters, I believe them to be true. If called as a witness, I could and would testify

        competently to the matters set forth below.

                2.      I am currently employed by Towson University as the Dean of the College of

        Education. Towson University is a constituent institution of the University System of Maryland,



                3.      As Dean, I lead the oldest and largest College of Education in the State of Maryland

        and support 198 faculty and 4,431 students.

                4.      In 2024, the Department of Education (ED) invited applications for the Teacher

        Quality Preparation Program (TQP).

                5.      Per the funding announcement in the Federal Register, the purposes of the TQP

        program are to improve student achievement; improve the quality of prospective and new teachers

        by improving the preparation of prospective teachers and enhancing professional development

        activities for new teachers; hold teacher preparation programs at institutions of higher education

        accountable for preparing teachers who meet applicable State certification and licensure

        requirements; and recruit highly qualified individuals, including individuals of color and

        individuals from other occupations, into the teaching force.

                6.      As set out in its grant proposal, Towson University intended to use the TQP grant,

        which Towson titled Preparing and Retaining Inclusive Maryland                                       , to

        collaborate with community college and school system partners to improve the quality of




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        districts, thereby improving the academic achievement of PreK-6 students. The PRIME project



        advising; evidence-based practices in teaching literacy, math, and science; social and emotional

        learning; meeting needs of English Learners and special education students; incorporating

        Universal Design for Learning; and improving cultural competencies. PRIME was designed to

        effectively train 400 new elementary, early childhood, special education, and English Learner

        teachers over the 5-year grant.

               7.      Intended outcomes also included that these graduates would be hired in high-need

        schools and high-need districts and persist in teaching for at least three years; approximately 50

        mentor teachers supporting PRIME pre-service teachers would earn National Board Certification;

        partnerships with the Teacher Academy of Maryland and local school systems would boost grow-

        your-own program size and quality; partnerships with community colleges would improve teacher

        recruitment and diversity; and the development of a new degree in bilingual education would

        support state needs for ESOL teachers.

               8.      The PRIME grant was approved on September 4, 2024, for a period of one year

        (October 1, 2024    September 30, 2025), in the amount of $849,659. Future budget periods were

        outlined as follows: budget period 2 (10/1/2025        9/30/2026) - $811,249; budget period 3

        (10/1/2026    9/30/2027) - $1,099,920; budget period 4 (10/1/2027       9/30/2028) - $1,240,123;

        budget period 5 (10/1/2028 9/30/2029) - $1,152,933.

               9.      On September 4, 2024, ED produced a Grant Award Notification (GAN) setting

        forth the terms and conditions of the grant award. A true and correct copy of the corresponding

        GAN and its attachments, dated September 4, 2024, is attached as Exhibit A. The September 4,

        2024, GAN budget was modified slightly by ED and reissued on September 6, 2024. A true and



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        correct copy of the revised GAN, dated September 6, 2024, is attached as Exhibit B. As set forth

        therein, termination of the grant by ED is permitted only if a recipient or subrecipient (1)

         materially fails to comply with any term of an award     September 4 GAN Attachment 5); or (2)

        engages in violations of human trafficking (September 4 GAN Attachment 8).

                10.    Since October 1, 2024, Towson University has used the TQP grant funds in a

                                                                                                   Towson

                      PRIME grant application.

                11.    Upon notification of the grant award, the project principal investigator (PI) Laila

        Richman, Ph.D., notified all grant partners of the award and shared that meetings would begin in

        late fall/early spring after a project director was hired. In alignment with the proposed management

        plan and grant requirements, the project staff had completed the search for a project director and

        had extended an offer to the candidate selected on February 3, 2025. Given the timing of the offer

        and concerns related to the stability of federal awards, the candidate declined the position; the

        grant was terminated before Towson could make an offer to the next candidate. Search committees

        for two additional positions (Program Specialist and Advising Coach) were also set to begin in

        February. All three positions were anticipated to be filled by March 31, 2025, as required by the

        grant. Partner meetings with community colleges and school systems were planned for March

        2025.

                12.    Upon notification of the grant award, co-principal investigators began work in each

        grant outcome area: induction, curriculum redesign, multilingual education, advising, and

        pathways. A draft proposal for the new multilingual education program was developed, a gap

        analysis of the current curriculum and new regulations was completed, and a faculty workgroup

        focused on induction was established. Internal budgets were also developed to support workgroups



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        designated for students at the community colleges, payment to Southern Regional Education Board

        for site visit and curriculum audit, payment to RMC Research Corporation for evaluation work,

        and stipends to teachers, community college faculty, and TU faculty for participation in

        workgroups related to grant activities. These expenditures are in alignment with the approved

        budget timeline.

               15.      Towson University remained in compliance with the terms of the award throughout

        the entire period of performance, including timely submission of revised documents requested by

        ED, immediate award setup upon receipt of the initial award documents and drawing down funds

        from the G5 grants management system on a regular basis for expenses incurred. Project staff

        complied with all project deadlines, attended all required activities, and submitted all required

        documentation. The submitted budget, logic model, and project plan were all approved, and the

        Quarter 1 meeting with the program director was successful, with the project meeting all

        requirements.

               16.      On February 12, 2025, without any prior notice or indication, ED informed Towson

        University that effective February 12, 2025, its PRIME grant was being terminated. A true and

        correct copy of       grant award termination letter is attached as Exhibit C. A true and correct

                                   Mark Washington to PRIME grant PI Dr. Richman attaching the grant

        award termination letter is attached as Exhibit D.

               17.      Per the ED grant termination notice, the TU PRIME grant was terminated because



        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or other

        protected characteristic; that violate either the letter or purpose of Federal civil rights law; that




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        that are not free from fraud, abuse, or duplication; or that otherwise fail to serve the best interests




                18.     At 10:57 a.m. on February 12, 2025, Dr. Richman received an email notification

        from the G5 grants management system indicating that an administrative action GAN was

        available for review.

        the G5 system for the entirety of February 12, 2025. The 10:57 a.m. G5 notification preceded an

        email to Dr. Richman from Deputy Assistant Secretary Mark Washington, received at 12:55 p.m.

        on February 12, 2025. The email from Mr. Washington stated that a GAN notice would be

        forthcoming, when in fact the GAN had been received several hours earlier. In addition, the email

        from Mr. Washington was addressed to Ms. Laila Richman, rather than Dr. Laila Richman.

        Finally, the letter attached to Mr.                      included a date field that remained editable,

        which is inconsistent with ED practices. The GAN issued on November 12, 2025 stated that the

                                                       grant is deemed to be inconsistent with, and no longer

        effectuates, Department priorities. See 2 C.F.R. 200.340(a)(4); see also 34 C.F.R. 75.253.

                19.     Towson University relied and acted upon its expectation and understanding that ED

        would fulfill its commitment to provide the TQP funding it had awarded to Towson University.

        Towson University has signed agreements with project partners and committed project resources

        to partner school districts and community colleges in furtherance of the PRIME grant. Funds for

        these agreements are no longer available. Also, grant activities already in process (faculty work

        groups, evaluation plan, site visit, conference attendance, hiring of project director) were

        interrupted without warning.




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                20.     Project staff had no communication from ED that the grant might be terminated.

        Indeed, on February 11, 2025, the day before the grant termination notice was received, the PI

        received an email instructing her to reserve her hotel for the EED Annual Grantee Summit being

        held June 12 and 13, 2025, in Virginia.

                21.     Prior to the grant award termination on February 12, 2025, ED had never provided

        Towson University with notice, written or otherwise, that the grant administered by Towson

        University engaged in any of the activities described in the termination letter. In particular, ED

        had never provided notice that Towson University

        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,

        national origin, or another protected characte




        serve the best interests of the United States.

                22.     PRIME was developed in close partnership with community college and school

        district partners with the express goal of increasing the number of well-prepared teachers in

        Maryland so that every P-12 student has access to high-quality learning experiences. Maryland is

        currently experiencing a teacher shortage crisis, with over 6,000 conditionally/emergency certified

        teachers across the state. The loss of TQP funding prevents Towson University from being able to

        address the needs of local school districts and P-12 learners. The grant intended to prepare 400

        new teachers for Maryland who would teach in the state for at least three years. Estimating that

        each classroom has approximately 22 students, the loss of this project impacts over 26,000

        Maryland students.




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               23.

        requesting that ED hold the termination in abeyance and continue to provide funding while the

        objection is considered and/or void the termination and reinstate the obligated funds. Towson

        University also requested that ED respond by March 5, 2025, as to whether it will take one or both

        of these actions. As of the date of this declaration, ED has not responded.



              I declare under penalty of perjury under the laws of the United States that, to the best of

        my knowledge, the foregoing is true and correct.

                       Executed on March 4, 2025.



                                                            /s/ Laurie Mullen
                                                      _____________________________________
                                                         Laurie Mullen, Ph.D.




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                                  SPECIFIC GRANT TERMS AND CONDITIONS FOR
                                    FINANCIAL AND PERFORMANCE REPORTS


        PERFORMANCE REPORTS:

        (1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
        after the expiration or termination of grant support in accordance with submission instructions provided
        in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
        Department of Education (Department) (2 CFR § 200.329(c)).

        (2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS - ALL RECIPIENTS of a multi-year discretionary
        award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
        report shall provide the most current performance and financial expenditure information that is
        sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, and 34 CFR § 75.720.

        Your education program contact will provide you with information about your performance report
        submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
        another notification provided by the Department. The grant term or condition in box 10 on the GAN or
        another notification may reflect any of the following:

            1. That a performance report is due before the next budget period begins. The report should
               contain current performance and financial expenditure information for this grant. It will either
               identify the date the performance report is due or state that the Department will provide
               additional information about this report, including due date, at a later time.

            2. That an interim performance report is required because of the nature of the award or because
               of statutory or regulatory provisions governing the program under which this award is made,
               and that the report is due more frequently than annually as indicated, e.g., due quarterly and
               submitted within 30 days after the end of each quarter, or due semiannually and submitted
               within 30 days after the end of each 6-month period (2 CFR § 200.329(c)(1)).

            3. That other reports are required, e.g., program specific reports required in a program’s statute or
               regulation.

        (3) FINANCIAL REPORTS – SOME RECIPIENTS:

        If a financial report is required, your education program contact will provide you with information about
        your financial report submission, including the due date, as a grant term or condition in box 10 on the
        GAN, or through another notification.

        A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

            1. A grant involves cost sharing, and the ED 524B, which collects cost sharing information, is not
               submitted or a program-specific report approved by U.S. Office of Management and Budget
               (OMB) does not collect cost sharing information;
            2. Program income was earned;


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            3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
               report approved by OMB does not collect indirect cost information;
            4. Program regulations or statute require the submission of the FFR; or
            5. Specific Award Conditions, or specific grant or subgrant conditions for designation of “high risk,”
               were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
               submission of the FFR.

        If the FFR is required, the notification may indicate one of the following (see the form and its
        instructions at Standard Form (SF) 425 Federal Financial Report (FFR)):

            1. Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
               are due within 30 days after each reporting period.

            2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
               within 30 days after each reporting period.

            3. Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
               reporting period.

            4. Final - In coordination with the submission of final performance reports, FFRs are due within 120
               days after the project or grant period end date (2 CFR 200.328).

        When completing an FFR for submission, the following must be noted:

            1. Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
               that is designed for single grant and multiple grant award reporting, the Department’s policy is
               that multiple grant award reporting is not permitted for Department grants. Thus, a Department
               grantee that is required to submit an FFR in accordance with any of the above referenced
               selections must complete and submit one FFR for each of its grants. Do not use the FFR
               attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
               on Department grants. As such, references to multiple grant reporting and to the FFR
               attachment in items 2, 5 and 10 of the FFR are not applicable to Department grantees. With
               regards to item 1 of the note found in the FFR Instructions, a grantee must complete items 10(a)
               through 10(o) for each of its grants. The multiple award, multiple grant, and FFR attachment
               references found in items 2, 5, 6, before 10(a), in item 10(b), before 10(d), before 10(i) and
               before 10(l) of the Line Item Instructions for the FFR are not applicable to Department grants.

            2. Program Income: Unless disallowed by statute or regulation, a grantee will complete item 10(m)
               or 10(n) in accordance with the options or combination of options as provided in 2 CFR Part
               200.307. A grantee is permitted, in accordance with 2 CFR Part 200.307, to add program income
               to its Federal share to further eligible project or program objectives, use program income to
               finance the non-Federal share of the project or program; and deduct program income from the
               Federal share of the total project costs.

            3. Indirect Costs: A grantee will complete item 11(a) by listing the indirect cost rate type identified
               on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.


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                 A Department grantee that does not have an indirect cost rate agreement approved by its
                 cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
                 day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
                 wages, or the de minimis rate of 10% of modified total direct cost (MTDC) must list its indirect
                 cost rate in 11(a) as a Department Temporary Rate or De Minimis Rate. The de minimis rate of
                 10% of MTDC consists of:

                          All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                          travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
                          subgrant). MTDC excludes equipment, capital expenditures, charges for patient care,
                          rental costs, tuition remission, scholarships and fellowships, participant support costs
                          and the portion of each subaward in excess of $25,000. Other items, including contract
                          costs in excess of $25,000, may be excluded when necessary to avoid a serious inequity
                          in the distribution of indirect costs (see definition of MTDC at 2 CFR § 200.1).

                 A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
                 MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with EDGAR
                 § 75.562 (c), must list its rate in 11(a) as a Department Training Grant Rate. The 8% limit does
                 not apply to agencies of Indian tribal governments, local governments, and States 1 as defined in
                 2 CFR § 200.1

                 A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in 11(a). A
                 restricted program (i.e., programs with statutory supplement-not-supplant requirements)
                 grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
                 indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
                 negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
                 not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
                 not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
                 the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
                 negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
                 rate as a Department Temporary Rate in 11(a).

                 Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
                 as a Rate Required in Program Statute or Regulation in 11(a). Grantees are required to follow
                 program-specific statutory or regulatory requirements that mandate either indirect cost rate
                 type or maximum administrative costs recovery.

                 For detailed information including restrictions related to temporary, de minimis, training,
                 restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

            4. Supplemental Pages: If grantees need additional space to report financial information, beyond
               what is available within the FFR, they should provide supplemental pages. These additional
               pages must indicate the following information at the top of each page: the PR/Award Number

        1
          Note that a State-funded institution of higher education is not considered a “State government” for these purposes;
        and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
        purposes.
        2
          Note that a State-funded institution of higher education is not considered a “State government” for these purposes.

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              also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
              Identifier, Employer Identification Number (EIN), and period covered by the report.




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                             AN OVERVIEW OF SINGLE AUDIT REQUIREMENTS OF STATES,
                             LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

        This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
        comply with audit requirements specified in block 10 of their Grant Award Notification
        (GAN).

        Summary of Single Audit Requirements for States, Local Governments and Nonprofit
        Organizations:

              1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
                 Institution of Higher Education (IHE) 1, or nonprofit organization) that expends
                 $750,000 or more during the non-Federal entity’s fiscal year in Federal awards must
                 have a single audit conducted in accordance with 2 CFR 200.501, “Audit
                 Requirements,” except when it elects to have a program specific audit conducted.

              2. Program-specific audit election. When an auditee expends Federal awards under
                 only one Federal program (excluding research and development (R&D)), and the
                 Federal program’s statutes, regulations, or the terms and conditions of the Federal
                 award do not require a financial statement audit of the auditee, the auditee may
                 elect to have a program–specific audit conducted. A program–specific audit may
                 not be elected for R&D unless all of the Federal awards expended were received
                 from the same Federal agency, or the same Federal agency and the same pass-
                 through entity, and that Federal agency, or pass-through entity in the case of a
                 subrecipient, approves in advance a program-specific audit.

              3. Exemption when Federal awards expended are less than $750,000. A non-Federal
                 entity that expends less than $750,000 during the non-Federal entity’s fiscal year in
                 Federal awards is exempt from Federal audit requirements for that year, except as
                 noted in 2 CFR 200.503, but records must be available for review or audit by
                 appropriate officials of the Federal agency, pass-through entity, and Government
                 Accountability Office (GAO). Generally, grant records must be maintained for a
                 period of three years after the date of the final expenditure report (2 CFR § 200.334)

              4. Federally Funded Research and Development Centers (FFRDC). Management of an
                 auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
                 entity.

              5. Report Submission. To meet audit requirements of U.S. Office of Management and
                 Budget (OMB) Uniform Guidance: Cost Principles, Audit, and Administrative
                 Requirements for Federal Awards (Uniform Guidance), grantees must submit all
                 audit documents required by Uniform Guidance 2 CFR 200.512, including Form SF-
                 SAC: Data Collection Form electronically to the Federal Audit Clearinghouse at:


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            As defined under the Higher Education Act of 1965, as amended (HEA) section 101.
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                https://facides.census.gov/Account/Login.aspx.

                The audit must be completed, and the data collection form and reporting package
                must be submitted within the earlier of 30 calendar days after receipt of the
                auditor’s report(s), or nine months after the end of the audit period. If the due date
                falls on a Saturday, Sunday, or Federal holiday, the reporting package is due the next
                business day. Unless restricted by Federal statutes or regulations, the auditee must
                make copies available for public inspection. Auditees and auditors must ensure that
                their respective parts of the reporting package do not include protected personally
                identifiable information. (2 CFR 200.512)

        Grantees are strongly urged to obtain the “OMB Compliance Supplement” and to contact their
        cognizant agency for single audit technical assistance.

        The designated cognizant agency for single audit purposes is “the Federal awarding agency that provides
        the predominant amount of direct funding to the recipient.” Grantees should obtain a copy of the OMB
        Compliance supplement. This supplement will be instructive to both grantees and their auditors.
        Appendix III of the supplement provides a list of Federal Agency Contacts for Single Audits, including
        addresses, phone numbers, fax numbers, and e-mail addresses for technical assistance.

        For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
        should contact the Non-Federal Audit Team in the Department’s Office of Inspector General, at oignon-
        federalaudit@ed.gov. Additional resources for single audits are also available on the Non-Federal Audit
        Team’s website at https://www2.ed.gov/about/offices/list/oig/nonfed/index.html. For programmatic
        questions, grantees should contact the education program contact shown on the Department’s GAN.

        Grantees can obtain information on single audits from:

        The OMB website at www.omb.gov. Look under Office of Management and Budget (in right column)
        then click Office of Federal Financial Management (to obtain OMB Compliance Supplement). The SF-
        SAC: Data Collection Form can be found at the Federal Audit Clearinghouse at:
        https://facides.census.gov/Files/2019-2021%20Checklist%20Instructions%20and%20Form.pdf.

        The American Institute of Certified Public Accountants (AICPA) has illustrative OMB Single Audit
        report examples that might be of interest to accountants, auditors, or financial staff at
        www.aicpa.org.




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                                REQUEST FOR APPROVAL OF PROGRAM INCOME

        In projects that generate program income, the recipient calculates the amount of program income
        according to the guidance given in 2 CFR Part 200.307.


        *** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
        TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
        YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***


        Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
        of options, as provided in 2 CFR Part 200.307, for using program income generated in the course of the
        recipient's authorized project activities:

        _____ Not Allowed Adding program income to funds committed to the project by the Secretary and
             recipient and using it to further eligible project or program objectives;

        _____ Not Allowed Using program income to finance the non-Federal share of the project or program;
              and

        _____ Not Allowed Deducting program income from the total allowable cost to determine the net
             allowable costs.




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                                          TRAFFICKING IN PERSONS

        The Department of Education adopts the requirements in the Code of Federal Regulations at 2
        CFR 175 and incorporates those requirements into this grant through this condition. The grant
        condition specified in 2 CFR 175.15(b) is incorporated into this grant with the following changes.
        Paragraphs a.2.ii.B and b.2. ii. are revised to read as follows:

                “a.2.ii.B. Imputed to you or the subrecipient using the standards and due
                process for imputing the conduct of an individual to an organization that are
                provided in 34 CFR part 85.”

                “b.2. ii. Imputed to the subrecipient using the standards and due process for
                imputing the conduct of an individual to an organization that are provided in
                34 CFR part 85.”

        Under this condition, the Secretary may terminate this grant without penalty for any violation of
        these provisions by the grantee, its employees, or its subrecipients.




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                                 FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                                 REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION

        The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
        and improve the public’s access to Federal government information. To this end, FFATA requires that
        Department of Education (Department) grant recipients:

            1. Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
               meet the reporting conditions as set forth in this grant award term;
            2. Report their executives’ compensation for all new Federal grants that are funded at $30,000 and
               that meet the reporting conditions as set forth in this grant award term; and
            3. Report executive compensation data for their first-tier subrecipients that meet the reporting
               conditions as set forth in this grant award term.

        For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
        Award Notification.

        Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
        first-tier subrecipients’ executive compensation are required to be reported in accordance with FFATA.

        Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
        within item 5, Definitions, of this grant award term.

        This grant award term is issued in accordance with 2 CFR Part 170—Reporting Subaward And Executive
        Compensation Information.

            1. Reporting of First-tier Subawards -

            a. Applicability and what to report.

                Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
                report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
                to a non-Federal entity or Federal agency.

                You must report the information about each obligating action that are specified in the
                submission instructions posted at FSRS.

            b. Where and when to report.

                The Department grant recipient must report each obligating action described in paragraph 1.a.
                of this award term to FSRS.

                Report subaward information no later than the end of the month following the month in which
                the subaward obligation was made. For example, if the obligation was made on November 7,
                2020, the obligation must be reported by no later than December 31, 2020.

            2. Reporting Total Compensation of the Department’s Grant Recipients’ Executives -


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           a. Applicability and what to report.

                   You must report total compensation for each of your five most highly compensated executives
                   for the preceding completed fiscal year, if—

                   i    The total Federal funding authorized to date under this Federal award equals or exceeds
                        $30,000;

                   ii   In the preceding fiscal year, you received—

                        A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                           (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                           defined at 2 CFR 170.320 (and subawards), and
                        B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                           subcontracts) and Federal financial assistance subject to the Transparency Act, as
                           defined at 2 CFR 170.320 (and subawards); and,
                        C. The public does not have access to information about the compensation of the
                           executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                           Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                           Code of 1986. (To determine if the public has access to the compensation information,
                           see the U.S. Security and Exchange Commission total compensation filings at SEC
                           Investor.gov Executive Compensation.)

           b. Where and when to report.

                   You must report executive total compensation described in paragraph 2.a. of this grant award
                   term:

             i.         As part of your registration profile at SAM.gov.

             ii.        By the end of the month following the month in which this award is made (for example, if
                        the obligation was made on November 7, 2020 the executive compensation must be
                        reported by no later than December 31, 2020), and annually thereafter.

           3. Reporting of Total Compensation of Subrecipient Executives –

           a. Applicability and what to report.

                   Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
                   non-Federal entity subrecipient under this award, you shall report the names and total
                   compensation of each of the subrecipient's five most highly compensated executives for the
                   subrecipient's preceding completed fiscal year, if—

             i.         In the subrecipient's preceding fiscal year, the subrecipient received—




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                      A. 80 percent or more of its annual gross revenues from Federal procurement contracts
                         (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                         defined at 2 CFR 170.320 (and subawards), and
                      B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                         subcontracts) and Federal financial assistance subject to the Transparency Act, as
                         defined at 2 CFR 170.320 (and subawards); and,
                      C. The public does not have access to information about the compensation of the
                         executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                         Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                         Code of 1986. (To determine if the public has access to the compensation information,
                         see the U.S. Security and Exchange Commission total compensation filings at SEC
                         Investor.gov Executive Compensation.)

           b. Where and when to report.

                   You must report subrecipient executive total compensation described in paragraph 3.a. of this
                   grant award term:

             i.       In FSRS. You must include a condition on subawards that requires the subrecipients to
                      timely report the information required under paragraph 3.a. to you the prime awardee, or
                      in the SAM.gov. Subrecipient executive compensation entered in SAM.gov by the
                      subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
                      enter this information in SAM.gov. Subrecipient executive compensation not entered in
                      SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

             ii.      By the end of the month following the month during which you make the subaward. For
                      example, if the subaward obligation was made on November 7, 2020 the subrecipient’s
                      executive compensation must be reported by no later than December 31, 2020.

           4. Exemptions –

           a. If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
              exempt from the requirements to report:

             i.       Subawards, and

             ii.      The total compensation of the five most highly compensated executives of any subrecipient.

           5. Definitions -

           a. For purposes of this award term:

             i.       Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by
                      5 U.S.C. 552(f).

             ii.      Non-Federal Entity means all of the following, as defined in 2 CFR part 25:

                      A Governmental organization, which is a State, local government, or Indian tribe;

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                   A foreign public entity;

                   A domestic or foreign nonprofit organization; and,

                   A domestic or foreign for-profit organization

            iii.   Executive means officers, managing partners, or any other employees in management
                   positions.

            iv.    Obligation, when used in connection with a non-Federal entity's utilization of funds under a
                   Federal award, means orders placed for property and services, contracts and subawards
                   made, and similar transactions during a given period that require payment by the non-
                   Federal entity during the same or a future period.

             v.    Subaward:

                   This term means a legal instrument to provide support for the performance of any portion
                   of the substantive project or program for which you received this award and that you as the
                   recipient award to an eligible subrecipient.

                   The term does not include your procurement of property and services (such as payments to
                   a contractor, small purchase agreements, vendor agreements, and consultant agreements)
                   that are needed for the benefit of the prime awardee to carry out the project or program
                   (for further explanation, see 2 CFR 200.331). For example, the following are not considered
                   subawards:

                       Cleaning Vendors: Vendors that are hired by a grantee to clean its facility.
                       Payroll Services Vendors: Vendors that carryout payroll functions for the grantee.
                       Information Technology Vendors: Vendors that provide IT support to grant staff.

                   Payments to individuals that are beneficiaries of Federal programs are not considered
                   subawards.

                   A subaward may be provided through any legal agreement, including an agreement that you
                   or a subrecipient considers a contract.

             v.    Subrecipient means a non-Federal entity or Federal agency that:

                   Receives a subaward from you (the recipient) under this award; and

                   Is accountable to you for the use of the Federal funds provided by the subaward.

                   In accordance with its subaward, uses the Federal funds to carry out a program for a public
                   purpose specified in authorizing statute, as opposed to providing goods or services for the
                   benefit of the Department prime awardee.



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            vii.    Recipient means a non-Federal entity that receives a Federal award directly from a Federal
                    awarding agency to carry out an activity under a Federal program. The term recipient does
                    not include subrecipients. See also §200.69 Non-Federal entity.
            viii.   Total compensation means the cash and noncash dollar value earned by the executive
                    during the recipient's or subrecipient's preceding fiscal year and includes the following (for
                    more information see 17 CFR 229.402(c)(2)):

                    Salary and bonus.

                    Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
                    recognized for financial statement reporting purposes with respect to the fiscal year in
                    accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2004)
                    (FAS 123R), Shared Based Payments.

                    Earnings for services under non-equity incentive plans. This does not include group life,
                    health, hospitalization, or medical reimbursement plans that do not discriminate in favor of
                    executives and are available generally to all salaried employees.

                    Change in pension value. This is the change in present value of defined benefit and actuarial
                    pension plans.

                    Above-market earnings on deferred compensation which is not tax-qualified.

                    Other compensation, if the aggregate value of all such other compensation (e.g., severance,
                    termination payments, value of life insurance paid on behalf of the employee, perquisites,
                    or property) for the executive exceeds $10,000.




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                                   SPECIFIC CONDITIONS FOR DISCLOSING
                               FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

        When issuing statements, press releases, requests for proposals, bid solicitations and other
        documents describing projects or programs funded in whole or in part with Federal money, U.S.
        Department of Education grantees shall clearly state:

                1) the percentage of the total costs of the program or project which will be financed with
                   Federal money;

                2) the dollar amount of Federal funds for the project or program; and

                3) the percentage and dollar amount of the total costs of the project or program that will
                   be financed by non-governmental sources.

        Recipients must comply with these conditions under Division H, Title V, Section 505 of Public Law 116-
        260, Consolidated Appropriations Act, 2021.




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                 PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
                           DURING OFFICIAL FEDERAL GRANT BUSINESS

              Federal grant recipients, sub recipients and their grant personnel are prohibited from text
              messaging while driving a government owned vehicle, or while driving their own privately-
              owned vehicle during official grant business, or from using government supplied electronic
              equipment to text message or email when driving.


              Recipients must comply with these conditions under Executive Order 13513,
              “Federal Leadership on Reducing Text Messaging While Driving,” October 1,
              2009.




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                 REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
              IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM)


        The U.S. Department of Education (Department) Grants Management System (G5) disburses payments
        via the U.S. Department of Treasury (Treasury). The U.S. Treasury requires that we include your Tax
        Payer Identification Number (TIN) with each payment. Therefore, in order to do business with the
        Department you must have a registered Unique Entity Identifier (UEI) and TIN number with the SAM,
        the U.S. Federal Government’s primary registrant database. If the payee UEI number is different than
        your grantee UEI number, both numbers must be registered in the SAM. Failure to do so will delay the
        receipt of payments from the Department.

        A TIN is an identification number used by the Internal Revenue Service (IRS) in the administration of tax
        laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A Social Security
        number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

        The following are all considered TINs according to the IRS.

                Social Security Number "SSN"
                Employer Identification Number "EIN"
                Individual Taxpayer Identification Number "ITIN"
                Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
                Preparer Taxpayer Identification Number "PTIN"

        If your UEI number is not currently registered with the SAM, you can easily register by going to
        www.sam.gov. Please allow 3-5 business days to complete the registration process. If you need a new
        TIN, please allow 2-5 weeks for your TIN to become active. If you need assistance during the
        registration process, you may contact the SAM Federal Service Desk at 866-606-8220.

        If you are currently registered with SAM, you may not have to make any changes. However, please take
        the time to validate that the TIN associated with your UEI is correct.

        If you have any questions or concerns, please contact the G5 Hotline at 888-336-8930.




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              SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

        1. Requirement for System for Award Management (SAM)

        Unless you are exempted from this requirement under 2 CFR 25.110, you are, in accordance with your
        grant program's Notice Inviting Applications, required to maintain an active SAM registration with
        current information about your organization, including information on your immediate and highest level
        owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
        grant within the last three years, if applicable, at all times during which you have an active Federal
        award or an application or plan under consideration by a Federal awarding agency. To remain
        registered in the SAM database after your initial registration, you are required to review and update
        your information in the SAM database on an annual basis from the date of initial registration or
        subsequent updates to ensure it is current, accurate and complete.


        2. Requirement for Unique Entity Identifier (UEI) Numbers

        If you are authorized to make subawards under this award, you:

        1. Must notify potential subrecipients that they may not receive a subaward from you unless they
           provided their UEI number to you.
        2. May not make a subaward to a subrecipient when the subrecipient fails to provide its UEI number to
           you.

        3. Definitions

        For purposes of this award term:

        1. System for Award Management (SAM) means the Federal repository into which a recipient must
           provide information required for the conduct of business as a recipient. Additional information
           about registration procedures may be found at the SAM internet site (currently at
           https://www.sam.gov).

        2. Unique Entity Identifier (UEI) means the identifier assigned by SAM registration to uniquely identify
           business entities.

        3. Recipient means a non-Federal entity that receives a Federal award directly from a Federal awarding
           agency to carry out an activity under a Federal program. The term recipient does not include
           subrecipients. See 2 CFR 200.86.

        4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
           to carry out part of a Federal award received by the pass-through entity. It does not include
           payments to a contractor or payments to an individual that is a beneficiary of a Federal program. A
           subaward may be provided through any form of legal agreement, including an agreement that the
           pass-through entity considers a contract. See 2 CFR 200.92.
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        5. Subrecipient means a non-Federal entity that receives a subaward from a pass-through entity to
           carry out part of a Federal program; but does not include an individual that is a beneficiary of such
           program. A subrecipient may also be a recipient of other Federal awards directly from a Federal
           awarding agency. See 2 CFR 200.93.




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                                     PARTICIPATION OF FAITH-BASED ORGANIZATIONS

      1. A faith-based organization that participates in this program retains its independence from the Government
         and may continue to carry out its mission consistent with religious freedom and conscience protections in
         Federal law.

      2. A faith-based organization may not use direct Federal financial assistance from the Department to support
         or engage in any explicitly religious activities except when consistent with the Establishment Clause of the
         First Amendment and any other applicable requirements. Such an organization also may not, in providing
         services funded by the Department, or in outreach activities related to such services, discriminate against a
         program beneficiary or prospective program beneficiary on the basis of religion, a religious belief, a refusal
         to hold a religious belief, or a refusal to attend or participate in a religious practice.

      3. If a grantee under a discretionary grant program of the Department has the authority under the grant to
         select a private organization to provide services supported by direct Federal financial assistance under the
         program by subgrant, contract, or other agreement, the grantee must ensure compliance with applicable
         Federal requirements governing contracts, grants, and other agreements with faith-based organizations,
         including, as applicable, (Education Department General Administrative Regulations) EDGAR §§ 75.52 and
         75.532, Appendices A and B to 34 C.F.R. Part 75, and 2 C.F.R. § 3474.15 (see EDGAR § 75.714).




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                                      WRITTEN NOTICE OF BENEFICIARY PROTECTIONS

      In accordance with the Education Department General Administrative Regulations (EDGAR), 34 C.F.R. § 75.712,
      all grantees providing social services under a Department program supported by direct Federal financial
      assistance (e.g., programs that                     employment, independent living, education, or related
      services to individuals or groups of individuals) must give written notice to a beneficiary or prospective
      beneficiary of certain protections.

      The written notice that an organization uses to notify beneficiaries or prospective beneficiaries of certain
      religious non-discrimination protections must include language substantially similar to that in Appendix C to 34
      C.F.R. Part 75. Grantees have discretion regarding how to provide the notice, which may include providing the
      notice directly to each beneficiary, posting it on the grantee's website, or other means. A grantee or subgrantee
      that participates in multiple Department programs may provide a single notice covering all applicable programs.
      Additionally, grantees must ensure that the notice is accessible to individuals with disabilities and limited English
      proficient individuals as required by law. Unless notified by the applicable program office, a grantee is not
      required to include in the notice the information in paragraph (5) of Appendix C to 34 C.F.R. Part 75 , i.e., the
      opportunity of a beneficiary to receive information about other similar providers.

      Appendix C to 34 C.F.R. Part 75

      Name of Organization:
      Name of Program:
      Contact Information for Program Staff: [provide name, phone number, and email address, if appropriate]
      Because this program is supported in whole or in part by financial assistance from the U.S. Department of
      Education, we are required to provide you the following information:
         (1) We may not discriminate against you on the basis of religion, a religious belief, a refusal to hold a
              religious belief, or a refusal to attend or participate in a religious practice.
          (2) We may not require you to attend or participate in any explicitly religious activities (including activities
              that involve overt religious content such as worship, religious instruction, or proselytization) that may
              be offered by our organization, and any participation by you in such activities must be purely
              voluntary.
          (3) We must separate in time or location any privately funded explicitly religious activities (including
              activities that involve overt religious content such as worship, religious instruction, or proselytization)
              from activities supported with direct Federal financial assistance.
          (4) You may report violations of these protection, including any denials of services or benefits by an
              organization, by filing a written complaint with the U.S. Department of Education at
              BeneficiaryNoticeComplaints@ed.gov.
          [When required by the Department, the notice must also state:] (5) If you would like information about
          whether there are any other federally funded organizations that provide the services available under this
          program in your area, please contact the awarding agency.

      This written notice must be given to you before you enroll in the program or receive services from the program,
      unless the nature of the service provided, or exigent circumstances make it impracticable to provide such notice
      before we provide the actual service. In such an instance, this notice must be given to you at the earliest
      available opportunity.

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            KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
                         AWARDED BY THE DEPARTMENT OF EDUCATION

           The Department expects grantees to administer Department grants in accordance with
           generally accepted business practices, exercising prudent judgment so as to maintain
           proper stewardship of taxpayer dollars. This includes using fiscal control and fund
           accounting procedures that insure proper disbursement of and accounting for Federal
           funds. In addition, grantees may use grant funds only for obligations incurred during
           the funding period.

           Title 2 of the Code of Federal Regulations Part 200, “Uniform Administrative
           Requirements, Cost Principles, and Audit Requirements for Federal Awards,” establishes
           requirements for Federal awards made to non-Federal entities. The Education
           Department General Administrative Regulations in 34 CFR (EDGAR) 75, 76, 77, 79, 81,
           82, 84, 86, 97, 98, and 99 contain additional requirements for administering
           discretionary grants made by this Department. The most recent version of these
           regulations may be accessed at the following URLs:

           The Education Department General Administrative Regulations (EDGAR)

           2 CFR Part 200 Uniform Administrative Requirements, Cost Principles, and Audit
           Requirements for Federal Awards

           The information on page 2, "Selected Topics in Administering Department Discretionary
           Grants," highlights major administrative requirements of 2 CFR Part 200. In addition, a
           few of the topics discuss requirements that the Department imposes on its discretionary
           grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part 200
           and of EDGAR that address the topics discussed are shown in parentheses. The
           Department urges grantees to read the full text of these and other topics in EDGAR and
           in 2 CFR Part 200.

           Grantees are reminded that a particular grant might be subject to additional
           requirements of the authorizing statute for the program that awarded the grant and/or
           any regulations issued by the program office. Grantees should become familiar with
           those requirements as well, because program-specific requirements might differ from
           those in 2 CFR Part 200 and in EDGAR.

           The Department recommends that the project director and the fiscal management staff
           of a grantee organization communicate frequently with each other about the grant
           budget. Doing so will help to assure that you use Federal funds only for those
           expenditures associated with activities that conform to the goals and objectives
           approved for the project.

           Grantees may direct any questions regarding the topics discussed on page 2, "Selected
           Topics in Administering Department Discretionary Grants,"or about any other aspect of
           administering your grant award to the Department program staff person named in Block
           3 of the Grant Award Notification.


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                 SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

           I.      Financial Management Systems (2 CFR Part 200.302)

           In general, grantees are required to have financial management systems that:

                       provide for accurate, current, and complete disclosure of results regarding
                       the use of funds under grant projects;
                       provide adequate source documentation for Federal and non-Federal funds
                       used under grant projects;
                       contain procedures to determine the allowability, allocability, and
                       reasonableness of obligations and expenditures made by the grantee; and
                       enable the grantee to maintain effective internal control and fund
                       accountability procedures, e.g., requiring separation of functions so that the
                       person who makes obligations for the grantee is not the same person who
                       signs the checks to disburse the funds for those obligations.

           State systems must account for funds in accordance with State laws and procedures that
           apply to the expenditure of and the accounting for a State's own funds. A State's
           procedures, as well as those of its subrecipients and cost-type contractors, must be
           sufficient to permit the preparation of reports that may be required under the award as
           well as provide the tracing of expenditures to a level adequate to establish that award
           funds have not been used in violation of any applicable statutory restrictions or
           prohibitions.

           II.     Federal Payment (2 CFR Part 200.305)

           Under this part --

                       the Department pays grantees in advance of their expenditures if the
                       grantee demonstrates a willingness and ability to minimize the time
                       between the transfer of funds to the grantee and the disbursement of the
                       funds by the grantee;
                       grantees repay to the Federal government interest earned on advances; and
                        grantees, generally, must maintain advance payments of Federal awards in
                       interest bearing accounts.


           In general, grantees should make payment requests frequently, only for small
           amounts sufficient to meet the cash needs of the immediate future.

           The Department has recently encountered situations where grantees failed to request
           funds until long after the grantee actually expended its own funds for the costs of its
           grant. Grantees need to be aware that, by law, Federal funds are available for grantees
           to draw down for only a limited period of time, after which the funds revert to the U.S.
           Treasury. In some cases grantees have requested funds too late for the Department to
           be able to pay the grantees for legitimate costs incurred during their project periods.


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           The Department urges financial managers to regularly monitor requests for payment
           under their grants to assure that Federal funds are drawn from the Department G5
           Payment System at the time those funds are needed for payments to vendors and
           employees.

           III.    Personnel (EDGAR §§ 75.511-75.519 and 2 CFR Part 200 Subpart D and E)

           The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200
           Subparts D and E. Part 75 covers issues such as paying consultants with grant funds,
           prohibiting dual compensation of staff, and waiving the requirement for a full-time
           project director. The rules clarifying changes in key project staff are located in 2 CFR
           Part 200.308 (c)(2). General rules governing reimbursement of salaries and
           compensation for staff working on grant projects are addressed in the cost principles in
           2 CFR Part 200 Subpart D and E. In all cases, payments of any type to personnel must be
           supported by complete and accurate records of employee time and effort. For those
           employees that work on multiple functions or separately funded programs or projects,
           the grantee must also maintain time distribution records to support the allocation of
           employee salaries among each function and separately funded program or project.

           IV.     Cost Principles (2 CFR Part 200 Subpart E)

           All costs incurred under any grant are subject to the cost principles found in 2 CFR Part
           200 Subpart E. The cost principles provide lists of selected items of allowable and
           unallowable costs, and must be used in determining the allowable costs of work
           performed under the grant.

           V.      Procurement Standards (2 CFR Part 200.317-327)

           Under 2 CFR Part 200.317, States are required to follow the procurement rules the
           States have established for purchases funded by non-Federal sources. When procuring
           goods and services for a grant’s purposes, all other grantees may follow their own
           procurement procedures, but only to the extent that those procedures meet the
           minimum requirements for procurement specified in the regulations. These
           requirements include written competition procedures and codes of conduct for grantee
           staff, as well as requirements for cost and price analysis, record-keeping and contractor
           compliance with certain Federal laws and regulations. These regulations also require
           grantees to include certain conditions in contracts and subcontracts, as mandated by
           the regulations and statutes.

           VI.     Indirect Costs (EDGAR §§75.560-564 and 2 CFR Part 200.414)

           In addition to the information presented beslow, see GAN ATTACHMENT 4 for addional
           information including restrictions related to temporary, de minimis, training, restricted,
           and program prescribed indirect cost rates.

           A. Unrestricted Indirect Cost Rate

           To utilize an unrestricted indirect cost rate, a grantee must have an indirect cost agreement with
           its cognizant agency, submit an indirect cost rate proposal to its cognizant agency for indirect

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           costs (cognizant agency) within 90 days after the award of this grant or elect to utilize the de
           minimis rate under 2 CFR § 200.414(f) or the temporary indirect cost rate (subject to limitations
           described below).

           The grantee must provide proof of its negotiated indirect cost rate agreement to the
           Department as soon as it has signed such an agreement with its cognizant agency.

           B. Temporary Indirect Cost Rate

           A grantee that does not have a current negotiated indirect cost rate agreement may recover
           indirect costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages
           (See 34 CFR § 75.560(c)); or it may choose not to charge indirect costs to the grant. The
           temporary rate can only be used for 90 days unless the exceptional circumstances apply under
           34 CFR § 75.560(d)(2).

           If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-
           day period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until
           it has negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee
           obtains a federally recognized indirect cost rate that is applicable to this grant, the grantee may
           use that indirect cost rate to claim indirect cost reimbursement.

           C. De minimis Indirect Cost Rate

           Institutions of Higher Education (IHEs), federally-recognized Indian Tribes, State and Local
           Governments 1 receiving less than $35 million in direct federal funding, and nonprofit
           organizations, if they do not have a current negotiated (including provisional) rate, and are not
           subject to the Department’s training rate or restricted rate (supplement-not-supplant
           provisions) may elect to charge a de minimis indirect cost rate of 10% of modified total direct
           costs (MTDC). This rate may be used indefinitely.

           MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
           services, travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
           subgrant). MTDC excludes equipment, capital expenditures, charges for patient care, rental
           costs, tuition remission, scholarships and fellowships, participant support costs and the portion
           of each subaward in excess of $25,000. Other items, including contract costs in excess of
           $25,000, may be excluded when necessary to avoid a serious inequity in the distribution of
           indirect costs (see definition of MTDC at 2 CFR § 200.1).

           Additionally, the de minimis rate may not be used by grantees that are subject to the
           Department’s training indirect cost rate (34 CFR § 75.562) or restricted indirect cost rate. The de
           minimis rate may be used indefinitely. However, if a grantee chooses to use the de minimis rate
           to recover indirect costs, it must do so for all of its Federal awards until such time as the grantee
           negotiates an indirect cost rate with its cognizant agency. Once a grantee obtains a federally
           recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
           cost rate to claim indirect cost reimbursement.

           1
            Note that a State-funded institution of higher education is not considered a “State government” for
           these purposes.


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           D. Programs with a Supplement-not-supplant requirement (restricted indirect cost rate)

           A restricted program (i.e., programs with statutory supplement-not-supplant requirements)
           grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
           indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
           negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
           not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
           not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
           the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
           negotiated.

           E. Training Grant Indirect Cost Rate

           If the grantee is a training grant recipient and is not a State, local, or Tribal government 3, the
           grantee must negotiate a rate under 34 CFR 75.562. This provision limits indirect cost recovery
           to 8% of modified total direct costs or the grantees negotiated indirect cost rate, whichever is
           less.

           The recovery using the training grant indirect cost rate is subject to the following limitations:

                 i.   The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to
                      sub-awards that fund training.
                ii.   The 8% limit does not apply to agencies of Indian tribal governments, local
                      governments, and States as defined in 2 CFR § 200.1, respectively.
               iii.   Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy
                      matching or cost-sharing requirements, or charged to another Federal award.
               iv.    A grantee using the training rate of 8% is required to have documentation available for
                      audit that shows that its negotiated indirect cost rate is at least 8%.

           F. Program-Specific Indirect Cost Rate

           Grantees are required to follow program-specific statutory or regulatory requirements that
           mandate either indirect cost rate type or maximum administrative costs recovery instead of the
           general requirements described here.

           VII.       Audit Requirements (2 CFR Part 200 Subpart F)

           2 CFR 200 Subpart F requires that grantees that are non-Federal entities (a State, local
           government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award
           as a recipient or subrecipient) obtain a non-Federal audit of their expenditures under
           their Federal grants if the grantee expends more than $750,000 in Federal funds in one
           fiscal year. 2 CFR Part 200 Subpart F contains the requirements imposed on grantees for

           2
             Note that a State-funded institution of higher education is not considered a “State government” for
           these purposes.
           3
             Note that a State-funded institution of higher education is not considered a “State government” for
           these purposes; and a Tribal college or university funded by a federally-recognized Tribe is not considered
           a Tribe for these purposes.

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           audits done in connection with the law.

           The Department recommends hiring auditors who have specific experience in auditing
           Federal awards under the regulations and the Compliance Supplement.

           VIII.   Other Considerations

           Some other topics of financial management covered in 2 CFR Part 200 that might affect
           particular grants include program income (2 CFR Part 200.307), cost sharing or matching
           (2 CFR Part 200.306), property management requirements for equipment and other
           capital expenditures (2 CFR Parts 200.313, 200.439).




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                                  MEMORANDUM TO ED DISCRETIONARY GRANTEES

         You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
         Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
         grant account.

         For any cash that you draw from your Department of Education (the Department) grant account, you
         must:

              draw down only as much cash as is necessary to meet the immediate needs of the grant project;
              keep to the minimum the time between drawing down the funds and paying them out for grant
                       activities; and
              return to the Government the interest earned on grant funds deposited in interest-bearing bank
              accounts except for a small amount of interest earned each year that your entity is allowed to keep to
              reimburse itself for administrative expenses).

         In order to meet these requirements, you are urged to:

              take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
              boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
              from ED do not stay in a bank account for extended periods of time while waiting for approval;
              monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
              plan carefully for cash flow in your grant project during the budget period and review project cash
              requirements before each drawdown; and
              pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
              Department.

         Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
         contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
         during the fiscal quarter to discuss the particular situation. For the purposes of drawdown monitoring, the
         Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
         80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
         However, even amounts less than these thresholds could still represent excessive drawdowns for your
         particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
         cash will be required to return the excess funds to the Department, along with any associated earned
         interest, until such time as the money is legitimately needed to pay for grant activities. If you need
         assistance with returning funds and interest, please contact the Department’s G5 Hotline by calling 1-888-
         336-8930.

         Grantees that do not follow Federal cash management requirements and/or consistently appear on the
         Department's reports of excessive drawdowns could be:

              subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
              and 2 CFR 3474.10], which could mean being placed on a "cash-reimbursement" payment method
              (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
              own money and waiting to be reimbursed by the Department afterwards);
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             subject to further corrective action;
             denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3)(ii)]; and/or
             debarred or suspended from receiving future Federal awards from any executive agency of the Federal
             government.

         You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
         and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
         memorandum and share it with all affected individuals within your organization.




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                          THE USE OF GRANT FUNDS FOR CONFERENCES AND MEETINGS

      You are receiving this memorandum to remind you that grantees must take into account the following factors when
      considering the use of grant funds for conferences and meetings:
                 Before deciding to use grant funds to attend or host a meeting or conference, a grantee should:
                     o Ensure that attending or hosting a conference or meeting is consistent with its approved
                         application and is reasonable and necessary to achieve the goals and objectives of the grant;
                     o Ensure that the primary purpose of the meeting or conference is to disseminate technical
                         information, (e.g., provide information on specific programmatic requirements, best
                         practices in a particular field, or theoretical, empirical, or methodological advances made in
                         a particular field; conduct training or professional development; plan/coordinate the work
                         being done under the grant); and
                     o Consider whether there are more effective or efficient alternatives that can accomplish the
                         desired results at a lower cost, for example, using webinars or video conferencing.
                 Grantees must follow all applicable statutory and regulatory requirements in determining whether
                 costs are reasonable and necessary, especially the Cost Principles for Federal grants set out at 2 CFR
                 Part 200 Subpart E of the, “Uniform Administrative Requirements, Cost Principles, and Audit
                 Requirements for Federal Awards.” In particular, remember that:
                     o Federal grant funds cannot be used to pay for alcoholic beverages; and
                     o Federal grant funds cannot be used to pay for entertainment, which includes costs for
                         amusement, diversion, and social activities.
                 Grant funds may be used to pay for the costs of attending a conference. Specifically, Federal grant
                 funds may be used to pay for conference fees and travel expenses (transportation, per diem, and
                 lodging) of grantee employees, consultants, or experts to attend a conference or meeting if those
                 expenses are reasonable and necessary to achieve the purposes of the grant.
                     o When planning to use grant funds for attending a meeting or conference, grantees should
                         consider how many people should attend the meeting or conference on their behalf. The
                         number of attendees should be reasonable and necessary to accomplish the goals and
                         objectives of the grant.
                 A grantee hosting a meeting or conference may not use grant funds to pay for food for conference
                 attendees unless doing so is necessary to accomplish legitimate meeting or conference business.
                     o A working lunch is an example of a cost for food that might be allowable under a Federal
                         grant if attendance at the lunch is needed to ensure the full participation by conference
                         attendees in essential discussions and speeches concerning the purpose of the conference
                         and to achieve the goals and objectives of the project.
                 A meeting or conference hosted by a grantee and charged to a Department grant must not be
                 promoted as a U.S. Department of Education conference. This means that the seal of the U.S.
                 Department of Education must not be used on conference materials or signage without Department
                 approval.




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                  o   All meeting or conference materials paid for with grant funds must include appropriate
                      disclaimers, such as the following:
                          The contents of this (insert type of publication; e.g., book,
                          report, film) were developed under a grant from the
                          Department of Education. However, those contents do not
                          necessarily represent the policy of the Department of
                          Education, and you should not assume endorsement by the
                          Federal Government.
              Grantees are strongly encouraged to contact their project officer with any questions or concerns
              about whether using grant funds for a meeting or conference is allowable prior to committing grant
              funds for such purposes.
                  o A short conversation could help avoid a costly and embarrassing mistake.
              Grantees are responsible for the proper use of their grant awards and may have to repay funds to
              the Department if they violate the rules on the use of grant funds, including the rules for meeting-
              and conference-related expenses.




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             MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
                       MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS

        The Department of Education (Department) requires that its grantees adhere to existing cash
        management requirements concerning payments and will ensure that their subgrantees are also aware
        of these policies by providing them relevant information. A grantee’s failure to comply with cash
        management requirements may result in an improper payment determination by the Department in
        accordance with the Payment Integrity Information Act (PIIA) of 2019.

        There are three categories of payment requirements that apply to the drawdown of funds from grant
        accounts at the Department. The first two types of payments are subject to the requirements in the
        Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
        1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
        Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
        part 200, 1 as follows:

            1.     Payments to a State under programs that are covered by a State’s Treasury State Agreement
                   (TSA);

            2.     Payments to States under programs that are not covered by a TSA; and

            3.     Payments to other non-Federal entities, including nonprofit organizations and local
                   governments.

        CMIA Requirements Applicable to Programs included in a TSA

        Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
        programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State’s written
        TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
        and both States and the Federal government are subject to interest liabilities for late payments. State
        interest liabilities accrue from the day federal funds are credited to a State account to the day the State
        pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
        payment under a Federal assistance program before funds for that payment have been transferred to
        the State, Federal Government interest liabilities accrue from the date of the State payment until the
        Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

        CMIA Requirements Applicable to Programs Not Included in a TSA

        Payments to States under programs not covered by a State’s TSA are subject to subpart B of Treasury’s
        regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
        drawdown of funds from the federal government and their disbursement for approved program
        activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
        administratively feasible to a State’s actual cash outlay for direct program costs and the proportionate
        share of any allowable indirect costs. 31 CFR § 205.33(a). States should exercise sound cash
        management in funds transfers to subgrantees.

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            The Department adopted the Uniform Guidance as regulations of the Department at 2 CFR part 3474.

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        Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
        CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
        Treasury can require the program to be included in the State’s TSA. 31 CFR § 205.35.

        Fund transfer requirements for grantees other than State governments and subgrantees

        The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
        the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
        requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
        requiring that “payments methods must minimize the time elapsing between the transfer of funds from
        the United States Treasury or the pass-through entity and the disbursement by the non-Federal entity.”
        2 CFR § 200.305(b) introduction.

        The Federal Government and pass-through entities must make payments in advance of expenditures by
        grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
        maintain, written procedures “that minimize the time elapsing between the transfer of funds and
        disbursement by the non-Federal entity, and financial management systems that meet the standards for
        fund control and accountability.” 2 CFR § 200.305(b)(1). If a grantee or subgrantee cannot meet the
        criteria for advance payments, a Federal agency or pass-through entity can pay that entity through
        reimbursement. See 2 CFR § 200.305(b)(1) and (4) for more detailed description of the payment
        requirements and the standards for requiring that payments be made by reimbursement.

        Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
        conditions exist. See 2 CFR § 200.305(b)(8) for those conditions. The requirements regarding interest
        accrual and remittance follow:

        Grantees and subgrantees must annually remit interest earned on federal advance payments except
        that interest earned amounts up to $500 per year may be retained for administrative expense. Any
        additional interest earned on Federal advance payments deposited in interest-bearing accounts must be
        remitted annually to the Department of Health and Human Services Payment Management System
        (PMS) through an electronic medium using either Automated Clearing House (ACH) network or a
        Fedwire Funds Service payment. 2 CFR § 200.305(b)(9)(i) and (ii).

          1.   When returning interest through ACH Direct Deposit or Fedwire, grantees must include the
               following in their return transaction:

                             PMS Account Number (PAN). NOTE: The PAN is the same series of alpha-numeric
                             characters used for payment request purposes (e.g.: C1234G1).
                             PMS document number.
                             The reason for the return (e.g., interest, part interest part other, etc.).
                             An explanation stating that the refund is for interest payable to the Department of
                             Health and Human Services, and the grant number(s) for which the interest was
                             earned.

                a. U.S. Department of Education grantees are generally located and operate domestically and
                   return interest domestically. Below is PSC ACH account information for interest returned



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                    domestically. For international ACH interest returned, account information is available at:
                    Returning Funds/Interest.

                             PSC ACH Routing Number is: 051036706
                             PSC DFI Accounting Number: 303000
                             Bank Name: Credit Gateway - ACH Receiver
                             Location: St. Paul, MN

                b. Service charges may be incurred from a grantee’s financial institution when a Fedwire to
                   return interest is initiated. For FedWire returns, Fedwire account information is as follows:

                             Fedwire Routing Number: 021030004
                             Agency Location Code (ALC): 75010501
                             Bank Name: Federal Reserve Bank
                             Treas NYC/Funds Transfer Division
                             Location: New York, NY

          2.    Interest may be returned by check using only the U.S. Postal Service; however, returning
                interest via check may take 4-6 weeks for processing before a check payment may be applied to
                the appropriate PMS account.

                a. Interests returned by check are to be mailed (USPS only) to:

                             HHS Program Support Center
                             PO Box 979132
                             St. Louis, MO 63197

                    A brief statement explaining the nature of the return must be included.

                b. To return interest on a grant not paid through the PMS, make the check payable to the
                   Department of Health and Human Services, and include the following with the check:

                             An explanation stating that the refund is for interest
                             The name of the awarding agency
                             The grant number(s) for which the interest was earned
                             The return should be made payable to: Department of Health and Human Services.

          3.    For detailed information about how to return interest, visit the PSC Retuning Funds/Interest
                page at: Returning Funds/Interest

        Grantees, including grantees that act as pass-through entities and subgrantees have other
        responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
        have procedures for determining the allowability of costs for their awards. We highlight the following
        practices related to the oversight of subgrantee compliance with the financial management
        requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
        their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must –




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          1.   Evaluate each subrecipient's risk of noncompliance with Federal statutes, regulations, and the
               terms and conditions of the subaward for purposes of determining the appropriate subrecipient
               monitoring.

          2.   Monitor the performance and fiscal activities of the subrecipient to ensure that the subaward is
               used for authorized purposes, in compliance with Federal statutes, regulations, and the terms
               and conditions of the subaward; and that subaward performance goals are achieved.

        A small number of Department grant programs have program-specific cash management and payment
        requirements based on the authorizing legislation or program regulations. These program-specific
        requirements may supplement or override general cash management or payment requirements. If you
        have any questions about your specific grant, please contact the Education Program Contact listed in
        Block 3 of your Grant Award Notification.




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            RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                          FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


        Q     What are the Federal Laws and Regulations Regarding Payments to the States?
        A     The Cash Management Improvement Act of 1990 (CMIA) establishes interest liabilities for the
              Federal and State governments when the Federal Government makes payments to the States.
              See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
              Federal Regulations (CFR), Part 205, https://www.ecfr.gov/cgi-bin/text-
              idx?tpl=/ecfrbrowse/Title31/31cfr205_main_02.tpl. Non-Federal entities other than States
              follow the rules on Federal payments set out in 2 CFR 200.305.

        Q     What is a Treasury-State Agreement (TSA)?
        A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
              upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
              assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
              specify a number of different funding techniques that may be used by a State but a State can
              negotiate with the Treasury Department to establish a different funding technique for a
              particular program. A TSA is effective until terminated and, if a state does not have a TSA,
              payments to the State are subject to the default techniques in the regulations that Treasury
              determines are appropriate.

        Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
        A     Payments to a State under a program of the Department are subject to the interest liability
              requirements of the CMIA if the program is included in the State’s Treasury-State Agreement
              (TSA) with the Department of Treasury. If the Federal government is late in making a payment to
              a State, it owes interest to the State from the time the State spent its funds to pay for
              expenditure until the time the Federal government deposits funds to the State’s account to pay
              for the expenditure. Conversely, if a State is late in making a payment under a program of the
              Department, the State owes interest to the Federal government from the time the Federal
              government deposited the funds to the State’s account until the State uses those funds to make
              a payment. For more information, GAN Enclosure 4.


        Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
              Agreement?
        A     If a program is not included in the State’s TSA, neither the State nor the Federal government are
              liable for interest for making late payments. However, both the Federal government and the
              State must minimize the time elapsing between the date the State requests funds and the date
              that the funds are deposited to the State’s accounts. The State is also required to minimize the
              time elapsed between the date it receives funds from the Federal government and the date it
              makes a payment under the program, Also, the Department must minimize the amount of funds
              transferred to a State to only that needed to meet the immediate cash needs of the State. The
              timing and amount of funds transferred must be as close as is administratively feasible to a
              State's actual cash outlay for direct program costs and the proportionate share of any allowable
              indirect costs.
        Q     What if there is no TSA?


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        A    When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
             Treasury Department determines appropriate apply. The default procedures will prescribe
             efficient funds transfer procedures consistent with State and Federal law and identify the
             covered Federal assistance programs and designated funding techniques.


        Q    Who is responsible for Cash Management?
        A    Grantees and subgrantees that receive grant funds under programs of the Department are
             responsible for maintaining internal controls regarding the management of Federal program
             funds under the Uniform Guidance in 2 CFR 200.302 and 200.303. In addition, grantees are
             responsible for ensuring that subgrantees are aware of the cash management and requirements
             in 2 CFR part 200, subpart D.

        Q    Who is responsible for monitoring cash drawdowns to ensure compliance with cash
             management policies?
        A    Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
             substantial compliance to the standards of timing and amount of advances.

        Q    How soon may I draw down funds from the G5 grants management system?
        A    Grantees are required to minimize the amount of time between the drawdown and the
             expenditure of funds from their bank accounts. (See 2 CFR 200.305(b).) Funds must be drawn
             only to meet a grantee’s immediate cash needs for each individual grant. The G5 screen displays
             the following message:

             By submitting this payment request, I certify to the best of my knowledge and belief that the
             request is based on true, complete, and accurate information. I further certify that the
             expenditures and disbursements made with these funds are for the purposes and objectives
             set forth in the applicable Federal award or program participation agreement, and that the
             organization on behalf of which this submission is being made is and will remain in compliance
             with the terms and conditions of that award or program participation agreement. I am aware
             that the provision of any false, fictitious, or fraudulent information, or the omission of any
             material fact, may subject me, and the organization on behalf of which this submission is being
             made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
             other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
             3729-3730 and 3801-3812)

        Q    How may I use Federal funds?
        A    Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
             application or State plan for allowable direct costs of the grant and an allocable portion of
             indirect costs, if authorized.

        Q    What are the consequences to recipients/subrecipients for not complying with terms of the
             grant award?
        A    If a recipient or subrecipient materially fails to comply with any term of an award, whether
             stated in a Federal statute or regulation, including those in 2 CFR part 200, an assurance, the
             GAN, or elsewhere, the awarding agency may in accordance with 2 CFR 200.339 take one or
             more of the following actions:



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                                                                                            GAN ATTACHMENT 5
                                                                                                    Revised 03/2021
                     1.   Temporarily withhold cash payments pending correction of the deficiency by the
                          non-Federal entity or more severe enforcement action by the Federal awarding
                          agency or pass-through entity.
                     2.   Disallow (that is, deny both use of funds and any applicable matching credit for) all
                          or part of the cost of the activity not in compliance.
                     3.   Wholly or partly suspend or terminate the Federal award.
                     4.   Initiate suspension or debarment proceedings as authorized under 2 CFR part 180
                          and Federal award agency regulations (or in the case of a pass-through be initiated
                          by a Federal awarding agency).
                     5.   Withhold further Federal awards for the project or program.
                     6.   Take other remedies that may be legally available.




         Q   Who is responsible for determining the amount of interest owed to the Federal government?
         A   As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
             included in the State’s TSA. A non-State entity must maintain advances of Federal funds in
             interest-bearing accounts unless certain limited circumstance apply and remit interest earned on
             those funds to the Department of Health and Human Services, Payment Management System
             annually. See 2 CFR 200.305.
         Q   What information should accompany my interest payment?
         A   In accordance with 2 CFR 200.305(b)(9), interest in access of $500.00 earned on Federal advance
             payments deposited in interest-bearing accounts must be remitted annually to the Department
             of Health and Human Services Payment Management System (PMS) through an electronic
             medium using either Automated Clearing House (ACH) network or a Fedwire Funds Service
             payment.

             For returning interest on Federal awards paid through PMS, the refund should:
             (a) Provide an explanation stating that the refund is for interest;
             (b) List the PMS Payee Account Number(s) (PANs);
             (c) List the Federal award number(s) for which the interest was earned; and
             (d) Make returns payable to: Department of Health and Human Services.

             For returning interest on Federal awards not paid through PMS, the refund should:
             (a) Provide an explanation stating that the refund is for interest;
             (b) Include the name of the awarding agency;
             (c) List the Federal award number(s) for which the interest was earned; and
             (d) Make returns payable to: Department of Health and Human Services.

             For additional information about returning interest see GAN ATTACHMENT 4.

         Q   Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
             time they need to disburse funds in order to liquidate obligations?
         A    The payment requirements in 2 CFR 200.305(b) authorize a grantee or subgrantee to request
             funds in advance of expenditures if certain conditions are met. However, if those conditions are
             not met, the Department and a pass-through agency may place a payee on reimbursement.



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                                                                                        GAN ATTACHMENT 5
                                                                                                Revised 03/2021
         Q   For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
             States choose to pay LEAs on a reimbursement basis?
         A    A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
             200.305(b)(1) but if the subgrantee cannot meet those standards, the State may put the
             subgrantee on reimbursement payment. See 2 CFR 200.305(b).

         Q   Will the Department issue special procedures in advance if G5 plans to shut down for 3 days or
             more?
         A   Yes, before any shutdown of G5 lasting three days or more, the Department issues special
             guidance for drawing down funds during the shut down. The guidance will include cash
             management improvement act procedures for States and certain State institutions of higher
             education and procedures for grants (including Pell grants) that are not subject to CMIA.




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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION




       Laila Richman
       Project Director
       TOWSON UNIVERSITY
       8000 York Road
       Towson, MD 21252




                                                         RE: Grant Award Termination

        Dear _______________:
             Laila Richman

        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                       S336S240059            See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S336S240059                in its entirety effective _______________.

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                 JA 407
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

                      ,




         Deputy Assistant Secretary for Management and Planning

        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
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                                   Exhibit B




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                            EXHIBIT 15




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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MASSACHUSETTS


         STATE OF CALIFORNIA;
         COMMONWEALTH OF
         MASSACHUSETTS; STATE OF NEW
         JERSEY; STATE OF COLORADO; STATE
         OF ILLINOIS; STATE OF MARYLAND;
         STATE OF NEW YORK; and STATE OF
         WISCONSIN,

                Plaintiffs,

                              v.                       Case No. 1:25-cv-10548

         U.S. DEPARTMENT OF EDUCATION;
         DENISE CARTER, in her official capacity
         as former Acting Secretary of Education and
         current acting Chief Operating Officer,
         Federal Student Aid; LINDA MCMAHON,
         in her official capacity as Secretary of
         Education,


                Defendants.




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                                    DECLARATION OF SEGUN EUBANKS




                I, Segun Eubanks, declare as follows:

                1.      I am a resident of the State of Maryland. I am over the age of 18 and have personal

        knowledge of all the facts stated herein, except as to those matters stated upon information and

        belief; as to those matters, I believe them to be true. If called as a witness, I could and would testify

        competently to the matters set forth below.

                2.      I am currently employed by the University of Maryland, College Park (UMCP), as

        a professor of practice and the Director of UMCP’s Center for Educational Innovation and

        Improvement (CEii). UMCP is a constituent institution of the University System of Maryland, the

        State of Maryland’s public system of higher education.

                3.      As professor of practice and Director of the CEii, I am responsible for leading

        projects that improve the quality of K-12 schools in Maryland and across the United States.

                4.      In 2022, the U.S. Department of Education (ED) invited applications for a

        Supporting Effective Educator Development Grant (SEED).

                5.      SEED Grants were intended to increase the number of highly effective educators

        through implementation of evidence-based practices. One of the competitive funding priorities

        listed in the 2022 Request for Proposals was to promote diversity in the administrator and teaching

        workforce. Another competitive funding priority was to promote equity in student access to

        educational resources.




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               6.      As set out in its grant proposal, the CEii intended to use the SEED grant to provide

        professional development and coaching based on state-of-the-art research to assistant principals

        (on track to become principals) and principals at high-need schools, thereby improving their

        leadership performance in ways that would also improve teacher performance and student

        outcomes.

               7.      Grant S423A220062 was approved to begin on October 1, 2022, for a period of

        three years, in the amount of $4,808,683. The program officer encouraged the project to expend

        funds promptly, so there were no plans to request a no-cost extension.

               8.      On September 27, 2022, ED produced a Grant Award Notification (GAN) setting

        forth the terms and conditions of the grant award. A true and correct copy of the corresponding

        GAN and its attachments, dated September 27, 2022, is attached as Exhibit A. On October 16,

        2024, UMCP received from ED a “Continuation Grant Award Notification.” A true and correct

        copy of this GAN is attached as Exhibit B. As set forth therein, termination of the grant by ED is

        permitted only if a recipient or subrecipient (1) “materially fails to comply with any term of an

        award” (GAN Attachment 5); or (2) engages in violations of human trafficking (GAN Attachment

        8).

               9.      Since October 01, 2022, UMCP has used the SEED grant funds in a manner fully

        consistent with ED’s statements regarding the nature of the grant and UMCP’s grant application.

               10.     UMCP has used and expended the funds to provide comprehensive, research-based

        training and one-on-one mentoring to 120 principals and assistant principals in high-need schools

        in Maryland and New Jersey. Project activities were designed to improve student learning

        outcomes, support and retain teachers, and implement school-wide improvement plans.




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               11.     At the time notification of termination was received (February 10, 2025), the

        remaining amount of funds committed by ED to UMCP was $877,090. Without these remaining

        funds the 70 principals participating in the current cohorts were unable to complete the graduate

        credits offered to them through the program, were unable to earn the micro-credentials aligned

        with their graduate courses, and stopped receiving mentoring, coaching, and school improvement

        plan assessments.

               12.     Throughout the grant period, project staff participated in all required monitoring

        calls and submitted required quarterly reports by their due dates, up to and including January 24,

        2025. Formal written feedback on the project’s performance was not provided, but we received

        grant award notifications and award continuations annually in October, 2023, and October, 2024.

               13.     On February 10, 2025, without any prior notice or indication, ED informed UMCP

        that its SEED grant was being terminated as of February 10, 2025. A true and correct copy of the

        ED’s grant award termination letter is attached as Exhibit C. A true and correct copy of ED’s email

        from Mark Washington, Deputy Assistant Secretary for Management and Planning to me at

        UMCP, attaching the grant award termination letter, is attached as Exhibit D.

               14.     The grant termination letter stated that SEED Grant S423A220062 was terminated

        because the project was inconsistent with and no longer effectuated ED priorities by promoting or

        taking part in DEI initiatives, violating Federal civil rights law, conflicting with ED’s policy

        prioritizing merit, fairness, and excellence in education, not being free from fraud, abuse, or

        duplication, or otherwise failing to serve the best interests of the United States.

               15.     The termination notice was sent at 7:01 p.m., followed by the updated GAN several

        hours later, both of which were sent outside of normal business hours. The reason provided for the

        termination in the updated GAN was that “[t]he grant is deemed to be inconsistent with, and no



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        longer effectuates, Department priorities. See 2 C.F.R. 200.340(a) (4); see also 34 C.F.R. 75.253.”

        The termination notice and email were sent from a contact in ED named Mark Washington, who

        had never been in contact with me or my project staff before. Metadata indicated the termination

        letter was created by another person unfamiliar to me named Brooks Morgan. The termination

        letter appeared to be a template with my name and the award number pasted in. My name and

        address, as well as the signature line of the letter, were oddly formatted.

               16.     UMCP relied and acted upon its expectation and understanding that ED would

        fulfill its commitment to provide SEED grant funding it had awarded to UMCP. The project

        employed two doctoral students and six staff members who were abruptly terminated from the

        project on the stop work date. Program activities were abruptly stopped before the 70 principals

        currently participating were able to complete their coursework and design their school

        improvement plans. Several events planned for the summer, with deposits placed on venues, have

        been cancelled. Contracts with the project’s three partner organizations (Learning Forward, Mira

        Education, Policy Studies Associates) were terminated abruptly.

               17.     The grant termination resulted in harm to the two UMCP graduate students and six

        project employees who suffered an inability to complete their work. UMCP’s CEii must now

        secure additional funding on short notice or face cuts to its staff and possible closure. The harm

        is not limited to UMCP. The project’s partner organizations suffered harm through loss of income

        because their contracts were abruptly cancelled. The project’s 70 participating principals/assistant

        principals in the current cohort have been harmed because they will not gain vital information and

        skills that would have supported the administrator pipeline in these high-need schools. The 1,204

        teachers and nearly 25,000 students from the 70 participating schools in Maryland and New Jersey




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        have been harmed because they will not benefit from improvement of their school leadership that

        would have led to better teacher outcomes and better student outcomes.

               18.     Prior to the grant award termination on February 10, 2025, ED had never provided

        me with notice, written or otherwise, that the grant administered by UMCP engaged in any of the

        activities described in the termination letter. In particular, ED had never provided notice that

        UMCP’s SEED grant programs “promote or take part in DEI initiatives or other initiatives that

        unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another

        protected characteristic”; “violate either the letter or purpose of Federal civil rights law”; “conflict

        with the Department’s policy of prioritizing merit, fairness, and excellence in education”; “are not

        free from fraud, abuse, or duplication”; or “otherwise fail to serve the best interests of the United

        States.”

               19.     On February 21, 2025, a U.S. district court preliminarily enjoined in part the

        enforcement of two January 2025 executive orders that directed the federal government to

        dismantle DEI initiatives. See Dkt. 44, National Association of Diversity Officers in Higher

        Education v. Trump, No. 1:25-cv-00333-ABA (D. Md. Feb. 21, 2025). To date, UMCP has not

        received any guidance from ED about whether its terminated SEED grant awards may be reinstated

        in view of the court order. UMCP inquired about this issue on March 4, 2025, and awaits ED’s

        response.

               20.     The termination caused an abrupt loss of income from the grant, as well as forcing

        us to ask our project’s partner organizations to stop work. The termination forced us to stop efforts

        to improve principals’ performance, increase the administrative and teaching pipeline in high-need

        schools, and improve student outcomes, thus depriving principals, teachers, and students from the

        participating schools of these benefits.



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              I declare under penalty of perjury under the laws of the United States that, to the best of my

        knowledge, the foregoing is true and correct.

              Executed on March 4, 2025, in College Park, Maryland.


                                                                /s/ Segun Eubanks
                                                        _____________________________________
                                                        Segun Eubanks




                                                          6

                                                                                                  JA 419
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                              EXHIBIT A




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                        S423A220062
                        Segun Eubanks
                        University of Maryland
                        VPR
                        University of Maryland
                        2115 Benjamin Building 3942 Campus Drive
                        College Park, MD 20742




                                                                                      JA 421
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                    S423A220062

                    Evan Crierie
                    University of Maryland
                    VPR
                    3112 Lee Building 7809 Regents Drive
                    College Park, MD 20742




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                                             US Department of Education
                                               Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                             2 AWARD INFORMATION
      University of Maryland                                              PR/AWARD NUMBER                S423A220062
      VPR                                                                   ACTION NUMBER                1
      3112 Lee Building 7809 Regents Drive                                     ACTION TYPE               New
      College Park, MD 20742                                                   AWARD TYPE                Discretionary

 3 PROJECT STAFF                                              4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                        84.423A
         Segun Eubanks               (301) 405-2334                     UMD School Improvement Leadership Academy
         seubank2@umd.edu
      EDUCATION PROGRAM CONTACT
         Mia Howerton                (202) 205-0147
         Mia.Howerton@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                         LEVEL OF EFFORT
      Segun Eubanks                 Project Director                                         100 %

 6 AWARD PERIODS
                   BUDGET PERIOD               10/01/2022 - 09/30/2023
              PERFORMANCE PERIOD               10/01/2022 - 09/30/2025

     FUTURE BUDGET PERIODS

          BUDGET PERIOD                           DATE                                      AMOUNT
                   2                      10/01/2023 - 09/30/2024                        $1,833,771.00
                   3                      10/01/2024 - 09/30/2025                        $1,448,595.00

 7 AUTHORIZED FUNDING
                               THIS ACTION                   $1,526,317.00
                             BUDGET PERIOD                   $1,526,317.00
                        PERFORMANCE PERIOD                   $1,526,317.00

 8 ADMINISTRATIVE INFORMATION
                UEI/SSN         NPU8ULVAAS23
           REGULATIONS          CFR PART XXX
                                EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
          ATTACHMENTS           2 , 3 , 6 , 8 , 9 , 11 , 12 , 13 , 14 , GE1 , GE2 , GE3 , GE4 , GE5

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                            PL P.L. 114–95 II DEPARTMENT OF DEFENSE AND FULL YEAR
                                             CONTINUING APPROPRIATIONS ACT
       PROGRAM TITLE:                        SUPPORTING EFFECTIVE EDUCATOR DEVELOPMENT
       CFDA/SUBPROGRAM NO:                   84.423A


                                                                                                                   JA 423
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                                       GRANT AWARD NOTIFICATION
     FUND         FUNDING   AWARD ORG. CODE CATEGORY         LIMITATION   ACTIVITY    CFDA    OBJECT        AMOUNT
     CODE          YEAR      YEAR                                                             CLASS
     0204A         2022      2022   ES000000        B           UE1          000       423     4101C        $1,526,317.00

10    PR/AWARD NUMBER:                         S423A220062
      RECIPIENT NAME:                          University of Maryland
                                               VPR
      GRANTEE NAME:                            UNIVERSITY OF MARYLAND, COLLEGE PARK
                                               3112 LEE BLDG 7809 REGENTS DR,
                                               COLLEGE PARK, MD 20742 - 0001
      PROGRAM INDIRECT COST TYPE:              Restricted
      PROJECT INDIRECT COST RATE:              8%

      TERMS AND CONDITIONS

            (1)    THE FOLLOWING ITEMS ARE INCORPORATED IN THE GRANT AGREEMENT:

                   1) THE RECIPIENT'S APPLICATION (BLOCK 2);
                   2) THE APPLICABLE EDUCATION DEPARTMENT REGULATIONS: 2 CFR PART 180; NONPROCUREMENT
                   DEBARMENT AND SUSPENSION AS ADOPTED AT 2 CFR PART 3485; 2 CFR PART 200 AS ADOPTED
                   AT 2 CFR 3474 (BLOCK 8), AND 34 CFR PARTS 75, 77, 79, 81, 82, 84, 86, 97, 98, 99; AND THE PROGRAM
                   REGULATIONS SPECIFIED IN BLOCK 8; AND
                   3) THE SPECIAL TERMS AND CONDITIONS SHOWN AS ATTACHMENTS IN BLOCK 8 ON THE INITIAL
                   AWARD APPLY UNTIL CHANGED.

                   THIS AWARD SUPPORTS ONLY THE BUDGET PERIOD SHOWN IN BLOCK 6. IN ACCORDANCE WITH 34
                   CFR 75.253, THE SECRETARY CONSIDERS, AMONG OTHER THINGS, CONTINUED FUNDING IF:

                   1) CONGRESS HAS APPROPRIATED SUFFICIENT FUNDS UNDER THE PROGRAM;
                   2) THE DEPARTMENT DETERMINES THAT CONTINUING THE PROJECT WOULD BE IN THE BEST
                   INTEREST OF THE GOVERNMENT;
                   3) THE GRANTEE HAS MADE SUBSTANTIAL PROGRESS TOWARD MEETING THE GOALS AND
                   OBJECTIVES OF THE PROJECT;
                   4) THE SECRETARY ESTABLISHED PERFORMANCE MEASUREMENT REQUIREMENTS FOR THE
                   GRANT IN THE APPLICATION NOTICE, THE PERFORMANCE TARGETS IN THE GRANTEE'S APPROVED
                   APPLICATION;
                   5) THE RECIPIENT HAS SUBMITTED REPORTS OF PROJECT PERFORMANCE AND BUDGET
                   EXPENDITURES THAT MEET THE REPORTING REQUIREMENTS FOUND AT 34 CFR 75.118, 2 CFR 200.328
                   AND 200.329, AND ANY OTHER REPORTING REQUIREMENTS ESTABLISHED BY THE SECRETARY;
                   AND
                   6) THE GRANTEE HAS MAINTAINED FINANCIAL AND ADMINISTRATIVE MANAGEMENT SYSTEMS
                   THAT MEET THE REQUIREMENTS IN 2 CFR 200.302, FINANCIAL MANAGEMENT, AND 2 CFR 200.303,
                   INTERNAL CONTROLS.

                   IN ACCORDANCE WITH 2 CFR 200.308(c)(2) CHANGES TO KEY PERSONNEL IDENTIFIED IN BLOCK 5
                   MUST RECEIVE PRIOR APPROVAL FROM THE DEPARTMENT.

                   THE SECRETARY ANTICIPATES FUTURE FUNDING FOR THIS AWARD ACCORDING TO THE SCHEDULE
                   IDENTIFIED IN BLOCK 6. THESE FIGURES ARE ESTIMATES ONLY AND DO NOT BIND THE SECRETARY
                   TO FUNDING THE AWARD FOR THESE PERIODS OR FOR THE SPECIFIC AMOUNTS SHOWN. THE
                   RECIPIENT WILL BE NOTIFIED OF SPECIFIC FUTURE FUNDING ACTIONS THAT THE SECRETARY
                   TAKES FOR THIS AWARD.

                                                                                                       JA 424
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                                       GRANT AWARD NOTIFICATION
        (2)   The Office of Management and Budget requires all Federal agencies to assign a Federal Award Identifying Number
              (FAIN) to each of their financial assistance awards. The PR/AWARD NUMBER identified in Block 2 is your FAIN.
              If subawards are permitted under this grant, and you choose to make subawards, you must document the assigned PR/
              AWARD NUMBER (FAIN) identified in Block 2 of this Grant Award Notification on each subaward made under this
              grant. The term subaward means:
              1. A legal instrument to provide support for the performance of any portion of the substantive project or program for
              which you received this award and that you as the recipient award to an eligible subrecipient. (See 2 CFR 200.331(a))
              2. The term does not include your procurement of property and services needed to carry out the project or program
              (The payments received for goods or services provided as a contractor are not Federal awards, see 2 CFR 200.501(f)
              of the OMB Uniform Guidance: "Uniform Administrative Requirements, Cost Principles, and Audit Requirements for
              Federal Awards").
              3. A subaward may be provided through any legal agreement, including an agreement that you or a subrecipient
              considers a contract. (See 2 CFR 200.1)

        (3)   Reimbursement of indirect costs is subject to the availability of funds and statutory and regulatory restrictions. The
              negotiated indirect cost rate agreement authorizes a non-Federal entity to draw down indirect costs from the grant
              awards. The following conditions apply to the below entities.

              A. All entities (other than institutions of higher education (IHE))

              The GAN for this grant award shows the indirect cost rate that applies on the date of the initial grant for this project.
              However, after the initial grant date, when a new indirect cost rate agreement is negotiated, the newly approved
              indirect cost rate supersedes the indirect cost rate shown on the GAN for the initial grant. This new indirect cost rate
              should be applied according to the period specified in the indirect cost rate agreement, unless expressly limited under
              EDGAR or program regulations. Any grant award with an approved budget can amend the budget to account for a
              change in the indirect cost rate. However, for a discretionary grant award any material changes to the budget which
              may impact the scope or objectives of the grant must be discussed with the program officer at the Department. See 34
              CFR 75.560 (d)(3) (ii) (part 75 of EDGAR).

              B. Institutions of higher education (IHE)

              Under 2 CFR part 200, Appendix III, Indirect (F&A) Costs Identification and Assignment, and Rate Determination
              for Institutions of Higher Education (IHEs), the Department must apply the negotiated indirect cost rate in effect on
              the date of the initial grant award to every budget period of the project, including all continuation grants made for this
              project. See 2 CFR Part 200, Appendix III, paragraph C.7. Therefore, the GAN for each continuation grant will show
              the original indirect cost rate and it applies to the entire period of performance of this project. If the indirect cost rate
              agreement that is applicable to this grant does not extend to the end of the grant s project period, the indirect cost rate
              set at the start of the project period must still be applied to the end of project period regardless of the fact that the rate
              has otherwise expired.

        (4)   Revised Budget: The following condition will be imposed on all grantees recommended for funding:
              The grantee must submit a revised budget covering Year 1 of the grant award that aligns with the actual amount of
              funding that the grantee receives from the Department. The revised budget must be within the scope of the approved
              project and must align with all initial goals and objectives of the approved application. The grantee must submit this
              revised budget within 30 days of the grant award.
              If you wish to request reconsideration of these specific conditions, please send written notification describing why
              such conditions should not be imposed on this grant to your Department program officer.

              Frontload: The following condition will be imposed on the grantees who are proposed to be frontloaded:
              This grant is a frontloaded grant, i.e., funds indicated in Block 7 were requested by the grantee, and approved by the
              Department, for expenditure in more than one budget period. For the current budget period and any subsequent budget
              period, the grantee may only draw down funds in accordance with its approved budget for that budget period and may
              not draw down funds in excess of that amount without prior approval.
              If you wish to request reconsideration of these specific conditions, please send written notification describing why
              such conditions should not be imposed on this grant to your Department program officer.
                                                                                                                          JA 425
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                           GRANT AWARD NOTIFICATION




                                               AUTHORIZING OFFICIAL                     DATE

Ver. 1




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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                managing the project in accordance with U.S. Department of Education procedures and
                                regulations.


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        UEI/SSN -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.
                       The SSN, issued by the Social Security Administration to individuals, is a nine character identifier for individuals. The
                       Department assigns the SSN as an identifier to individuals who are recipients of Federal financial assistance for payment
                       purposes.
      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
* This item differs or does not appear on formula and block grants.




                                                                                                                                    JA 428
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                         UNITED STATES DEPARTMENT OF EDUCATION
                               OFFICE OF THE CHIEF FINANCIAL OFFICER
                                   & CHIEF INFORMATION OFFICER




        Segun Eubanks
        University of Maryland
        VPR
        3112 Lee Building 7809 Regents Drive

        College Park, MD 20742

        SUBJECT: Payee Identification for Grant Award S423A220062

        This is to inform you that the United States Department of Education does not have a payee
        and bank account of record designated for the above listed grant award. You will not be able to
        request funds for this grant award until a payee and bank account of record are established.

        1) All SF-1199A, Direct Deposit and Fedwire Sign-Up forms must be mailed to the Department
           of Education. The SF-1199A must contain original signatures for both the recipient and bank
           officials.
        2) First time recipients establishing a bank account for a new award must include a copy of the
           grant award document with the cover letter and SF-1199A, Direct Deposit or Fedwire Sign-
           Up forms.
        3) The Grant Administration and Payment System (GAPS) has been enhanced to produce an
           automated notification when bank account data has been changed or deleted. This automated
           notification is transmitted via e-mail to Payees having e-mail capacity or mailed to recipients
           without an e-mail address.
        4) All banking information requests, including establishing a new bank account, modifying an
           existing bank account or deleting a bank account must be accompanied with a cover letter
           requesting the specific action. The cover letter must be on the letterhead of the requesting
           payee. The cover letter must contain the following information:

              - UEI
              - e-mail address (if available) for the person to receive automated notification
              - signature and phone number of the person requesting the bank information change

        Mail Cover Letters and accompanying forms to:
                                         U.S. Department of Education
                                       400 Maryland Ave, SW, Rm. 4C146
                                          Washington, DC 20202-4110




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                         UNITED STATES DEPARTMENT OF EDUCATION
                               OFFICE OF THE CHIEF FINANCIAL OFFICER
                                   & CHIEF INFORMATION OFFICER

                                    Attn: Financial Management Operations

        If you have any questions or require assistance concerning establishing a payee record for a bank
        account please contact the G5 Hotline at 1-888-336-8930.




                                                                                                JA 430
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  Dear G5 Payee:
  To obtain your G5 Login ID, you will need to complete the G5 External User Access Request Form and return
  it notarized to the U.S. Department of Education. Attached are the instructions for accessing and completing the
  form. Upon receiving the notarized form, the Department will send you an email with your new G5 Login ID.
  Please mail the form to:
                        U.S. Department of Education
                        Office of the Chief Information Officer
                        Mail Stop - 4110
                        400 Maryland Avenue S.W.
                        Washington, DC 20202
                        Attn: Functional Applications Team
  Thank you for your continued support of the U.S. Department of Education's G5 Grant Management System.
  Please contact the G5 Hotline (888-336-8930) if you have any
                        Sincerely,
                        G5 Administration




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  Instructions for Completing the G5 External User Access Request Form
  To establish direct access to your U.S. Department of Education G5 Grant Management System account, please
  complete the G5 External User Access Request Form attached, have it notarized, and mail the completed form
  to the address below.

  Steps for Completing the G5 External User Access Request Form -

     1. Go to http://www.g5.gov and click on the link, "Not Registered? Sign up".
     2. Compete each data element of the form including the following elements:
            a. User Type (Select Payee unless you are specifically a Servicer)
            b. Unique Entity Identifier (UEI)
            b. Desired Role (Select Full Access to enable you to continue to draw funds, or View Only if you
               will only need to review account activity).
     3. Print the form and then Submit your online registration.
     4. You will immediately receive an email asking you to activate your account.
     5. Click on the link in the email and select your password and Secret Question and Answer.
     6. Congratulations! You now have an active account. Only one more step!!
     7. Sign the printed (from step 3) G5 External User Access Request Form as the Authorized Payee in the
        presence of a Notary Public.
     8. Assure the G5 External User Access Request Form is notarized with appropriate seal and signature and
        expiration date.
     9. Mail the completed, notarized G5 External User Access Request Form to the following address:
                      U.S. Department of Education
                      Office of the Chief Information Officer
                      Mail Stop - 4110
                      400 Maryland Avenue S.W.
                      Washington DC 20202
                      Attn: Functional Applications Team
     10. Allow two weeks for delivery and account updates.
     11. You will receive Email notification that your G5 External User Access Request Form has been processed
         and your roles have been assigned.
     12. Congratulations, You're now able to access G5 directly.
  As always, please contact the G5 Hotline (888-336-8930) with any questions.




                                                                                              JA 432
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                                      INSTRUCTIONS
                             ACH DIRECT DEPOSIT SIGN-UP FORM
                                           SF-1199A

  Recipients can obtain an SF-1199A (Figure D-1) from their financial insitution. The preprinted instructions on
  the reverse side of the SF-1199A should be disregarded and the following instructions should be followed in
  completing the SF-1199A.

  The recipient is to complete Sections 1 and 2 of the SF-1199A. The recipient's financial institution is to
  complete Section 3 and mail the completed form to the Department of Education. The financial institution will
  mail a copy of the completed SF-1199A to the recipient.

  INSTRUCTIONS - SECTION 1
  ITEM A     Name of Payee                       Enter the name and address of payee's organization.
             Address                             Enter telephone number of person authorized to certify the
             Telephone Number                    payment request.
  ITEM B     Name of Person(s) Entitled          Leave Blank.
             to Payment
  ITEM C     Claim or Payroll ID                 Enter the following information
             Number                                Prefix: 9 digit D-U-N-S Number,
                                                   Suffix: 11 character Grant Award nUmber.
  ITEM D           Type of Depositor             Place an "X" in the Appropriate Box.
  ITEM E           Depositor Account             Enter the payee's account number at the financial institution in
                                                 which funds are to be deposited. Include blanks or dashes when
                                                 entering the account number.
  ITEM F           Type of Payement              Enter "X" in the "Other" box.
  ITEM G           Box for Allotment of          Leave Blank.
                   Payment Only
  Payee/Joint                                    Authorized Certifying Official for the payee is to sign the form.
  Certification

  INSTRUCTIONS - SECTION 2
  Government Agency Name               Enter:     U.S. Department of Education
  Government Agency Address            Enter:     400 Maryland Avenue, SW
                                                  Room 4C138
                                                  Washington, DC 20202

  INSTRUCTIONS - SECTION 3
  To be completed by financial institution.




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  Director, Financial Payment Group
  U.S. Department of Education
  400 Maryland Avenue, SW
  Washington, DC 20202 - 4331

  Ref: PR/Award No. S423A220062

  Dear Sir:

  Please transfer FEDWIRE payments for University of Maryland to the following financial institution and depositor account
  beginning on this date: Month_____, Day_____, Year_____.

  Information regarding the financial institution to which payments for D-U-N-S_______________ are to be transferred is
  provided below.



  Financial Institution                                        Corresponding Bank (if applicable):

  Name:                                                        Name:
  Street:                                                      Street:
  City:                                                        City:
  State:                                                       State:
  Zip:                                                         Zip:

  ABA Number:                                                  ABA Number:
  Account Number:                                              Telegraphic Abbrev.:
  Contact Name:
  Telephone No:

  Please update my account with the information as indicated above. If you have any questions, I may be reached at (____)
  _______________.


                                                                  Sincerely,



                                                                         Chief Financial Officer




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                                  SPECIFIC GRANT TERMS AND CONDITIONS FOR
                                    FINANCIAL AND PERFORMANCE REPORTS


        PERFORMANCE REPORTS:

        (1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
        after the expiration or termination of grant support in accordance with submission instructions provided
        in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
        Department of Education (Department) (2 CFR § 200.329(c)).

        (2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS - ALL RECIPIENTS of a multi-year discretionary
        award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
        report shall provide the most current performance and financial expenditure information that is
        sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, and 34 CFR § 75.720.

        Your education program contact will provide you with information about your performance report
        submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
        another notification provided by the Department. The grant term or condition in box 10 on the GAN or
        another notification may reflect any of the following:

            1. That a performance report is due before the next budget period begins. The report should
               contain current performance and financial expenditure information for this grant. It will either
               identify the date the performance report is due or state that the Department will provide
               additional information about this report, including due date, at a later time.

            2. That an interim performance report is required because of the nature of the award or because
               of statutory or regulatory provisions governing the program under which this award is made,
               and that the report is due more frequently than annually as indicated, e.g., due quarterly and
               submitted within 30 days after the end of each quarter, or due semiannually and submitted
               within 30 days after the end of each 6-month period (2 CFR § 200.329(c)(1)).

            3. That other reports are required, e.g., program specific reports required in a program’s statute or
               regulation.

        (3) FINANCIAL REPORTS – SOME RECIPIENTS:

        If a financial report is required, your education program contact will provide you with information about
        your financial report submission, including the due date, as a grant term or condition in box 10 on the
        GAN, or through another notification.

        A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

            1. A grant involves cost sharing, and the ED 524B, which collects cost sharing information, is not
               submitted or a program-specific report approved by U.S. Office of Management and Budget
               (OMB) does not collect cost sharing information;
            2. Program income was earned;


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            3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
               report approved by OMB does not collect indirect cost information;
            4. Program regulations or statute require the submission of the FFR; or
            5. Specific Award Conditions, or specific grant or subgrant conditions for designation of “high risk,”
               were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
               submission of the FFR.

        If the FFR is required, the notification may indicate one of the following (see the form and its
        instructions at Standard Form (SF) 425 Federal Financial Report (FFR)):

            1. Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
               are due within 30 days after each reporting period.

            2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
               within 30 days after each reporting period.

            3. Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
               reporting period.

            4. Final - In coordination with the submission of final performance reports, FFRs are due within 120
               days after the project or grant period end date (2 CFR 200.328).

        When completing an FFR for submission, the following must be noted:

            1. Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
               that is designed for single grant and multiple grant award reporting, the Department’s policy is
               that multiple grant award reporting is not permitted for Department grants. Thus, a Department
               grantee that is required to submit an FFR in accordance with any of the above referenced
               selections must complete and submit one FFR for each of its grants. Do not use the FFR
               attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
               on Department grants. As such, references to multiple grant reporting and to the FFR
               attachment in items 2, 5 and 10 of the FFR are not applicable to Department grantees. With
               regards to item 1 of the note found in the FFR Instructions, a grantee must complete items 10(a)
               through 10(o) for each of its grants. The multiple award, multiple grant, and FFR attachment
               references found in items 2, 5, 6, before 10(a), in item 10(b), before 10(d), before 10(i) and
               before 10(l) of the Line Item Instructions for the FFR are not applicable to Department grants.

            2. Program Income: Unless disallowed by statute or regulation, a grantee will complete item 10(m)
               or 10(n) in accordance with the options or combination of options as provided in 2 CFR Part
               200.307. A grantee is permitted, in accordance with 2 CFR Part 200.307, to add program income
               to its Federal share to further eligible project or program objectives, use program income to
               finance the non-Federal share of the project or program; and deduct program income from the
               Federal share of the total project costs.

            3. Indirect Costs: A grantee will complete item 11(a) by listing the indirect cost rate type identified
               on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.


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                 A Department grantee that does not have an indirect cost rate agreement approved by its
                 cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
                 day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
                 wages, or the de minimis rate of 10% of modified total direct cost (MTDC) must list its indirect
                 cost rate in 11(a) as a Department Temporary Rate or De Minimis Rate. The de minimis rate of
                 10% of MTDC consists of:

                          All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                          travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
                          subgrant). MTDC excludes equipment, capital expenditures, charges for patient care,
                          rental costs, tuition remission, scholarships and fellowships, participant support costs
                          and the portion of each subaward in excess of $25,000. Other items, including contract
                          costs in excess of $25,000, may be excluded when necessary to avoid a serious inequity
                          in the distribution of indirect costs (see definition of MTDC at 2 CFR § 200.1).

                 A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
                 MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with EDGAR
                 § 75.562 (c), must list its rate in 11(a) as a Department Training Grant Rate. The 8% limit does
                 not apply to agencies of Indian tribal governments, local governments, and States 1 as defined in
                 2 CFR § 200.1

                 A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in 11(a). A
                 restricted program (i.e., programs with statutory supplement-not-supplant requirements)
                 grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
                 indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
                 negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
                 not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
                 not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
                 the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
                 negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
                 rate as a Department Temporary Rate in 11(a).

                 Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
                 as a Rate Required in Program Statute or Regulation in 11(a). Grantees are required to follow
                 program-specific statutory or regulatory requirements that mandate either indirect cost rate
                 type or maximum administrative costs recovery.

                 For detailed information including restrictions related to temporary, de minimis, training,
                 restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

            4. Supplemental Pages: If grantees need additional space to report financial information, beyond
               what is available within the FFR, they should provide supplemental pages. These additional
               pages must indicate the following information at the top of each page: the PR/Award Number

        1
          Note that a State-funded institution of higher education is not considered a “State government” for these purposes;
        and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
        purposes.
        2
          Note that a State-funded institution of higher education is not considered a “State government” for these purposes.

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              also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
              Identifier, Employer Identification Number (EIN), and period covered by the report.




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                             AN OVERVIEW OF SINGLE AUDIT REQUIREMENTS OF STATES,
                             LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

        This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
        comply with audit requirements specified in block 10 of their Grant Award Notification
        (GAN).

        Summary of Single Audit Requirements for States, Local Governments and Nonprofit
        Organizations:

              1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
                 Institution of Higher Education (IHE) 1, or nonprofit organization) that expends
                 $750,000 or more during the non-Federal entity’s fiscal year in Federal awards must
                 have a single audit conducted in accordance with 2 CFR 200.501, “Audit
                 Requirements,” except when it elects to have a program specific audit conducted.

              2. Program-specific audit election. When an auditee expends Federal awards under
                 only one Federal program (excluding research and development (R&D)), and the
                 Federal program’s statutes, regulations, or the terms and conditions of the Federal
                 award do not require a financial statement audit of the auditee, the auditee may
                 elect to have a program–specific audit conducted. A program–specific audit may
                 not be elected for R&D unless all of the Federal awards expended were received
                 from the same Federal agency, or the same Federal agency and the same pass-
                 through entity, and that Federal agency, or pass-through entity in the case of a
                 subrecipient, approves in advance a program-specific audit.

              3. Exemption when Federal awards expended are less than $750,000. A non-Federal
                 entity that expends less than $750,000 during the non-Federal entity’s fiscal year in
                 Federal awards is exempt from Federal audit requirements for that year, except as
                 noted in 2 CFR 200.503, but records must be available for review or audit by
                 appropriate officials of the Federal agency, pass-through entity, and Government
                 Accountability Office (GAO). Generally, grant records must be maintained for a
                 period of three years after the date of the final expenditure report (2 CFR § 200.334)

              4. Federally Funded Research and Development Centers (FFRDC). Management of an
                 auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
                 entity.

              5. Report Submission. To meet audit requirements of U.S. Office of Management and
                 Budget (OMB) Uniform Guidance: Cost Principles, Audit, and Administrative
                 Requirements for Federal Awards (Uniform Guidance), grantees must submit all
                 audit documents required by Uniform Guidance 2 CFR 200.512, including Form SF-
                 SAC: Data Collection Form electronically to the Federal Audit Clearinghouse at:


        1
            As defined under the Higher Education Act of 1965, as amended (HEA) section 101.
                                                                   1



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                https://facides.census.gov/Account/Login.aspx.

                The audit must be completed, and the data collection form and reporting package
                must be submitted within the earlier of 30 calendar days after receipt of the
                auditor’s report(s), or nine months after the end of the audit period. If the due date
                falls on a Saturday, Sunday, or Federal holiday, the reporting package is due the next
                business day. Unless restricted by Federal statutes or regulations, the auditee must
                make copies available for public inspection. Auditees and auditors must ensure that
                their respective parts of the reporting package do not include protected personally
                identifiable information. (2 CFR 200.512)

        Grantees are strongly urged to obtain the “OMB Compliance Supplement” and to contact their
        cognizant agency for single audit technical assistance.

        The designated cognizant agency for single audit purposes is “the Federal awarding agency that provides
        the predominant amount of direct funding to the recipient.” Grantees should obtain a copy of the OMB
        Compliance supplement. This supplement will be instructive to both grantees and their auditors.
        Appendix III of the supplement provides a list of Federal Agency Contacts for Single Audits, including
        addresses, phone numbers, fax numbers, and e-mail addresses for technical assistance.

        For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
        should contact the Non-Federal Audit Team in the Department’s Office of Inspector General, at oignon-
        federalaudit@ed.gov. Additional resources for single audits are also available on the Non-Federal Audit
        Team’s website at https://www2.ed.gov/about/offices/list/oig/nonfed/index.html. For programmatic
        questions, grantees should contact the education program contact shown on the Department’s GAN.

        Grantees can obtain information on single audits from:

        The OMB website at www.omb.gov. Look under Office of Management and Budget (in right column)
        then click Office of Federal Financial Management (to obtain OMB Compliance Supplement). The SF-
        SAC: Data Collection Form can be found at the Federal Audit Clearinghouse at:
        https://facides.census.gov/Files/2019-2021%20Checklist%20Instructions%20and%20Form.pdf.

        The American Institute of Certified Public Accountants (AICPA) has illustrative OMB Single Audit
        report examples that might be of interest to accountants, auditors, or financial staff at
        www.aicpa.org.




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                                REQUEST FOR APPROVAL OF PROGRAM INCOME

        In projects that generate program income, the recipient calculates the amount of program income
        according to the guidance given in 2 CFR Part 200.307.


        *** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
        TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
        YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***


        Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
        of options, as provided in 2 CFR Part 200.307, for using program income generated in the course of the
        recipient's authorized project activities:

        _____ Not Allowed Adding program income to funds committed to the project by the Secretary and
             recipient and using it to further eligible project or program objectives;

        _____ Not Allowed Using program income to finance the non-Federal share of the project or program;
              and

        _____ Not Allowed Deducting program income from the total allowable cost to determine the net
             allowable costs.




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                                          TRAFFICKING IN PERSONS

        The Department of Education adopts the requirements in the Code of Federal Regulations at 2
        CFR 175 and incorporates those requirements into this grant through this condition. The grant
        condition specified in 2 CFR 175.15(b) is incorporated into this grant with the following changes.
        Paragraphs a.2.ii.B and b.2. ii. are revised to read as follows:

                “a.2.ii.B. Imputed to you or the subrecipient using the standards and due
                process for imputing the conduct of an individual to an organization that are
                provided in 34 CFR part 85.”

                “b.2. ii. Imputed to the subrecipient using the standards and due process for
                imputing the conduct of an individual to an organization that are provided in
                34 CFR part 85.”

        Under this condition, the Secretary may terminate this grant without penalty for any violation of
        these provisions by the grantee, its employees, or its subrecipients.




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                                 FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                                 REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION

        The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
        and improve the public’s access to Federal government information. To this end, FFATA requires that
        Department of Education (Department) grant recipients:

            1. Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
               meet the reporting conditions as set forth in this grant award term;
            2. Report their executives’ compensation for all new Federal grants that are funded at $30,000 and
               that meet the reporting conditions as set forth in this grant award term; and
            3. Report executive compensation data for their first-tier subrecipients that meet the reporting
               conditions as set forth in this grant award term.

        For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
        Award Notification.

        Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
        first-tier subrecipients’ executive compensation are required to be reported in accordance with FFATA.

        Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
        within item 5, Definitions, of this grant award term.

        This grant award term is issued in accordance with 2 CFR Part 170—Reporting Subaward And Executive
        Compensation Information.

            1. Reporting of First-tier Subawards -

            a. Applicability and what to report.

                Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
                report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
                to a non-Federal entity or Federal agency.

                You must report the information about each obligating action that are specified in the
                submission instructions posted at FSRS.

            b. Where and when to report.

                The Department grant recipient must report each obligating action described in paragraph 1.a.
                of this award term to FSRS.

                Report subaward information no later than the end of the month following the month in which
                the subaward obligation was made. For example, if the obligation was made on November 7,
                2020, the obligation must be reported by no later than December 31, 2020.

            2. Reporting Total Compensation of the Department’s Grant Recipients’ Executives -


                                                            1

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           a. Applicability and what to report.

                   You must report total compensation for each of your five most highly compensated executives
                   for the preceding completed fiscal year, if—

                   i    The total Federal funding authorized to date under this Federal award equals or exceeds
                        $30,000;

                   ii   In the preceding fiscal year, you received—

                        A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                           (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                           defined at 2 CFR 170.320 (and subawards), and
                        B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                           subcontracts) and Federal financial assistance subject to the Transparency Act, as
                           defined at 2 CFR 170.320 (and subawards); and,
                        C. The public does not have access to information about the compensation of the
                           executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                           Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                           Code of 1986. (To determine if the public has access to the compensation information,
                           see the U.S. Security and Exchange Commission total compensation filings at SEC
                           Investor.gov Executive Compensation.)

           b. Where and when to report.

                   You must report executive total compensation described in paragraph 2.a. of this grant award
                   term:

             i.         As part of your registration profile at SAM.gov.

             ii.        By the end of the month following the month in which this award is made (for example, if
                        the obligation was made on November 7, 2020 the executive compensation must be
                        reported by no later than December 31, 2020), and annually thereafter.

           3. Reporting of Total Compensation of Subrecipient Executives –

           a. Applicability and what to report.

                   Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
                   non-Federal entity subrecipient under this award, you shall report the names and total
                   compensation of each of the subrecipient's five most highly compensated executives for the
                   subrecipient's preceding completed fiscal year, if—

             i.         In the subrecipient's preceding fiscal year, the subrecipient received—




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                      A. 80 percent or more of its annual gross revenues from Federal procurement contracts
                         (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                         defined at 2 CFR 170.320 (and subawards), and
                      B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                         subcontracts) and Federal financial assistance subject to the Transparency Act, as
                         defined at 2 CFR 170.320 (and subawards); and,
                      C. The public does not have access to information about the compensation of the
                         executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                         Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                         Code of 1986. (To determine if the public has access to the compensation information,
                         see the U.S. Security and Exchange Commission total compensation filings at SEC
                         Investor.gov Executive Compensation.)

           b. Where and when to report.

                   You must report subrecipient executive total compensation described in paragraph 3.a. of this
                   grant award term:

             i.       In FSRS. You must include a condition on subawards that requires the subrecipients to
                      timely report the information required under paragraph 3.a. to you the prime awardee, or
                      in the SAM.gov. Subrecipient executive compensation entered in SAM.gov by the
                      subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
                      enter this information in SAM.gov. Subrecipient executive compensation not entered in
                      SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

             ii.      By the end of the month following the month during which you make the subaward. For
                      example, if the subaward obligation was made on November 7, 2020 the subrecipient’s
                      executive compensation must be reported by no later than December 31, 2020.

           4. Exemptions –

           a. If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
              exempt from the requirements to report:

             i.       Subawards, and

             ii.      The total compensation of the five most highly compensated executives of any subrecipient.

           5. Definitions -

           a. For purposes of this award term:

             i.       Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by
                      5 U.S.C. 552(f).

             ii.      Non-Federal Entity means all of the following, as defined in 2 CFR part 25:

                      A Governmental organization, which is a State, local government, or Indian tribe;

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                   A foreign public entity;

                   A domestic or foreign nonprofit organization; and,

                   A domestic or foreign for-profit organization

            iii.   Executive means officers, managing partners, or any other employees in management
                   positions.

            iv.    Obligation, when used in connection with a non-Federal entity's utilization of funds under a
                   Federal award, means orders placed for property and services, contracts and subawards
                   made, and similar transactions during a given period that require payment by the non-
                   Federal entity during the same or a future period.

             v.    Subaward:

                   This term means a legal instrument to provide support for the performance of any portion
                   of the substantive project or program for which you received this award and that you as the
                   recipient award to an eligible subrecipient.

                   The term does not include your procurement of property and services (such as payments to
                   a contractor, small purchase agreements, vendor agreements, and consultant agreements)
                   that are needed for the benefit of the prime awardee to carry out the project or program
                   (for further explanation, see 2 CFR 200.331). For example, the following are not considered
                   subawards:

                       Cleaning Vendors: Vendors that are hired by a grantee to clean its facility.
                       Payroll Services Vendors: Vendors that carryout payroll functions for the grantee.
                       Information Technology Vendors: Vendors that provide IT support to grant staff.

                   Payments to individuals that are beneficiaries of Federal programs are not considered
                   subawards.

                   A subaward may be provided through any legal agreement, including an agreement that you
                   or a subrecipient considers a contract.

             v.    Subrecipient means a non-Federal entity or Federal agency that:

                   Receives a subaward from you (the recipient) under this award; and

                   Is accountable to you for the use of the Federal funds provided by the subaward.

                   In accordance with its subaward, uses the Federal funds to carry out a program for a public
                   purpose specified in authorizing statute, as opposed to providing goods or services for the
                   benefit of the Department prime awardee.



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            vii.    Recipient means a non-Federal entity that receives a Federal award directly from a Federal
                    awarding agency to carry out an activity under a Federal program. The term recipient does
                    not include subrecipients. See also §200.69 Non-Federal entity.
            viii.   Total compensation means the cash and noncash dollar value earned by the executive
                    during the recipient's or subrecipient's preceding fiscal year and includes the following (for
                    more information see 17 CFR 229.402(c)(2)):

                    Salary and bonus.

                    Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
                    recognized for financial statement reporting purposes with respect to the fiscal year in
                    accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2004)
                    (FAS 123R), Shared Based Payments.

                    Earnings for services under non-equity incentive plans. This does not include group life,
                    health, hospitalization, or medical reimbursement plans that do not discriminate in favor of
                    executives and are available generally to all salaried employees.

                    Change in pension value. This is the change in present value of defined benefit and actuarial
                    pension plans.

                    Above-market earnings on deferred compensation which is not tax-qualified.

                    Other compensation, if the aggregate value of all such other compensation (e.g., severance,
                    termination payments, value of life insurance paid on behalf of the employee, perquisites,
                    or property) for the executive exceeds $10,000.




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                                   SPECIFIC CONDITIONS FOR DISCLOSING
                               FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

        When issuing statements, press releases, requests for proposals, bid solicitations and other
        documents describing projects or programs funded in whole or in part with Federal money, U.S.
        Department of Education grantees shall clearly state:

                1) the percentage of the total costs of the program or project which will be financed with
                   Federal money;

                2) the dollar amount of Federal funds for the project or program; and

                3) the percentage and dollar amount of the total costs of the project or program that will
                   be financed by non-governmental sources.

        Recipients must comply with these conditions under Division H, Title V, Section 505 of Public Law 116-
        260, Consolidated Appropriations Act, 2021.




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                 PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
                           DURING OFFICIAL FEDERAL GRANT BUSINESS

              Federal grant recipients, sub recipients and their grant personnel are prohibited from text
              messaging while driving a government owned vehicle, or while driving their own privately-
              owned vehicle during official grant business, or from using government supplied electronic
              equipment to text message or email when driving.


              Recipients must comply with these conditions under Executive Order 13513,
              “Federal Leadership on Reducing Text Messaging While Driving,” October 1,
              2009.




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                   REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
                IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM)


        The U.S. Department of Education (Department) Grants Management System (G5) disburses payments
        via the U.S. Department of Treasury (Treasury). The U.S. Treasury requires that we include your Tax
        Payer Identification Number (TIN) with each payment. Therefore, in order to do business with the
        Department you must have a registered Unique Entity Identifier (UEI) and TIN number with the SAM,
        the U.S. Federal Government’s primary registrant database. If the payee UEI number is different than
        your grantee UEI number, both numbers must be registered in the SAM. Failure to do so will delay the
        receipt of payments from the Department.

        A TIN is an identification number used by the Internal Revenue Service (IRS) in the administration of tax
        laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A Social Security
        number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

        The following are all considered TINs according to the IRS.

            •    Social Security Number "SSN"
            •    Employer Identification Number "EIN"
            •    Individual Taxpayer Identification Number "ITIN"
            •    Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
            •    Preparer Taxpayer Identification Number "PTIN"

        If your UEI number is not currently registered with the SAM, you can easily register by going to
        www.sam.gov. Please allow 3-5 business days to complete the registration process. If you need a new
        TIN, please allow 2-5 weeks for your TIN to become active. If you need assistance during the
        registration process, you may contact the SAM Federal Service Desk at 866-606-8220.

        If you are currently registered with SAM, you may not have to make any changes. However, please take
        the time to validate that the TIN associated with your UEI is correct.

        If you have any questions or concerns, please contact the G5 Hotline at 888-336-8930.




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              SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

        1. Requirement for System for Award Management (SAM)

        Unless you are exempted from this requirement under 2 CFR 25.110, you are, in accordance with your
        grant program's Notice Inviting Applications, required to maintain an active SAM registration with
        current information about your organization, including information on your immediate and highest level
        owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
        grant within the last three years, if applicable, at all times during which you have an active Federal
        award or an application or plan under consideration by a Federal awarding agency. To remain
        registered in the SAM database after your initial registration, you are required to review and update
        your information in the SAM database on an annual basis from the date of initial registration or
        subsequent updates to ensure it is current, accurate and complete.


        2. Requirement for Unique Entity Identifier (UEI) Numbers

        If you are authorized to make subawards under this award, you:

        1. Must notify potential subrecipients that they may not receive a subaward from you unless they
           provided their UEI number to you.
        2. May not make a subaward to a subrecipient when the subrecipient fails to provide its UEI number to
           you.

        3. Definitions

        For purposes of this award term:

        1. System for Award Management (SAM) means the Federal repository into which a recipient must
           provide information required for the conduct of business as a recipient. Additional information
           about registration procedures may be found at the SAM internet site (currently at
           https://www.sam.gov).

        2. Unique Entity Identifier (UEI) means the identifier assigned by SAM registration to uniquely identify
           business entities.

        3. Recipient means a non-Federal entity that receives a Federal award directly from a Federal awarding
           agency to carry out an activity under a Federal program. The term recipient does not include
           subrecipients. See 2 CFR 200.86.

        4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
           to carry out part of a Federal award received by the pass-through entity. It does not include
           payments to a contractor or payments to an individual that is a beneficiary of a Federal program. A
           subaward may be provided through any form of legal agreement, including an agreement that the
           pass-through entity considers a contract. See 2 CFR 200.92.
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        5. Subrecipient means a non-Federal entity that receives a subaward from a pass-through entity to
           carry out part of a Federal program; but does not include an individual that is a beneficiary of such
           program. A subrecipient may also be a recipient of other Federal awards directly from a Federal
           awarding agency. See 2 CFR 200.93.




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            KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
                         AWARDED BY THE DEPARTMENT OF EDUCATION

           The Department expects grantees to administer Department grants in accordance with
           generally accepted business practices, exercising prudent judgment so as to maintain
           proper stewardship of taxpayer dollars. This includes using fiscal control and fund
           accounting procedures that insure proper disbursement of and accounting for Federal
           funds. In addition, grantees may use grant funds only for obligations incurred during
           the funding period.

           Title 2 of the Code of Federal Regulations Part 200, “Uniform Administrative
           Requirements, Cost Principles, and Audit Requirements for Federal Awards,” establishes
           requirements for Federal awards made to non-Federal entities. The Education
           Department General Administrative Regulations in 34 CFR (EDGAR) 75, 76, 77, 79, 81,
           82, 84, 86, 97, 98, and 99 contain additional requirements for administering
           discretionary grants made by this Department. The most recent version of these
           regulations may be accessed at the following URLs:

           The Education Department General Administrative Regulations (EDGAR)

           2 CFR Part 200 Uniform Administrative Requirements, Cost Principles, and Audit
           Requirements for Federal Awards

           The information on page 2, "Selected Topics in Administering Department Discretionary
           Grants," highlights major administrative requirements of 2 CFR Part 200. In addition, a
           few of the topics discuss requirements that the Department imposes on its discretionary
           grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part 200
           and of EDGAR that address the topics discussed are shown in parentheses. The
           Department urges grantees to read the full text of these and other topics in EDGAR and
           in 2 CFR Part 200.

           Grantees are reminded that a particular grant might be subject to additional
           requirements of the authorizing statute for the program that awarded the grant and/or
           any regulations issued by the program office. Grantees should become familiar with
           those requirements as well, because program-specific requirements might differ from
           those in 2 CFR Part 200 and in EDGAR.

           The Department recommends that the project director and the fiscal management staff
           of a grantee organization communicate frequently with each other about the grant
           budget. Doing so will help to assure that you use Federal funds only for those
           expenditures associated with activities that conform to the goals and objectives
           approved for the project.

           Grantees may direct any questions regarding the topics discussed on page 2, "Selected
           Topics in Administering Department Discretionary Grants,"or about any other aspect of
           administering your grant award to the Department program staff person named in Block
           3 of the Grant Award Notification.


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                 SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

           I.      Financial Management Systems (2 CFR Part 200.302)

           In general, grantees are required to have financial management systems that:

                   ∗   provide for accurate, current, and complete disclosure of results regarding
                       the use of funds under grant projects;
                   ∗   provide adequate source documentation for Federal and non-Federal funds
                       used under grant projects;
                   ∗   contain procedures to determine the allowability, allocability, and
                       reasonableness of obligations and expenditures made by the grantee; and
                   ∗   enable the grantee to maintain effective internal control and fund
                       accountability procedures, e.g., requiring separation of functions so that the
                       person who makes obligations for the grantee is not the same person who
                       signs the checks to disburse the funds for those obligations.

           State systems must account for funds in accordance with State laws and procedures that
           apply to the expenditure of and the accounting for a State's own funds. A State's
           procedures, as well as those of its subrecipients and cost-type contractors, must be
           sufficient to permit the preparation of reports that may be required under the award as
           well as provide the tracing of expenditures to a level adequate to establish that award
           funds have not been used in violation of any applicable statutory restrictions or
           prohibitions.

           II.     Federal Payment (2 CFR Part 200.305)

           Under this part --

                   ∗   the Department pays grantees in advance of their expenditures if the
                       grantee demonstrates a willingness and ability to minimize the time
                       between the transfer of funds to the grantee and the disbursement of the
                       funds by the grantee;
                   ∗   grantees repay to the Federal government interest earned on advances; and
                   ∗    grantees, generally, must maintain advance payments of Federal awards in
                       interest bearing accounts.


           In general, grantees should make payment requests frequently, only for small
           amounts sufficient to meet the cash needs of the immediate future.

           The Department has recently encountered situations where grantees failed to request
           funds until long after the grantee actually expended its own funds for the costs of its
           grant. Grantees need to be aware that, by law, Federal funds are available for grantees
           to draw down for only a limited period of time, after which the funds revert to the U.S.
           Treasury. In some cases grantees have requested funds too late for the Department to
           be able to pay the grantees for legitimate costs incurred during their project periods.


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           The Department urges financial managers to regularly monitor requests for payment
           under their grants to assure that Federal funds are drawn from the Department G5
           Payment System at the time those funds are needed for payments to vendors and
           employees.

           III.    Personnel (EDGAR §§ 75.511-75.519 and 2 CFR Part 200 Subpart D and E)

           The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200
           Subparts D and E. Part 75 covers issues such as paying consultants with grant funds,
           prohibiting dual compensation of staff, and waiving the requirement for a full-time
           project director. The rules clarifying changes in key project staff are located in 2 CFR
           Part 200.308 (c)(2). General rules governing reimbursement of salaries and
           compensation for staff working on grant projects are addressed in the cost principles in
           2 CFR Part 200 Subpart D and E. In all cases, payments of any type to personnel must be
           supported by complete and accurate records of employee time and effort. For those
           employees that work on multiple functions or separately funded programs or projects,
           the grantee must also maintain time distribution records to support the allocation of
           employee salaries among each function and separately funded program or project.

           IV.     Cost Principles (2 CFR Part 200 Subpart E)

           All costs incurred under any grant are subject to the cost principles found in 2 CFR Part
           200 Subpart E. The cost principles provide lists of selected items of allowable and
           unallowable costs, and must be used in determining the allowable costs of work
           performed under the grant.

           V.      Procurement Standards (2 CFR Part 200.317-327)

           Under 2 CFR Part 200.317, States are required to follow the procurement rules the
           States have established for purchases funded by non-Federal sources. When procuring
           goods and services for a grant’s purposes, all other grantees may follow their own
           procurement procedures, but only to the extent that those procedures meet the
           minimum requirements for procurement specified in the regulations. These
           requirements include written competition procedures and codes of conduct for grantee
           staff, as well as requirements for cost and price analysis, record-keeping and contractor
           compliance with certain Federal laws and regulations. These regulations also require
           grantees to include certain conditions in contracts and subcontracts, as mandated by
           the regulations and statutes.

           VI.     Indirect Costs (EDGAR §§75.560-564 and 2 CFR Part 200.414)

           In addition to the information presented beslow, see GAN ATTACHMENT 4 for addional
           information including restrictions related to temporary, de minimis, training, restricted,
           and program prescribed indirect cost rates.

           A. Unrestricted Indirect Cost Rate

           To utilize an unrestricted indirect cost rate, a grantee must have an indirect cost agreement with
           its cognizant agency, submit an indirect cost rate proposal to its cognizant agency for indirect

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           costs (cognizant agency) within 90 days after the award of this grant or elect to utilize the de
           minimis rate under 2 CFR § 200.414(f) or the temporary indirect cost rate (subject to limitations
           described below).

           The grantee must provide proof of its negotiated indirect cost rate agreement to the
           Department as soon as it has signed such an agreement with its cognizant agency.

           B. Temporary Indirect Cost Rate

           A grantee that does not have a current negotiated indirect cost rate agreement may recover
           indirect costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages
           (See 34 CFR § 75.560(c)); or it may choose not to charge indirect costs to the grant. The
           temporary rate can only be used for 90 days unless the exceptional circumstances apply under
           34 CFR § 75.560(d)(2).

           If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-
           day period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until
           it has negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee
           obtains a federally recognized indirect cost rate that is applicable to this grant, the grantee may
           use that indirect cost rate to claim indirect cost reimbursement.

           C. De minimis Indirect Cost Rate

           Institutions of Higher Education (IHEs), federally-recognized Indian Tribes, State and Local
           Governments 1 receiving less than $35 million in direct federal funding, and nonprofit
           organizations, if they do not have a current negotiated (including provisional) rate, and are not
           subject to the Department’s training rate or restricted rate (supplement-not-supplant
           provisions) may elect to charge a de minimis indirect cost rate of 10% of modified total direct
           costs (MTDC). This rate may be used indefinitely.

           MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
           services, travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
           subgrant). MTDC excludes equipment, capital expenditures, charges for patient care, rental
           costs, tuition remission, scholarships and fellowships, participant support costs and the portion
           of each subaward in excess of $25,000. Other items, including contract costs in excess of
           $25,000, may be excluded when necessary to avoid a serious inequity in the distribution of
           indirect costs (see definition of MTDC at 2 CFR § 200.1).

           Additionally, the de minimis rate may not be used by grantees that are subject to the
           Department’s training indirect cost rate (34 CFR § 75.562) or restricted indirect cost rate. The de
           minimis rate may be used indefinitely. However, if a grantee chooses to use the de minimis rate
           to recover indirect costs, it must do so for all of its Federal awards until such time as the grantee
           negotiates an indirect cost rate with its cognizant agency. Once a grantee obtains a federally
           recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
           cost rate to claim indirect cost reimbursement.

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            Note that a State-funded institution of higher education is not considered a “State government” for
           these purposes.


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           D. Programs with a Supplement-not-supplant requirement (restricted indirect cost rate)

           A restricted program (i.e., programs with statutory supplement-not-supplant requirements)
           grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
           indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
           negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
           not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
           not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
           the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
           negotiated.

           E. Training Grant Indirect Cost Rate

           If the grantee is a training grant recipient and is not a State, local, or Tribal government 3, the
           grantee must negotiate a rate under 34 CFR 75.562. This provision limits indirect cost recovery
           to 8% of modified total direct costs or the grantees negotiated indirect cost rate, whichever is
           less.

           The recovery using the training grant indirect cost rate is subject to the following limitations:

                i.    The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to
                      sub-awards that fund training.
                ii.   The 8% limit does not apply to agencies of Indian tribal governments, local
                      governments, and States as defined in 2 CFR § 200.1, respectively.
               iii.   Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy
                      matching or cost-sharing requirements, or charged to another Federal award.
               iv.    A grantee using the training rate of 8% is required to have documentation available for
                      audit that shows that its negotiated indirect cost rate is at least 8%.

           F. Program-Specific Indirect Cost Rate

           Grantees are required to follow program-specific statutory or regulatory requirements that
           mandate either indirect cost rate type or maximum administrative costs recovery instead of the
           general requirements described here.

           VII.       Audit Requirements (2 CFR Part 200 Subpart F)

           2 CFR 200 Subpart F requires that grantees that are non-Federal entities (a State, local
           government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award
           as a recipient or subrecipient) obtain a non-Federal audit of their expenditures under
           their Federal grants if the grantee expends more than $750,000 in Federal funds in one
           fiscal year. 2 CFR Part 200 Subpart F contains the requirements imposed on grantees for

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             Note that a State-funded institution of higher education is not considered a “State government” for
           these purposes.
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             Note that a State-funded institution of higher education is not considered a “State government” for
           these purposes; and a Tribal college or university funded by a federally-recognized Tribe is not considered
           a Tribe for these purposes.

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           audits done in connection with the law.

           The Department recommends hiring auditors who have specific experience in auditing
           Federal awards under the regulations and the Compliance Supplement.

           VIII.   Other Considerations

           Some other topics of financial management covered in 2 CFR Part 200 that might affect
           particular grants include program income (2 CFR Part 200.307), cost sharing or matching
           (2 CFR Part 200.306), property management requirements for equipment and other
           capital expenditures (2 CFR Parts 200.313, 200.439).




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                                  MEMORANDUM TO ED DISCRETIONARY GRANTEES

         You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
         Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
         grant account.

         For any cash that you draw from your Department of Education (the Department) grant account, you
         must:

         •    draw down only as much cash as is necessary to meet the immediate needs of the grant project;
         •    keep to the minimum the time between drawing down the funds and paying them out for grant
                      activities; and
         •    return to the Government the interest earned on grant funds deposited in interest-bearing bank
              accounts except for a small amount of interest earned each year that your entity is allowed to keep to
              reimburse itself for administrative expenses).

         In order to meet these requirements, you are urged to:

         •    take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
              boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
              from ED do not stay in a bank account for extended periods of time while waiting for approval;
         •    monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
         •    plan carefully for cash flow in your grant project during the budget period and review project cash
              requirements before each drawdown; and
         •    pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
              Department.

         Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
         contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
         during the fiscal quarter to discuss the particular situation. For the purposes of drawdown monitoring, the
         Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
         80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
         However, even amounts less than these thresholds could still represent excessive drawdowns for your
         particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
         cash will be required to return the excess funds to the Department, along with any associated earned
         interest, until such time as the money is legitimately needed to pay for grant activities. If you need
         assistance with returning funds and interest, please contact the Department’s G5 Hotline by calling 1-888-
         336-8930.

         Grantees that do not follow Federal cash management requirements and/or consistently appear on the
         Department's reports of excessive drawdowns could be:

         •    subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
              and 2 CFR 3474.10], which could mean being placed on a "cash-reimbursement" payment method
              (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
              own money and waiting to be reimbursed by the Department afterwards);
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         •   subject to further corrective action;
         •   denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3)(ii)]; and/or
         •   debarred or suspended from receiving future Federal awards from any executive agency of the Federal
             government.

         You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
         and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
         memorandum and share it with all affected individuals within your organization.




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                          THE USE OF GRANT FUNDS FOR CONFERENCES AND MEETINGS

      You are receiving this memorandum to remind you that grantees must take into account the following factors when
      considering the use of grant funds for conferences and meetings:
             • Before deciding to use grant funds to attend or host a meeting or conference, a grantee should:
                     o Ensure that attending or hosting a conference or meeting is consistent with its approved
                         application and is reasonable and necessary to achieve the goals and objectives of the grant;
                     o Ensure that the primary purpose of the meeting or conference is to disseminate technical
                         information, (e.g., provide information on specific programmatic requirements, best
                         practices in a particular field, or theoretical, empirical, or methodological advances made in
                         a particular field; conduct training or professional development; plan/coordinate the work
                         being done under the grant); and
                     o Consider whether there are more effective or efficient alternatives that can accomplish the
                         desired results at a lower cost, for example, using webinars or video conferencing.
             • Grantees must follow all applicable statutory and regulatory requirements in determining whether
                 costs are reasonable and necessary, especially the Cost Principles for Federal grants set out at 2 CFR
                 Part 200 Subpart E of the, “Uniform Administrative Requirements, Cost Principles, and Audit
                 Requirements for Federal Awards.” In particular, remember that:
                     o Federal grant funds cannot be used to pay for alcoholic beverages; and
                     o Federal grant funds cannot be used to pay for entertainment, which includes costs for
                         amusement, diversion, and social activities.
             • Grant funds may be used to pay for the costs of attending a conference. Specifically, Federal grant
                 funds may be used to pay for conference fees and travel expenses (transportation, per diem, and
                 lodging) of grantee employees, consultants, or experts to attend a conference or meeting if those
                 expenses are reasonable and necessary to achieve the purposes of the grant.
                     o When planning to use grant funds for attending a meeting or conference, grantees should
                         consider how many people should attend the meeting or conference on their behalf. The
                         number of attendees should be reasonable and necessary to accomplish the goals and
                         objectives of the grant.
             • A grantee hosting a meeting or conference may not use grant funds to pay for food for conference
                 attendees unless doing so is necessary to accomplish legitimate meeting or conference business.
                     o A working lunch is an example of a cost for food that might be allowable under a Federal
                         grant if attendance at the lunch is needed to ensure the full participation by conference
                         attendees in essential discussions and speeches concerning the purpose of the conference
                         and to achieve the goals and objectives of the project.
             • A meeting or conference hosted by a grantee and charged to a Department grant must not be
                 promoted as a U.S. Department of Education conference. This means that the seal of the U.S.
                 Department of Education must not be used on conference materials or signage without Department
                 approval.




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                   o   All meeting or conference materials paid for with grant funds must include appropriate
                       disclaimers, such as the following:
                           The contents of this (insert type of publication; e.g., book,
                           report, film) were developed under a grant from the
                           Department of Education. However, those contents do not
                           necessarily represent the policy of the Department of
                           Education, and you should not assume endorsement by the
                           Federal Government.
           •   Grantees are strongly encouraged to contact their project officer with any questions or concerns
               about whether using grant funds for a meeting or conference is allowable prior to committing grant
               funds for such purposes.
                   o A short conversation could help avoid a costly and embarrassing mistake.
           •   Grantees are responsible for the proper use of their grant awards and may have to repay funds to
               the Department if they violate the rules on the use of grant funds, including the rules for meeting-
               and conference-related expenses.




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             MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
                       MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS

        The Department of Education (Department) requires that its grantees adhere to existing cash
        management requirements concerning payments and will ensure that their subgrantees are also aware
        of these policies by providing them relevant information. A grantee’s failure to comply with cash
        management requirements may result in an improper payment determination by the Department in
        accordance with the Payment Integrity Information Act (PIIA) of 2019.

        There are three categories of payment requirements that apply to the drawdown of funds from grant
        accounts at the Department. The first two types of payments are subject to the requirements in the
        Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
        1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
        Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
        part 200, 1 as follows:

            1.     Payments to a State under programs that are covered by a State’s Treasury State Agreement
                   (TSA);

            2.     Payments to States under programs that are not covered by a TSA; and

            3.     Payments to other non-Federal entities, including nonprofit organizations and local
                   governments.

        CMIA Requirements Applicable to Programs included in a TSA

        Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
        programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State’s written
        TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
        and both States and the Federal government are subject to interest liabilities for late payments. State
        interest liabilities accrue from the day federal funds are credited to a State account to the day the State
        pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
        payment under a Federal assistance program before funds for that payment have been transferred to
        the State, Federal Government interest liabilities accrue from the date of the State payment until the
        Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

        CMIA Requirements Applicable to Programs Not Included in a TSA

        Payments to States under programs not covered by a State’s TSA are subject to subpart B of Treasury’s
        regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
        drawdown of funds from the federal government and their disbursement for approved program
        activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
        administratively feasible to a State’s actual cash outlay for direct program costs and the proportionate
        share of any allowable indirect costs. 31 CFR § 205.33(a). States should exercise sound cash
        management in funds transfers to subgrantees.

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            The Department adopted the Uniform Guidance as regulations of the Department at 2 CFR part 3474.

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        Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
        CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
        Treasury can require the program to be included in the State’s TSA. 31 CFR § 205.35.

        Fund transfer requirements for grantees other than State governments and subgrantees

        The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
        the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
        requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
        requiring that “payments methods must minimize the time elapsing between the transfer of funds from
        the United States Treasury or the pass-through entity and the disbursement by the non-Federal entity.”
        2 CFR § 200.305(b) introduction.

        The Federal Government and pass-through entities must make payments in advance of expenditures by
        grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
        maintain, written procedures “that minimize the time elapsing between the transfer of funds and
        disbursement by the non-Federal entity, and financial management systems that meet the standards for
        fund control and accountability.” 2 CFR § 200.305(b)(1). If a grantee or subgrantee cannot meet the
        criteria for advance payments, a Federal agency or pass-through entity can pay that entity through
        reimbursement. See 2 CFR § 200.305(b)(1) and (4) for more detailed description of the payment
        requirements and the standards for requiring that payments be made by reimbursement.

        Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
        conditions exist. See 2 CFR § 200.305(b)(8) for those conditions. The requirements regarding interest
        accrual and remittance follow:

        Grantees and subgrantees must annually remit interest earned on federal advance payments except
        that interest earned amounts up to $500 per year may be retained for administrative expense. Any
        additional interest earned on Federal advance payments deposited in interest-bearing accounts must be
        remitted annually to the Department of Health and Human Services Payment Management System
        (PMS) through an electronic medium using either Automated Clearing House (ACH) network or a
        Fedwire Funds Service payment. 2 CFR § 200.305(b)(9)(i) and (ii).

          1.   When returning interest through ACH Direct Deposit or Fedwire, grantees must include the
               following in their return transaction:

                         •   PMS Account Number (PAN). NOTE: The PAN is the same series of alpha-numeric
                             characters used for payment request purposes (e.g.: C1234G1).
                         •   PMS document number.
                         •   The reason for the return (e.g., interest, part interest part other, etc.).
                         •   An explanation stating that the refund is for interest payable to the Department of
                             Health and Human Services, and the grant number(s) for which the interest was
                             earned.

               a. U.S. Department of Education grantees are generally located and operate domestically and
                  return interest domestically. Below is PSC ACH account information for interest returned



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                    domestically. For international ACH interest returned, account information is available at:
                    Returning Funds/Interest.

                         •   PSC ACH Routing Number is: 051036706
                         •   PSC DFI Accounting Number: 303000
                         •   Bank Name: Credit Gateway - ACH Receiver
                         •   Location: St. Paul, MN

                b. Service charges may be incurred from a grantee’s financial institution when a Fedwire to
                   return interest is initiated. For FedWire returns, Fedwire account information is as follows:

                         •   Fedwire Routing Number: 021030004
                         •   Agency Location Code (ALC): 75010501
                         •   Bank Name: Federal Reserve Bank
                         •   Treas NYC/Funds Transfer Division
                         •   Location: New York, NY

          2.    Interest may be returned by check using only the U.S. Postal Service; however, returning
                interest via check may take 4-6 weeks for processing before a check payment may be applied to
                the appropriate PMS account.

                a. Interests returned by check are to be mailed (USPS only) to:

                         •   HHS Program Support Center
                             PO Box 979132
                             St. Louis, MO 63197

                    A brief statement explaining the nature of the return must be included.

                b. To return interest on a grant not paid through the PMS, make the check payable to the
                   Department of Health and Human Services, and include the following with the check:

                         •   An explanation stating that the refund is for interest
                         •   The name of the awarding agency
                         •   The grant number(s) for which the interest was earned
                         •   The return should be made payable to: Department of Health and Human Services.

          3.    For detailed information about how to return interest, visit the PSC Retuning Funds/Interest
                page at: Returning Funds/Interest

        Grantees, including grantees that act as pass-through entities and subgrantees have other
        responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
        have procedures for determining the allowability of costs for their awards. We highlight the following
        practices related to the oversight of subgrantee compliance with the financial management
        requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
        their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must –




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          1.   Evaluate each subrecipient's risk of noncompliance with Federal statutes, regulations, and the
               terms and conditions of the subaward for purposes of determining the appropriate subrecipient
               monitoring.

          2.   Monitor the performance and fiscal activities of the subrecipient to ensure that the subaward is
               used for authorized purposes, in compliance with Federal statutes, regulations, and the terms
               and conditions of the subaward; and that subaward performance goals are achieved.

        A small number of Department grant programs have program-specific cash management and payment
        requirements based on the authorizing legislation or program regulations. These program-specific
        requirements may supplement or override general cash management or payment requirements. If you
        have any questions about your specific grant, please contact the Education Program Contact listed in
        Block 3 of your Grant Award Notification.




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            RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                          FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


        Q     What are the Federal Laws and Regulations Regarding Payments to the States?
        A     The Cash Management Improvement Act of 1990 (CMIA) establishes interest liabilities for the
              Federal and State governments when the Federal Government makes payments to the States.
              See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
              Federal Regulations (CFR), Part 205, https://www.ecfr.gov/cgi-bin/text-
              idx?tpl=/ecfrbrowse/Title31/31cfr205_main_02.tpl. Non-Federal entities other than States
              follow the rules on Federal payments set out in 2 CFR 200.305.

        Q     What is a Treasury-State Agreement (TSA)?
        A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
              upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
              assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
              specify a number of different funding techniques that may be used by a State but a State can
              negotiate with the Treasury Department to establish a different funding technique for a
              particular program. A TSA is effective until terminated and, if a state does not have a TSA,
              payments to the State are subject to the default techniques in the regulations that Treasury
              determines are appropriate.

        Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
        A     Payments to a State under a program of the Department are subject to the interest liability
              requirements of the CMIA if the program is included in the State’s Treasury-State Agreement
              (TSA) with the Department of Treasury. If the Federal government is late in making a payment to
              a State, it owes interest to the State from the time the State spent its funds to pay for
              expenditure until the time the Federal government deposits funds to the State’s account to pay
              for the expenditure. Conversely, if a State is late in making a payment under a program of the
              Department, the State owes interest to the Federal government from the time the Federal
              government deposited the funds to the State’s account until the State uses those funds to make
              a payment. For more information, GAN Enclosure 4.


        Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
              Agreement?
        A     If a program is not included in the State’s TSA, neither the State nor the Federal government are
              liable for interest for making late payments. However, both the Federal government and the
              State must minimize the time elapsing between the date the State requests funds and the date
              that the funds are deposited to the State’s accounts. The State is also required to minimize the
              time elapsed between the date it receives funds from the Federal government and the date it
              makes a payment under the program, Also, the Department must minimize the amount of funds
              transferred to a State to only that needed to meet the immediate cash needs of the State. The
              timing and amount of funds transferred must be as close as is administratively feasible to a
              State's actual cash outlay for direct program costs and the proportionate share of any allowable
              indirect costs.
        Q     What if there is no TSA?


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        A    When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
             Treasury Department determines appropriate apply. The default procedures will prescribe
             efficient funds transfer procedures consistent with State and Federal law and identify the
             covered Federal assistance programs and designated funding techniques.


        Q    Who is responsible for Cash Management?
        A    Grantees and subgrantees that receive grant funds under programs of the Department are
             responsible for maintaining internal controls regarding the management of Federal program
             funds under the Uniform Guidance in 2 CFR 200.302 and 200.303. In addition, grantees are
             responsible for ensuring that subgrantees are aware of the cash management and requirements
             in 2 CFR part 200, subpart D.

        Q    Who is responsible for monitoring cash drawdowns to ensure compliance with cash
             management policies?
        A    Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
             substantial compliance to the standards of timing and amount of advances.

        Q    How soon may I draw down funds from the G5 grants management system?
        A    Grantees are required to minimize the amount of time between the drawdown and the
             expenditure of funds from their bank accounts. (See 2 CFR 200.305(b).) Funds must be drawn
             only to meet a grantee’s immediate cash needs for each individual grant. The G5 screen displays
             the following message:

             By submitting this payment request, I certify to the best of my knowledge and belief that the
             request is based on true, complete, and accurate information. I further certify that the
             expenditures and disbursements made with these funds are for the purposes and objectives
             set forth in the applicable Federal award or program participation agreement, and that the
             organization on behalf of which this submission is being made is and will remain in compliance
             with the terms and conditions of that award or program participation agreement. I am aware
             that the provision of any false, fictitious, or fraudulent information, or the omission of any
             material fact, may subject me, and the organization on behalf of which this submission is being
             made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
             other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
             3729-3730 and 3801-3812)

        Q    How may I use Federal funds?
        A    Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
             application or State plan for allowable direct costs of the grant and an allocable portion of
             indirect costs, if authorized.

        Q    What are the consequences to recipients/subrecipients for not complying with terms of the
             grant award?
        A    If a recipient or subrecipient materially fails to comply with any term of an award, whether
             stated in a Federal statute or regulation, including those in 2 CFR part 200, an assurance, the
             GAN, or elsewhere, the awarding agency may in accordance with 2 CFR 200.339 take one or
             more of the following actions:



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                     1.   Temporarily withhold cash payments pending correction of the deficiency by the
                          non-Federal entity or more severe enforcement action by the Federal awarding
                          agency or pass-through entity.
                     2.   Disallow (that is, deny both use of funds and any applicable matching credit for) all
                          or part of the cost of the activity not in compliance.
                     3.   Wholly or partly suspend or terminate the Federal award.
                     4.   Initiate suspension or debarment proceedings as authorized under 2 CFR part 180
                          and Federal award agency regulations (or in the case of a pass-through be initiated
                          by a Federal awarding agency).
                     5.   Withhold further Federal awards for the project or program.
                     6.   Take other remedies that may be legally available.




         Q   Who is responsible for determining the amount of interest owed to the Federal government?
         A   As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
             included in the State’s TSA. A non-State entity must maintain advances of Federal funds in
             interest-bearing accounts unless certain limited circumstance apply and remit interest earned on
             those funds to the Department of Health and Human Services, Payment Management System
             annually. See 2 CFR 200.305.
         Q   What information should accompany my interest payment?
         A   In accordance with 2 CFR 200.305(b)(9), interest in access of $500.00 earned on Federal advance
             payments deposited in interest-bearing accounts must be remitted annually to the Department
             of Health and Human Services Payment Management System (PMS) through an electronic
             medium using either Automated Clearing House (ACH) network or a Fedwire Funds Service
             payment.

             For returning interest on Federal awards paid through PMS, the refund should:
             (a) Provide an explanation stating that the refund is for interest;
             (b) List the PMS Payee Account Number(s) (PANs);
             (c) List the Federal award number(s) for which the interest was earned; and
             (d) Make returns payable to: Department of Health and Human Services.

             For returning interest on Federal awards not paid through PMS, the refund should:
             (a) Provide an explanation stating that the refund is for interest;
             (b) Include the name of the awarding agency;
             (c) List the Federal award number(s) for which the interest was earned; and
             (d) Make returns payable to: Department of Health and Human Services.

             For additional information about returning interest see GAN ATTACHMENT 4.

         Q   Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
             time they need to disburse funds in order to liquidate obligations?
         A    The payment requirements in 2 CFR 200.305(b) authorize a grantee or subgrantee to request
             funds in advance of expenditures if certain conditions are met. However, if those conditions are
             not met, the Department and a pass-through agency may place a payee on reimbursement.



                                                            3

                                                                                                        JA 469
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                                                                                        GAN ATTACHMENT 5
                                                                                                Revised 03/2021
         Q   For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
             States choose to pay LEAs on a reimbursement basis?
         A    A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
             200.305(b)(1) but if the subgrantee cannot meet those standards, the State may put the
             subgrantee on reimbursement payment. See 2 CFR 200.305(b).

         Q   Will the Department issue special procedures in advance if G5 plans to shut down for 3 days or
             more?
         A   Yes, before any shutdown of G5 lasting three days or more, the Department issues special
             guidance for drawing down funds during the shut down. The guidance will include cash
             management improvement act procedures for States and certain State institutions of higher
             education and procedures for grants (including Pell grants) that are not subject to CMIA.




                                                         4

                                                                                                    JA 470
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                               EXHIBIT B




                                                                              JA 471
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 2/27/25, 3:00 PM Case 1:25-cv-10548-MJJ              Document
                             University of Maryland, College Park Mail 8-15                03/06/25
                                                                       - Fwd: G5 Notification - AdministrativePage
                                                                                                              Action (GAN) S423A220062
                 Case 1:25-cv-00702-JRR              Document       25-2        Filed 03/12/25              Page    139 of 152

                                                                                                                      Maura Elford Collinge <mcolling@umd.edu>



   Fwd: G5 Notification - Administrative Action (GAN) S423A220062
   1 message

   Christine Kang <ckang1@umd.edu>                                                                                                     Mon, Oct 21, 2024 at 12:50 PM
   To: Maura Elford Collinge <mcolling@umd.edu>
   Cc: oraera <oraera@umd.edu>

     Grant Award Notification incorporating approved change of UMD Administrative Contact / account email from oraa@umd.edu to kpetrone@umd.edu




     ---------- Forwarded message ---------
     From: <Mel.Harper-Butler@ed.gov>
     Date: Wed, Oct 16, 2024 at 9:24 AM
     Subject: G5 Notification - Administrative Action (GAN) S423A220062
     To: <seubank2@umd.edu>, <kpetrone@umd.edu>, <Mel.Harper-Butler@ed.gov>
     Cc: <Mel.Harper-Butler@ed.gov>


     Dear Grantee:

     This e-mail notifies you that your administrative action request has been reviewed and completed. You may access your electronically signed Grant
     Award Notification (GAN) documents for this administrative action, S423A220062 & GAN action number 9, at http://www.g5.gov under Grant
     Maintenance, Award Documents.

     You will need to sign in to G5 to access your GAN. If you don't already have an account in G5, please go to the link on the top left of the home page that
     says "Not Registered? Sign up" and follow the instructions. To register, you will need your institution's UEI. You must also use the exact same name (no
     nicknames) and email address that is listed on this email. If you are a project director, or state director, select "Project Director" or "State Director" when
     prompted to choose a role in your profile. Please note: Only recipients of this email (the project director and certifying official or state director and
     authorizing official) can access the GAN in G5. If someone else at your organization requires a copy, you may print out a copy or forward the PDF to
     them.

     If you have questions regarding accessing G5 or your GAN documents, please contact the G5 help desk at 888-336-8930. For all other questions of a
     programmatic or fiscal nature, please contact the ED Program Contact listed on your GAN (Box 3).

     Please acknowledge receipt of this e-mail by sending a reply to the Education Program Contact listed on your GAN (Box 3).


     --
     Christine Kang
     Information Systems Manager
     University of Maryland
     Office of Research Administration
     0101 Lee Building
     7809 Regents Drive
     College Park, MD 20742-5141
     Tel: 301-405-5736
     http://ora.umd.edu

          GAN_S423A220062-24.9.1.pdf
          271K




 https://mail.google.com/mail/u/0/?ik=64faea62b4&view=pt&search=all&permthid=thread-f:1813543091714859389%7Cmsg-f:1813543091714859389&…
                                                                                                                                               JA 472                  1/1
USCA4 Appeal: 25-1281
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                                                                                                                S423A220062 - 24
                                             US Department of Education
                                               Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

 1 RECIPIENT NAME                                            2 AWARD INFORMATION
      University of Maryland                                             PR/AWARD NUMBER         S423A220062 - 24
      VPR                                                                  ACTION NUMBER         9
      3112 Lee Building 7809 Regents Drive                                    ACTION TYPE        Administrative
      College Park, MD 20742                                                  AWARD TYPE         Discretionary

 3 PROJECT STAFF                                             4 PROJECT TITLE
      RECIPIENT PROJECT DIRECTOR                                     84.423A
         Segun Eubanks               (301) 405-5401                  UMD School Improvement Leadership Academy
         seubank2@umd.edu
      EDUCATION PROGRAM CONTACT
         Melissa Harper-Butler       (202) 453-5631
         Mel.Harper-
         Butler@ed.gov
      EDUCATION PAYMENT HOTLINE
         G5 PAYEE HELPDESK           888-336-8930
         obssed@servicenowservices.com
     KEY PERSONNEL
 5
      NAME                          TITLE                                     LEVEL OF EFFORT
      Segun Eubanks                 Project Director                                      42 %

 6 AWARD PERIODS
                   BUDGET PERIOD               10/01/2024 - 09/30/2025
              PERFORMANCE PERIOD               10/01/2022 - 09/30/2025

     FUTURE BUDGET PERIODS

     N/A

 7 AUTHORIZED FUNDING
                               THIS ACTION                          N/A
                             BUDGET PERIOD                  $755,699.00
                        PERFORMANCE PERIOD                 $4,506,218.00

 8 ADMINISTRATIVE INFORMATION
                   UEI          NPU8ULVAAS23
           REGULATIONS          CFR PART XXX
                                EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
           ATTACHMENTS          N/A

     LEGISLATIVE AND FISCAL DATA
 9
       AUTHORITY:                            PL P.L. 114–95 II DEPARTMENT OF DEFENSE AND FULL YEAR
                                             CONTINUING APPROPRIATIONS ACT
       PROGRAM TITLE:                        SUPPORTING EFFECTIVE EDUCATOR DEVELOPMENT
       CFDA/SUBPROGRAM NO:                   84.423A




                                                                                                           JA 473
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                                       US Department of Education
                                         Washington, D.C. 20202

                                GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:               S423A220062 - 24
         RECIPIENT NAME:                University of Maryland
                                        VPR
         GRANTEE NAME:                  UNIVERSITY OF MARYLAND, COLLEGE PARK
                                        3112 LEE BUILDING,
                                        COLLEGE PARK, MD 20742 - 5100
         PROGRAM INDIRECT COST TYPE:    Restricted
         PROJECT INDIRECT COST RATE:    8%

         TERMS AND CONDITIONS

         N/A




                           {{digsig1_es_:signer1:digitalsignature}}
                           MELISSA HARPER-BUTLER             Digitally signed by MELISSA HARPER-BUTLER
                                                             Date: 2024.10.16 09:23:41 -04'00'




                                              AUTHORIZING OFFICIAL                                         DATE

Ver. 1




                                                                                                         JA 474
USCA4 Appeal: 25-1281
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           EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
       *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
       RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                              by the program legislation or regulations and/or terms and conditions of the award.
       RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                            the recipient's application. When non-federal funds are identified by the recipient where a
                                            cost share is not a legislation requirement, the recipient will be required to provide the non-
                                            federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.

                                                                                                                              JA 475
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
        *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
      CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.




                                                                                                                                     JA 476
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                               EXHIBIT C




                                                                              JA 477
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                              UNITED STATES DEPARTMENT OF EDUCATION
                          OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                                      OFFICE OF ADMINISTRATION



       2/10/25

       Segun Eubanks
       Project Director
       University of Maryland, College Park
       3112 Lee Building
       College Park, MD 20742




                                                         RE: Grant Award Termination

        Dear _______________:
             Mr. Eubanks


        This letter provides notice that the United States Department of Education is terminating your
        federal award, __________________.
                        S423A220062           See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

        It is a priority of the Department of Education to eliminate discrimination in all forms of education
        throughout the United States. The Acting Secretary of Education has determined that, per the
        Department’s obligations to the constitutional and statutory law of the United States, this priority
        includes ensuring that the Department’s grants do not support programs or organizations that
        promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
        that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
        protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
        of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education. In addition to complying with the civil rights laws, it is vital that the
        Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
        as to assess whether current grants are in the best interests of the United States.

        The grant specified above provides funding for programs that promote or take part in DEI
        initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
        national origin, or another protected characteristic; that violate either the letter or purpose of
        Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
        and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
        fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
        longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
        75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
        75.253, and the termination provisions in your grant award, the Department hereby terminates
        grant No. ___________________
                    S423A220062                in its entirety effective _______________.
                                                                         2/10/25

                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 478
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        If you wish to object to or challenge this termination decision, you must submit information and
        documentation supporting your position in writing within 30 calendar days of the date of this
        termination notice. Objections and challenges must be sent by email and first-class mail and
        addressed to the component head that oversees the grantmaking unit, which will typically be the
        Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
        Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
        Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

        Your appeal should contain the following:
           1. a copy of the written notice of termination;
           2. the date you received written notice of termination;
           3. a brief statement of your argument and the disputed factual, legal, or other issues;
           4. the amount of funds or costs in dispute, if any; and
           5. any other relevant documents.

        See id. § 200.342.

        Costs incurred by you after this termination are allowable only if (a) those costs were properly
        incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
        those costs would be allowable if your federal award was not suspended or expired normally at the
        end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
        You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
        C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
        to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
        not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
        Department filing a report documenting your “material failure to comply with the terms and
        conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
        id. § 200.344(i).

        Finally, you are reminded of your duties under your agreement and Department of Education
        guidance regarding retention of grant records for at least three years.

        Thank you,




         Deputy Assistant Secretary
         for Management and Planning
        cc: Ruth Ryder




                                              400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                              www.ed.gov

               The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                            fostering educational excellence and ensuring equal access.
                                                                                                                                JA 479
USCA4 Appeal: 25-1281
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                               EXHIBIT D




                                                                              JA 480
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                                                                    Case           Filed: 06/16/2025  Pg: 8-15
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                                                                   Case 1:25-cv-00702-JRR Document 25-2 Filed 03/12/25 Page 148 of 152




Segun Eubanks
tome ...
                                                                                                                                                                                                                                                                                                @ 12:24 PM (3 minutes ago)     *      f--,



Here is the original email sent from Mark Washington. He is not someone we had interacted with before.




Segun

---------- Forwarded message ---------
From: Washington, Mark <Mark.Washing!Qn@.!lQ,gQY>
Date: Mon, Feb 10, 2025 at 7:01 PM
Subject: University of MD_Grant Termination _021025_FINAL.pdf
To: seubank2@umd.edu <seubank2@umd.edu>
Cc: Ryder, Ruth <Ruth.Ryder@.!lQ,gQY>, Weems, Kia <Kia.Weems@.!lQ,gQY>, Williams, Damien <Damien.Williams@.!lQ,gQY>



Dear Mr. Eubanks,

Please see the attached letter, informing you of the Department's decision to terminate your federal award S423A220062, because the grant is inconsistent with, and no longer effectuates, Department priorities. You will also receive an updated GAN notice, confirming this decision and change. You will also receive notification from the
Department's GS grants administration system.

Please feel free to contact me with any related questions or concerns about this information. Please also note the basis for challenge or appeal of this decision, as noted in the language of the attached letter.

Respectfully,

Mark Washington



                       Mark Washington
                       Deputy Assistant Secretary
                       United States Department of Education
                       Office of Elementary and Secondary Education
                       400 Maryland Avenue, SW Washington, D.C. 20202
                                                 I


                       Phone: (202) 205-0167 Mobile: (202) 549-9956 Email: mark.washingtJl!l@�gQ.Y
                                             I                        I




Segun Eubanks, EdD
Professor of Practice
Director, Center for Education Innovation and Improvement
College of Education
Anacostia Building, Room 3308
1 Physics Ellipse Drive
University of Maryland




                                                                                                                                                                                                                                                                                                 JA 481
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                                    Exhibit C




                                                                            JA 482
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                                                                              JA 483
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                                 Exhibit A




                                                                           JA 488
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                                  SPECIFIC GRANT TERMS AND CONDITIONS FOR
                                    FINANCIAL AND PERFORMANCE REPORTS


        PERFORMANCE REPORTS:

        (1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
        after the expiration or termination of grant support in accordance with submission instructions provided
        in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
        Department of Education (Department) (2 CFR § 200.329(c)).

        (2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS - ALL RECIPIENTS of a multi-year discretionary
        award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
        report shall provide the most current performance and financial expenditure information that is
        sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, and 34 CFR § 75.720.

        Your education program contact will provide you with information about your performance report
        submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
        another notification provided by the Department. The grant term or condition in box 10 on the GAN or
        another notification may reflect any of the following:

            1. That a performance report is due before the next budget period begins. The report should
               contain current performance and financial expenditure information for this grant. It will either
               identify the date the performance report is due or state that the Department will provide
               additional information about this report, including due date, at a later time.

            2. That an interim performance report is required because of the nature of the award or because
               of statutory or regulatory provisions governing the program under which this award is made,
               and that the report is due more frequently than annually as indicated, e.g., due quarterly and
               submitted within 30 days after the end of each quarter, or due semiannually and submitted
               within 30 days after the end of each 6-month period (2 CFR § 200.329(c)(1)).

            3. That other reports are required, e.g., program specific reports required in a program’s statute or
               regulation.

        (3) FINANCIAL REPORTS – SOME RECIPIENTS:

        If a financial report is required, your education program contact will provide you with information about
        your financial report submission, including the due date, as a grant term or condition in box 10 on the
        GAN, or through another notification.

        A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

            1. A grant involves cost sharing, and the ED 524B, which collects cost sharing information, is not
               submitted or a program-specific report approved by U.S. Office of Management and Budget
               (OMB) does not collect cost sharing information;
            2. Program income was earned;


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            3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
               report approved by OMB does not collect indirect cost information;
            4. Program regulations or statute require the submission of the FFR; or
            5. Specific Award Conditions, or specific grant or subgrant conditions for designation of “high risk,”
               were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
               submission of the FFR.

        If the FFR is required, the notification may indicate one of the following (see the form and its
        instructions at Standard Form (SF) 425 Federal Financial Report (FFR)):

            1. Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
               are due within 30 days after each reporting period.

            2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
               within 30 days after each reporting period.

            3. Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
               reporting period.

            4. Final - In coordination with the submission of final performance reports, FFRs are due within 120
               days after the project or grant period end date (2 CFR 200.328).

        When completing an FFR for submission, the following must be noted:

            1. Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
               that is designed for single grant and multiple grant award reporting, the Department’s policy is
               that multiple grant award reporting is not permitted for Department grants. Thus, a Department
               grantee that is required to submit an FFR in accordance with any of the above referenced
               selections must complete and submit one FFR for each of its grants. Do not use the FFR
               attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
               on Department grants. As such, references to multiple grant reporting and to the FFR
               attachment in items 2, 5 and 10 of the FFR are not applicable to Department grantees. With
               regards to item 1 of the note found in the FFR Instructions, a grantee must complete items 10(a)
               through 10(o) for each of its grants. The multiple award, multiple grant, and FFR attachment
               references found in items 2, 5, 6, before 10(a), in item 10(b), before 10(d), before 10(i) and
               before 10(l) of the Line Item Instructions for the FFR are not applicable to Department grants.

            2. Program Income: Unless disallowed by statute or regulation, a grantee will complete item 10(m)
               or 10(n) in accordance with the options or combination of options as provided in 2 CFR Part
               200.307. A grantee is permitted, in accordance with 2 CFR Part 200.307, to add program income
               to its Federal share to further eligible project or program objectives, use program income to
               finance the non-Federal share of the project or program; and deduct program income from the
               Federal share of the total project costs.


            3. Indirect Costs: A grantee will complete item 11(a) by listing the indirect cost rate type identified
               on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.


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                 A Department grantee that does not have an indirect cost rate agreement approved by its
                 cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
                 day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
                 wages, or the de minimis rate of 10% of modified total direct cost (MTDC) must list its indirect
                 cost rate in 11(a) as a Department Temporary Rate or De Minimis Rate. The de minimis rate of
                 10% of MTDC consists of:

                          All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                          travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
                          subgrant). MTDC excludes equipment, capital expenditures, charges for patient care,
                          rental costs, tuition remission, scholarships and fellowships, participant support costs
                          and the portion of each subaward in excess of $25,000. Other items, including contract
                          costs in excess of $25,000, may be excluded when necessary to avoid a serious inequity
                          in the distribution of indirect costs (see definition of MTDC at 2 CFR § 200.1).

                 A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
                 MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with EDGAR
                 § 75.562 (c), must list its rate in 11(a) as a Department Training Grant Rate. The 8% limit does
                 not apply to agencies of Indian tribal governments, local governments, and States 1 as defined in
                 2 CFR § 200.1

                 A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in 11(a). A
                 restricted program (i.e., programs with statutory supplement-not-supplant requirements)
                 grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
                 indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
                 negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
                 not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
                 not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
                 the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
                 negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
                 rate as a Department Temporary Rate in 11(a).

                 Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
                 as a Rate Required in Program Statute or Regulation in 11(a). Grantees are required to follow
                 program-specific statutory or regulatory requirements that mandate either indirect cost rate
                 type or maximum administrative costs recovery.

                 For detailed information including restrictions related to temporary, de minimis, training,
                 restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

            4. Supplemental Pages: If grantees need additional space to report financial information, beyond
               what is available within the FFR, they should provide supplemental pages. These additional
               pages must indicate the following information at the top of each page: the PR/Award Number

        1
          Note that a State-funded institution of higher education is not considered a “State government” for these purposes;
        and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
        purposes.
        2
          Note that a State-funded institution of higher education is not considered a “State government” for these purposes.

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             also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
             Identifier, Employer Identification Number (EIN), and period covered by the report.




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                             AN OVERVIEW OF SINGLE AUDIT REQUIREMENTS OF STATES,
                             LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

        This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
        comply with audit requirements specified in block 10 of their Grant Award Notification
        (GAN).

        Summary of Single Audit Requirements for States, Local Governments and Nonprofit
        Organizations:

              1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
                 Institution of Higher Education (IHE) 1, or nonprofit organization) that expends
                 $750,000 or more during the non-Federal entity’s fiscal year in Federal awards must
                 have a single audit conducted in accordance with 2 CFR 200.501, “Audit
                 Requirements,” except when it elects to have a program specific audit conducted.

              2. Program-specific audit election. When an auditee expends Federal awards under
                 only one Federal program (excluding research and development (R&D)), and the
                 Federal program’s statutes, regulations, or the terms and conditions of the Federal
                 award do not require a financial statement audit of the auditee, the auditee may
                 elect to have a program–specific audit conducted. A program–specific audit may
                 not be elected for R&D unless all of the Federal awards expended were received
                 from the same Federal agency, or the same Federal agency and the same pass-
                 through entity, and that Federal agency, or pass-through entity in the case of a
                 subrecipient, approves in advance a program-specific audit.

              3. Exemption when Federal awards expended are less than $750,000. A non-Federal
                 entity that expends less than $750,000 during the non-Federal entity’s fiscal year in
                 Federal awards is exempt from Federal audit requirements for that year, except as
                 noted in 2 CFR 200.503, but records must be available for review or audit by
                 appropriate officials of the Federal agency, pass-through entity, and Government
                 Accountability Office (GAO). Generally, grant records must be maintained for a
                 period of three years after the date of the final expenditure report (2 CFR § 200.334)

              4. Federally Funded Research and Development Centers (FFRDC). Management of an
                 auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
                 entity.

              5. Report Submission. To meet audit requirements of U.S. Office of Management and
                 Budget (OMB) Uniform Guidance: Cost Principles, Audit, and Administrative
                 Requirements for Federal Awards (Uniform Guidance), grantees must submit all
                 audit documents required by Uniform Guidance 2 CFR 200.512, including Form SF-
                 SAC: Data Collection Form electronically to the Federal Audit Clearinghouse at:


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            As defined under the Higher Education Act of 1965, as amended (HEA) section 101.
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                https://facides.census.gov/Account/Login.aspx.

                The audit must be completed, and the data collection form and reporting package
                must be submitted within the earlier of 30 calendar days after receipt of the
                auditor’s report(s), or nine months after the end of the audit period. If the due date
                falls on a Saturday, Sunday, or Federal holiday, the reporting package is due the next
                business day. Unless restricted by Federal statutes or regulations, the auditee must
                make copies available for public inspection. Auditees and auditors must ensure that
                their respective parts of the reporting package do not include protected personally
                identifiable information. (2 CFR 200.512)

        Grantees are strongly urged to obtain the “OMB Compliance Supplement” and to contact their
        cognizant agency for single audit technical assistance.

        The designated cognizant agency for single audit purposes is “the Federal awarding agency that provides
        the predominant amount of direct funding to the recipient.” Grantees should obtain a copy of the OMB
        Compliance supplement. This supplement will be instructive to both grantees and their auditors.
        Appendix III of the supplement provides a list of Federal Agency Contacts for Single Audits, including
        addresses, phone numbers, fax numbers, and e-mail addresses for technical assistance.

        For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
        should contact the Non-Federal Audit Team in the Department’s Office of Inspector General, at oignon-
        federalaudit@ed.gov. Additional resources for single audits are also available on the Non-Federal Audit
        Team’s website at https://www2.ed.gov/about/offices/list/oig/nonfed/index.html. For programmatic
        questions, grantees should contact the education program contact shown on the Department’s GAN.

        Grantees can obtain information on single audits from:

        The OMB website at www.omb.gov. Look under Office of Management and Budget (in right column)
        then click Office of Federal Financial Management (to obtain OMB Compliance Supplement). The SF-
        SAC: Data Collection Form can be found at the Federal Audit Clearinghouse at:
        https://facides.census.gov/Files/2019-2021%20Checklist%20Instructions%20and%20Form.pdf.

        The American Institute of Certified Public Accountants (AICPA) has illustrative OMB Single Audit
        report examples that might be of interest to accountants, auditors, or financial staff at
        www.aicpa.org.




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                                REQUEST FOR APPROVAL OF PROGRAM INCOME

        In projects that generate program income, the recipient calculates the amount of program income
        according to the guidance given in 2 CFR Part 200.307.


        *** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
        TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
        YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***


        Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
        of options, as provided in 2 CFR Part 200.307, for using program income generated in the course of the
        recipient's authorized project activities:

        _____ Not Allowed Adding program income to funds committed to the project by the Secretary and
             recipient and using it to further eligible project or program objectives;

        _____ Not Allowed Using program income to finance the non-Federal share of the project or program;
              and

        _____ Not Allowed Deducting program income from the total allowable cost to determine the net
             allowable costs.




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                                          TRAFFICKING IN PERSONS

        The Department of Education adopts the requirements in the Code of Federal Regulations at 2
        CFR 175 and incorporates those requirements into this grant through this condition. The grant
        condition specified in 2 CFR 175.15(b) is incorporated into this grant with the following changes.
        Paragraphs a.2.ii.B and b.2. ii. are revised to read as follows:

                “a.2.ii.B. Imputed to you or the subrecipient using the standards and due
                process for imputing the conduct of an individual to an organization that are
                provided in 34 CFR part 85.”

                “b.2. ii. Imputed to the subrecipient using the standards and due process for
                imputing the conduct of an individual to an organization that are provided in
                34 CFR part 85.”

        Under this condition, the Secretary may terminate this grant without penalty for any violation of
        these provisions by the grantee, its employees, or its subrecipients.




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                                 FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                                 REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION

        The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
        and improve the public’s access to Federal government information. To this end, FFATA requires that
        Department of Education (Department) grant recipients:

            1. Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
               meet the reporting conditions as set forth in this grant award term;
            2. Report their executives’ compensation for all new Federal grants that are funded at $30,000 and
               that meet the reporting conditions as set forth in this grant award term; and
            3. Report executive compensation data for their first-tier subrecipients that meet the reporting
               conditions as set forth in this grant award term.

        For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
        Award Notification.

        Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
        first-tier subrecipients’ executive compensation are required to be reported in accordance with FFATA.

        Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
        within item 5, Definitions, of this grant award term.

        This grant award term is issued in accordance with 2 CFR Part 170—Reporting Subaward And Executive
        Compensation Information.

            1. Reporting of First-tier Subawards -

            a. Applicability and what to report.

                Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
                report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
                to a non-Federal entity or Federal agency.

                You must report the information about each obligating action that are specified in the
                submission instructions posted at FSRS.

            b. Where and when to report.

                The Department grant recipient must report each obligating action described in paragraph 1.a.
                of this award term to FSRS.

                Report subaward information no later than the end of the month following the month in which
                the subaward obligation was made. For example, if the obligation was made on November 7,
                2020, the obligation must be reported by no later than December 31, 2020.

            2. Reporting Total Compensation of the Department’s Grant Recipients’ Executives -


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          a. Applicability and what to report.

                  You must report total compensation for each of your five most highly compensated executives
                  for the preceding completed fiscal year, if—

                  i    The total Federal funding authorized to date under this Federal award equals or exceeds
                       $30,000;

                  ii   In the preceding fiscal year, you received—

                       A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                          (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                          defined at 2 CFR 170.320 (and subawards), and
                       B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                          subcontracts) and Federal financial assistance subject to the Transparency Act, as
                          defined at 2 CFR 170.320 (and subawards); and,
                       C. The public does not have access to information about the compensation of the
                          executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                          Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                          Code of 1986. (To determine if the public has access to the compensation information,
                          see the U.S. Security and Exchange Commission total compensation filings at SEC
                          Investor.gov Executive Compensation.)

          b. Where and when to report.

                  You must report executive total compensation described in paragraph 2.a. of this grant award
                  term:

            i.         As part of your registration profile at SAM.gov.

            ii.        By the end of the month following the month in which this award is made (for example, if
                       the obligation was made on November 7, 2020 the executive compensation must be
                       reported by no later than December 31, 2020), and annually thereafter.

          3. Reporting of Total Compensation of Subrecipient Executives –

          a. Applicability and what to report.

                  Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
                  non-Federal entity subrecipient under this award, you shall report the names and total
                  compensation of each of the subrecipient's five most highly compensated executives for the
                  subrecipient's preceding completed fiscal year, if—

            i.         In the subrecipient's preceding fiscal year, the subrecipient received—




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                     A. 80 percent or more of its annual gross revenues from Federal procurement contracts
                        (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                        defined at 2 CFR 170.320 (and subawards), and
                     B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                        subcontracts) and Federal financial assistance subject to the Transparency Act, as
                        defined at 2 CFR 170.320 (and subawards); and,
                     C. The public does not have access to information about the compensation of the
                        executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                        Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                        Code of 1986. (To determine if the public has access to the compensation information,
                        see the U.S. Security and Exchange Commission total compensation filings at SEC
                        Investor.gov Executive Compensation.)

          b. Where and when to report.

                  You must report subrecipient executive total compensation described in paragraph 3.a. of this
                  grant award term:

            i.       In FSRS. You must include a condition on subawards that requires the subrecipients to
                     timely report the information required under paragraph 3.a. to you the prime awardee, or
                     in the SAM.gov. Subrecipient executive compensation entered in SAM.gov by the
                     subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
                     enter this information in SAM.gov. Subrecipient executive compensation not entered in
                     SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

            ii.      By the end of the month following the month during which you make the subaward. For
                     example, if the subaward obligation was made on November 7, 2020 the subrecipient’s
                     executive compensation must be reported by no later than December 31, 2020.

          4. Exemptions –

          a. If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
             exempt from the requirements to report:

            i.       Subawards, and

            ii.      The total compensation of the five most highly compensated executives of any subrecipient.

          5. Definitions -

          a. For purposes of this award term:

            i.       Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by
                     5 U.S.C. 552(f).

            ii.      Non-Federal Entity means all of the following, as defined in 2 CFR part 25:

                     A Governmental organization, which is a State, local government, or Indian tribe;

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                   A foreign public entity;

                   A domestic or foreign nonprofit organization; and,

                   A domestic or foreign for-profit organization

            iii.   Executive means officers, managing partners, or any other employees in management
                   positions.

            iv.    Obligation, when used in connection with a non-Federal entity's utilization of funds under a
                   Federal award, means orders placed for property and services, contracts and subawards
                   made, and similar transactions during a given period that require payment by the non-
                   Federal entity during the same or a future period.

             v.    Subaward:

                   This term means a legal instrument to provide support for the performance of any portion
                   of the substantive project or program for which you received this award and that you as the
                   recipient award to an eligible subrecipient.

                   The term does not include your procurement of property and services (such as payments to
                   a contractor, small purchase agreements, vendor agreements, and consultant agreements)
                   that are needed for the benefit of the prime awardee to carry out the project or program
                   (for further explanation, see 2 CFR 200.331). For example, the following are not considered
                   subawards:

                       Cleaning Vendors: Vendors that are hired by a grantee to clean its facility.
                       Payroll Services Vendors: Vendors that carryout payroll functions for the grantee.
                       Information Technology Vendors: Vendors that provide IT support to grant staff.

                   Payments to individuals that are beneficiaries of Federal programs are not considered
                   subawards.

                   A subaward may be provided through any legal agreement, including an agreement that you
                   or a subrecipient considers a contract.

             v.    Subrecipient means a non-Federal entity or Federal agency that:

                   Receives a subaward from you (the recipient) under this award; and

                   Is accountable to you for the use of the Federal funds provided by the subaward.

                   In accordance with its subaward, uses the Federal funds to carry out a program for a public
                   purpose specified in authorizing statute, as opposed to providing goods or services for the
                   benefit of the Department prime awardee.



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           vii.    Recipient means a non-Federal entity that receives a Federal award directly from a Federal
                   awarding agency to carry out an activity under a Federal program. The term recipient does
                   not include subrecipients. See also §200.69 Non-Federal entity.
           viii.   Total compensation means the cash and noncash dollar value earned by the executive
                   during the recipient's or subrecipient's preceding fiscal year and includes the following (for
                   more information see 17 CFR 229.402(c)(2)):

                   Salary and bonus.

                   Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
                   recognized for financial statement reporting purposes with respect to the fiscal year in
                   accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2004)
                   (FAS 123R), Shared Based Payments.

                   Earnings for services under non-equity incentive plans. This does not include group life,
                   health, hospitalization, or medical reimbursement plans that do not discriminate in favor of
                   executives and are available generally to all salaried employees.

                   Change in pension value. This is the change in present value of defined benefit and actuarial
                   pension plans.

                   Above-market earnings on deferred compensation which is not tax-qualified.

                   Other compensation, if the aggregate value of all such other compensation (e.g., severance,
                   termination payments, value of life insurance paid on behalf of the employee, perquisites,
                   or property) for the executive exceeds $10,000.




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                                   SPECIFIC CONDITIONS FOR DISCLOSING
                               FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

        When issuing statements, press releases, requests for proposals, bid solicitations and other
        documents describing projects or programs funded in whole or in part with Federal money, U.S.
        Department of Education grantees shall clearly state:

                1) the percentage of the total costs of the program or project which will be financed with
                   Federal money;

                2) the dollar amount of Federal funds for the project or program; and

                3) the percentage and dollar amount of the total costs of the project or program that will
                   be financed by non-governmental sources.

        Recipients must comply with these conditions under Division H, Title V, Section 505 of Public Law 116-
        260, Consolidated Appropriations Act, 2021.




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                PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
                          DURING OFFICIAL FEDERAL GRANT BUSINESS

             Federal grant recipients, sub recipients and their grant personnel are prohibited from text
             messaging while driving a government owned vehicle, or while driving their own privately-
             owned vehicle during official grant business, or from using government supplied electronic
             equipment to text message or email when driving.


             Recipients must comply with these conditions under Executive Order 13513,
             “Federal Leadership on Reducing Text Messaging While Driving,” October 1,
             2009.




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                 REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
              IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM)


        The U.S. Department of Education (Department) Grants Management System (G5) disburses payments
        via the U.S. Department of Treasury (Treasury). The U.S. Treasury requires that we include your Tax
        Payer Identification Number (TIN) with each payment. Therefore, in order to do business with the
        Department you must have a registered Unique Entity Identifier (UEI) and TIN number with the SAM,
        the U.S. Federal Government’s primary registrant database. If the payee UEI number is different than
        your grantee UEI number, both numbers must be registered in the SAM. Failure to do so will delay the
        receipt of payments from the Department.

        A TIN is an identification number used by the Internal Revenue Service (IRS) in the administration of tax
        laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A Social Security
        number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

        The following are all considered TINs according to the IRS.

                Social Security Number "SSN"
                Employer Identification Number "EIN"
                Individual Taxpayer Identification Number "ITIN"
                Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
                Preparer Taxpayer Identification Number "PTIN"

        If your UEI number is not currently registered with the SAM, you can easily register by going to
        www.sam.gov. Please allow 3-5 business days to complete the registration process. If you need a new
        TIN, please allow 2-5 weeks for your TIN to become active. If you need assistance during the
        registration process, you may contact the SAM Federal Service Desk at 866-606-8220.

        If you are currently registered with SAM, you may not have to make any changes. However, please take
        the time to validate that the TIN associated with your UEI is correct.

        If you have any questions or concerns, please contact the G5 Hotline at 888-336-8930.




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              SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

        1. Requirement for System for Award Management (SAM)

        Unless you are exempted from this requirement under 2 CFR 25.110, you are, in accordance with your
        grant program's Notice Inviting Applications, required to maintain an active SAM registration with
        current information about your organization, including information on your immediate and highest level
        owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
        grant within the last three years, if applicable, at all times during which you have an active Federal
        award or an application or plan under consideration by a Federal awarding agency. To remain
        registered in the SAM database after your initial registration, you are required to review and update
        your information in the SAM database on an annual basis from the date of initial registration or
        subsequent updates to ensure it is current, accurate and complete.


        2. Requirement for Unique Entity Identifier (UEI) Numbers

        If you are authorized to make subawards under this award, you:

        1. Must notify potential subrecipients that they may not receive a subaward from you unless they
           provided their UEI number to you.
        2. May not make a subaward to a subrecipient when the subrecipient fails to provide its UEI number to
           you.

        3. Definitions

        For purposes of this award term:

        1. System for Award Management (SAM) means the Federal repository into which a recipient must
           provide information required for the conduct of business as a recipient. Additional information
           about registration procedures may be found at the SAM internet site (currently at
           https://www.sam.gov).

        2. Unique Entity Identifier (UEI) means the identifier assigned by SAM registration to uniquely identify
           business entities.

        3. Recipient means a non-Federal entity that receives a Federal award directly from a Federal awarding
           agency to carry out an activity under a Federal program. The term recipient does not include
           subrecipients. See 2 CFR 200.86.

        4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
           to carry out part of a Federal award received by the pass-through entity. It does not include
           payments to a contractor or payments to an individual that is a beneficiary of a Federal program. A
           subaward may be provided through any form of legal agreement, including an agreement that the
           pass-through entity considers a contract. See 2 CFR 200.92.
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        5. Subrecipient means a non-Federal entity that receives a subaward from a pass-through entity to
           carry out part of a Federal program; but does not include an individual that is a beneficiary of such
           program. A subrecipient may also be a recipient of other Federal awards directly from a Federal
           awarding agency. See 2 CFR 200.93.




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           KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
                        AWARDED BY THE DEPARTMENT OF EDUCATION

          The Department expects grantees to administer Department grants in accordance with
          generally accepted business practices, exercising prudent judgment so as to maintain
          proper stewardship of taxpayer dollars. This includes using fiscal control and fund
          accounting procedures that insure proper disbursement of and accounting for Federal
          funds. In addition, grantees may use grant funds only for obligations incurred during
          the funding period.

          Title 2 of the Code of Federal Regulations Part 200, “Uniform Administrative
          Requirements, Cost Principles, and Audit Requirements for Federal Awards,” establishes
          requirements for Federal awards made to non-Federal entities. The Education
          Department General Administrative Regulations in 34 CFR (EDGAR) 75, 76, 77, 79, 81,
          82, 84, 86, 97, 98, and 99 contain additional requirements for administering
          discretionary grants made by this Department. The most recent version of these
          regulations may be accessed at the following URLs:

          The Education Department General Administrative Regulations (EDGAR)

          2 CFR Part 200 Uniform Administrative Requirements, Cost Principles, and Audit
          Requirements for Federal Awards

          The information on page 2, "Selected Topics in Administering Department Discretionary
          Grants," highlights major administrative requirements of 2 CFR Part 200. In addition, a
          few of the topics discuss requirements that the Department imposes on its discretionary
          grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part 200
          and of EDGAR that address the topics discussed are shown in parentheses. The
          Department urges grantees to read the full text of these and other topics in EDGAR and
          in 2 CFR Part 200.

          Grantees are reminded that a particular grant might be subject to additional
          requirements of the authorizing statute for the program that awarded the grant and/or
          any regulations issued by the program office. Grantees should become familiar with
          those requirements as well, because program-specific requirements might differ from
          those in 2 CFR Part 200 and in EDGAR.

          The Department recommends that the project director and the fiscal management staff
          of a grantee organization communicate frequently with each other about the grant
          budget. Doing so will help to assure that you use Federal funds only for those
          expenditures associated with activities that conform to the goals and objectives
          approved for the project.

          Grantees may direct any questions regarding the topics discussed on page 2, "Selected
          Topics in Administering Department Discretionary Grants,"or about any other aspect of
          administering your grant award to the Department program staff person named in Block
          3 of the Grant Award Notification.


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                SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

          I.      Financial Management Systems (2 CFR Part 200.302)

          In general, grantees are required to have financial management systems that:

                      provide for accurate, current, and complete disclosure of results regarding
                      the use of funds under grant projects;
                      provide adequate source documentation for Federal and non-Federal funds
                      used under grant projects;
                      contain procedures to determine the allowability, allocability, and
                      reasonableness of obligations and expenditures made by the grantee; and
                      enable the grantee to maintain effective internal control and fund
                      accountability procedures, e.g., requiring separation of functions so that the
                      person who makes obligations for the grantee is not the same person who
                      signs the checks to disburse the funds for those obligations.

          State systems must account for funds in accordance with State laws and procedures that
          apply to the expenditure of and the accounting for a State's own funds. A State's
          procedures, as well as those of its subrecipients and cost-type contractors, must be
          sufficient to permit the preparation of reports that may be required under the award as
          well as provide the tracing of expenditures to a level adequate to establish that award
          funds have not been used in violation of any applicable statutory restrictions or
          prohibitions.

          II.     Federal Payment (2 CFR Part 200.305)

          Under this part --

                      the Department pays grantees in advance of their expenditures if the
                      grantee demonstrates a willingness and ability to minimize the time
                      between the transfer of funds to the grantee and the disbursement of the
                      funds by the grantee;
                      grantees repay to the Federal government interest earned on advances; and
                       grantees, generally, must maintain advance payments of Federal awards in
                      interest bearing accounts.


          In general, grantees should make payment requests frequently, only for small
          amounts sufficient to meet the cash needs of the immediate future.

          The Department has recently encountered situations where grantees failed to request
          funds until long after the grantee actually expended its own funds for the costs of its
          grant. Grantees need to be aware that, by law, Federal funds are available for grantees
          to draw down for only a limited period of time, after which the funds revert to the U.S.
          Treasury. In some cases grantees have requested funds too late for the Department to
          be able to pay the grantees for legitimate costs incurred during their project periods.


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          The Department urges financial managers to regularly monitor requests for payment
          under their grants to assure that Federal funds are drawn from the Department G5
          Payment System at the time those funds are needed for payments to vendors and
          employees.

          III.    Personnel (EDGAR §§ 75.511-75.519 and 2 CFR Part 200 Subpart D and E)

          The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200
          Subparts D and E. Part 75 covers issues such as paying consultants with grant funds,
          prohibiting dual compensation of staff, and waiving the requirement for a full-time
          project director. The rules clarifying changes in key project staff are located in 2 CFR
          Part 200.308 (c)(2). General rules governing reimbursement of salaries and
          compensation for staff working on grant projects are addressed in the cost principles in
          2 CFR Part 200 Subpart D and E. In all cases, payments of any type to personnel must be
          supported by complete and accurate records of employee time and effort. For those
          employees that work on multiple functions or separately funded programs or projects,
          the grantee must also maintain time distribution records to support the allocation of
          employee salaries among each function and separately funded program or project.

          IV.     Cost Principles (2 CFR Part 200 Subpart E)

          All costs incurred under any grant are subject to the cost principles found in 2 CFR Part
          200 Subpart E. The cost principles provide lists of selected items of allowable and
          unallowable costs, and must be used in determining the allowable costs of work
          performed under the grant.

          V.      Procurement Standards (2 CFR Part 200.317-327)

          Under 2 CFR Part 200.317, States are required to follow the procurement rules the
          States have established for purchases funded by non-Federal sources. When procuring
          goods and services for a grant’s purposes, all other grantees may follow their own
          procurement procedures, but only to the extent that those procedures meet the
          minimum requirements for procurement specified in the regulations. These
          requirements include written competition procedures and codes of conduct for grantee
          staff, as well as requirements for cost and price analysis, record-keeping and contractor
          compliance with certain Federal laws and regulations. These regulations also require
          grantees to include certain conditions in contracts and subcontracts, as mandated by
          the regulations and statutes.

          VI.     Indirect Costs (EDGAR §§75.560-564 and 2 CFR Part 200.414)

          In addition to the information presented beslow, see GAN ATTACHMENT 4 for addional
          information including restrictions related to temporary, de minimis, training, restricted,
          and program prescribed indirect cost rates.

          A. Unrestricted Indirect Cost Rate

          To utilize an unrestricted indirect cost rate, a grantee must have an indirect cost agreement with
          its cognizant agency, submit an indirect cost rate proposal to its cognizant agency for indirect

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          costs (cognizant agency) within 90 days after the award of this grant or elect to utilize the de
          minimis rate under 2 CFR § 200.414(f) or the temporary indirect cost rate (subject to limitations
          described below).

          The grantee must provide proof of its negotiated indirect cost rate agreement to the
          Department as soon as it has signed such an agreement with its cognizant agency.

          B. Temporary Indirect Cost Rate

          A grantee that does not have a current negotiated indirect cost rate agreement may recover
          indirect costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages
          (See 34 CFR § 75.560(c)); or it may choose not to charge indirect costs to the grant. The
          temporary rate can only be used for 90 days unless the exceptional circumstances apply under
          34 CFR § 75.560(d)(2).

          If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-
          day period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until
          it has negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee
          obtains a federally recognized indirect cost rate that is applicable to this grant, the grantee may
          use that indirect cost rate to claim indirect cost reimbursement.

          C. De minimis Indirect Cost Rate

          Institutions of Higher Education (IHEs), federally-recognized Indian Tribes, State and Local
          Governments 1 receiving less than $35 million in direct federal funding, and nonprofit
          organizations, if they do not have a current negotiated (including provisional) rate, and are not
          subject to the Department’s training rate or restricted rate (supplement-not-supplant
          provisions) may elect to charge a de minimis indirect cost rate of 10% of modified total direct
          costs (MTDC). This rate may be used indefinitely.

          MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
          services, travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
          subgrant). MTDC excludes equipment, capital expenditures, charges for patient care, rental
          costs, tuition remission, scholarships and fellowships, participant support costs and the portion
          of each subaward in excess of $25,000. Other items, including contract costs in excess of
          $25,000, may be excluded when necessary to avoid a serious inequity in the distribution of
          indirect costs (see definition of MTDC at 2 CFR § 200.1).

          Additionally, the de minimis rate may not be used by grantees that are subject to the
          Department’s training indirect cost rate (34 CFR § 75.562) or restricted indirect cost rate. The de
          minimis rate may be used indefinitely. However, if a grantee chooses to use the de minimis rate
          to recover indirect costs, it must do so for all of its Federal awards until such time as the grantee
          negotiates an indirect cost rate with its cognizant agency. Once a grantee obtains a federally
          recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
          cost rate to claim indirect cost reimbursement.

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           Note that a State-funded institution of higher education is not considered a “State government” for
          these purposes.


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          D. Programs with a Supplement-not-supplant requirement (restricted indirect cost rate)

          A restricted program (i.e., programs with statutory supplement-not-supplant requirements)
          grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
          indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
          negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
          not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
          not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
          the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
          negotiated.

          E. Training Grant Indirect Cost Rate

          If the grantee is a training grant recipient and is not a State, local, or Tribal government 3, the
          grantee must negotiate a rate under 34 CFR 75.562. This provision limits indirect cost recovery
          to 8% of modified total direct costs or the grantees negotiated indirect cost rate, whichever is
          less.

          The recovery using the training grant indirect cost rate is subject to the following limitations:

                i.   The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to
                     sub-awards that fund training.
               ii.   The 8% limit does not apply to agencies of Indian tribal governments, local
                     governments, and States as defined in 2 CFR § 200.1, respectively.
              iii.   Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy
                     matching or cost-sharing requirements, or charged to another Federal award.
              iv.    A grantee using the training rate of 8% is required to have documentation available for
                     audit that shows that its negotiated indirect cost rate is at least 8%.

          F. Program-Specific Indirect Cost Rate

          Grantees are required to follow program-specific statutory or regulatory requirements that
          mandate either indirect cost rate type or maximum administrative costs recovery instead of the
          general requirements described here.

          VII.       Audit Requirements (2 CFR Part 200 Subpart F)

          2 CFR 200 Subpart F requires that grantees that are non-Federal entities (a State, local
          government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award
          as a recipient or subrecipient) obtain a non-Federal audit of their expenditures under
          their Federal grants if the grantee expends more than $750,000 in Federal funds in one
          fiscal year. 2 CFR Part 200 Subpart F contains the requirements imposed on grantees for

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            Note that a State-funded institution of higher education is not considered a “State government” for
          these purposes.
          3
            Note that a State-funded institution of higher education is not considered a “State government” for
          these purposes; and a Tribal college or university funded by a federally-recognized Tribe is not considered
          a Tribe for these purposes.

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          audits done in connection with the law.

          The Department recommends hiring auditors who have specific experience in auditing
          Federal awards under the regulations and the Compliance Supplement.

          VIII.   Other Considerations

          Some other topics of financial management covered in 2 CFR Part 200 that might affect
          particular grants include program income (2 CFR Part 200.307), cost sharing or matching
          (2 CFR Part 200.306), property management requirements for equipment and other
          capital expenditures (2 CFR Parts 200.313, 200.439).




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                                 MEMORANDUM TO ED DISCRETIONARY GRANTEES

        You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
        Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
        grant account.

        For any cash that you draw from your Department of Education (the Department) grant account, you
        must:

             draw down only as much cash as is necessary to meet the immediate needs of the grant project;
             keep to the minimum the time between drawing down the funds and paying them out for grant
                      activities; and
             return to the Government the interest earned on grant funds deposited in interest-bearing bank
             accounts except for a small amount of interest earned each year that your entity is allowed to keep to
             reimburse itself for administrative expenses).

        In order to meet these requirements, you are urged to:

             take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
             boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
             from ED do not stay in a bank account for extended periods of time while waiting for approval;
             monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
             plan carefully for cash flow in your grant project during the budget period and review project cash
             requirements before each drawdown; and
             pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
             Department.

        Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
        contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
        during the fiscal quarter to discuss the particular situation. For the purposes of drawdown monitoring, the
        Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
        80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
        However, even amounts less than these thresholds could still represent excessive drawdowns for your
        particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
        cash will be required to return the excess funds to the Department, along with any associated earned
        interest, until such time as the money is legitimately needed to pay for grant activities. If you need
        assistance with returning funds and interest, please contact the Department’s G5 Hotline by calling 1-888-
        336-8930.

        Grantees that do not follow Federal cash management requirements and/or consistently appear on the
        Department's reports of excessive drawdowns could be:

             subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
             and 2 CFR 3474.10], which could mean being placed on a "cash-reimbursement" payment method
             (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
             own money and waiting to be reimbursed by the Department afterwards);
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            subject to further corrective action;
            denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3)(ii)]; and/or
            debarred or suspended from receiving future Federal awards from any executive agency of the Federal
            government.

        You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
        and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
        memorandum and share it with all affected individuals within your organization.




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                         THE USE OF GRANT FUNDS FOR CONFERENCES AND MEETINGS

     You are receiving this memorandum to remind you that grantees must take into account the following factors when
     considering the use of grant funds for conferences and meetings:
                Before deciding to use grant funds to attend or host a meeting or conference, a grantee should:
                    o Ensure that attending or hosting a conference or meeting is consistent with its approved
                        application and is reasonable and necessary to achieve the goals and objectives of the grant;
                    o Ensure that the primary purpose of the meeting or conference is to disseminate technical
                        information, (e.g., provide information on specific programmatic requirements, best
                        practices in a particular field, or theoretical, empirical, or methodological advances made in
                        a particular field; conduct training or professional development; plan/coordinate the work
                        being done under the grant); and
                    o Consider whether there are more effective or efficient alternatives that can accomplish the
                        desired results at a lower cost, for example, using webinars or video conferencing.
                Grantees must follow all applicable statutory and regulatory requirements in determining whether
                costs are reasonable and necessary, especially the Cost Principles for Federal grants set out at 2 CFR
                Part 200 Subpart E of the, “Uniform Administrative Requirements, Cost Principles, and Audit
                Requirements for Federal Awards.” In particular, remember that:
                    o Federal grant funds cannot be used to pay for alcoholic beverages; and
                    o Federal grant funds cannot be used to pay for entertainment, which includes costs for
                        amusement, diversion, and social activities.
                Grant funds may be used to pay for the costs of attending a conference. Specifically, Federal grant
                funds may be used to pay for conference fees and travel expenses (transportation, per diem, and
                lodging) of grantee employees, consultants, or experts to attend a conference or meeting if those
                expenses are reasonable and necessary to achieve the purposes of the grant.
                    o When planning to use grant funds for attending a meeting or conference, grantees should
                        consider how many people should attend the meeting or conference on their behalf. The
                        number of attendees should be reasonable and necessary to accomplish the goals and
                        objectives of the grant.
                A grantee hosting a meeting or conference may not use grant funds to pay for food for conference
                attendees unless doing so is necessary to accomplish legitimate meeting or conference business.
                    o A working lunch is an example of a cost for food that might be allowable under a Federal
                        grant if attendance at the lunch is needed to ensure the full participation by conference
                        attendees in essential discussions and speeches concerning the purpose of the conference
                        and to achieve the goals and objectives of the project.
                A meeting or conference hosted by a grantee and charged to a Department grant must not be
                promoted as a U.S. Department of Education conference. This means that the seal of the U.S.
                Department of Education must not be used on conference materials or signage without Department
                approval.




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                 o   All meeting or conference materials paid for with grant funds must include appropriate
                     disclaimers, such as the following:
                         The contents of this (insert type of publication; e.g., book,
                         report, film) were developed under a grant from the
                         Department of Education. However, those contents do not
                         necessarily represent the policy of the Department of
                         Education, and you should not assume endorsement by the
                         Federal Government.
             Grantees are strongly encouraged to contact their project officer with any questions or concerns
             about whether using grant funds for a meeting or conference is allowable prior to committing grant
             funds for such purposes.
                 o A short conversation could help avoid a costly and embarrassing mistake.
             Grantees are responsible for the proper use of their grant awards and may have to repay funds to
             the Department if they violate the rules on the use of grant funds, including the rules for meeting-
             and conference-related expenses.




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             MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
                       MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS

        The Department of Education (Department) requires that its grantees adhere to existing cash
        management requirements concerning payments and will ensure that their subgrantees are also aware
        of these policies by providing them relevant information. A grantee’s failure to comply with cash
        management requirements may result in an improper payment determination by the Department in
        accordance with the Payment Integrity Information Act (PIIA) of 2019.

        There are three categories of payment requirements that apply to the drawdown of funds from grant
        accounts at the Department. The first two types of payments are subject to the requirements in the
        Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
        1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
        Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
        part 200, 1 as follows:

            1.     Payments to a State under programs that are covered by a State’s Treasury State Agreement
                   (TSA);

            2.     Payments to States under programs that are not covered by a TSA; and

            3.     Payments to other non-Federal entities, including nonprofit organizations and local
                   governments.

        CMIA Requirements Applicable to Programs included in a TSA

        Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
        programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State’s written
        TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
        and both States and the Federal government are subject to interest liabilities for late payments. State
        interest liabilities accrue from the day federal funds are credited to a State account to the day the State
        pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
        payment under a Federal assistance program before funds for that payment have been transferred to
        the State, Federal Government interest liabilities accrue from the date of the State payment until the
        Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

        CMIA Requirements Applicable to Programs Not Included in a TSA

        Payments to States under programs not covered by a State’s TSA are subject to subpart B of Treasury’s
        regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
        drawdown of funds from the federal government and their disbursement for approved program
        activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
        administratively feasible to a State’s actual cash outlay for direct program costs and the proportionate
        share of any allowable indirect costs. 31 CFR § 205.33(a). States should exercise sound cash
        management in funds transfers to subgrantees.

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            The Department adopted the Uniform Guidance as regulations of the Department at 2 CFR part 3474.

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        Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
        CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
        Treasury can require the program to be included in the State’s TSA. 31 CFR § 205.35.

        Fund transfer requirements for grantees other than State governments and subgrantees

        The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
        the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
        requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
        requiring that “payments methods must minimize the time elapsing between the transfer of funds from
        the United States Treasury or the pass-through entity and the disbursement by the non-Federal entity.”
        2 CFR § 200.305(b) introduction.

        The Federal Government and pass-through entities must make payments in advance of expenditures by
        grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
        maintain, written procedures “that minimize the time elapsing between the transfer of funds and
        disbursement by the non-Federal entity, and financial management systems that meet the standards for
        fund control and accountability.” 2 CFR § 200.305(b)(1). If a grantee or subgrantee cannot meet the
        criteria for advance payments, a Federal agency or pass-through entity can pay that entity through
        reimbursement. See 2 CFR § 200.305(b)(1) and (4) for more detailed description of the payment
        requirements and the standards for requiring that payments be made by reimbursement.

        Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
        conditions exist. See 2 CFR § 200.305(b)(8) for those conditions. The requirements regarding interest
        accrual and remittance follow:

        Grantees and subgrantees must annually remit interest earned on federal advance payments except
        that interest earned amounts up to $500 per year may be retained for administrative expense. Any
        additional interest earned on Federal advance payments deposited in interest-bearing accounts must be
        remitted annually to the Department of Health and Human Services Payment Management System
        (PMS) through an electronic medium using either Automated Clearing House (ACH) network or a
        Fedwire Funds Service payment. 2 CFR § 200.305(b)(9)(i) and (ii).

          1.    When returning interest through ACH Direct Deposit or Fedwire, grantees must include the
                following in their return transaction:

                             PMS Account Number (PAN). NOTE: The PAN is the same series of alpha-numeric
                             characters used for payment request purposes (e.g.: C1234G1).
                             PMS document number.
                             The reason for the return (e.g., interest, part interest part other, etc.).
                             An explanation stating that the refund is for interest payable to the Department of
                             Health and Human Services, and the grant number(s) for which the interest was
                             earned.

                a. U.S. Department of Education grantees are generally located and operate domestically and
                   return interest domestically. Below is PSC ACH account information for interest returned



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                    domestically. For international ACH interest returned, account information is available at:
                    Returning Funds/Interest.

                             PSC ACH Routing Number is: 051036706
                             PSC DFI Accounting Number: 303000
                             Bank Name: Credit Gateway - ACH Receiver
                             Location: St. Paul, MN

                b. Service charges may be incurred from a grantee’s financial institution when a Fedwire to
                   return interest is initiated. For FedWire returns, Fedwire account information is as follows:

                             Fedwire Routing Number: 021030004
                             Agency Location Code (ALC): 75010501
                             Bank Name: Federal Reserve Bank
                             Treas NYC/Funds Transfer Division
                             Location: New York, NY

          2.    Interest may be returned by check using only the U.S. Postal Service; however, returning
                interest via check may take 4-6 weeks for processing before a check payment may be applied to
                the appropriate PMS account.

                a. Interests returned by check are to be mailed (USPS only) to:

                             HHS Program Support Center
                             PO Box 979132
                             St. Louis, MO 63197

                    A brief statement explaining the nature of the return must be included.

                b. To return interest on a grant not paid through the PMS, make the check payable to the
                   Department of Health and Human Services, and include the following with the check:

                             An explanation stating that the refund is for interest
                             The name of the awarding agency
                             The grant number(s) for which the interest was earned
                             The return should be made payable to: Department of Health and Human Services.

          3.    For detailed information about how to return interest, visit the PSC Retuning Funds/Interest
                page at: Returning Funds/Interest

        Grantees, including grantees that act as pass-through entities and subgrantees have other
        responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
        have procedures for determining the allowability of costs for their awards. We highlight the following
        practices related to the oversight of subgrantee compliance with the financial management
        requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
        their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must –




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          1.   Evaluate each subrecipient's risk of noncompliance with Federal statutes, regulations, and the
               terms and conditions of the subaward for purposes of determining the appropriate subrecipient
               monitoring.

          2.   Monitor the performance and fiscal activities of the subrecipient to ensure that the subaward is
               used for authorized purposes, in compliance with Federal statutes, regulations, and the terms
               and conditions of the subaward; and that subaward performance goals are achieved.

        A small number of Department grant programs have program-specific cash management and payment
        requirements based on the authorizing legislation or program regulations. These program-specific
        requirements may supplement or override general cash management or payment requirements. If you
        have any questions about your specific grant, please contact the Education Program Contact listed in
        Block 3 of your Grant Award Notification.




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            RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                          FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


        Q     What are the Federal Laws and Regulations Regarding Payments to the States?
        A     The Cash Management Improvement Act of 1990 (CMIA) establishes interest liabilities for the
              Federal and State governments when the Federal Government makes payments to the States.
              See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
              Federal Regulations (CFR), Part 205, https://www.ecfr.gov/cgi-bin/text-
              idx?tpl=/ecfrbrowse/Title31/31cfr205_main_02.tpl. Non-Federal entities other than States
              follow the rules on Federal payments set out in 2 CFR 200.305.

        Q     What is a Treasury-State Agreement (TSA)?
        A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
              upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
              assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
              specify a number of different funding techniques that may be used by a State but a State can
              negotiate with the Treasury Department to establish a different funding technique for a
              particular program. A TSA is effective until terminated and, if a state does not have a TSA,
              payments to the State are subject to the default techniques in the regulations that Treasury
              determines are appropriate.

        Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
        A     Payments to a State under a program of the Department are subject to the interest liability
              requirements of the CMIA if the program is included in the State’s Treasury-State Agreement
              (TSA) with the Department of Treasury. If the Federal government is late in making a payment to
              a State, it owes interest to the State from the time the State spent its funds to pay for
              expenditure until the time the Federal government deposits funds to the State’s account to pay
              for the expenditure. Conversely, if a State is late in making a payment under a program of the
              Department, the State owes interest to the Federal government from the time the Federal
              government deposited the funds to the State’s account until the State uses those funds to make
              a payment. For more information, GAN Enclosure 4.


        Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
              Agreement?
        A     If a program is not included in the State’s TSA, neither the State nor the Federal government are
              liable for interest for making late payments. However, both the Federal government and the
              State must minimize the time elapsing between the date the State requests funds and the date
              that the funds are deposited to the State’s accounts. The State is also required to minimize the
              time elapsed between the date it receives funds from the Federal government and the date it
              makes a payment under the program, Also, the Department must minimize the amount of funds
              transferred to a State to only that needed to meet the immediate cash needs of the State. The
              timing and amount of funds transferred must be as close as is administratively feasible to a
              State's actual cash outlay for direct program costs and the proportionate share of any allowable
              indirect costs.
        Q     What if there is no TSA?


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        A   When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
            Treasury Department determines appropriate apply. The default procedures will prescribe
            efficient funds transfer procedures consistent with State and Federal law and identify the
            covered Federal assistance programs and designated funding techniques.


        Q   Who is responsible for Cash Management?
        A   Grantees and subgrantees that receive grant funds under programs of the Department are
            responsible for maintaining internal controls regarding the management of Federal program
            funds under the Uniform Guidance in 2 CFR 200.302 and 200.303. In addition, grantees are
            responsible for ensuring that subgrantees are aware of the cash management and requirements
            in 2 CFR part 200, subpart D.

        Q   Who is responsible for monitoring cash drawdowns to ensure compliance with cash
            management policies?
        A   Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
            substantial compliance to the standards of timing and amount of advances.

        Q   How soon may I draw down funds from the G5 grants management system?
        A   Grantees are required to minimize the amount of time between the drawdown and the
            expenditure of funds from their bank accounts. (See 2 CFR 200.305(b).) Funds must be drawn
            only to meet a grantee’s immediate cash needs for each individual grant. The G5 screen displays
            the following message:

            By submitting this payment request, I certify to the best of my knowledge and belief that the
            request is based on true, complete, and accurate information. I further certify that the
            expenditures and disbursements made with these funds are for the purposes and objectives
            set forth in the applicable Federal award or program participation agreement, and that the
            organization on behalf of which this submission is being made is and will remain in compliance
            with the terms and conditions of that award or program participation agreement. I am aware
            that the provision of any false, fictitious, or fraudulent information, or the omission of any
            material fact, may subject me, and the organization on behalf of which this submission is being
            made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
            other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
            3729-3730 and 3801-3812)

        Q   How may I use Federal funds?
        A   Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
            application or State plan for allowable direct costs of the grant and an allocable portion of
            indirect costs, if authorized.

        Q   What are the consequences to recipients/subrecipients for not complying with terms of the
            grant award?
        A   If a recipient or subrecipient materially fails to comply with any term of an award, whether
            stated in a Federal statute or regulation, including those in 2 CFR part 200, an assurance, the
            GAN, or elsewhere, the awarding agency may in accordance with 2 CFR 200.339 take one or
            more of the following actions:



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                    1.   Temporarily withhold cash payments pending correction of the deficiency by the
                         non-Federal entity or more severe enforcement action by the Federal awarding
                         agency or pass-through entity.
                    2.   Disallow (that is, deny both use of funds and any applicable matching credit for) all
                         or part of the cost of the activity not in compliance.
                    3.   Wholly or partly suspend or terminate the Federal award.
                    4.   Initiate suspension or debarment proceedings as authorized under 2 CFR part 180
                         and Federal award agency regulations (or in the case of a pass-through be initiated
                         by a Federal awarding agency).
                    5.   Withhold further Federal awards for the project or program.
                    6.   Take other remedies that may be legally available.




        Q   Who is responsible for determining the amount of interest owed to the Federal government?
        A   As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
            included in the State’s TSA. A non-State entity must maintain advances of Federal funds in
            interest-bearing accounts unless certain limited circumstance apply and remit interest earned on
            those funds to the Department of Health and Human Services, Payment Management System
            annually. See 2 CFR 200.305.
        Q   What information should accompany my interest payment?
        A   In accordance with 2 CFR 200.305(b)(9), interest in access of $500.00 earned on Federal advance
            payments deposited in interest-bearing accounts must be remitted annually to the Department
            of Health and Human Services Payment Management System (PMS) through an electronic
            medium using either Automated Clearing House (ACH) network or a Fedwire Funds Service
            payment.

            For returning interest on Federal awards paid through PMS, the refund should:
            (a) Provide an explanation stating that the refund is for interest;
            (b) List the PMS Payee Account Number(s) (PANs);
            (c) List the Federal award number(s) for which the interest was earned; and
            (d) Make returns payable to: Department of Health and Human Services.

            For returning interest on Federal awards not paid through PMS, the refund should:
            (a) Provide an explanation stating that the refund is for interest;
            (b) Include the name of the awarding agency;
            (c) List the Federal award number(s) for which the interest was earned; and
            (d) Make returns payable to: Department of Health and Human Services.

            For additional information about returning interest see GAN ATTACHMENT 4.

        Q   Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
            time they need to disburse funds in order to liquidate obligations?
        A    The payment requirements in 2 CFR 200.305(b) authorize a grantee or subgrantee to request
            funds in advance of expenditures if certain conditions are met. However, if those conditions are
            not met, the Department and a pass-through agency may place a payee on reimbursement.



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                                                                                       GAN ATTACHMENT 5
                                                                                               Revised 03/2021
        Q   For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
            States choose to pay LEAs on a reimbursement basis?
        A    A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
            200.305(b)(1) but if the subgrantee cannot meet those standards, the State may put the
            subgrantee on reimbursement payment. See 2 CFR 200.305(b).

        Q   Will the Department issue special procedures in advance if G5 plans to shut down for 3 days or
            more?
        A   Yes, before any shutdown of G5 lasting three days or more, the Department issues special
            guidance for drawing down funds during the shut down. The guidance will include cash
            management improvement act procedures for States and certain State institutions of higher
            education and procedures for grants (including Pell grants) that are not subject to CMIA.




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          1                         IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND
          2                                  NORTHERN DIVISION

          3       AMERICAN ASSOCIATION OF COLLEGES )
                  FOR TEACHER EDUCATION, et al.,   )
          4                                        )
                                  Plaintiffs,      )
          5                                        )
                                 vs.               )                CIVIL CASE NO.
          6                                        )                1:25-cv-00702-JRR
                  LINDA MCMAHON, in her official   )
          7       capacity as Secretary of         )
                  Education, et al.,               )
          8                       Defendants.      )                Courtroom 3A
                  ________________________________ )                Baltimore, Maryland
          9
                                          THURSDAY, MARCH 13, 2025
         10
                        TRANSCRIPT OF PROCEEDINGS - PRELIMINARY INJUNCTION
         11                    BEFORE THE HONORABLE JULIE R. RUBIN

         12     For the Plaintiffs:

         13     Joshua W. Richards, Esquire
                Carolyn M. Toll, Esquire
         14      Saul Ewing, LLP
                 Centre Square West, 38th Floor
         15      1500 Market Street
                 Philadelphia, PA 19102
         16
                Daniel M. Moore, Esquire
         17      Saul Ewing, LLP
                 1001 Fleet Street, 9th Floor
         18      Baltimore, MD 21202

         19     For the Defendants:

         20     Molissa H. Farber, Esquire
                Megan L. Micco, Esquire
         21      US Attorney's Office - District of Maryland
                 36 South Charles Street, 4th Fl.
         22      Baltimore, MD 21201
                    _______________________________________________________
         23            (Computer-aided Transcription of Stenotype Notes)

         24                  Reported by: Amanda L. Longmore, RPR, FCRR
                                  Federal Official Court Reporter
         25                       101 W. Lombard Street, 4th Floor
                                     Baltimore, Maryland 21201



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          1                                  P R O C E E D I N G S

          2             (10:06 a.m.)

          3                  THE CLERK:        The matter now pending before this Court

          4     is Civil Docket Number JRR-25-cv-0072, American Association of

          5     Colleges for Teacher Education, et al., versus McMahon, et al.

          6     This matter now comes before the Court for the purpose of a

          7     preliminary injunction hearing.

          8             Counsel for the plaintiffs, followed by counsel for the

          9     defendants, will you please introduce yourselves for the

         10     record?

         11                  MR. RICHARDS:         Good morning.         Josh Richards, Saul

         12     Ewing, for the plaintiffs.

         13                  THE COURT:        Good morning.

         14                  MS. TOLL:       Carolyn Toll, Saul Ewing, for the

         15     plaintiffs.

         16                  THE COURT:        Good morning.

         17                  MR. MOORE:        Good morning, Your Honor.               Daniel Moore

         18     of Saul Ewing.

         19                  THE COURT:        Good morning.

         20                  MS. FARBER:        Good morning, Your Honor.               Molissa

         21     Farber for the defendants.

         22                  THE COURT:        Good morning.

         23                  MS. MICCO:        Good morning, Your Honor.               Megan Micco

         24     also for the defendants.

         25                  THE COURT:        Good morning to all.            Everyone can be




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          1     seated.    I'll just ask for just a few moments so I can organize

          2     what I need to have directly in front of me.

          3             All right.    Counsel, just because there are so many moving

          4     parts in terms of documents that are at issue here that I'm

          5     sure we'll talk about during argument, I will ask you to just,

          6     if I need to, to have a moment or two to turn to whatever

          7     document you're referring to so I can be sure to have them in

          8     front of me.

          9             And with that, I'm happy to hear from you, Mr. Moore.                     Or

         10     Mr. Richards, rather.

         11                  MR. RICHARDS:        Your Honor, would you like me to

         12     stand while I'm addressing the Court or --

         13                  THE COURT:       I will -- whatever makes you comfortable

         14     is fine with me.

         15                  MR. RICHARDS:        Then I'll stay sitting, thank you.

         16             I think that the issues before the Court have been

         17     narrowed significantly since we filed our motion in light of

         18     the Government's response.            And it seems to me that, you know,

         19     the Government has not challenged that irreparable harm will

         20     result without an injunction.             And so I won't say more about

         21     that unless the Court would like me to, except to say that

         22     because we're not going to be talking about irreparable harm at

         23     length today, I don't want the Court or the public to lose

         24     sight of the fact that, you know, this case is really about the

         25     potential destruction of the infrastructure to provide teacher




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          1     preparation in this country.              And the impact of allowing these

          2     grants to be terminated is that the programs that support that

          3     teacher preparation will be in a position where they're no

          4     longer able to operate.           They'll lose staff, they'll lose the

          5     things that they've built to allow them to do what they do, and

          6     even if those programs are later refunded, they'll have to be

          7     rebuilt from the ground up.             And so it's not a small thing that

          8     we're here to talk about.

          9                   THE COURT:       So let me just put a pin in that for a

         10     second and say that to the extent there are things that are not

         11     challenged, and I know that you're not saying anything to the

         12     contrary, but bear in mind that I still need to make a finding

         13     in your favor as to each of those elements so I wouldn't, you

         14     know, necessarily rest on your papers unless you want to but

         15     you're welcome to.

         16                   MR. RICHARDS:        Thank you, Your Honor.              So I am happy

         17     to speak more to that.

         18             Before I begin, too, I wanted to just sort of note that

         19     final agency action doesn't seem to be challenged here.                        Again,

         20     we did cover that in our briefs and I can cover that before the

         21     Court.     And so it strikes me that the main disputed issues

         22     before the Court are the jurisdictional issues that the

         23     Government has raised with respect to standing and venue, the

         24     Fifth Amendment claim that we've raised, and whether or not the

         25     NADOHE order either applies or the same reasoning applies here,




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          1     and then the agency priorities issue that we've raised as our

          2     principal APA claim.

          3             I can start anywhere that the Court would prefer, but

          4     maybe with the jurisdictional issues?

          5                   THE COURT:       Yeah, I would like to start with the

          6     jurisdictional issues.

          7             And, Ms. Farber, I will just -- I'm not asking you to make

          8     argument about it now but just to confirm, does -- do

          9     defendants concede the issue of final agency action?

         10                   MS. FARBER:       Yes, for the purposes of this motion we

         11     do.

         12                   THE COURT:       I should say that's sort of, you know,

         13     built into every sentence that we're about to say, for purposes

         14     of this hearing, as well as the irreparable harm.

         15                   MS. FARBER:       Yes.

         16                   THE COURT:       All right.       Very good.        So those issues

         17     are sort of in the can, although plaintiff still bears the

         18     burden, because, you know, I'm not a potted plant, but go

         19     ahead.

         20                   MR. RICHARDS:        Okay.      So as to the jurisdictional

         21     issues, I'll start with standing, even though it's reversed

         22     from how the Government raised them.

         23             The only plaintiff I believe that standing was challenged

         24     as to was MACTE.        I don't believe that there's any dispute that

         25     MACTE is a membership organization and it's comprised of




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          1     principally, entirely, Maryland organizations that provide

          2     teacher preparation services.

          3             It is a matter of, at this point, public record that at

          4     least three of its members, Towson University, College Park,

          5     and Frostburg, have had grants cut as part of this program.

          6             The Supreme Court ruled in lots of cases but most recently

          7     in the Students For Fair Admissions case that an

          8     organizational -- membership organization has standing if any

          9     of its members suffered concrete harm.                 I don't think that

         10     there's any dispute that we have alleged concrete harm on

         11     behalf of the members, and so I think that we've sort of easily

         12     established standing for MACTE, and for the other plaintiffs I

         13     don't believe it's been challenged.

         14             And if there's no questions about that, I can move on.

         15                  THE COURT:       So Frostburg, Maryland, and Towson, just

         16     to clarify, their grants were subject to -- and I don't know if

         17     I'm mispronouncing the judge's name, Judge Joun -- Judge Joun,

         18     were they subject to his TRO?

         19                  MR. RICHARDS:        They were.

         20                  THE COURT:       And have any of those -- have any of

         21     those institutions whose grants were subject to his TRO gotten

         22     their money out?

         23                  MR. RICHARDS:        I don't know.         I don't know whether or

         24     not they have been able to draw down on that order yet.

         25                  THE COURT:       Do they plan to?




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          1                  MR. RICHARDS:        I think that they do, once those

          2     grants are turned back on.            But I think our position would be

          3     there's no mootness issue there --

          4                  THE COURT:       Right.

          5                  MR. RICHARDS:        -- because the order is temporary.

          6                  THE COURT:       Well, but if they've taken their money

          7     out in view of the declaration that it's pretty hard to claw

          8     that back, what do I do with that?

          9                  MR. RICHARDS:        Well, again, our view would be that

         10     because that relief is temporary and does not sort of --

         11     "guarantee" is the wrong word, but does not even indicate that

         12     future money will be able to be drawn down, and we have a clear

         13     intent from the Government to terminate the loan, they've

         14     appealed the order, that the dispute is still live.

         15                  THE COURT:       Okay.     Do they -- have they been granted

         16     future grants?      In other words, are they -- and I don't know if

         17     I'm asking this question the wrong way, but are those three

         18     grant recipients, in their multiyear grants, are there any

         19     grants that have been granted for future years that have not

         20     yet begun in terms of, you know, their financial spending?

         21                  MR. RICHARDS:        I don't know, Your Honor.

         22                  THE COURT:       Okay.     And I don't even know if I asked

         23     that the right way, but my point is, you know, because, in

         24     other words, if there are other grants that are out there, that

         25     might be something to know but --




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          1                  MR. RICHARDS:        I agree, Your Honor.             I also think

          2     that part of the reason that we've brought this claim in the

          3     way that we have is because all grant recipients that are

          4     members of the plaintiff organizations are essentially

          5     identically situated with respect to these particular grants,

          6     and they were terminated in exactly the same way, roughly the

          7     exact time, using the exact reason.                I'm not sure whether that

          8     will be true for future grants or not.

          9                  THE COURT:       Okay.

         10                  MR. RICHARDS:        Shall I move on to venue?

         11                  THE COURT:       That would be great.            Yep.

         12                  MR. RICHARDS:        Venue we also think is

         13     straightforward.       You know, we did allege two different bases

         14     for venue in our complaint.            The Government addressed only one

         15     in their brief, in its argument that we didn't have venue, but

         16     of course we alleged that we've established venue under

         17     1391(e)(1)(C) because the Government is a defendant in this

         18     case and MACTE, again, is a citizen of the State of Maryland;

         19     therefore we have a single plaintiff for whom we have venue and

         20     the vast majority of the case law that we were able to locate

         21     makes completely clear that one plaintiff is all that's

         22     sufficient to establish venue under (e)(1)(C).

         23                  THE COURT:       If MACTE is gone, does AACTE carry the

         24     day on substantial?

         25                  MR. RICHARDS:        It does.




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          1                   THE COURT:       Why?

          2                   MR. RICHARDS:        Because Towson and College Park and

          3     Frostburg are all members of AACTE.

          4                   THE COURT:       I see.     So they're co-members, AACTE and

          5     MACTE.

          6                   MR. RICHARDS:        Correct.

          7                   THE COURT:       Okay.     And are there any other Maryland

          8     institutions that are members of AACTE that are not MACTE

          9     members?

         10                   MR. RICHARDS:        I don't think so.

         11                   THE COURT:       That would be at issue here I guess is

         12     the question.

         13                   MR. RICHARDS:        I don't think so, Your Honor.

         14                   THE COURT:       Okay.

         15                   MR. RICHARDS:        But I will just turn to one point that

         16     the Government raises and that we addressed briefly in our rely

         17     but mindful of the Court's suggestion that we flush these

         18     things out.

         19             You know, the Government's argument on venue appears to be

         20     that venue isn't proper in Maryland, which we don't agree with,

         21     but that it also would be unwise to transfer the case to D.C.

         22     because D.C. is being overwhelmed, and the solution that they

         23     propose to that venue challenge is that the case be transferred

         24     to every jurisdiction in which a loan -- or rather which a

         25     grant was terminated.          That strikes me as an extremely




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          1     impractical solution and a poor use of the venue provision,

          2     particularly where the Court may exercise some discretion.

          3             So to the extent that sort of the counterfactual here is,

          4     you know, we have 50 or however many states we have here at

          5     issue, different cases all deciding the same issue for

          6     identically situated plaintiffs, that strikes me as a poor

          7     suggestion.

          8                   THE COURT:       Okay.     I'm not suggesting that you're

          9     finished at this point, but I think before we go headlong into

         10     the Winter factors, I'd want to ask the Government and defense

         11     in general to respond to the standing mootness venue issues.

         12     So are you finished as to those issues?

         13                   MR. RICHARDS:        Yes, Your Honor.           Thank you.

         14                   THE COURT:       Okay.     Let's just put those issues in a

         15     can and then we'll go onto the meat.

         16                   MS. FARBER:       Thank you, Your Honor.              I'd prefer to

         17     stand.

         18                   THE COURT:       That's fine.        Everybody has their

         19     preference.      I once invited counsel to remove his suit jacket

         20     because it was really hot in the courtroom and he said "I just

         21     can't."

         22             (Laughter.)

         23                   MS. FARBER:       I might need to take advantage of that

         24     later.

         25             Your Honor, I -- thank you for the opportunity to jump in




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          1     before we get to the merits.

          2                  THE COURT:        Sure.

          3                  MS. FARBER:        As I'm sure you noticed, the Government

          4     made its best efforts to present the most streamlined possible

          5     defense to this case as we could.                And so that involved, you

          6     know, not contesting irreparable harm in this context given

          7     that we have kind of an institutional existential issue alleged

          8     and then a final agency action as well.

          9             There are significant standing and venue concerns here at

         10     the threshold.       At the outset, the allegations that are

         11     specific to Maryland that show there were specific Maryland

         12     grants that were terminated, how many there were, those all --

         13     none of those are in the complaint.                 All of those come out in

         14     later filings as a way to try to bootstrap the complaint or

         15     bolster the complaint.           And the case law in this jurisdiction

         16     is clear that you cannot amend the complaint, add allegations

         17     to the complaint by responding or replying in support of -- or

         18     in opposition to a motion.

         19             So where we point out fatal flaws in the complaint,

         20     plaintiffs can't salvage those by adding supplemental

         21     declarations or additional allegations in a reply as they seek

         22     to do here.

         23             Now, as Your Honor pointed out, there is a very similar

         24     case in Massachusetts that was heard on a TRO hearing on

         25     Monday, and relief was granted in that case, not only to MACTE,




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          1     but to a number of other plaintiffs --

          2                   THE COURT:       States.

          3                   MS. FARBER:       -- in other states.            And on the subject

          4     of supplemental declarations, I am a little surprised that we

          5     don't have supplemental declarations this morning from

          6     plaintiff attesting to the fact that that money is back.

          7             So we see from the filings in the Massachusetts case that

          8     the AUSA on that case worked with ED to get the money released.

          9     We have the declaration from someone at ED that all the money

         10     is restored, that there are no conditions on that money, that

         11     the grantees can withdraw all of the money if they want to, and

         12     that grantees have started to do that already.

         13             So, frankly, I'm a bit floored that plaintiffs' counsel

         14     doesn't know whether -- whether their clients have withdrawn

         15     any of the money that, for all intents and purposes, appears to

         16     be completely released and fully available to them.

         17                   THE COURT:       Do you know?

         18                   MS. FARBER:       I don't know.

         19                   THE COURT:       Okay.

         20                   MS. FARBER:       I don't know.

         21                   THE COURT:       And I'm not suggesting it's your burden

         22     to know.     I'm just inquiring.

         23                   MS. FARBER:       No, Your Honor, I don't know at this

         24     point.     And, frankly, the reason that I sent those exhibits as

         25     early as I did, almost as soon as I got them yesterday




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          1     afternoon, was to hopefully give plaintiffs a chance to inquire

          2     and submit some kind of additional information to this court.

          3              So to hear plaintiffs' counsel say that he doesn't know,

          4     did he even ask?         Did he look at those things and even ask his

          5     client if they got the money?               Because, as far as we know,

          6     there might be zero dollars left to withdraw on that fund.

          7     Like, the plaintiffs may have taken all of it out.

          8              And to Your Honor's point about future money, it does seem

          9     like there are some grants where there are future years to

         10     dispute, but that takes us out of preliminary injunction land

         11     because the plaintiff has all the money that they're going to

         12     get this year on hand.            We no longer have an existential

         13     threat.      So I'm surprised since we know plaintiffs know how to

         14     file supplemental declarations that we don't have one here with

         15     that information.

         16              As far as whether the plaintiffs are identically situated,

         17     we see from Exhibit 2 -- Defense Exhibit 2 -- so I should have

         18     said that the exhibits that I referenced that I sent to the

         19     Court last night from the Massachusetts case are Exhibits 1 and

         20     2.      Exhibit 1 is a status report in that Massachusetts case;

         21     and then Exhibit 2 is a declaration from Rachel Oglesby.

         22              The Court has copies of those --

         23                    THE COURT:       Yes.

         24                    MS. FARBER:       -- I presume?         Okay.

         25              So in Ms. Oglesby's declaration, she provides some




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          1     examples, I believe, of situations in which grants were

          2     terminated.     And they're all different.                They're all different

          3     circumstances why grants are terminated.                   And so this is not a

          4     case where everyone is identically situated.                      At least based on

          5     this declaration, we have different reasons why different

          6     grants were subject to termination, and those are Paragraphs 11

          7     through 16.     And we can all certainly disagree about the wisdom

          8     of these terminations, but that's an APA challenge and that is

          9     something that is going to be individual and fact specific for

         10     each terminated grant.

         11                  THE COURT:        But when you say they're not -- I mean,

         12     perhaps these are my words -- "similarly situated," are you

         13     taking the position that the Department did not terminate these

         14     grants because they were determined or identified, as

         15     Ms. Oglesby describes, to involve programs related to DEI?

         16                  MS. FARBER:        No.    No, I'm not taking that position.

         17                  THE COURT:        So how are they materially different?

         18                  MS. FARBER:        Well, I think that --

         19                  THE COURT:        Materially different.

         20                  MS. FARBER:        I think that would depend on the facts

         21     of the case.

         22             So one example might be if there's a program that has a

         23     set racial quota, for example, like we need to have a certain

         24     percentage of teachers in these minority categories in order to

         25     achieve diversity, that, under Students for Fair Admission,




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          1     might be materially distinct from a grant that just promotes

          2     antiracism.

          3             And I don't know what position the Department of Education

          4     would take about an antiracism grant in light of Students For

          5     Fair Admission, but I think Students For Fair Admission at

          6     least is pretty clear that when we're thinking about quotas and

          7     when we're thinking about admitting some people into a program

          8     and not admitting others, according to the Supreme Court case

          9     from 2023, that runs afoul of federal civil rights laws.

         10                  THE COURT:        Yeah, but to some extent the question of

         11     being similarly situated is more an inquiry through the lens of

         12     what were the criteria that your client used to terminate the

         13     grants, not what another court says might also run afoul of the

         14     law, right?

         15             I mean, the reason they're similarly situated is because

         16     the Department of Education has said you all fit in this same

         17     basket and therefore we're terminating your grants.                            Whether or

         18     not that's substantively true or whether or not there might not

         19     be other ways in which another onlooker might find the grant

         20     programs, you know, to offend the law in some way doesn't

         21     really seem to be at issue here in terms of whether they're

         22     similarly situated for purposes of the lawsuit.

         23                  MS. FARBER:        I take that point, Your Honor, and I

         24     think, you know, it comes to the level of abstraction that the

         25     Court's going to use.




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          1                   THE COURT:       Yeah.

          2                   MS. FARBER:       So in a bigger picture these grants were

          3     terminated for relating to Diversity, Equity, and Inclusion,

          4     but then when it comes down to what analysis a court would do

          5     for each terminated grant under the APA, that's where they're

          6     going to be looking at more fact-specific aspects of each

          7     grant.     And so that's where I believe the plaintiffs and the

          8     grantees would start to distinguish themselves.                       So it's a

          9     question of the level of abstraction the Court uses, and I

         10     would suggest that finer grain, but the Court is correct that

         11     the sort of overarching issue is DEI.

         12                   THE COURT:       I hear you.        But let me just -- you know,

         13     in my preparation on the issue of standing, I went through the

         14     complaint apart from the opposition to the motion itself and

         15     created the following.           And these truly are in the nature of

         16     notes to self.       So, you know, I know we've all kind of hurried

         17     up to prepare so forgive me for being sort of abbreviated.

         18             But with respect to the organizational standing of MACTE,

         19     the complaint at Page 2 avers that MACTE members got grants.

         20     The complaint at Page 3 says MACTE members got grants that

         21     remained active through mid February 2025.                    Page 4, MACTE

         22     members' grants were terminated.

         23             Paragraph 4, which is different from Page 4, defines GR,

         24     Grant Recipients, to include MACTE members.                     Paragraph 14

         25     implicates MACTE's core mission -- core mission, and TQP and




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          1     SEED grants support teachers in Maryland, followed by the

          2     declaration of Dr. Laurie Mullen.               I think that's at 5-5,

          3     Paragraphs 6 and 7 attest that MACTE has ten member

          4     organizations, all of which are Maryland residents; three of

          5     their members got grants -- which I later learned were

          6     Maryland, Towson, and Frostburg -- that were "impacted by the

          7     terminations resulting in substantial loss of funds for teacher

          8     preparation programs in Maryland."

          9             You're taking the position that those things, all of which

         10     are in the initial pleading, not in a response or a reply,

         11     rather, don't satisfy organizational standing?

         12                  MS. FARBER:       Your Honor, you included a citation to

         13     somewhere that explicitly says MACTE grants were terminated in

         14     the complaint.

         15                  THE COURT:       Yes.

         16                  MS. FARBER:       Which you said Paragraph 4, but I didn't

         17     see it there.

         18                  THE COURT:       Page 4.      I don't know -- I think it was

         19     like publicly in an intro portion.               If I've misstated it, then

         20     I'm sure you'll point out my flaw.

         21                  MS. FARBER:       Okay.     So what I see and the reason why

         22     we thought this was confusing, and perhaps the Court reads it

         23     differently, was that backing up to Page 3, there's sort of

         24     this general allegation that grants were terminated under TQP,

         25     SEED, and TSL.      And then Page 4, as Your Honor points out, they




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          1     say after terminating AACTE and MACTE's member organizations

          2     and NCTRs and its member organizations TQP and SEED grants, so

          3     they're sort of lumped in there together.                    We don't see any

          4     specific allegations about what grants were terminated.

          5             There are specific allegations about other states and then

          6     the -- that declaration that Your Honor referenced, the way I

          7     read it described, you know, some impact of terminations

          8     somewhere possibly being felt in Maryland, but there wasn't an

          9     indication of whether programs in Maryland explicitly were

         10     terminated.     At least that's how I read it.

         11             And this was, you know, this was plaintiffs' complaint.

         12     They chose to file this.            They picked the day that they were

         13     going to file this.         They had all the time in the world that

         14     they wanted to work on this.              They chose Maryland to file this

         15     case.    They have very detailed allegations about grant

         16     terminations in other states and not a single -- not a single

         17     identification of one single grant that's terminated in

         18     Maryland until we pushed them on it.

         19             So that's the issue that we take there.

         20                  THE COURT:        Okay.     Okay.     Anything else about venue?

         21                  MS. FARBER:        Yes, Your Honor.           As to venue, we do

         22     concede that Subsection (e) does allow for bringing a case

         23     against the government if a government is a defendant and one

         24     of the plaintiffs resides in Maryland, and we concede of course

         25     that MACTE is located here.             However, we believe that we have




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          1     strong grounds to transfer venue in the lines of the

          2     Chakrabardi case.

          3                   THE COURT:       Yeah, but that's not about improper

          4     venue.     I mean, Judge Messitte kind of transitioned into a

          5     forum non conveniens evaluation there, didn't he?

          6                   MS. FARBER:       That was part of it.             That was part of

          7     it.     But, Your Honor, I think that the concern here is this

          8     idea of --

          9                   THE COURT:       But what he said there specifically, he

         10     expressly acknowledged that they could have properly served as

         11     the venue there, but the plaintiffs there, to his point of

         12     view, very loudly did not, in fact, file in their resident

         13     state.     We don't have that situation here.

         14                   MS. FARBER:       There were some plaintiffs in

         15     Chakrabarti who did -- who were Maryland residents, so that's

         16     not exactly correct.

         17                   THE COURT:       Okay.

         18                   MS. FARBER:       And so it's similar.

         19                   THE COURT:       I'm just remember the opinion, but okay.

         20                   MS. FARBER:       Yeah, we were talking, Your Honor, about

         21     whether you were on the bench when Chakrabarti happened.                           I

         22     think it might have been a year before you.

         23                   THE COURT:       What year did it come out?

         24                   MS. FARBER:       I want to say it was 2021 or '22 but I

         25     don't remember offhand.




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          1                  THE COURT:        So if it was 2021 it was just before me.

          2                  MS. FARBER:        Yeah.     It was a mess here.             There were

          3     hundreds, hundreds of cases that got filed.

          4                  THE COURT:        Yeah.

          5                  MS. FARBER:        It was a complete disaster.                And

          6     Chakrabarti gave enormous relief to the bench that was really

          7     was doing nothing other than dealing with these cases because

          8     USCIS just had the misfortune of moving their office across the

          9     state line.

         10                  THE COURT:        Well, that was the nature of Judge

         11     Messitte was to take it for the team.

         12                  MS. FARBER:        Yeah.     May he rest in peace.

         13             Your Honor, we have here a similar posture to Chakrabarti

         14     where there's one plaintiff with three grants, and we have no

         15     idea how many total grants there are.                  The complaint is

         16     completely silent about how many grants we're talking about.

         17             Exhibit 2 mentions that there were something in the

         18     neighborhood of 100 or 104 grants that were, you know, sort of

         19     in this chunk of grants terminated.                 So three out of how many

         20     grants are here in Maryland.              Chakrabarti had a handful of

         21     plaintiffs who were in Maryland, but that was not enough to

         22     defeat the venue concerns there.                And so we --

         23                  THE COURT:        But, again, that was on a forum non

         24     conveniens sort of analysis.              So, I mean, here we're talking

         25     about whether venue is proper, not whether it might make sense




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          1     to take it somewhere else.             That's a different motion.

          2                   MS. FARBER:       Yes, Your Honor.           And we would say that

          3     the Court should consider not ruling on the preliminary

          4     injunction to allow us the opportunity to brief the issue of

          5     venue.

          6                   THE COURT:       Okay.

          7             I'm not saying "okay" to your request.

          8                   MS. FARBER:       I understand.

          9                   THE COURT:       I understand.

         10                   MS. FARBER:       You conceded it, Your Honor.                   Noted.

         11             (Laughter.)

         12                   THE COURT:       Okay.     All right.        Anything else about

         13     that?

         14                   MS. FARBER:       No, Your Honor.

         15                   THE COURT:       Okay.     Is there anything else that --

         16                   MS. FARBER:       Oh, you know, I guess there was one

         17     other point about venue that I wanted to raise, which is that,

         18     you know, there was a really clear effort to be in Maryland

         19     here and specifically to be back in front of Judge Abelson.

         20     And I think that that sort of informs the way we look at

         21     whether venue is appropriate here.                You know, that might be

         22     something that -- that would be something the Government would

         23     like the opportunity to brief in a venue transfer motion.

         24                   THE COURT:       Why?    I mean, so?

         25                   MS. FARBER:       It relates to forum shopping and the




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          1     federal courts discouraging that type of practice.

          2                  THE COURT:       Okay.     All right.        Mr. Richards, are you

          3     forum shopping?

          4                  MR. RICHARDS:        I am not, Your Honor.             We filed this

          5     case in Maryland and specifically filed it as related to the

          6     Judge Abelson case specifically because we believe this case

          7     should have or was covered by the NADOHE order and therefore we

          8     thought judicial economy would be served by doing so.

          9             We are -- you know, this case was assigned to Your Honor,

         10     and that's certainly within, you know, the scope of the rules

         11     and so we're happy to argue it in front of this court but that

         12     was the purpose.

         13                  THE COURT:       I will tell you, I mean, I don't view it

         14     as forum shopping, Ms. Farber, and I understand the legal

         15     argument that you're making and I'm not making any decisions

         16     today at all, so I want to be clear that the things I say today

         17     are really in the nature of inviting conversation, but I think

         18     it is something that on which reasonable minds can differ as to

         19     whether this is, you know, in the parlance of the Court a

         20     related case and that has, you know, administrative

         21     significance versus just sort of colloquial it's related

         22     because the subject matters are so similar or overlap even.

         23             So, I mean, I think it made -- I'm not talking about the

         24     venue question, but I think it made absolute sense to introduce

         25     this action as a case that was connected to or related to Judge




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          1     Abelson's order, particularly because if it were determined to

          2     be inexorably connected or a determination in this case would

          3     necessarily invoke his decision there, that it would make sense

          4     really, frankly, out of respect for Judge Abelson to give him

          5     the entitlement to determine how, if at all, his case affects

          6     his case.       I mean, I hear your complaint but I don't share it.

          7             Okay.     Mr. Richards, I'm happy to hear from you as to the

          8     factors to consider on a PI.

          9                     MR. RICHARDS:        And I'm sorry, before I move on to

         10     that, Your Honor, may I just reiterate one point for the

         11     record, which is -- and this came out very briefly in your

         12     exchange with the Government but, you know, our invocation of

         13     standing as to MACTE I think is best supported by the injury to

         14     MACTE's members but, of course, we did also invoke standing on

         15     the basis of the institution's mission.

         16                     THE COURT:       Yes.

         17                     MR. RICHARDS:        And that is another basis for standing

         18     that has been recognized by the Courts in which I think also,

         19     you know, MACTE's clearly demonstrated here, so I think -- I

         20     didn't want to be remiss and not mention that.

         21                     THE COURT:       Are you invoking -- and it may be clear

         22     from your complaint so I'm not pretending it's not in there if

         23     it is, but I'm just asking in good faith, are you also

         24     invoking, from MACTE's standpoint or from Maryland members'

         25     standpoint the notion of a certain impending doom, kind of a




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          1     Clapper theory, or are you basing it on injury already

          2     experienced?

          3                  MR. RICHARDS:        For purposes of standing?

          4                  THE COURT:       Yeah.     I mean, in other words, is there

          5     both here or are you strictly looking at past injury?

          6                  MR. RICHARDS:        There is -- there is both.

          7                  THE COURT:       Talk to me about the both.

          8                  MR. RICHARDS:        Well, and I'm not sure this is clear

          9     from our complaint and we could amend it after the fact to make

         10     that clear, you know, this is purely for purposes of the

         11     preliminary injunction, but I think the answer is we don't know

         12     what's going to happen here, and the termination --

         13                  THE COURT:       Well, that doesn't really, then, fall in

         14     with Clapper.       I mean, in other words, if you're talking about

         15     threatened injury, you know, for a PI's sake, I mean, that

         16     needs to be concrete, clear, not theoretical, not hypothetical.

         17     So the "we're not sure" probably doesn't get you there.

         18                  MR. RICHARDS:        I take the Court's point.               I didn't

         19     want to make a concession for the case writ large.                       I think --

         20                  THE COURT:       I understand.

         21                  MR. RICHARDS:        -- we're still working through this

         22     from the perspective of what, how many, and which programs will

         23     have to be shuttered because of this, but for purposes of the

         24     PI, we're relying on the instant harm.

         25                  THE COURT:       Okay.     That's a clear answer.                I




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          1     appreciate that.        Okay.

          2                   MR. RICHARDS:        So does the Court have a preference in

          3     terms of which order I take the other issues in, the Fifth

          4     Amendment versus the APA?

          5                   THE COURT:       Let's go Fifth Amendment first.                 And I

          6     will apologize in advance for poking you with questions, as I'm

          7     prone to do.         I'm going to try to be a little more hands-offy

          8     than I usually am, but no promises.

          9                   MR. RICHARDS:        And I will not rely on any promises,

         10     Your Honor.

         11                   THE COURT:       Okay.

         12                   MR. RICHARDS:        You know, I think the principal

         13     argument here which we've tried to distill down in our papers

         14     is that taking as a given that the NADOHE order prescribes

         15     certain conduct by the Government because of the conclusion

         16     that the J20 order is unconstitutionally vague, it is difficult

         17     to conceive of, difficult to understand the argument that

         18     continuing to enforce conduct that, if taken today, would

         19     clearly be unlawful under the order, is nevertheless lawful

         20     because it happened to have taken place before the order was

         21     issued.     And that is in some way a derivative claim based on

         22     the order, but it's also ultimately based on the Fifth

         23     Amendment vagueness, vagueness principles that underlie the

         24     order.

         25                   THE COURT:       Well, Ms. Farber's going to tell me that




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          1     that doesn't hold water because Judge Abelson was evaluating it

          2     through a First Amendment lens.

          3                  MR. RICHARDS:        Yeah, and I think that that's -- it's

          4     true that Judge Abelson was evaluating that order through both

          5     a First Amendment and Fifth Amendment lens, but --

          6                  THE COURT:       And future harm.          In other words, how do

          7     we comport ourselves?         We don't know what's illegal.                   It's not

          8     clear from J20's termination provision or the enforcement

          9     provision.    I don't know what I'm allowed to do, what I'm not

         10     allowed to do.      Aren't we talking about harm that's already

         11     happened for reasons that we know about because you were

         12     targeted as DEI grants?

         13                  MR. RICHARDS:        Well, I don't think so, Your Honor.                    I

         14     think the problem here is that the Government took action and,

         15     again, it's -- perhaps it's clear to the Court, it continues to

         16     be unclear to me whether the Government is saying that the

         17     actions were or were not taken on behalf of DEI or were or were

         18     not taken on behalf of the J20 -- on account of the J20 order.

         19                  THE COURT:       Oh, I think they've clearly -- well, you

         20     know, I think actually what you've raised is sort of a concern

         21     that I have, which is both can be true.

         22             In other words, to some extent, and I'll just hone in on

         23     this, and you don't have to address it now but we will need to

         24     address it, is the Fifth Amendment argument that -- and forget

         25     the other case before Judge Abelson for a moment, but, you




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          1     know, in reading the complaint, you know, it immediately came

          2     off the page to me that there's essentially a transitive

          3     argument, right, that the terminations came on the heels of the

          4     Executive Order, the J20 order.

          5                  MR. RICHARDS:        Yep.

          6                  THE COURT:       And it's the timing, right?                It's the

          7     timing and the rationale.           DEI's illegal, we're not going to

          8     support it, it's discrimination.               Your clients' members and one

          9     of your clients' grants were terminated with a termination

         10     letter that includes a lot of reasons including discrimination

         11     in the sense of DEI being discriminatory, otherwise unlawful,

         12     or however you want to term it, press release, right?

         13             The press release makes no mention of the Executive Order.

         14     It's rather brief, as press releases often are, and your Fifth

         15     Amendment claim to some extent necessarily requires that I

         16     agree that the termination has its root in the Executive Order.

         17     I mean, that's not subject to debate, right?

         18                  MR. RICHARDS:        No, I agree, Your Honor.

         19                  THE COURT:       And so that to me is flawed in logic,

         20     because it opens up a giant political discussion about

         21     President Trump has campaigned on certain things, including why

         22     we're here today, President Trump issued his Executive Order,

         23     it says what it says, President Trump is entitled to identify

         24     people to work for him directly or to work in agencies of the

         25     federal government that he feels are best suited to carry out




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          1     the agendas that he finds to be important, including

          2     individuals who, on their own, might be like minded and

          3     competent to carry those things out.

          4             So to pursue a claim that the terminations violate the

          5     Fifth Amendment because they are -- they happened because of,

          6     because they obeyed the Executive Order or in furtherance of

          7     the Executive Order omits to consider that Secretary McMahon or

          8     her predecessor, Ms. Carter, had their own feelings about

          9     DEI-related grants.         And, I'm not saying I credit it because I

         10     haven't gotten there, but to some extent Ms. Oglesby's

         11     declaration says as much.

         12             And even if, even if I were to ask Ms. Farber, don't you

         13     agree that your clients -- that the Executive Order effectively

         14     mandates what happened here, that does not -- that is myopic.

         15     It doesn't consider the fact that there might have been other

         16     reasons to undertake the action about which your clients

         17     complain.

         18             So that to me is the biggest problem with your Fifth

         19     Amendment claim because I don't know how, without speculating

         20     on the record before me now, I am to draw the conclusion that

         21     the Executive Order is why we are here.                   I don't know how I get

         22     there.     It's possible.        But there's no evidence of it.                That

         23     press release doesn't say it, that termination letter doesn't

         24     say it, Ms. Oglesby's declaration sure as heck doesn't say it.

         25     How do I get there?




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          1                  MR. RICHARDS:         So I think there is evidence of it,

          2     right, because we decide matters on circumstantial evidence all

          3     the time.

          4                  THE COURT:        Absolutely.        Absolutely.        And I agree

          5     with you that you are not cabined to proving it by direct

          6     evidence and, you know, for purposes of a clear record I

          7     suppose I should say I'm talking about likelihood of success on

          8     the merits when I talk about this.                And surely you are not

          9     constrained to limit your arguments to direct evidence.

         10             But on a clear and convincing PI spectacular relief sort

         11     of standard, is it enough here?               I don't mean can

         12     circumstantial evidence carry the day, but does it here?

         13                  MR. RICHARDS:         We believe so, Your Honor, and I

         14     think, you know, I'm hoping your presentation of that thought

         15     process is for purposes of discussion --

         16                  THE COURT:        It is.

         17                  MR. RICHARDS:         -- and not necessarily having

         18     decision --

         19                  THE COURT:        I'm making zero findings.               I mean, and I

         20     said to my staff this morning, part of the benefit of the

         21     parties' agreement to sort of collapse the TRO into the PI is

         22     that I can talk, listen, process without having the task of

         23     decisionmaking today.

         24             So I want to be crystal clear, all of my thoughts are in

         25     process.    I am making no findings.              So when I make affirmative




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          1     statements, I want to be clear they are really designed to be

          2     more in the nature of an inquiry and an invitation to engage.

          3                  MR. RICHARDS:         Thank you, Your Honor.

          4             And so on that basis, I'm afraid I don't have a ton to

          5     offer back to the Court besides what the Court has just

          6     explained, but I would frame it differently.

          7             The way that I would frame it is that the President of the

          8     United States issued a clear and unambiguous directive.                        He is

          9     the direct supervisor of all of the agency heads, and he sets

         10     the agenda for those agency heads to follow.                      He instructed all

         11     of them to review and within 60 days make proposals about how

         12     to do very specific things with respect to very specific

         13     principles.     They then did them and here we are.                    And that

         14     doesn't strike me as remotely difficult to conceive of.

         15             And even if Linda McMahon or her predecessor also held

         16     those views, that's actually immaterial, right, because whether

         17     she held those views or different views, she still would have

         18     had to follow the order.

         19             And with respect to the order itself and the vagueness

         20     issue, this isn't a First Amendment problem.                      This is a Fifth

         21     Amendment problem because these organizations are told, if you

         22     have equity-related programs, we're cutting your funding.                          What

         23     does that mean?       Does it -- and let's talk about conduct.

         24             Does it mean if it's in your mission statement but you

         25     don't actually take any action that preferences one race over




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          1     another but in your mission statement you say we're dedicated

          2     to equity, is that what you get your grant canceled over?                           Or

          3     do you actually have to engage in conduct that would be

          4     unlawful under Title VI?            We know that that's not the case

          5     because there was no finding here that any of these grant

          6     recipients engaged in conduct that would violate Title VI.                              How

          7     are we to know?       How are we to conform our conduct?                       One of

          8     the --

          9                   THE COURT:       Except we're not talking about future,

         10     right?     We're talking about as applied.

         11                   MR. RICHARDS:        I understand, but they took these

         12     steps in a posture, and we talk about this in our brief and the

         13     Court may or may not accept this, but they took these steps in

         14     a posture where there was no ability to challenge the

         15     pronouncement.

         16                   THE COURT:       I hear you, and I don't quarrel with that

         17     as a, you know, philosophical principle.                   And I want to be

         18     clear, I'm not faulting you for this.                  I'm just objectively

         19     noticing chronology that the action was instituted because the

         20     grants were terminated, not because your clients didn't know

         21     how, if at all, they should conform to this pronouncement.

         22             In other words -- and I know you're saying, you know,

         23     there was no time and who could possibly have had time to

         24     change a program on a dime.             I get it.       I'm not quarrelling

         25     with that.     But that's -- that is background, right?                        I mean,




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          1     that's sort of narrative.            That's not the basis of the claim.

          2     The claim is my grant was terminated because we're surmising it

          3     was identified as DEI-offensive.

          4                  MR. RICHARDS:         I think it's more that --

          5                  THE COURT:        I mean, isn't that what you just told me

          6     that, you know, so far, here we are on the complaint because of

          7     grants terminated, not imminent threat?

          8                  MR. RICHARDS:         I think it's we don't know why the

          9     grant was terminated.          I mean, how are we to take action to

         10     reinstate the grant, right?             It was terminated for this vague

         11     reason publicly, privately for no reason at all, and we have a

         12     due process right to be able to challenge that but we don't

         13     know how to do that because we don't know what the actual

         14     reason was.     And it's not capable of definition, as Judge

         15     Abelson found.

         16             And so we have an ongoing harm here.                  Our ability to

         17     remedy this is continually sort of frustrated by we can't put a

         18     target on it.       We don't know whether to go and say we'd like

         19     the grant reinstated because we don't actually do the thing

         20     that you say that we're doing.

         21                  THE COURT:        I know that -- I know that if the answer

         22     is no that the reason is because you can't know the basis, but

         23     did any of the offended clients file a notice of challenge?

         24                  MR. RICHARDS:         Yes.

         25                  THE COURT:        How many?




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          1                   MR. RICHARDS:        I don't know the answer to how many.

          2     We communicated that they should all file challenges.

          3                   THE COURT:       And filing those challenges, do those

          4     challenges include a basis?

          5                   MR. RICHARDS:        Yes, they do.

          6                   THE COURT:       What does the basis articulate?

          7                   MR. RICHARDS:        The basis articulates both the Fifth

          8     Amendment problem with the vagueness and APA issue with the

          9     termination.

         10                   THE COURT:       The "we don't know why we're here"

         11     problem, okay.

         12                   MR. RICHARDS:        Yep.

         13                   THE COURT:       Okay.     So there was no appeal on the

         14     basis that I was incorrectly terminated on grounds of DEI?                         And

         15     when I say "incorrectly," I don't mean it's unfair but I mean,

         16     in other words --

         17                   MR. RICHARDS:        Misidentified me as being DEI?

         18                   THE COURT:       Yes.    None of your clients claims that

         19     they were correctly identified as promoting or fostering the

         20     principles -- I'm calling them DEI principles.

         21                   MR. RICHARDS:        So the answer is I don't know the

         22     answer to that.

         23                   THE COURT:       Okay.     Okay.     Anyway, go ahead.

         24                   MR. RICHARDS:        I think that's it in a nutshell, Your

         25     Honor.




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          1                   THE COURT:       Okay.

          2                   MR. RICHARDS:        You know, I think it's the fact that

          3     we are unable to restore access because we don't know why it

          4     was terminated in the first instance.

          5             And again, as I said earlier, the fact that this really

          6     reflects conduct by the Government to continue to enforce a

          7     decision, right?        I mean, the impact of the decision being made

          8     tomorrow versus the impact of the decision being made two weeks

          9     ago is the same on the grantee organization.

         10             And so there's a temporal difference but not a functional

         11     difference, and so we believe that we have the right to

         12     challenge the continued enforcement of the termination just as

         13     we could challenge the threat of the termination or anything

         14     else connected with that.

         15                   THE COURT:       Okay.

         16                   MR. RICHARDS:        Would you like me to continue on to

         17     the APA?     Okay.

         18                   THE COURT:       Do you want to talk about -- before you

         19     move on to APA, do you want to talk about public interest

         20     and --

         21                   MR. RICHARDS:        Sure.      You know, I think from our

         22     perspective this is pretty simple, right?                    There's no public

         23     interest or equitable interest in the Government violating the

         24     Constitution or federal statute.                And so if the Court makes a

         25     determination that we are likely to succeed in either the Fifth




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          1     Amendment or the APA challenge, our view is that a finding that

          2     the balance of the equities is required under the case law.

          3                  THE COURT:       Okay.     And just to be clear, you know, I

          4     know we're collapsing balance of equities and public interest

          5     given the defendant, but --

          6                  MR. RICHARDS:        Right.

          7                  THE COURT:       Okay.     All right.        I'm APA ready.

          8                  MR. RICHARDS:        All right.        You have been kind enough

          9     to sort of give me some forewarning.                I'm going to give you a

         10     little bit here.       I am going to resist the attempt to make this

         11     more complicated than it needs to be.

         12             We have intentionally brought this claim as fairly narrow.

         13     There are at least a half a dozen other reasons why under the

         14     APA the Government can't do what it did.                  We haven't raised

         15     those in our complaint.          We may amend to assert them later.

         16     But here we're making one very simple argument, and it really

         17     only requires the parsing of one regulation and one statute.

         18             And so, you know, I anticipate the muddying of the waters

         19     there and I, for one, am going resist that as we go and

         20     certainly I'll have to answer the Court's questions, but I

         21     think that the issue here has to do with one phrase and that is

         22     "Agency Priorities" as it appears in § 340 of the Uniform

         23     Guidance.    And what § 340 says and what we're all in agreement

         24     about is that if an award no longer effectuates the program

         25     goals or agency priorities, it can be terminated by the




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          1     Government.

          2             That provision, § 340, is about termination of grants.

          3     It's about the termination of the grant based on the whole

          4     grant, right?       When a grant is awarded, it's awarded pursuant

          5     to terms and conditions.            It's awarded pursuant to agency

          6     priorities that had been established at that time.                        It's

          7     awarded pursuant to program goals that had been established.

          8             And when the Department, this particular department

          9     creates those agency priorities, it does so through formal

         10     comment -- Notice-and-Comment Rulemaking.                    And it's unique in

         11     that regard.        I don't want to say no other agency has to do

         12     that, but I don't think any other agencies have to do that.                        I

         13     know that the Department of Education has a special statute,

         14     which I'm going to call GEPA for short, and under GEPA, the

         15     general rule that agencies do not need to rulemake around

         16     grants was specifically changed just for the Department of

         17     Education.

         18             So when we're looking at the whole grant and the granting

         19     process, we know that the department has to set priorities for

         20     the grants, it has to do so through Notice and Rulemaking, and

         21     then if it wants to terminate the grant, we can look at all of

         22     the things that went into that grant.                  We can look at the terms

         23     and conditions of that grant and we can look at whether or not

         24     the grant at issue continues to effectuate the agency

         25     priorities.




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          1             It doesn't make any sense to say with respect to this

          2     Uniform Guidance those agency priorities are any different from

          3     the agency priorities that are talked about with respect to

          4     granting elsewhere in the statute and regulatory scheme.                           And,

          5     you know, you see that because it's hard to even talk about

          6     without making up a new word for what the Government thinks

          7     that this ought to be instead.

          8             What happened here is that the Government came in and it

          9     didn't have the same "little p" priorities as the previous

         10     administration.       It's to be expected.             And in most other

         11     agencies that means that the Government can go in and cancel

         12     grants if that's what it wants to do pursuant to agency

         13     priorities.

         14             Now, I'm not saying that the Government could or couldn't

         15     cancel grants for other reasons.                I'm not trying to expand that

         16     to this here.       What I'm saying is that the Department of

         17     Education is special and if this new administration had new

         18     priorities, then they can go past them but they didn't.

         19             And so one of two things has to be true.                    Either we're

         20     talking about the same priorities because we didn't go through

         21     Rulemaking, in which case the Government hasn't explained how

         22     these grants no longer effectuate those same priorities.                           They

         23     didn't give any reasons really at all when they terminated the

         24     grants.

         25             Or the only other option is that this doesn't mean agency




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          1     priorities.     It means something else even though it's the same

          2     two words.     And that strikes me as incredibly implausible and

          3     tortured.    And unless you agree with the Government that that's

          4     a reasonable interpretation of this, as a matter of law the APA

          5     issue is foreclosed to them, right?                 There's nothing they can

          6     do to change that.

          7                  THE COURT:        How does 34 C.F.R. § 75.105 apply here?

          8                  MR. RICHARDS:         That's EDGAR.         That's for the

          9     continuation of grants.           It doesn't apply here at all.                I don't

         10     know why they cited it.

         11                  THE COURT:        Okay.     In the terminate -- what I'm

         12     calling the termination letters, the termination letters

         13     regarding the continuation of the grants, among other portions

         14     of the regulations that were cited, the Secretary cites

         15     expressly 34 C.F.R. 75.253, and that's related to multiyear

         16     grants.    Is that right, Mr. Richards?

         17                  MR. RICHARDS:         Right.      And that's -- again, that's

         18     not what we're talking about here.                We're talking about the

         19     continuation -- or we're talking about terminating a grant that

         20     is in the middle of its grant period.

         21                  THE COURT:        So just so that I'm clear, so the

         22     letters that -- so, in other words, when your clients' members

         23     and when your clients received the notices of termination,

         24     these were not on the precipice of being approved for

         25     continuation of a multiyear grant?




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          1                  MR. RICHARDS:         Correct.       That's correct.          They were

          2     just -- they weren't requesting continuation.                      So that's a

          3     separate process, you go through a different set of requests.

          4     This was mere -- they invoked 200.340, right, the termination

          5     provision for grants that are continuing.                    And I think I'm

          6     using the wrong word on --

          7                  THE COURT:        But they also cite 75.253 for multiyear

          8     grants, I think.

          9                  MR. RICHARDS:         In the termination letter, Your Honor?

         10                  THE COURT:        Yeah.     The termination letter says that

         11     the termination, you know, otherwise fails to serve the best

         12     interests of the United States and cites, among other things,

         13     34 C.F.R. 75.253, and that says that in order for a grantee to

         14     continue to receive funds in a multiyear project, among other

         15     things, the grantee must receive a determination from the

         16     Secretary that continuation of the project is in the best

         17     interests of the federal government.

         18                  MR. RICHARDS:         Yeah.      That's a different process,

         19     Your Honor.

         20                  THE COURT:        Okay.     So you're contending that that

         21     does not apply at all and --

         22                  MR. RICHARDS:         Correct.

         23                  THE COURT:        -- so the citation of that was just

         24     piling on.

         25                  MR. RICHARDS:         Piling on.




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          1                   THE COURT:       Okay.     So instead, you're directing my

          2     attention to 200.340.

          3                   MR. RICHARDS:        Right, which is the same provision the

          4     Government relies on here.

          5                   THE COURT:       Yes, yes, yes, yes.            Okay.     And so walk

          6     me through again your logic that "little p" is not in play?

          7                   MR. RICHARDS:        Yeah, and that -- so again, I just

          8     want to -- the language issue here illustrates the point,

          9     right?     We're already talking about agency priorities in the

         10     context of grants.         We're talking about something -- there is

         11     no "little p" I guess is my point in this context.

         12             The "little p" is something that the President, I suppose,

         13     or the head of the agency has as their personal or political

         14     policy agenda.       It has nothing to do with agency priorities.

         15     Agency priorities for the Department of Education are set by

         16     Notice-and-Comment Rulemaking.               There is no "little p."

         17                   THE COURT:       And in your complaint, you know, goes

         18     headlong into the provision of final rulemaking and all that

         19     stuff.     So the priorities are set, the priorities are

         20     published, and then your clients go through the competitive

         21     process to try to, you know, conform their grant applications

         22     to ensure that, you know, they're hopefully satisfying those

         23     priorities so that they look like attractive grant recipients,

         24     right?     They get the grant.

         25                   MR. RICHARDS:        Yeah, and I think the Government --




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          1     the Government introduces concepts here that don't belong.                         So

          2     the Government talks about things like invitational priorities

          3     and annual priorities.           These derive from the agency priorities

          4     that are set through Rulemaking.                And the Government can invite

          5     based on those priorities or based on the statute people to

          6     apply for grants, but it still derives from the agency

          7     priorities that are set through Notice-and-Comment Rulemaking.

          8             And again, just sort of walking you through the big

          9     picture again and from a textual perspective why this makes

         10     sense versus just from a pure commonsense perspective, right?

         11             The prior commonsense perspective it's the same word.

         12     We're used to using it to describe a specific thing, and the

         13     Uniform Guidance applies to all federal agencies but only the

         14     Department of Ed has to go through this Rulemaking, right, so

         15     Department of Ed is told specifically you have to go through

         16     this Rulemaking.

         17             The textual reading is that 340 talks about the whole

         18     grant.     I mean, Part 200 is all about grants.                   That's all grant

         19     stuff, right?        And 340 talks specifically to termination, and

         20     it looks at the different parts of the grant.                      And when we

         21     award grants we award them with terms and conditions and we

         22     award them pursuant to agency priorities.                    And so when we

         23     terminate them it is logical to think, okay, well, we're going

         24     to terminate them on the same basis.

         25                   THE COURT:       Does "program goals" have a term of art?




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          1     Is that a term of art?

          2                  MR. RICHARDS:         Program goals are also established I

          3     believe by Congress when it's authorized.                    I haven't focused on

          4     that piece of it but, you know --

          5                  THE COURT:        I guess what I'm asking is "program

          6     goals" has a defined term that we're not saying is at issue

          7     here --

          8                  MR. RICHARDS:         Yes.

          9                  THE COURT:        -- but that's not just sort of a

         10     generalized mealy term, right?

         11                  MR. RICHARDS:         No, correct.

         12                  THE COURT:        That means something.             So program goals

         13     or agency priorities doesn't weaken your argument --

         14                  MR. RICHARDS:         No.

         15                  THE COURT:        -- because program goals is a thing, it's

         16     just not the thing here.

         17                  MR. RICHARDS:         Correct.

         18                  THE COURT:        Okay.     So walk me through

         19     linguistically -- your linguistic argument on 340, walk me

         20     through it.     I'm looking at it.

         21                  MR. RICHARDS:         Okay.      So, A, the award can be

         22     terminated or in part or its entirety as follows, right?                           The

         23     first basis by which it can be terminated is if it fails to

         24     comply with the terms and conditions of the federal award.

         25             I will note that the terms and conditions of all these




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          1     federal awards which were similarly situated was merely a

          2     citation to Part 200, so the terms and conditions were Part

          3     200.

          4                  THE COURT:       Okay.     There's not a -- and you did say

          5     this in your recent paper, but so there is not sort of a one,

          6     two, three, four list of you got to do this, you got to do

          7     that.

          8                  MR. RICHARDS:        No.    And this is another reason why

          9     their argument fails that's beyond sort of the textual piece,

         10     and I can get to that in a second, but -- so we have this terms

         11     and conditions as the basis for a termination.                     We're looking

         12     at the grant, we're looking at the GAN, right, the notice that

         13     you get when you receive the first grant, and there's a little

         14     box and it has terms and conditions it in.                   And we say, okay,

         15     are they not following any of the terms and conditions.                         That's

         16     a basis for the termination of the grant, right?

         17                  THE COURT:       Sure.

         18                  MR. RICHARDS:        And those terms and conditions are

         19     awarded at the -- are assigned at the time that the grant is

         20     initially awarded.        So we're looking at does this grant, it

         21     starts at (a), and does it continue now to be doing the things

         22     that we were thinking that it had to do at (a).                      (2) and (3)

         23     aren't really applicable here.

         24                  THE COURT:       Right, yeah.

         25                  MR. RICHARDS:        And then we get to (4).              And it




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          1     says -- and again, there's a textual problem with the

          2     Government's argument in (4) as well, but that isn't our

          3     principal argument here, right, that pursuant to the terms and

          4     conditions of the federal award, so when we're looking at the

          5     terms and conditions, if, among those things, are that it no

          6     longer effectuates the program goals or agency priorities, then

          7     that is a basis for also terminating the grant.                      So we look

          8     back, what were the agency priorities and we say, okay, does it

          9     no longer effectuate those agency priorities?

         10             So now we're in this position where the Government I guess

         11     could be arguing -- I don't think that they are -- that we've

         12     changed the agency priorities and now it doesn't effectuate

         13     them anymore, but they're not arguing that, right, because to

         14     change agency priorities they know they have to go through

         15     Notice-and-Comment.

         16             So instead they're just arguing that agency priorities

         17     doesn't really mean anything, right?                It means what we had for

         18     breakfast.    And so every day that we wake up we can decide the

         19     agency priorities are something different, and so every day we

         20     can go look at 340(b) -- I'm sorry, 340(a)(4) and say, okay,

         21     today we're going to cancel the grant for this reason.                        That

         22     just doesn't make any sense.             That's not the kind of

         23     predicability, notice that we use in grant terminations.                          So

         24     that's the argument.

         25             Now, there's a secondary argument here which I think we




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          1     really don't need to reach, but in order for their argument to

          2     be right, and this is sort of like a spending clause argument

          3     sort of the same principal, right, we have to unambiguously put

          4     folks on notice of what the terms and conditions are under

          5     which we might cancel, terminate your grant.

          6             And so they have to not only be right textually, this is

          7     what it should mean; they have to also unambiguously have

          8     conveyed that to the grantees.               And they didn't do that either,

          9     right, because they don't have anything in the box where it

         10     says "Terms and Conditions" except for Part 200, so it's sort

         11     of cursive in that sense.

         12                  THE COURT:        But that includes this.

         13                  MR. RICHARDS:         Yeah.

         14                  THE COURT:        So which way does that cut?

         15                  MR. RICHARDS:         Well, I don't think it cuts one way or

         16     the other, right?        I mean, I think one could argue that just

         17     dropping in a citation to an entire regulatory scheme probably

         18     isn't sufficient notice, but we're not making that argument

         19     here today.

         20                  THE COURT:        Thank goodness.

         21                  MR. RICHARDS:         Trying to keep it easy, Your Honor.

         22             But I think it cuts against, right, because if the point

         23     of 200.340 is that there's limitless, boundless discretion to

         24     change priorities whenever you want, then why bother in the

         25     first place to have -- I mean, why don't we just not have




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          1     200.340(a), no subparts, right?              Whenever we change our mind.

          2                  THE COURT:       Okay.

          3                  MR. RICHARDS:        On --

          4                  THE COURT:       What about including, though?                   In other

          5     words, if I'm going with you there that if changing priorities

          6     because I feel like it is allowable under the terms and

          7     conditions aspect which just sort of wholesale loops in 200 --

          8                  MR. RICHARDS:        Yeah.

          9                  THE COURT:       -- what significance does the word

         10     "including" have?

         11                  MR. RICHARDS:        "Including" -- and again, I don't

         12     think this is necessary for our argument, but I think the right

         13     way to read the word "including" there is that the Government

         14     can make a determination that a grant no longer effectuates the

         15     purpose, the program goals or the agency --

         16                  THE COURT:       Priorities.

         17                  MR. RICHARDS:        -- priorities -- sorry -- if it lists

         18     that as a reason that it can terminate grants in the terms and

         19     conditions, which cuts against, frankly, the idea that even

         20     putting Part 200 here is valid because that really does create

         21     a feedback loop, right?

         22             It's, you know, Part 200, which means including anything

         23     that's in the box which goes back to "including."                       It doesn't

         24     really make a whole lot of sense as a drafting convention to

         25     write it that way if you didn't mean you actually need to




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          1     include the specific grounds.             But, again, I'm trying very -- I

          2     don't think we need to go there here today.                    I just think that

          3     that -- that reality of the way that this is drafted makes the

          4     Government's argument very difficult.

          5                  THE COURT:       And what of "to the extent authorized by

          6     law"?

          7                  MR. RICHARDS:        It's just under the APA, Your Honor.

          8                  THE COURT:       Okay.

          9                  MR. RICHARDS:        May I make one further point --

         10                  THE COURT:       Yes, you may.

         11                  MR. RICHARDS:        -- before we move on?

         12             Unrelated to this, we have submitted declarations related

         13     to different grant conditions that have been placed on grants.

         14     And I didn't check last night but last I checked, the members

         15     that were supporting this lawsuit, their grants are on what's

         16     called route pay.       Route pay means you need to get advance

         17     permission to spend money.            That is a significant burden and

         18     it's a burden that the Department is allowed to impose after

         19     making certain findings with respect to that specific grant and

         20     it being at risk.

         21             We are requesting as part of the preliminary injunction in

         22     this case that the Government be ordered to follow its own

         23     regulations with respect to placing those conditions on grants.

         24                  THE COURT:       So in the termination letter, I'm looking

         25     at the one that was appended to the complaint, Document ECF




                                                                                         JA 580
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          1     1-2, Page 11, the ECF pagination, "Costs incurred by you after

          2     this termination are allowable only if, A, those costs were

          3     properly incurred by you before the effective date of this

          4     termination and not in anticipation of it; and B, those costs

          5     would be allowable if your federal award was not suspended or

          6     expired normally at the end of the period of performance in

          7     which the termination takes effect," and they cite 200.343 and

          8     then they encourage you to review your responsibilities, et

          9     cetera, et cetera.

         10             Are you claiming that that --

         11                  MR. RICHARDS:        No, that's -- so the rules for drawing

         12     down grants posttermination are different than the rules when

         13     you're on route pay.

         14                  THE COURT:       Okay.

         15                  MR. RICHARDS:        Two different --

         16                  THE COURT:       So I have drawn my attention to something

         17     that I need not have.

         18                  MR. RICHARDS:        Right.

         19                  THE COURT:       I'm glad that I asked you because I was

         20     confused why that was problematic.

         21             So I know -- I've read the complaint and the issues of

         22     route pay, so -- and I know Ms. Farber asserted that it was

         23     unclear whether your requested relief for purposes of the PI

         24     involved that.      So help make it clear, I know your rely asserts

         25     it as clear, I'm not saying it's not, but help me understand it




                                                                                         JA 581
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          1     better.

          2                  MR. RICHARDS:        It's in our form order, first of all,

          3     that we were requesting that.

          4                  THE COURT:       I'm not saying you haven't --

          5                  MR. RICHARDS:        And I understand.           I'm just giving you

          6     the reasons.

          7                  THE COURT:       Yeah.

          8                  MR. RICHARDS:        It was in our form order, first of

          9     all; and second of all, we assert in our primary brief that

         10     they've been placed on route pay, that they have not -- that

         11     the Government has not gone through the process that it's

         12     required to go through on an individualized basis prior to

         13     placing them on route pay.

         14             Presumably, you know, my friend has access to that

         15     information because it's her client that placed that in that

         16     status.    And so we're just asking generally that to the extent

         17     that the Government has been placing grantees on route pay

         18     without cause that it be ordered to cease doing so.

         19                  THE COURT:       Okay.     Anything else?

         20                  MR. RICHARDS:        I would love to have some rebuttal

         21     time but not now.

         22                  THE COURT:       You will have rebuttal time.                Thank you.

         23             Ms. Farber -- and if anyone needs a recess to use the

         24     restroom or just to have a break, now is a good time if you

         25     need to.    Would you like a recess?




                                                                                         JA 582
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          1                  MS. FARBER:       I'm flexible, Your Honor.

          2                  THE COURT:       Okay.     All right.        We'll keep going.       I'm

          3     always told I don't think about that enough, so I'm trying to

          4     think about that.

          5                  MS. FARBER:       Thank you for the offer.

          6             So I'll start with the applicability of NADOHE and due

          7     process and then move on to APA and kind of wrap up with the

          8     balance of equities, if that works.

          9                  THE COURT:       Okay.

         10                  MS. FARBER:       I note plaintiffs' point that they don't

         11     have a ton to offer you on the due process and applicability of

         12     NADOHE.    We do have a ton to offer the Court on why NADOHE is

         13     not applicable here.

         14                  THE COURT:       Okay.

         15                  MS. FARBER:       As the Court noted, NADOHE is based on

         16     the, in relevant part, January 20th Executive Order signed by

         17     President Trump, and there were -- the Court found that that

         18     order, the language of that order was vague.                     But this case

         19     really doesn't properly challenge that order because here we

         20     have termination letters.

         21             And the phrase that troubled Judge Abelson the most in

         22     NADOHE, which plaintiffs' counsel again mentioned in his

         23     remarks here, was the phrase "equity related," the opinion in

         24     NADOHE said what does that even mean, what is "equity related"?

         25             The phrase "equity related" does not appear in any of the




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          1     actual termination letters that we have here.                     We're not

          2     dealing with the Executive Order.               We're dealing with a final

          3     agency decision terminating these grants.                   That's not vague.

          4     We're in APA land.        We're not in Fifth Amendment land.

          5             And to further that point, you know, although plaintiff

          6     can show, you know, offer circumstantial evidence to say, well,

          7     the timing is really convenient here, we have an Executive

          8     Order and then we have the agency action several weeks later,

          9     comparing the agency actions that you have in NADOHE with the

         10     one that you have here really leaves very little doubt that we

         11     are not talking about the Executive Orders.

         12             I have two additional exhibits today to show the Court on

         13     that topic, and I've provided copies of these to plaintiffs'

         14     counsel already.       May I approach the bench?

         15                  THE COURT:       Yes, please.

         16             Mr. Richards, you do not have any objection to these.                     Am

         17     I correct?

         18                  MR. RICHARDS:        I do not, Your Honor.

         19                  THE COURT:       Thank you.       I mean, I know you can argue

         20     against them, but to my looking at them you have no objection.

         21                  MS. FARBER:       Your Honor, I've handed you what's

         22     marked as Exhibit 3 and Exhibit 5.

         23             Exhibit 3 is what was filed as an exhibit to the

         24     Preliminary Injunction/Temporary Restraining Order Motion in

         25     Exhibit 9 there, NADOHE, ECF number -- I'm sorry, I gave you my




                                                                                         JA 584
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          1     comply and don't have the ECF number in front of me.

          2                   THE COURT:       I have the -- it's 27-13.

          3                   MS. FARBER:       27-13, correct.

          4                   THE COURT:       Let me take a moment and read it.

          5                   MS. FARBER:       Sure.

          6             (Pause in Proceedings.)

          7                   THE COURT:       Okay.

          8                   MS. FARBER:       And the second is Exhibit 5, which was

          9     another NADOHE filing.           This was ECF 39-10 in NADOHE.

         10             Now, these are two -- I'll give all moment to look at

         11     them.

         12                   THE COURT:       Yes.    Thank you.

         13             (Pause in Proceedings.)

         14                   THE COURT:       Okay.     I get it.

         15                   MS. FARBER:       So these are two letters that were part

         16     of the record in NADOHE.            These letters were sent to grant

         17     recipients about potential threat -- you know, the potential

         18     threats to their funding, issues related to the Executive

         19     Order.     They're dated, they're both dated before the NADOHE

         20     opinion, of course, and they both very explicitly referenced

         21     the Executive Order and were trying to comply with the

         22     Executive Order.

         23             Compare these two, compare Exhibit 3 and Exhibit 5, which

         24     very clearly reference the Executive Order in that command,

         25     with the termination letter that Your Honor pointed out at ECF




                                                                                          JA 585
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          1     1-2 in this case at Page 10 and 11.

          2                  THE COURT:       Um-hmm.

          3                  MS. FARBER:       As you've pointed out, no reference to

          4     the Executive Order there.            I didn't see the phrase "equity

          5     related" in there.        And this also, this -- some of these are

          6     undated but all -- we have no allegation that any of these came

          7     after NADOHE.       As far as I can tell they all came before.

          8             So there was no reason for the agency to hide the fact

          9     that this was -- if this was because of the Executive Order,

         10     they didn't have a court decision yet saying they couldn't do

         11     that, that they couldn't rely on it.                So if that was the

         12     reason, there was no reason for them to hide that at all.                         But

         13     these letters don't reference the Executive Order.                       They

         14     reference the department's priorities.

         15             And, Your Honor, I think what might be our strongest

         16     evidence on that is the leaked communication that we included

         17     as an exhibit in our response at ECF 24-2.                   That was an

         18     internal communication by the -- I believe it was the Acting

         19     Secretary at the time.          That was not intended to be seen by the

         20     public.

         21                  THE COURT:       Bear with me for one second.                I want to

         22     make sure I see that.

         23                  MS. FARBER:       ECF 24-2.

         24                  THE COURT:       Yeah, okay.

         25                  MS. FARBER:       It's formatted strangely because that




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          1     was a screenshot from someone's Twitter post leaking this

          2     internal memo.

          3             So again, this came before the NADOHE opinion.                        The agency

          4     would have no reason, as far as they know, to hide if they're

          5     doing something based on an Executive Order.                     This was supposed

          6     to be an internal communication not meant for the public, and

          7     this doesn't say anything about the Executive Order anywhere.

          8     This is about the Department and the Secretary's own goals.

          9             So I think, you know, these things all taken together

         10     really show the sharp contrast between the case that Judge

         11     Abelson had in front of him where no grants had been terminated

         12     at all, people were trying to figure out what does this mean,

         13     what might be terminated, are we going to get terminated or

         14     not, and this case where they know their grants have been

         15     terminated, we have a final agency action, and now the question

         16     is was that action arbitrary and capricious.                     It wasn't vague,

         17     but was it arbitrary and capricious.                It's an APA case.            This

         18     is not a Fifth Amendment vagueness case.

         19             And more to that point why NADOHE doesn't apply here is

         20     that the First Amendment component of the plaintiffs' claim in

         21     NADOHE colored the entire case.              And that wasn't -- I'm not

         22     saying that was incorrect.            I know NADOHE is being appealed so

         23     I'm being very careful about what I say about the case.                          But

         24     Judge Abelson found that there was a likely First Amendment

         25     violation in that case, and the law is very clear that when you




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          1     have a First Amendment -- potential First Amendment

          2     infringement, you look at vagueness very differently.                         It's a

          3     very strict standard for vagueness when you're looking at it

          4     through the lens of the First Amendment.                  And Judge Abelson

          5     mentions that repeatedly in his opinion, and there is -- there

          6     is -- I think to put a really fine point on it, one of the

          7     cases that plaintiff cites in their brief, in their opening

          8     motion is Humanitarian from Central District of California.

          9     And in that case, at Page 1062, the Court finds or holds,

         10     "Outside the First Amendment context, a statute is

         11     unconstitutionally vague on its face only if it is vague in all

         12     of its applications."

         13             Now, contrast that with what Judge Abelson found, which is

         14     exactly the opposite.         So the NADOHE at Page 21, he says just

         15     because it's not vague in some contexts doesn't mean it's

         16     unconstitutionally vague, and that's because he was applying a

         17     First Amendment standard.

         18             And that's not what we have here.               We have a specific

         19     application to plaintiffs who really should have known and I

         20     believe knew why their grants were terminated.                     So the way to

         21     kind of think about NADOHE, I think, is if these plaintiffs did

         22     stand in front of Judge Abelson today and say, okay, here's

         23     what happened to us, we got our grants terminated --

         24                  THE COURT:       I'm moving to enforce your order.

         25                  MS. FARBER:       Yeah, apply the order to us, Judge.                 Do




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          1     you think that Judge Abelson would be able to do that

          2     lickety-split, or would he need to look at additional evidence,

          3     would he need to have another hearing?                  And I posit that he

          4     wouldn't be able to do that.

          5                   THE COURT:       Apart from the retroactive application.

          6                   MS. FARBER:       Right, exactly.          It's certainly not

          7     retroactive, and Judge Abelson, you know, really was mightily

          8     struggling at the NADOHE hearing to try to understand what

          9     situations might come under the purview of the Executive Order

         10     because he just didn't have the advantage of having definite

         11     facts.     There were no terminations in that case.

         12             So I don't believe that Judge Abelson would be able to

         13     just say, yep, you guys are included in the order, let's just

         14     write it up.         It's a different case and a completely different

         15     set of facts.

         16                   THE COURT:       So in other words, even if he decided I

         17     am -- I'm going to do the analysis of the factors about whether

         18     or not to give retroactive application to something, and let's

         19     assume for sake of argument that he found in plaintiffs' favor

         20     that retroactive application was appropriate, just generally

         21     speaking, you're saying that the same analysis that applied in

         22     his case would not answer the plaintiffs' assertions of harm

         23     here.

         24                   MS. FARBER:       Exactly right, Your Honor.                Exactly

         25     right.     And you can see how Judge Abelson sort of struggles




                                                                                          JA 589
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          1     with the phrase "equity related "in the NADOHE opinion as a

          2     main problem -- as a main source of the vagueness, and we don't

          3     have -- that phrase doesn't appear here.

          4             Here we have a finite termination letter.                   It cites to a

          5     number of different provisions of Code and Rules, and it cites

          6     to sort of the reasons why this decision's being made.                        You

          7     know, and we can certainly -- you know, the sufficiency of that

          8     letter is sort of a different issue and, frankly, not an issue

          9     that the plaintiffs here have raised as the substantive

         10     sufficiency of that letter, but that's not something Judge

         11     Abelson had the benefit of and that doesn't come under the

         12     purview of NADOHE.

         13             And on the point of, if we set NADOHE aside and the Court

         14     does its own vagueness analysis, I think plaintiffs' claims

         15     there still fail, and that is because, first of all, we know

         16     there is a lot more tolerance for vagueness in context of

         17     civil -- civil issues as opposed to criminal issues.

         18                  THE COURT:       You're saying assuming the EO is the

         19     reason.

         20                  MS. FARBER:       No, I'm saying let's say the EO is not

         21     the reason and you're just trying to figure out whether this

         22     action is somehow violative of the Fifth Amendment.

         23             We believe this is just a straightforward -- I don't know

         24     if anything is straightforward in this administration, but it's

         25     a straightforward APA case and not a -- it doesn't entangle the




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          1     Fifth Amendment.

          2                  THE COURT:       But you're not making argument -- and I

          3     realize it's hypothetical, but you're not making a hypothetical

          4     where the Court allows that the termination letters are the

          5     thing that is looked at as the Fifth Amendment violator?

          6                  MS. FARBER:       They shouldn't be.            I think that's what

          7     I'm trying to -- that's the point I'm trying to make is that if

          8     we take the executive orders out of it, which they should be

          9     because here we have a finite termination letter, there's not a

         10     vagueness argument as applied to the plaintiffs.

         11             And I guess if the only way that we can consider their

         12     vagueness claim is are the Executive Orders vague as applied to

         13     plaintiffs, we have a termination letter that shows that

         14     they're not.        The words in the termination letter were

         15     "Diversity, Equity, Inclusion," these are words that have a

         16     common meaning and according to Hill, when words have --

         17                  THE COURT:       There's a lot more words.               There's a lot

         18     more words in the termination letter than that but, yes, those

         19     words do appear.       But, yes, there's a lot more words.

         20                  MS. FARBER:       Yes.     And I would argue that the words

         21     that are in the termination letter are words that plaintiff

         22     likely used in their grant applications that appear in the

         23     Federal Register.

         24                  THE COURT:       I don't know if they used "fraud" and

         25     "duplication" and things like that in their grant applications,




                                                                                         JA 591
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          1     but I understand your meaning.

          2                  MS. FARBER:       Yes.     I'm guessing they didn't use

          3     "fraud" and "duplication" but those --

          4                  THE COURT:       Probably not.

          5                  MS. FARBER:       But those terms "fraud" and

          6     "duplication" also appear in the Federal Register.                       They appear

          7     as grant conditions.         So those are not new terms to grantees.

          8     When they accept grants, they accept the terms and conditions

          9     that come with the grants, which I'll get to in a moment.                         So,

         10     you know, there's not -- there's just not a vagueness issue

         11     here.

         12                  THE COURT:       Okay.

         13                  MS. FARBER:       I think that's my argument on vagueness.

         14                  THE COURT:       Okay.

         15                  MS. FARBER:       Is there anything -- does the Court have

         16     any questions on that or should I move on to the APA?

         17                  THE COURT:       I don't.       Let's move on to the APA.

         18                  MS. FARBER:       So I took note of something that

         19     plaintiffs' counsel said at the very start of our time together

         20     today, which is that sort of what's happening here in the

         21     agencies and with the presidential administration is going to

         22     require these teacher training programs to rebuild from the

         23     ground up.

         24             And, you know, at the risk of like, you know, hard truth

         25     pills, I think that's exactly what the people who voted for




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          1     this president voted for was rebuilding some of these systems

          2     from the ground up, and that to some extent is what's

          3     happening.

          4                  THE COURT:       Well, that may be his prerogative.                   I

          5     think it's the manner in which it's being done that is at issue

          6     here.

          7                  MS. FARBER:       Yes, and let's get to that, Your Honor.

          8     So the only argument is plaintiff admitted the singular

          9     argument they're making here on arbitrary and capriciousness is

         10     that agency priorities are subject to Rulemaking.

         11                  THE COURT:       Yes.

         12                  MS. FARBER:       And because the agency did not go

         13     through the Rulemaking and public comment process about this

         14     sort of big picture policy shift with this new administration

         15     that they've acted arbitrary and capriciously, and there's not

         16     a basis for that in the regulations, in the Federal Register,

         17     in the appropriate rules.

         18             I think the crux of plaintiffs' argument as to why

         19     Rulemaking is required for these kind of big picture agency

         20     priorities is that, at least what I heard plaintiffs' counsel

         21     say just a moment ago, was it's the same word, right?                         It

         22     includes -- the phrase includes the word "priorities," and so

         23     everywhere we see the word "priorities" in any rule or

         24     regulation it means agency priorities.                 And that's just not

         25     consistent with a plain reading of any of these regulations.




                                                                                         JA 593
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          1             And I'll point Your Honor to a couple of the citations

          2     that I think plaintiffs' counsel said didn't belong before the

          3     Court, but I think they do because this shows the fact that

          4     just because the word "priority" appears it doesn't mean it's

          5     the same thing across the board.

          6             So we have funding priorities.               "Funding priorities"

          7     appears in Appendix 1 to Part 200.                It is at (b)(3)(i)(B).           So

          8     we have funding priorities there.                And then annual Priorities

          9     from 75.105.         Annual priorities, those are subject to

         10     Rulemaking, that's a different thing than funding priorities.

         11     And then we have agency priorities, which we say are neither of

         12     these.     We have funding priorities, we have annual priorities,

         13     but then you have agency priorities.                 It's a different word.

         14     Sure, all three of these things includes the word "priorities"

         15     but they're not the same.

         16             Plaintiffs' argument essentially says that there's nothing

         17     that the Department of Education can do that wouldn't be

         18     subject to Rulemaking.           So if the Department of Education wants

         19     to move someone's office because it doesn't effectuate the

         20     interests of the agency, is that now something that is subject

         21     to Rulemaking because it relates to an agency priority to move

         22     somebody's office.         Where is the end to what the agency can't

         23     do without subjecting itself to Notice and Rulemaking?

         24             This is inconsistent with the termination provision at

         25     200.340 and the changes to that termination provision in the




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          1     year 2020.    The clear intent there was to make it a bit easier

          2     for agencies to terminate grants that didn't align with its

          3     sort of big-picture mission.

          4             I'd also point the Court to a couple of sections in the

          5     Federal Register that announce, call for grants for the TQP,

          6     the SEED, and the TSL programs.              So explicitly in the terms of

          7     these grants, there is language related to abiding by federal

          8     civil rights law and being able to terminate these grants with

          9     broad discretion to the fullest extent of the law.

         10             And that "fullest extent of the law" caveat is where we

         11     get to is this arbitrary and capricious, right?                      That's where

         12     the APA comes in.       But I'll point to a couple pages of Federal

         13     Register for each of these grants.

         14             So for the TQP, it is at Page 23587.                 That's where you

         15     have -- the language is "projects will be awarded and must be

         16     operated in a manner consistent with the nondiscrimination

         17     requirements contained in federal civil rights laws."

         18             And so that's where you kind of -- that's where the change

         19     really happened with Students For Fair Admission was this

         20     thought that, well, you know, some of these diversity-promoting

         21     programs, they're all consistent with federal civil rights law

         22     and then we get Students For Fair Admission that just turns

         23     that on its head and says no, a lot of these programs that you

         24     thought were fine actually violate civil rights law.

         25             So we have that provision related to federal civil rights




                                                                                         JA 595
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          1     law in TQP.     And then the termination provision in TQP is

          2     located at Page 23590 of the Federal Register, and that says,

          3     "Terminating agreements in whole or in part to the greatest

          4     extent authorized by law if an award no longer effectuates the

          5     program goals" -- which we all agree is a different thing --

          6     "or agency priorities."           And then it cites to the termination

          7     provision at 340.

          8             And then there is almost identical, like functionally

          9     identical language in the Federal Registers for SEED at Page

         10     19492 and 19495, and then again for TSL, both on Page 33600.

         11             So when we talk about what were the terms and conditions

         12     of these grants, that's right there.                 The terms and conditions

         13     relate to abiding by federal civil rights law and we can

         14     terminate these grants if they don't align with agency

         15     priorities to the fullest extent allowed by law.

         16             There was a -- plaintiffs made a brief reference to

         17     whether the letters conveyed a good reason for the termination.

         18     That's not a claim that they are advancing.                     They're advancing

         19     just this very simple straightforward was Rulemaking required.

         20                  THE COURT:        Well, not really.           Their count is very

         21     broad, if you read the count.              I mean, so the -- I went to that

         22     issue my very self and their count allows for all of it, in my

         23     opinion.

         24                  MS. FARBER:        Okay.     Well, then, if that's the Court's

         25     reading, which is distinct or is different from what plaintiffs




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          1     have said that they are advancing here --

          2                   THE COURT:       Well, I mean, inasmuch as we're relying

          3     on pleadings here, which is what of course you correctly noted

          4     at the outset, Count 2 which begins at Page 37, Paragraph 157,

          5     is extraordinarily broad and asserts as a general proposition

          6     that the termination letters and the decision to terminate is

          7     unlawful, arbitrary, and capricious for the reasons set forth

          8     above.

          9             Now, I don't challenge you or quarrel with you about where

         10     the arguments have focused mainly, but I read their APA claim

         11     to be broader than you do, than you are.

         12                   MS. FARBER:       Okay.     Well, I'll take a moment, then,

         13     to address that issue, but I do want to highlight that the

         14     argument that they actually flush out, the argument they

         15     advance is the singular Rulemaking issue, and I don't think

         16     that that argument has merit.

         17             As to sort of this bigger picture question of were these

         18     letters adequate, is this sort of change in big picture

         19     priorities arbitrary and capricious, you know, there we have --

         20     the Government's position is that the reasoning set forth in

         21     the letters is sufficient.             That reasoning sets forth the

         22     reason why these grants were being terminated.

         23                   THE COURT:       Does it?       Does it, though?

         24                   MS. FARBER:       We think it does, but I will put a pin

         25     in that because the Massachusetts court that considered this,




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          1     Judge Joun who considered this same issue whose plaintiffs did

          2     advance the argument that these letters were insufficient found

          3     that they were insufficient, that it was just kind of

          4     boilerplate that was copy-pasted.                So if that's where Your

          5     Honor's headed, I do have an argument there.                      The Government's

          6     position is these letters were sufficient.

          7                  THE COURT:        Okay.

          8                  MS. FARBER:        And I'll just briefly address that

          9     before moving to what if you don't think the letters were

         10     sufficient.

         11             So what's required under the APA is just sort of a

         12     reasonable, reasonably explained.                And I think the Supreme

         13     Court in the FCC case and in I believe the Motor Vehicle case

         14     as well talks -- sort of talks about this distinction between,

         15     well, you could have done more, you know, you could have done

         16     more, you could have explained more, but did you explain

         17     enough, and the issue is really did you explain enough.                        And a

         18     short explanation can still be a reasoned explanation under the

         19     APA.    That's from Multicultural at 936.

         20             So in this case, we have an identification of, you know,

         21     the Administration's position or the Department's position that

         22     Diversity, Equity, Inclusion violates federal civil rights

         23     laws, that the grants at issue -- let me pull up the language

         24     from the letter -- that the grants at issue promote or take

         25     part in DEI initiatives or other initiatives that unlawfully




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          1     discriminate on the basis of race, color, religion, sex,

          2     national origin, or another protected characteristic that

          3     violate either the letter or purpose of federal civil rights

          4     law, which goes to that discrimination and goes to the terms

          5     that we just reviewed, and then goes on and cites to a number

          6     of the relevant sections from the Code of Federal Regulations.

          7             And, you know, I think we can see that that explanation is

          8     sufficient from looking at the complaint.                    You know, the

          9     complaint cites to the aspects of these terminated programs

         10     that would arguably come -- that would come under this umbrella

         11     of Diversity, Equity, and Inclusion that would have prompted

         12     their grants to be canceled, at least in part.

         13                  THE COURT:        So, in other words, plaintiffs were able

         14     to surmise why they were terminated, but you're taking the

         15     position that the letter adequately tells them why they were

         16     terminated.

         17                  MS. FARBER:        Yes.     I think that they're one and the

         18     same.

         19                  THE COURT:        Okay.

         20                  MS. FARBER:        I think the letter provided enough

         21     information to the plaintiffs to understand what was happening

         22     and why.    And then there is a -- there is an appeal process

         23     that's in this letter.           I --

         24                  THE COURT:        How would someone invoke that appellate

         25     process exactly?        What's required?




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          1                  MS. FARBER:       My understanding is just kind of on all

          2     fours with what's in the letter.               So as far as process, I only

          3     know what's listed in the letter.               The last communication we

          4     had with the Department of Education indicated that there were

          5     only two appeals filed and none of them were in Maryland.                         But

          6     I did not see any original documents for myself and that was --

          7     the information is several days old so I do not know if that's

          8     changed, if the Maryland plaintiffs have appealed.                       But, you

          9     know, our understanding from over the weekend was that this

         10     wasn't a large number of appeals.

         11                  THE COURT:       Bear with me for one moment.

         12                  MS. FARBER:       Sure.

         13                  THE COURT:       And just to be clear before I ask my next

         14     question, your position, your clients' position about the

         15     § 200.340 is exactly what?

         16                  MS. FARBER:       Our position as to the termination

         17     provision, let me pull that up.              Our position is that

         18     Subsection (1), so 200.340(a)(1), when it talks about terms and

         19     conditions, that's where we have the terms and conditions

         20     related to federal civil rights laws, not violating federal

         21     civil rights laws.        We see that same exact language in the

         22     termination letter, and that comes from at least in parts

         23     Students For Fair Admission saying that these types of programs

         24     do violate federal civil rights laws.

         25             I think we agree with plaintiffs that (2) and (3) don't




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          1     apply here, and then (4) is the argument that we went through

          2     that just because the phrase "agency priorities" includes the

          3     word "priorities" does not mean agency priorities is synonymous

          4     with funding priorities is synonymous with annual priorities.

          5     Agency priorities, big picture direction of the agency stuff

          6     does not require Rulemaking.

          7                  THE COURT:        And turning back to the termination

          8     letter itself which asserts that an appeal of the termination

          9     shall include a brief statement of your argument and the

         10     disputed factual legal or other issues.                   It cites 200.342, and

         11     I confess I don't have that in front of me.                     I assume that

         12     relates to appeals of terminations, but I'm asking you to tell

         13     me what it says.

         14                  MS. FARBER:        I don't have that in front of me either,

         15     Your Honor.

         16                  THE COURT:        Okay.

         17                  MS. FARBER:        But my esteemed colleague is telling me

         18     that it does relate to the appeal process.

         19                  THE COURT:        Okay.

         20                  MS. FARBER:        And so, you know, I think the thing

         21     that's a bit unprecedented about this APA challenge for this

         22     Court is that typically a remedy for plaintiffs in the event

         23     that there's not a sufficient agency record to show the

         24     agency's process, the remedy typically is let's remand it to

         25     the agency, they can develop the factual record, and then we




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          1     can look again and see did they explain it better.

          2             So again, we maintain that the letter in itself is enough.

          3     But here now we're in a situation where there are enormous

          4     changes happening at the Department of Education.                       I have

          5     another exhibit, Exhibit 4, which is the publicly released

          6     statement by the Department of Education about the Reductions

          7     in Force that happened, I think it was just on Tuesday.

          8                  THE COURT:       Yes.    So how substantively effective

          9     given its reduction in numbers would a remand possibly be?

         10                  MS. FARBER:       That's the issue, Your Honor.                  So in my

         11     filing, I suggested remand this back to the agency, they can do

         12     an expedited review.         People that I was working with on this

         13     case are gone.

         14                  THE COURT:       But my question is -- and I'm not being

         15     smart when I say it and I'm not calling myself stupid.                         What I

         16     mean to say is I'm not trying to be sassy when I ask this.

         17                  MS. FARBER:       Thank you, Your Honor.

         18                  THE COURT:       But who's there to do this expedited

         19     work?

         20                  MS. FARBER:       Correct.

         21                  THE COURT:       I mean, as a matter of practical reality,

         22     even if I were to find that to be an attractive option, you

         23     know, justice delayed is justice denied.                  I mean, what's going

         24     to happen?    I mean, you can't make me any promises.

         25                  MS. FARBER:       I can't.       And that's why I'm flagging




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          1     this for you is that was something that I put in my brief.

          2                  THE COURT:       Yeah, I hear you.

          3                  MS. FARBER:       And hours later, hours later the

          4     situation changed and now we have an existential issue at the

          5     Department of Education.

          6                  THE COURT:       No, I understand.           Of course you would be

          7     remiss not to suggest that as an alternative outcome here, but

          8     you know, as a practical reality --

          9                  MS. FARBER:       Yes.

         10                  THE COURT:       I mean -- yeah.

         11                  MS. FARBER:       I think we're on the same page there.              I

         12     can say that the agency is trying to figure out if they can do

         13     a remand, and I'd ask them to put the gears in motion there.

         14                  THE COURT:       To find out.

         15                  MS. FARBER:       To find out if they can.               And that would

         16     be something that if this is something the Court was

         17     considering.        And really, I mean, remand, in a normal

         18     circumstance where the agency is not being cut in half, a

         19     remand would be probably the most appropriate way to deal with,

         20     just flush out this letter a little bit more.                     We all

         21     acknowledge we are in a different universe as far as that's

         22     concerned.

         23             But if the Court is open to that, I'm -- my understanding

         24     is that I should have a -- we can do it or we can't do it

         25     within 48 hours.       I'm hesitant to make any representations




                                                                                         JA 603
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          1     because I don't even know if the people that told me that are

          2     going to be there in 48 hours.

          3                  THE COURT:       So I'm not ethically allowed to provide

          4     legal advice.

          5                  MS. FARBER:       Yes.

          6                  THE COURT:       But were I you, I would stop there.

          7                  MS. FARBER:       Yes.     So the main point I want to make

          8     here is that the situation has definitely changed.

          9                  THE COURT:       I understand.         I appreciate your candor.

         10                  MS. FARBER:       In a normal world we'd be looking at a

         11     remand, and we have an agency that is facing some existential

         12     issues and I just don't know would be the way that I would say

         13     that.

         14                  THE COURT:       Fair.     I have a question for you.            In the

         15     termination letter, and I know you know what I'm about to ask

         16     you but -- or perhaps you don't, but the first substantive

         17     paragraph beginning "It is a priority," it makes -- you know, a

         18     lot of largesse there about sort of positions and a sort of

         19     framework, foundation for what we're gearing up to tell you.

         20             The second full paragraph:

         21             "The grant specified above provides funding for programs

         22     that promote or take part in DEI initiatives or other

         23     initiatives that unlawfully discriminate on protected

         24     characteristics that violate either the letter or purpose of

         25     federal civil rights law that conflict with the Department's




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          1     policy of prioritizing merit, fairness, and excellence in

          2     education that are not free from fraud, abuse, or duplication,

          3     or that otherwise fail to serve the best interests of the

          4     United States.       The grant is therefore inconsistent with and no

          5     longer effectuates Department priorities," and so it's

          6     terminated.

          7             The following page is where it talks about a grant

          8     recipient's -- or, no, a terminated grant recipient's ability

          9     to challenge the termination decision in writing within 30 days

         10     and the appeal should contain the following, Number 3, a brief

         11     statement of your argument and the disputed factual legal or

         12     other issues.

         13             And again, transcripts are lousy for tone, so I am not

         14     being sarcastic when I ask this.

         15             What exactly do you contend they've learned from this

         16     termination letter that anybody who's been terminated could

         17     effectively challenge in a, quote, brief statement?                            What has

         18     this advised them about the basis for their termination?

         19             Now, because if I have an education grant or a grant from

         20     the Department of Education and my program is called

         21     "Underserved Youth from Transgender Communities Unite," I might

         22     be fully aware that I am promoting and engaging in a program

         23     that President Trump has determined is not okay anymore,

         24     unlawful, even, and that he wishes and Secretary McMahon or her

         25     predecessor on her own or in conjunction or however -- I'm not




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          1     getting into the Executive Order issue -- but has determined to

          2     root out offenders of that principle and to terminate the

          3     grant.

          4             Now, a plaintiff here might surmise, wow, I really had a

          5     target on my back, especially given the name of my program and

          6     what I do and what I spend money on, the participants and the

          7     teachers I teach, but what about this letter puts anybody on

          8     notice about why they were terminated such that their appeal

          9     right would actually have substance?                 What am I supposed to do

         10     with this?

         11                   MS. FARBER:       There are -- I think I have three points

         12     I'd like to make there.

         13                   THE COURT:       Okay.

         14                   MS. FARBER:       It's possible the third one will

         15     evaporate as I talk so I think it's two to three points I'd

         16     like to make.

         17                   THE COURT:       Then hurry.

         18                   MS. FARBER:       Yeah.     The first point is that, you

         19     know, we can see that the plaintiffs know what aspects of their

         20     program were at issue because they include allegations in their

         21     complaint that highlight the diversity and the equity and the

         22     inclusion aspects of their program that they believe were what

         23     prompted this termination.

         24                   THE COURT:       Yes.

         25                   MS. FARBER:       So we know that they know and this




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          1     letter gave them notice of that.               That's why we're here.

          2     That's why we have this lawsuit is because they understand why

          3     this happened.

          4             As to how can their appeal be successful, there are --

          5     there's a contact person here that they can contact with

          6     questions.    I believe I read an allegation that some of the

          7     plaintiffs have contacted that person and not heard back.

          8                  THE COURT:       And nobody got back.

          9                  MS. FARBER:       Yes.

         10                  THE COURT:       And there was more than one.

         11                  MS. FARBER:       Yes.

         12                  THE COURT:       And a lot of time had gone by.

         13                  MS. FARBER:       Yes.     And we take that as true.             I

         14     certainly don't have any contrary information.                     But, you know,

         15     there is a process here that provides for some way to ask

         16     questions.

         17                  THE COURT:       Well, I guess my point, though, is -- and

         18     I'm -- that was rude of me to cut you off but I want to draw

         19     you into really what is bothering me about this.

         20                  MS. FARBER:       Yes, please.

         21                  THE COURT:       A couple of things.            One, yeah, I'm a DEI

         22     program so that might be a basis to cut me off, but

         23     the "everything in the kitchen sink" list that is in this

         24     letter and it's disjunctive, I mean, holy moly, what are we

         25     supposed to do with that?           How do I know that I'm not being




                                                                                         JA 607
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          1     terminated because of my super-obvious DEI program, but also

          2     because I'm considered duplicative, or because they're accusing

          3     me of fraud?        How does this tell a person?             It's disjunctive

          4     and it's so broad.        The spirit of a law?            I mean, what does

          5     that even mean?

          6                  MS. FARBER:       What does the spirit of the law mean?

          7                  THE COURT:       Yeah.     I mean, in other words, my point

          8     is that the letter or purpose of a law, I mean, what is this

          9     supposed to advise anybody about how to undertake an appeal of

         10     this action?

         11                  MS. FARBER:       And I take your point, Your Honor, and I

         12     think that you are -- and it seems that you and Judge Joun are

         13     in agreement on that point that these letters are -- they're --

         14     as you said, it's disjunctive, what am I supposed to take from

         15     this.

         16                  THE COURT:       Yeah.

         17                  MS. FARBER:       And I think where I'd point to is, you

         18     know, the plaintiffs took from it what happened here, you know,

         19     an effective response would address these alternative -- these

         20     alternative issues would address the known issues and then the

         21     alternative issues.

         22             And then I did have a third point and this is what it is,

         23     is that when it come to APA challenges, you know, the question

         24     is not could the letter have said more, could the letter have

         25     been more detailed, because we all agree yes.




                                                                                         JA 608
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          1                  THE COURT:       Here it's could the letter have said less

          2     is my issue.

          3                  MS. FARBER:       Sure.

          4                  THE COURT:       Right?     It's like what's that old saying,

          5     if I had more time I would have written less?

          6                  MS. FARBER:       Right.

          7                  THE COURT:       Why does this not smack of an absolute

          8     absence of individualized evaluation?                 These are form letters,

          9     obviously.

         10                  MS. FARBER:       So I think that the question there is,

         11     you know, according to the law does the letter do enough.

         12     Could it have been more narrow?              Yes.     Yes.

         13                  THE COURT:       Yeah.

         14                  MS. FARBER:       But does it do enough to put them on

         15     notice, does it do enough, and the Government contends that it

         16     does.

         17                  THE COURT:       Okay.

         18                  MS. FARBER:       And then, you know, yeah, I think I'll

         19     leave it there.

         20                  THE COURT:       Okay.     I appreciate that.

         21                  MS. FARBER:       And then, Your Honor, I think as to the

         22     other preliminary injunction factors, if I could speak to just

         23     briefly.

         24                  THE COURT:       Yes, absolutely.

         25                  MS. FARBER:       So we have conceded irreparable harm




                                                                                         JA 609
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          1     here for the purpose of streamlining things, but that's not

          2     decisive.    Just the fact of irreparable harm is not enough.

          3                  THE COURT:       Of course.

          4                  MS. FARBER:       And importantly, importantly in the

          5     Winter case, the Supreme Court even found that, sort of

          6     assumed -- I'll back up a little bit.

          7             In Winter, the Supreme Court found likelihood of

          8     irreparable harm but then did a balancing of the equities and

          9     public interest and found it weighed in favor of the Government

         10     and against a preliminary injunction and they did not even

         11     consider the question of the merits.

         12                  THE COURT:       Yeah, if you don't meet them all you

         13     don't get it.

         14                  MS. FARBER:       Yeah, right.         So, well, yes.            Or at

         15     least, you know, there's some balancing that's involved, right?

         16     And so the Supreme Court there is saying that -- effectively is

         17     saying it doesn't matter if you win the merits.                      If the balance

         18     of the equities doesn't go in your favor, then you don't get

         19     this absolutely extraordinary remedy of a preliminary

         20     injunction even if you're facing irreparable harm, even if this

         21     is an existential issue for you.

         22                  THE COURT:       Yes.    No, I agree, I mean, I think the

         23     likelihood of success on the merits and the irreparable harm

         24     for obvious reasons get, you know, top billing, but I don't

         25     disagree with you that balance of equities and public interest




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          1     are often sort of given the -- you know, they take a backseat,

          2     I think, on a lot of these issues.               But to some extent I think

          3     that's because if a movant satisfies those first two, it often

          4     is the case.        I'm not saying it is the case --

          5                  MS. FARBER:       Right.

          6                  THE COURT:       -- as a matter of definition, but it

          7     often is the case that the other two are quite obvious.

          8                  MS. FARBER:       Yes.     And I think that's where I would

          9     just like to touch for a moment --

         10                  THE COURT:       All right.

         11                  MS. FARBER:       -- on the interest on the other side,

         12     because it does seem like there is a sort of taking for

         13     granted, well, there's no public interest on the other side.

         14     The entire interest is in, you know, the --

         15                  THE COURT:       The people.

         16                  MS. FARBER:       Yeah, like these values that are --

         17                  THE COURT:       I understand.         You're saying there are

         18     other people.

         19                  MS. FARBER:       Correct.       There are other people and I

         20     think what the election showed us was that those other people

         21     are here and they feel urgently about this issue and they went

         22     out and voted, and that's why we're here.                   And we ignore them

         23     or don't weigh them or balance them at our peril that it's an

         24     injustice to not factor in those interests.

         25                  THE COURT:       If I were to grant the injunction that




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          1     plaintiffs seek, what is the -- in other words, talking about

          2     the balance of equities, in other words, in the absence of the

          3     injunction who is to hurt more, in the presence of the

          4     injunction who is to hurt more.              What is your argument that in

          5     the presence of the injunction the -- I'll just say the common

          6     American, not a plaintiff, would suffer?

          7                  MS. FARBER:       I think that the injury that the common

          8     American feels is likely less immediately existential than what

          9     the plaintiffs here feel.           But I think Judge Thomas in his

         10     concurrence in Students For Fair Admissions has -- you know,

         11     can disagree with him --

         12                  THE COURT:       Of course.

         13                  MS. FARBER:       -- on the content, but he has a really

         14     interesting perspective on sort of the urgency with which we

         15     need to do away or the urgency with which some of these

         16     initiatives can be harmful, even to people of color, I found it

         17     to be really, really interesting read with a different

         18     perspective that I hadn't considered.

         19             So, you know, I think that one of the things that Justice

         20     Thomas mentions is this idea of, like, this really like kind of

         21     hateful phrase that we have now the "DEI Hire," you know,

         22     that's a really kind of lightning bolt, like just horrible,

         23     kind of horrible thing to say.              The only reason we have that

         24     phrase, Justice Thomas points out in the Students For Fair

         25     Admission concurrence, is because we have DEI, you know, and I




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          1     certainly know people who feel as though -- you know, who

          2     question whether they belong in places where they do.                         They do

          3     belong.    They're there on merit, but because there's this

          4     specter, you know, that does cause an injury.                     You know, not to

          5     mention --

          6                  THE COURT:       Well, some might say that those who come

          7     from a viewpoint that individuals who are not typically or

          8     historically in power positions have misappropriated that term

          9     through a lens of hate.

         10                  MS. FARBER:       Yes.     Yes.     Absolutely.        And I would

         11     also, I'd be remiss --

         12                  THE COURT:       Or just simply discrimination, which also

         13     is another way of saying hate.              But --

         14                  MS. FARBER:       Yes.     I would be remiss --

         15                  THE COURT:       -- it's a very interesting perspective

         16     and I -- it's a very interesting perspective and I am always

         17     endeavoring to be as intellectually honest as one could

         18     possibly be, especially in my job.

         19                  MS. FARBER:       Of course.

         20                  THE COURT:       Yes.

         21                  MS. FARBER:       And I would be remiss if I did not point

         22     out Justice Jackson and Justice Kagan's dissent which really

         23     just shreds Justice Thomas's opinion.                 So there is very heated

         24     disagreement on all sides here.

         25                  THE COURT:       Of course.




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          1                   MS. FARBER:       But just trying to zealously advocate

          2     for my client on this and present the sort of opposing

          3     viewpoint here.

          4                   THE COURT:       The public interest issue.               I understand.

          5                   MS. FARBER:       And then as far as the Government's

          6     interest and, you know, I think this is where the Massachusetts

          7     case is particularly interesting.                I mean, certainly the

          8     Government has an interest in ending discrimination.                           And what

          9     we see in the Massachusetts case, at least according to Exhibit

         10     2, the declaration, is that this money that has been released

         11     in the Massachusetts case, it might be just flying out the

         12     door.    It might be all gone.            And so when we talk about the

         13     potential injury to the Government, we are seeing that

         14     potentially in the Massachusetts case.

         15                   THE COURT:       But that assumes for purposes of your

         16     argument that the judge was wrong.

         17                   MS. FARBER:       That the judge was wrong on the

         18     constitutional --

         19                   THE COURT:       In other words, the money flying out the

         20     door is a consequence of his determination that your client did

         21     something not allowable by law and that's why the TRO was in

         22     place.     In other words, the money flying out the door is

         23     because the money was released again.                  And so the idea that the

         24     Government has been harmed necessarily has built into it the

         25     fact that the judge was wrong as a matter of law.




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          1                     MS. FARBER:       Yes.     And I see your point.             And yes,

          2     the Government's contention is that that was an incorrect

          3     opinion.

          4                     THE COURT:       Of course.

          5                     MS. FARBER:       And that there is an appeal.                   The

          6     Exhibit 1, which is the status report, mentioned that an appeal

          7     is being filed in that case.

          8                     THE COURT:       I saw that.        I saw that.        I'm interested

          9     to know what the basis of the TRO appeal would be.

         10                     MS. FARBER:       Me, too.

         11                     THE COURT:       Yes, particularly considering that a

         12     briefing schedule was ordered, but we'll see.

         13                     MS. FARBER:       Yes.     Yes, I think we'll -- it will be

         14     interesting to follow that one, yes.

         15             Okay.     So I think that's the balance of equities point.                         I

         16     appreciate Your Honor's hearing that out --

         17                     THE COURT:       Of course.

         18                     MS. FARBER:       -- as I know you do every issue.

         19             And then finally on the scope of relief, you know, we've

         20     asked that it be -- we limit ourself to the grants that are at

         21     issue here.       The plaintiffs had all the time in the world.                        I

         22     guess I shouldn't say all the time in the world, but they are

         23     the ones who drafted this complaint, that they don't include

         24     the grants that they want to have reinstated sort of makes it

         25     difficult for us to figure out with which grants they're




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          1     talking about.       So we would ask that the relief be limited to

          2     those grants that are identified and documented in the

          3     complaint, and certainly that it be limited to at the very

          4     least the plaintiffs who are here before you in this case.

          5                  THE COURT:        Okay.     And I'm going to ask Mr. Richards,

          6     but since you're standing I'll ask you also -- or first.

          7             If the Court were to issue a PI -- and again, for all of

          8     those listening, this is strictly for purposes of inquiry --

          9     what is the Government's position or the Government Defendant's

         10     position on bond?

         11                  MS. FARBER:        In this case, and the Government's

         12     not -- the position we take in this case is not meant to bind

         13     the Government in any other case.

         14                  THE COURT:        Of course.

         15                  MS. FARBER:        But in this case we are not arguing

         16     about bond.

         17                  THE COURT:        For bond.       In other words, you're content

         18     with de minimus or no bond?

         19                  MS. FARBER:        In this case, yes.

         20                  THE COURT:        In this case, yes.           All right.         Thank

         21     you.

         22             Mr. Richards, did you want rebuttal?

         23                  MR. RICHARDS:         Very, very briefly, Your Honor.

         24             The Court asked most of the questions that I would have

         25     liked to have asked of my friend, and so I appreciate the need




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          1     to wrap this up.

          2             Just one thing that I want to clean up is that the

          3     Government argued that the terms and conditions of the grants

          4     were set in the Federal Register.               That's not accurate.

          5             Grants are issued through notices, and those grant award

          6     notices expressly list the terms and conditions of the grant at

          7     issue, and that's an obligation that the Government is held to.

          8     I don't think it actually impacts this case but I just wanted

          9     to make sure that that was clear that we're not talking about

         10     terms and conditions, you know, hither and yon.                      We're talking

         11     about terms and conditions listed in the grant, in the award

         12     notice.

         13                  THE COURT:       So what significance, if any, does the

         14     F.R. have here?

         15                  MR. RICHARDS:        I don't think it has any, Your Honor.

         16     I think it refers to the reason that the Government made a

         17     change to regulation for a reason that doesn't have any bearing

         18     on the outcome of the case.

         19                  THE COURT:       Okay.

         20                  MR. RICHARDS:        I don't think it's incredibly

         21     significant here but, you know, counsel's example of changing

         22     offices I think is sort of afield, right?                   We're talking about

         23     here a set of priorities that only has to be issued once in an

         24     administration.      They can use it for the entire rest of the

         25     administration, it doesn't have to be issued on a




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          1     grant-by-grant basis.         And the obligation to engage in

          2     Notice-and-Comment Rulemaking with respect to grants is

          3     specific from GEPA.        We're not talking about office changing

          4     and that sort of thing, right?              So we think the argument that

          5     this is going to have an impact on the minutia of the

          6     Department's operation just isn't quite right, and to the

          7     extent that's true is because Congress made it that way.

          8             On the last point, we had anticipated if an injunction

          9     were issued providing a list of the members of each of our

         10     organizations to the Government so that they know exactly which

         11     grants should be turned back on, which -- actually, a better

         12     phrase would be which terminations should be vacated, and I

         13     think that would be a practical way of handling that issue.

         14                  THE COURT:       Okay.     I think that you should file a

         15     line, or whatever you want to call it, providing that list to

         16     the Government now and including it in a court filing.

         17                  MR. RICHARDS:        I will do that, Your Honor.                 And I

         18     will just add, I don't think this affects the merits here, but

         19     there is a reason that we didn't put every grantee in the

         20     complaint.

         21                  THE COURT:       Why?

         22                  MR. RICHARDS:        The reason is that they all fear

         23     retribution from the Government, and I think not unreasonably.

         24     And for any of them to stick their heads out and be listed here

         25     was a significant risk.




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          1             And so the idea that not exposing yourself to potential

          2     retaliation from the Government is a reason to deny relief in a

          3     case where all of the affected entities are similarly situated

          4     strikes me as problematic.

          5                   THE COURT:       So the list that we're talking about,

          6     this -- well, I'm not going to impose -- I don't mean by name,

          7     but the list that you're proposing to provide if the Court were

          8     to issue an injunction is all members of your clients or to the

          9     extent it is one of the plaintiffs, but all members of your

         10     clients whose grants have be terminated through receipt of a

         11     termination letter that is identical to that attached to the

         12     complaint.

         13                   MR. RICHARDS:        Correct, substantially identical,

         14     right?     They are form letters, as Your Honor pointed out.

         15     There are very minor differences.

         16                   THE COURT:       Well, I mean that the Paragraphs 2, 3 and

         17     4 are the same thing.

         18                   MR. RICHARDS:        Yes.     Correct, Your Honor.

         19                   THE COURT:       Okay.     Well, then I do not need you to

         20     file that list.       It has no bearing on my decision, but when I

         21     make that decision, if the order is to be issued, I may require

         22     such a list.

         23                   MR. RICHARDS:        I would anticipate that, Your Honor.

         24     Thank you.

         25                   THE COURT:       Okay.     Mr. Richards, is there anything




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          1     else?

          2                  MR. RICHARDS:         No, Your Honor.

          3                  THE COURT:        Ms. Farber, is there anything else?

          4                  MS. FARBER:        No, Your Honor.

          5                  THE COURT:        All right.       I am going to take a five- or

          6     ten-minute recess to look at my notes.                  I used to give young

          7     law firm associates advice that if a partner brings you in for

          8     an assignment, make sure you ask all the questions you'll have

          9     because you might never get that meeting again.

         10             So I'm going to take my owned advice, I'm going to go look

         11     at my notes and make sure I don't have anymore questions, and

         12     then I'll come back out and if I don't, we'll go, and if I do,

         13     we'll talk.     Court's in recess.

         14             (A recess was taken from 12:09 p.m. to 12:31 p.m.)

         15                  THE COURT:        All right.       I have one question,

         16     Mr. Richards, with respect to AACTE.

         17                  MR. RICHARDS:         Yep.

         18                  THE COURT:        I know its members also include Maryland,

         19     Towson, and Frostburg.           There are two others, I believe,

         20     Maryland members, two other Maryland members.                      I need to know

         21     who they are, what kind of grants they have, and what the

         22     status of those grants is.

         23                  MR. RICHARDS:         Can I apprise the Court after the

         24     hearing?

         25                  THE COURT:        Yes.




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          1                   MR. RICHARDS:        I don't know off the top of my head.

          2                   THE COURT:       So I understood from the declaration at

          3     5-3 that AACTE has five Maryland members, three of which have

          4     been identified as Maryland, Towson, and Frostburg.                            So we know

          5     what the status of their grants is, and I want to know, again,

          6     so who they are, what grants -- or grants, what grants they

          7     have, what kind of grants they have, and what is the status of

          8     those grants, in other words, have they been terminated, et

          9     cetera, and whether they were affected by Judge Joun's order.

         10             Yes, if I could --

         11                   MR. RICHARDS:        I'm sorry, just a point of

         12     clarification.

         13                   THE COURT:       Yes.

         14                   MR. RICHARDS:        I'm not involved in that case.                  My

         15     understanding of the order is that it would apply to all TQP

         16     and SEED grants --

         17                   THE COURT:       Correct.

         18                   MR. RICHARDS:        -- in the states where the AGs brought

         19     suit, so that would cover everyone in Maryland one way or the

         20     other.

         21                   THE COURT:       Except only for those two kinds of

         22     grants.

         23                   MR. RICHARDS:        Correct.

         24                   THE COURT:       Right.

         25                   MR. RICHARDS:        Got it.




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          1                  THE COURT:       Yeah.     So if you can just provide, you

          2     know, you can do it on letterhead, it doesn't matter, by ECF

          3     just by end of business will be great.

          4                  MR. RICHARDS:        Will do.

          5                  THE COURT:       Okay.     All right.        Thank you very much.

          6     I appreciate cogent argument and your very well-done papers.

          7             Thank you.    Court's adjourned.

          8             (The proceedings concluded at 12:33 p.m.)

          9                          CERTIFICATE OF OFFICIAL REPORTER

         10             I, Amanda L. Longmore, Registered Professional Reporter
                 and Federal Certified Realtime Reporter, in and for the United
         11      States District Court for the District of Maryland, do hereby
                 certify, pursuant to 28 U.S.C. § 753, that the foregoing is a
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